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                     EXHIBIT 1
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 IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

REALOGICHR LLC,                               CIVIL ACTION -LAW

             Plaintiff,                       Case No.: GD -22-

     V.


CONTINENTAL CASUALTY COMPANY,                 COMPLAINT
DIBIA CNA,


             Defendant.                       Filed on behalf of Plaintiff
                                              Counsel of Record for this party:

                                              Bruce E. Stanley
                                              PA I.D. #56840
                                              Alicia M. Schmitt
                                              PA l.D. #200970
                                              2424 Craftmont Ave.
                                              Pittsburgh, PA 15205
                                              (412) 401-4654 (phone)
                                              (412) 265-6015 (facsimile)
                                              bruce(ästanleyschmitt,corn

                                             AND


                                             David L. Fuchs
                                             PA I.D. #205694
                                             Teresa K. Fuchs
                                             PA l.D. #205696
                                             Fuchs Law Office, LLC
                                             554 Washington Ave., First Floor
                                             Carnegie, PA 15106
                                             (412) 223-5404 (phone)
                                             (412) 223-5406 (facsimile)
                                             dfuchscfuchslawoffice. corn

                                             A JURY TRIAL IS DEMANDED
       Case 2:22-cv-01573-MJH Document 1-2 Filed 11/07/22 Page 3 of 196



 IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

REALOGICHR LLC,                                         CIVIL ACTION .LAW

              Plaintiff,                                Case No.: GD -22-

       V.


CONTINENTAL CASUALTY COMPANY,
DIBIA CNA,

              Defendant.

                                   NOTICE TO DEFEND

         You have been sued in court. If you wish to defend against the claims set forth
 in the following pages, you must take action within twenty (20) days after this Complaint
and Notice are served, by entering a written appearance personally or by attorney and
filing in writing with the Court your defenses or objections to the claims set forth against
you. You are warned that if you fail to do so the Case may proceed without you and a
judgment may be entered against you by the Court without further notice for any money
claimed in the Complaint or for any claim or relief requested by the Plaintiff. You may
lose money or property or other rights important to you.

     YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU
DO NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH
BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A
LAWYER.
     IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY
OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO
FEE.

                                   Lawyer Referral Service
                           The Allegheny County Bar Association
                                11th Floor Koppers Building
                                   436 Seventh Avenue
                                   Pittsburgh, PA 15219
                                       (412) 261-5555
       Case 2:22-cv-01573-MJH Document 1-2 Filed 11/07/22 Page 4 of 196



 IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

REALOGICHR LLC,                                          CIVIL ACTION -LAW

               Plaintiff,                                Case No.: GD -22   -




       V.


CONTINENTAL CASUALTY COMPANY,
DIBIA CNA,

               Defendant.


                                       COMPLAINT

       AND NOW, comes the Plaintiff, RealogicHR LLC, by and through its undersigned

counsel, and submits the following Complaint and in support thereof avers as follows:

                                           Parties

       1.      RealogicHR LLC (hereinafter "Plaintiff') is a limited liability company with a

business address of 938 Penn Avenue, Suite 800, Pittsburgh, PA 15222.

       2.     Continental Casualty Company (hereinafter "Defendant") is an insurance

company with an address of 151 Franklin St., Chicago, IL 60606.

                                           Facts

       3.     The Plaintiff incorporates the previous paragraphs by reference as if set

forth at length herein.

       4.     The Plaintiff is in the business of providing staff augmentation in the form

of temporary and permanent placements to a variety of healthcare sectors, including

registered nurses, licensed practical nurses and certified nursing assistants.
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          5.    The Plaintiff obtained an insurance policy from the Defendant with Policy

Number CNP6025716265 (hereinafter the "Policy"). A true and correct copy of the

Policy is attached hereto as Exhibit A.

          6.    The Policy covered the policy period from August 19, 2020 through August

21, 2022.

          7.    The claims at issue arise out of the conduct of twO of Plaintiffs employees

who were assigned to supplement the staff of an assisted nursing facility in Sarver,

Pennsylvania.

          8.    The conduct at issue occurred during the time in which the Policy was in

effect.

          9.    The employees who committed the acts at issue herein were a licensed

practical nurse and certified nursing assistant.

          10.   The licensed practical nurse was accused of stealing medications

intended for a particular patient, and the certified nursing assistant was accused of

receiving and disseminating a video where that same patient was humiliated as a result

of being asked by individuals who were not employed by the Plaintiff to read certain

words from a card that those employees prepared.

          11.   An investigation of this matter, which included an investigation by the

authorities as well as admissions by some of the parties involved and review of the

video, determined that the licensed practical nurse employed by the Plaintiff stole

oxycodone intended for the patient on multiple occasions, as well as an unspecified

dosage of alprazolam.
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       12.     The investigation further concluded that the certified nursing assistant

received and further disseminated the video of the patient made by other caregivers at

the facility who were not employed by the Plaintiff.

       13.     The family of the victim retained counsel who threated legal action against

the Plaintiff, going so far as to circulate a draft complaint which named, among others,

the Plaintiff as a defendant.

       14.     Given the clear and undisputed evidence, the Plaintiff, together with the

owner of the facility where the patient resided and the other staffing agencies named as

defendants in the draft complaint, engaged in good faith negotiations with counsel for

the patient.

       15.     Those negotiations avoided the filing of a lawsuit which added the

potential for significant damages, including punitive damages, being awarded against

the Plaintiff for the conduct of its two employees.

       16.     The Plaintiff and the other defendants named in the draft complaint were

able to procure a favorable settlement of the claim and promptly paid the claim to avoid

litigation and the risk of further damages being sustained.

       17.     The Settlement Agreement resolving the matter was entered into on

March 11, 2022. A copy of the Settlement Agreement is not attached hereto given the

confidential nature thereof . A copy of the Settlement Agreement has been provided to

the Defendant previously and will be provided upon request.

       18.     The Plaintiff promptly notified the Defendant of the settlement.

       19.     On May 26, 2022, after repeated attempts by the Plaintiff to get a

response, the Defendant denied the claim.
       Case 2:22-cv-01573-MJH Document 1-2 Filed 11/07/22 Page 7 of 196



       20.       The claim submitted by the Plaintiff is clearly covered under the terms of

the Policy.

       21.       The only reason given for the failure to honor the claim is that the

settlement agreement was made prior to the Defendant's approval of the same.

       22.       This reason is insufficient for the denial of a claim. Pennsylvania law is

clear that the function of a notice requirement is to protect the insurance company's

interests from being prejudiced. Where the insurance company's interests are not

harmed by late notice, even in the absence of extenuating circumstances to excuse the

tardiness, the reason behind the notice condition is lacking, and as such, neither logic

nor fairness relieve the insurer's liability under the policy. See Nationwide Mutual

Insurance Co. v. Lehman, 743 A.2d 933 (Pa. Super. 1999).

       23.       The Defendant has suffered no prejudice by the late notice of the claim.

       24.       In fact, the Plaintiffs promptness is resolving the claim on favorable terms

and conditions has benefited the Defendant substantially, as its legal exposure is

substantially less than that it would otherwise have been required to pay.

                            COUNT I: BREACH OF CONTRACT

      25.        The Plaintiff incorporates the proceeding paragraphs as if set forth at

length herein.

      26.        The Plaintiff procured the Policy from the Defendant and paid

consideration to the Defendant for the providing of the Policy.

      27.        The Policy, in part, has a Businessowners Liability Coverage Form

Endorsement, as supplement by its Blanket Additional Insured and Liability Extension

Endorsement.
          Case 2:22-cv-01573-MJH Document 1-2 Filed 11/07/22 Page 8 of 196



          28.    Pursuant to the terms of the Policy, including the foregoing endorsements,

the Defendant is obligated to cover claims against the Plaintiff for "bodily injury", which

includes physical injury, humiliation, shock, mental anguish and mental injury.

          29.   The coverage under the Policy covers the very nature of the claims made

against the Plaintiff.

          30.   The Defendant's refusal to cover the claim is a breach of the Policy.

          31.   Furthermore, at the time the Plaintiff purchased the Policy, it was the

Plaintiffs reasonable expectation that claims of this nature would be covered.

          32.   The Defendant's breach of the Policy has caused the Plaintiff to sustain

damages in the amount of $67,745.00, which is the amount that the Plaintiff was

required to pay.

          WHEREFORE, the Plaintiff respectfully requests that judgment be entered in its

favor and against the Defendant in the amount of $67,745.00, plus interest, costs of

suit, and all other relief the Court deems fair and reasonable under the circumstances.

                COUNT II: BAD FAITH UNDER 42 PA. C.S. §8371 ET SEQ.

          33.   The Plaintiff incorporates the proceeding paragraphs as if set forth

at length herein.

          34.   The nature of the Policy placed the Defendant in the position

of a fiduciary with respect to the determination and payments of benefits under the

Policy.

          35.   The Defendant lacks a reasonable basis for denying the benefits to the

Plaintiff under the Policy.
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       36.    In fact, the Defendant has not investigated the claim but has summarily

determined that it will not pay the benefits to the Plaintiff under the Policy.

       37.    The Defendant's failure to properly and timely administer and pay the

Plaintiffs claims constitute bad faith insurance practices under Pennsylvania law and

violates the fiduciary relationship created by the insurance contract by:

       a.     Failing to timely and adequately respond to Plaintiff's claims submission;

       b.     Unreasonably interpreting the insurance policy provision;

       c.     Inadequately investigating the insured's claims made pursuant to the

              policy;

       d.     Failing to conduct a good faith investigation into the Plaintiff's claims;

       e.     Failing to deal fairly and in good faith with the Plaintiff;

       f.     Unreasonably denying the claim for coverage; and

       g.     Failing to pay a claim that is clearly covered by the Policy.

       38.     As a result of the Defendant's bad faith toward the Plaintiff, the Court

may award damages which include interest at the prime rate of interest plus 3%,

punitive damages and may assess court costs and attorneys' fees against the

Defendant.

      39.     The Defendant's conduct has caused the Plaintiff to sustain damages in

the amount of $67,745.00, which is the amount of the claim at issue herein.

      40.     Plaintiff is entitled to an award of interest, attorneys' fees, court costs and

punitive damages in accordance with 42 Pa. C.S. §8371 et seq.

      WHEREFORE, the Plaintiff respectfully requests that judgment be entered in its
     Case 2:22-cv-01573-MJH Document 1-2 Filed 11/07/22 Page 10 of 196



favor and against the Defendant in the amount of $67,745.00, plus interest, costs of

suit, punitive damages, attorneys' fees and all other relief the Court deems fair and

reasonable under the circumstances.

                                                Respectfully submitted,



                                                Is/David L. Fuchs
                                                DAVID L. FUCHS
                                                PA l.D. #205694
                                                TERESA K. FUCHS
                                                PA l.D. #205696
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                                                Carnegie, PA 15106
                                                (412) 223-5404 (phone)
                                                (412) 223-5406 (facsimile)
                                                dfuchsfuchslawoffice.com

                                                AND

                                                BRUCE E. STANLEY
                                                PA l.D. #56840
                                                ALICIA M. SCHMITT
                                                PA l.D. #200970
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                                                Pittsburgh, PA 15205
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                                                brucestanleyschm itt.com
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understand that these statements of fact are subject to the penalties of 18 Pa,
C.SA. Section 4904 relating to unsworn falsifications to authorities.



Date:
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         C'NA
                                                                                 Policyholder Notice      -
                                                                                                              Countrywide

                               IMPORTANT INFORMATION
                                       REQUEST FOR JURISDICTIONAL
                                    INSPECTION OF PRESSURE EQUIPMENT
     Many states and some cities issue certificates permitting the continued operation of certain equipment such as boilers,
     water heaters and pressure vessels. Periodic inspections are required to renew these certificates. In most jurisdictions, as
     part of an equipment breakdown policy, insurance company employees who have been licensed are authorized to perform
     these inspections.

     If:
           ¯
               You own/operate pressure equipment that requires a certificate from a state, county, city or parish to operate
               legally, and
           ¯
               We insure that equipment under this Policy, and
           ¯
               You would like CNA to perform the next required inspection:
     Then:

     Complete the form on page 2 and email, mail or fax as instructed:

           No need to call or respond if you do not have boilers or pressure vessels that require operating certificates.

     BY EMAIL:          EBinspections&cna.com (please       scan the completed form and attach)

     BY MAIL:                                                                    BY FAX:     609-524-3649
     CNA Equipment Breakdown Risk Control
     184 Liberty Corner Road
     4th Floor, Suite 402
     Warren, NJ 07059                                                            BY PHONE:   call 866-262-0540   -
                                                                                                                     press "4"
     Questions or inquiries can be made via any of the above methods of communication.
     Please note the following:
     ¯
           Your jurisdiction(s) may charge you a fee for renewing a certificate. It is your responsibility to pay such a fee.
     ¯
           If CNA is required to pay the fee on your behalf, CNA will invoice you to recover that fee.
     ¯
           All the provisions of the INSPECTION AND SURVEYS condition apply to the inspections described in this notice.
     Failure to notify us can result in fines and penalties being issued to the equipment owner by the governing
     jurisdiction. CNA is not responsible for said fines or penalties.

                                                                REMINDER

     If new equipment is installed or old equipment replaced that requires a jurisdictional inspection, please let us know by
-_   transmitting the new information to the postal address/fax number/email address listed above and on the following page.
     If this is a renewal and information (locations) has not changed, please disregard this notice.

     If inspection and maintenance are outside of your area of responsibility, we would appreciate your forwarding this notice to
     the appropriate person. If no response is received, we are assuming there are no jurisdictional objects at your
     location(s) and no inspections are required.
     Note: Jurisdictional inspections are not conducted outside of the United States, its territories, possessions, or
     Canada.

                                                                                       EXHIBIT
     CNA62823XX (07-2017)                              Copyright CNA All Rights Reserved.                                 Page 1 of 2
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 CNA
                                                                             Policyholder Notice                   -
                                                                                                                        Countrywide

                          REQUEST FOR JURISDICTIONAL INSPECTION
 Insured Name:
 Facility/Location Name:


 Policy Number:                                                                             Policy Term:


 Contact Person & Title:
 Contact Phone Number(s)-Office:                                                        Cell:
 Contact Email Address:


               Location Address1                                  City                          State                      Zip

 1.

 2.

 3.


              Equipment Type2'3'4                              Registration                             Certificate Expiration
                                                                Number                                             Date
             (Boiler. Pressure Vessel)                          (State #)




Completed By (Name & Date):

Telephone #/Email Address:
BY EMAIL:                 EBinspectionsccna.com (please            scan the completed form and attach)
BY MAIL:                                                                                           BY FAX: 609-524-3649
CNA Equipment Breakdown Risk Control
184 Liberty Corner Road
4th Floor, Suite 402
Warren, NJ 07059                                                             BY PHONE: call 866-262-0540            -
                                                                                                                        press "4"

11f multiple objects and/or multiple locations, please list all required information on separate page(s).
2Boiler is defined as an enclosed vessel heated by fuel or electricity to produce steam or hot water.
3Pressure Vessel is defined as an enclosed vessel (tank) greater than 6 cubic feet (18 inches x 40 inches) to store liquid
      or gas under pressure for use when needed.
4LPG (ex: propane, propylene, butane & butylenes) Tank with vapor pressures not exceeding that allowed for commercial
propane. California requirement only.




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 C'NA
                                                                        Policy Holder Notice           -
                                                                                                           Countrywide


                         IMPORTANT INFORMATION
                          NOTICE       -
                                           OFFER OF TERRORISM COVERAGE;
                                           DISCLOSURE OF PREMIUM
THIS NOTICE DOES NOT FORM A PART OF THE POLICY, GRANT ANY COVERAGE OR CHANGE THE TERMS
AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

As used herein, 1) "we" means the insurer listed on the Declarations or the Certificate of Insurance, as applicable; and 2)
"you" means the first person or entity named on the Declarations or the Certificate of Insurance, as applicable.

You are hereby notified that under the Terrorism Risk Insurance Act, as extended and reauthorized ("Act"), you have a
right to purchase insurance coverage of losses arising out of acts of terrorism, as defined in Section 102(1) of the Act,
subject to all applicable policy provisions. The Terrorism Risk Insurance Act established a federal program within the
Department of the Treasury, under which the federal government shares, with the insurance industry, the risk of loss from
future terrorist attacks.

This Notice is designed to alert you to coverage restrictions and to certain terrorism provisions in the policy. If there is any
conflict between this Notice and the policy (including its endorsements), the provisions of the policy (including its
endorsements) apply.

CHANGE IN THE DEFINITION OF A CERTIFIED ACT OF TERRORISM

The Act applies when the Secretary of the Treasury certifies that an event meets the definition of an act of terrorism.
Originally, the Act provided that to be certified, an act of terrorism must cause losses of at least five million dollars and
must have been committed by an individual or individuals acting on behalf of any foreign person or foreign interest to
coerce the government or population of the United States. However, the 2007 re-authorization of the Act removed the
requirement that the act of terrorism must be committed by or on behalf of a foreign interest, and now certified acts of
terrorism may encompass, for example, a terrorist act committed against the United States government by a United States
citizen, when the act is determined by the federal government to be "a certified act of terrorism."

In accordance with the Act, we are required to offer you the ability to purchase coverage for losses resulting from an act of
terrorism that is certified under the federal program. The other provisions of this policy, including nuclear, war or military
action exclusions, will still apply to such an act.

DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES

The Department of the Treasury will pay a share of terrorism losses insured under the federal program. In 2015, the
federal share equals 85% of that portion of the amount of such insured losses that exceeds the applicable insurer
retention, and shall decrease by 1 percentage point per calendar year until equal to 80%.

LIMITATION ON PAYMENT OF TERRORISM LOSSES

If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100
billion in a calendar year (January 1 through December 31), the Treasury shall not make any payment for any portion of
the amount of such losses that exceeds $100 billion.




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 C'NA
                                                                     Policy Holder Notice           -
                                                                                                        Countrywide

Further, this coverage is subject to a limit on our liability pursuant to the federal law where, if aggregate insured losses
attributable to terrorist acts certified under the Act exceed $100 billion in a calendar year (January 1 through December 31)
and we have met our insurer deductible under the Act, we shall not be liable for the payment of any portion of the amount
of such losses that exceeds $100 billion. In such case, insured losses up to that amount are subject to pro rata allocation
in accordance with procedures established by the Secretary of the Treasury.

CONFIRMATION OF ACCEPTANCE OF COVERAGE

In accordance with the Act, we offered you coverage for losses resulting from an act of terrorism that is certified under the
federal program. This notice confirms that you have chosen to accept our offer of coverage for certified acts of terrorism.
The policy's other provisions, including nuclear, war or military action exclusions, will still apply to such an act. The
premium charge for terrorism coverage, if any, is shown separately on the Declarations or the Certificate of Insurance, as
applicable.




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                                                                                            CNA



CNA Connect


New Business Declaration




POLICY NIJ!4BER              COVERAGE PROVIDED BY                    FROM   -
                                                                                POLICY PERIOD   -
                                                                                                    TO
B 6025716265                 CONTINENTAL CASUALTY COMPANY            08/19/2020           08/19/2021
                             151 N Franklin
                             CHICAGO, IL 60606

                             INSURED NAME AND ADDRESS
                             Realogic HR
                             4826 LIBERTY AVE

                             PITTSBURGH, PA     15227

AGENCY NUMBER                AGENCY NAME AND ADDRESS
059568                       CHANBERS INSURANCE AGENCY INC
                             33 N. MAIN ST
                             WASHINGTON, PA 15301
                             Phone Number:    (724)225-7450

BRANCH NUMBER                BRANCH NAME AND ADDRESS
020                          PITTSBURGH BRANCH
                             ONE PPG PLACE STE 2920
                             PITTSBURGH, PA 15222
                             Phone Number: (412)562-4100



This policy becomes effective and expires at 12:01 A.M. standard time at your mailing
address on the dates shown above.

The Named Insured is a Limited Liability Company

Your policy is composed of this Declarations, with the attached Common Policy Conditions,
Coverage Forms, and Endorsements, if any. The Policy Forms and Endorsement Schedule shows
all forms applicable to this policy at the time of policy issuance.

                  The Estimated Policy Premium Is             $2, 553 .00

Terrorism Risk Insurance Act Premium                             $38 .00

Audit Period is Not Auditable




                                                 INSURED                           Page     1 of         6
          Case 2:22-cv-01573-MJH Document 1-2 Filed 11/07/22 Page 17 of 196
POLICY NUMBER                   INSURED NAME AND ADDRESS
B 6025716265                    Realogic HR
                                4826 LIBERTY AVE
                                PITTSBURGH, PA 15227



PROPERTY COVERAGE                                                                LIMIT OF INSURANCE

The following deductible applies unless a separate deductible is shown on the Schedule of
Locations and Coverage.
Deductible:     $1,000
Business Income and Extra Expense Coverage
   Business Income and Extra Expense                             12 Months Actual Loss Sustained


Business Income and Extra Expense      -

                                           Dependent Properties                          $10,000
Employee Dishonesty                                                                      $25,000

Forgery and Alteration                                                                   $25,000

LIABILITY COVERAGE                                                               LIMIT OF INSURANCE

Liability and Medical Expense Limit        -
                                               Each Occurrence                        $1,000,000

Medical Expense Limit    --
                              Per Person                                                 $10, 000
Personal and Advertising Injury                                                       $1,000,000

Products/Completed Operations Aggregate                                               $2, 000, 000
General Aggregate                                                                     $2,000,000

Damage To Premises Rented To You                                                      $1,000,000

Data Breach Liability and     Privacy Event Expense
   Each Claim                                                                           $100, 000
   Aggregate                                                                            $100,000
   Privacy Event Expense Limit                                                           $10,000
   Retroactive Date:   09/01/2020
   Retention:          $1,000
Employment Practices/Fiduciary Liability          Retroactive Date:    08/19/2020       $100,000
   EPLI Deductible: $2,500

Hired Auto Liability                                                                  $1,000,000

Nonowned Auto Liability                                                               $1,000,000

Miscellaneous Professional Liability              Retroactive Date:     08/19/2020
   Each Claim Limit                                                                   $1,000,000
   Aggregate Limit                                                                    $1,000,000




                                                      INSURED                        Page    2 of     6
           Case 2:22-cv-01573-MJH Document 1-2 Filed 11/07/22 Page 18 of 196
                                 INSURED NAME AND ADDRESS
                                                                                         ru
POLICY   DMBER
B 6025716265                     Realogic HR
                                 4826 LIBERTY AVE
                                 PITTSBURGH, PA    15227       -
                                                                    v


                                  SCHEDULE OF LOCATIONS AND COVERAGE

LOCATION       1   BUILDING      1

4826 LIBERTY AVE STE 401
PITTSBURGH, PA   15227

Construction: Joisted Masonry
Class Description: CONSULTANTS       -
                                         BUSINESS MANAGEMENT ONLY

   Inflation Guard 3%

PROPERTY COVERAGE                                                            LIMIT OF INSURANCE

   Accounts Receivable                                                               $25,000

   Building                                                                      Not Covered

   Business Personal Property                                                        $25,000

   Electronic Data Processing                                                        $50, 000

   Equipment Breakdown                                                               $25,000

   Fine Arts                                                                         $25, 000

   Ordinance or Law    -
                           Demolition Cost, Increased Cost of Construction           $25,000

   Seasonal Increase:      25%

   Sewer or Drain Back Up                                                            $25,000

   Valuable Papers & Records                                                         $25,000




                                                     INSURED                      Page        3 of   6
          Case 2:22-cv-01573-MJH Document 1-2 Filed 11/07/22 Page 19 of 196
POLICY NUMBER              INSURED NAME AND ADDRESS
B 6025716265               Realogic HR
                           4826 LIBERTY AVE
                           PITTSBURGH, PA 15227



                                    LOSS PAYEE SCHEDULE

All loss payees as their interests may appear in the Covered Property.

The following provisions apply in accordance with the insurable interest of the loss
payee: Loss Payee
Description of Property: Any Covered Property in which a loss payee, creditor or lender
holds an interest, including any person or organization you have entered a contract with
for the sale of Covered Property.




                                             INSURED                      Page   4 of      6
             Case 2:22-cv-01573-MJH Document 1-2 Filed 11/07/22 Page 20 of 196
POLICY NUMBER                INSURED NAME AND ADDRESS
B 6025716265                 Realogic HR
                             4826 LIBERTY AVE
                             PITTSBURGH, PA 15227



                               FORMS AND ENDORSEMEN'rS SCHEDULE

The following list shows the Forms, Schedules and Endorsements by Line of Business that are
a part of this policy.

COMMON

FORM NUMBER               FORM TITLE
CNA74598PA      07/2013   Data Breach Liability   Pennsylvania Amendatory
                                                  -




CNA74SS9PA      07/2013   Miscellaneous Professional Liab   PA Amendatory
                                                                    -




CNA792O3XX      06/2014   Exclusion -
                                      Access or Disclosure of Confidential
CNA8O1O3XX      09/2014   Primary and Non Contributory    Other Ins Condition
                                                            -




CNA8l75lXX      03/2015   Cap on Losses from Certified Acts of Terrorism
CNA8S71OXX      06/2016   Unmanned Aircraft Exclusion Endorsement
CNA9268OXX      10/2019   Non -Accumulation of Limits Endorsement
55147027B       07/2009   Pennsylvania Changes
SB147030A       01/2006   Pennsylvania Notice
SB147075A       01/2006   Economic and Trade Sanctions Condition
SB147082E       04/2014   Businessowners Common Policy Conditions
SB147086B       04/2010   Loss Payable Provisions

COMMERCIAL PROPERTY

FORM NUMBER               FORM TITLE
SB146801J       10/2019   Businessowners Special Property Coverage Form
SB146802F       10/2019   Business Income and Extra Expense
SB146803A       01/2006   Seasonal Increase
SBl46804A       01/2006   Arson and Theft Reward
5B146805B       06/2016   Claim Data Expense
SB146806B       01/2008   Debris Removal
5B146807F       10/2019   Employee Dishonesty
SB146808A       01/2006   Expediting Expenses
SBl46809C       07/2009   Fine Arts
SBl468l0A       01/2006   Fire Department Service Charge
SBl468llA       01/2006   Fire Protective Equipment Discharge
SBl468l2D       10/2019   Forgery and Alteration
5B146813B       01/2008   Newly Acquired or Constructed Property
SBl468l4B       03/2006   Ordinance or Law
5B146815A       01/2006   Outdoor Trees, Shrubs, Plants and Lawns
SB1468l6A       01/2006   Pollutant Clean Up and Removal
SBl46817A       01/2006   Preservation of Property
SB146818A       01/2006   Temporary Relocation of Property
SBl468l9A       01/2006   Water Damage, Other Liquids, Solder, Molten Damage
SB146820C       06/2011   Accounts Receivable
SB146821A       01/2006   Appurtenant Buildings and Structures
SB146822A       01/2006   Building Glass
5B146823C       10/2019   Business Income Extra Expense    Dependent Property
                                                                -




SB146824B       01/2008   Business Income Extra Expense -Newly Acquired Locs
SB146825C       06/2011   Business Personal Property Off Premises
SBl46826C       10/2019   Civil Authority
SB146827F       06/2011   Electronic Data Processing
5B146828E       04/2014   Equipment Breakdown
SB146830B       01/2008   Money Orders and Counterfeit Paper Currency
SB14683lB       06/2011   Nonowned Detached Trailers
SB146832B       01/2008   Ordinance or Law -Increased Period of Restoration
SB146833A       01/2006   Outdoor Property
SB146834A       01/2006   Personal Effects
5B146835A       01/2006   Signs




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POLICY NUMBER                      INSURED NAME AND ADDRESS
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                                   4826 LIBERTY AVE
                                   PITTSBURGH, PA 15227



                                     FORMS AND ENDORSEMENTS SCHEDULE

COMMERCIAL PROPERTY

FORM NUMBER                     FORM TITLE
SB146836A          01/2006      Spoilage Consequential Loss
S3146837A          01/2006      Theft Damage to Rented Property
SB146838C          06/2011      Valuable Papers and Records
SB146839F          06/2011      Sewer or Drain Back Up
5B146936A          01/2006      Inflation Guard
SBl47084B          07/2009      Fungi, Wet Rot, Dry Rot and Microbe Exclusion
SB300l29C          10/2019      Targeted Hacker Attack
SB300l79H          10/2019      Choice Endorsement
5B300456A          07/2007      Concurrent Causation, Earth Movmnt, Water Excl Chg
5B300596A          01/2008      Identity Theft/Recovery Services Endorsement
COMMERCIAL GENERAL LIABILITY

FORM NUMBER                     FORM TITLE
CNA73343XX         05/2013      Data Breach Liab and Privacy Event Exp     Coy   Form
CNA73S44XX         06/2013      Miscellaneous Professional Liability
CNA73849XX         06/2013      Prof Services Endt    Consulting Services
                                                       -




SBl46902G          06/2016      Hired Auto and Non -owned Auto Liability
SBl46932G          10/2019      Blanket Additional Insured    Liability Extension
                                                                 -




SBl47079A          01/2006      War Liability Exclusion
5B147080B          10/2019      Exclusion   Silica
                                              -




SBl4708lB          10/2019      Exclusion   Respirable Dust
                                              -




5B147 083C         10/2 019     Fungi/Mold/Mildew/Yeast/Microbe Exclusion
5B147088A          01/2006      Exclusion   Asbestos
                                              -




55147089A          01/2006      Employment   Related Practices Exclusion
                                                  ¯-




SB300000D          04/2014      Businessowners Liability Coverage Form
5B300441A          01/2007      Fiduciary Liability Coverage Form
5B300449A          01/2007      Single Limit of Insurance Endorsement
5B300450A          01/2007      Employment Practices Liability Coverage Form
5B300849A          07/2009      Recd and Distribution of Material or information


             ***   PLEASE READ THE ENCLOSED IMPORTANT NOTICES CONCERNING YOUR POLICY                ***



FORM NUMBER                     FORM TITLE
CNA62823XX         07/2017      Req For Jurisdictional Inspection Of Pressure Equp
CNA81758XX         03/2015      Notice   -
                                             Offer of Terrorism Disclosure of Premium
CNA9S4O4XX         03/2019      CNA Coverpage Form




                                                                            Countersignature



    '12manoytheBoa                                                                      Secretary




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                         DATA BREACH LIABILITY AND PRIVACY EVENT
                                        EXPENSE COVERAGE FORM
THIS COVERAGE FORM APPLIES ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED DURING THE POLICY
PERIOD. CLAIMS MADE UNDER THIS COVERAGE FORM MUST BE REPORTED IN ACCORDANCE WITH THE
SECTION ENTITLED ADDITIONAL TERMS AND CONDITIONS, THE PARAGRAPH ENTITLED NOTICEIDATE OF
CLAIM/INTERRELATED CLAIM CLAUSE. NO COVERAGE EXISTS FOR CLAIMS FIRST MADE AGAINST THE
INSURED AFTER THE END OF THE POLICY PERIOD UNLESS, AND TO THE EXTENT THAT, THE EXTENDED
REPORTING PERIOD APPLIES. DEFENSE COSTS REDUCE THE LIMIT OF LIABILITY AND ARE SUBJECT TO THE
RETENTION. PLEASE REVIEW THE POLICY CAREFULLY AND DISCUSS THE COVERAGE WITH YOUR
INSURANCE AGENT OR BROKER.
For purposes of this Coverage Form, words in bold, whether expressed in the singular or the plural, have the meaning set
forth below in the Section entitled DEFINITIONS, even if otherwise defined in the Policy.
Furthermore, the terms and conditions set forth below in the Section entitled ADDITIONAL TERMS AND CONDITIONS
apply only to this Coverage Form and supplement those set forth in the BUSINESSOWNERS COMMON POLICY
CONDITIONS, which shall continue to apply to this Coverage Form. However, if any terms and conditions set forth in the
Section of this Coverage Form entitled ADDITIONAL TERMS AND CONDITIONS are inconsistent with or in conflict with
those set forth in the BUSINESSOWNERS COMMON POLICY CONDITIONS, the terms and conditions set forth in this
Coverage Form shall control for purposes of this Coverage Form.
COVERAGES
A. Insuring Agreement
    The Insurer will pay those sums that the Insured becomes legally obligated to pay as loss because of any covered
    claim for privacy injury by reason of a wrongful act by the Insured or by someone for whom the Insured is legally
    responsible, provided that:
    1.   prior to the inception date of this Policy, or the first data beach liability policy issued and continuously renewed by
         any insurer, of which this Policy is a replacement or renewal, whichever is earlier:
         a.   no Insured gave notice to any prior insurer of such claim or any related claim;
         b.   no Insured gave notice to a prior insurer of any such wrongful act or any interrelated wrongful act; and
         c.   no Insured had a basis to believe that any such wrongful act, or any interrelated wrongful act, might
              reasonably be expected to be the basis of such claim;
    2.   the wrongful act occurred on or after the retroactive date for the Data Breach Liability and Privacy Event Expense
         Coverage Form as set forth in the Declarations and prior to the end of the policy period; and
    3.   such claim is reported in accordance with the Section entitled ADDITIONAL TERMS AND CONDITIONS, the
         paragraph entitled NOTICE/DATE OF CLAIM/INTERRELATED CLAIM CLAUSE.
B. Supplementary Payments
    The Insurer will pay the Insured for privacy event expenses, in excess of any retention and up to the applicable limit
    of liability, it incurs to directly respond to a privacy event first discovered by an executive during the policy period,
    provided, that all privacy event expenses must be:
    1.   reported to the Insurer, in accordance with the paragraph entitled Duties in the Event of a Privacy Event;
    2.   incurred within twelve months following the date that the Insured reports the event to the Insurer; and,
    3.   consented to in advance in writing by the Insurer (such consent not to be unreasonably withheld).
EXCLUSIONS
The Insurer shall not be liable to pay any loss under this Coverage Form in connection with any claim made against any
Insured:
A. Assumed Liability
    based upon or arising out of any assumption of the liability of others under any contract or agreement;



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B. Deliberate Acts/Commingling or Misappropriation of Funds
     based upon or arising out of any actual or alleged: dishonest, fraudulent, criminal or malicious act or omission;
     commingling, misappropriation or misuse of funds; or intentional wrongdoing or knowing violation of any contract or
     agreement by any Insured if a final judgment, ruling or other finding of fact in any proceeding establishes that such
     act, omission, commingling, misappropriation, misuse or intentional wrongdoing was committed. The Insurer will not
     defend any criminal act which was the subject of a criminal prosecution in which the Insured was found guilty or
     pleaded guilty, nob contendere or no contest. Criminal proceedings are not covered under this Policy regardless of
     the allegations made against any Insured.
     For purposes of determining the applicability of this Exclusion:
     1.   the facts pertaining to and knowledge possessed by any natural person Insured shall not be imputed to any other
          natural person Insured; and
     2.   only facts pertaining to and knowledge possessed by any executive shall be imputed to the Insured Entity;
C. ERISA or any Similar Act
     for any actual or alleged violation of the responsibilities, obligations or duties imposed upon fiduciaries by ERISA or
     any similar act;
D. Governmental Actions
     based upon or arising out of any action or order by any domestic or foreign law enforcement, administrative, regulatory
     or judicial body or other governmental authority, to ban, limit or restrict access to, or provide access to, or intercept,
     confiscate, monitor or analyze, the network or any data, software or other information stored or processed on, or
     transmitted to or from, the network, whether authorized by the Insured or not, including without limitation,
     interception, monitoring, or analysis by the NSA, CIA or FBI, or under the Foreign Intelligence Surveillance Act, the
     USA Patriot Act or any other domestic or foreign law, regulation or order.
E.   Patent Infringement
     based upon or arising out of actual or alleged misappropriation or infringement of patent;
F.   Securities Claims
     based upon or arising out of:
     1.   the filing of any registration statement under the Securities Acts of 1933, or the Securities Exchange Act of 1934,
          any State Blue Sky Law, or any other state or local securities law; or
     2.   the Securities Act of 1933, the Securities and Exchange Act of 1934, rules or regulations of the Securities
          Exchange Commission under either or both acts, similar securities laws or regulations of state, or any laws of any
          state relating to any transaction arising out of, involving, or relating to the public offering of securities;
G. Unfair Competition/Antitrust Claims IRICO Claims
     based upon or arising out of:
     1.   unfair competition, dilution, deceptive trade practices, civil actions for consumer fraud;
     2.   charges of price fixing, monopolization or restraint of trade;
     3.   any actual or alleged violation of:
          a.   the Federal Trade Commission Act;
          b. the Sherman Act, the Clayton Act, or any federal statutory provision regarding anti-trust, monopoly, price
             fixing, price discrimination, predatory pricing or restraint of trade;
          c.   the Racketeer Influenced and Corrupt Organizations Act; or
          d.   any rules or regulations promulgated under or in connection with the above statutes, or any similar provision
               of any state, federal or local statutory law or common law;
     4.   false or deceptive advertising or misrepresentation in advertising;
H. Unsolicited Communication
     based upon or arising out of:

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          1.   any actual or alleged violation of any federal or state anti-spam statute or regulation, including the CAN -SPAM Act
               of 2003, as amended; or
          2.   any actual or alleged violation of any federal or state statute or regulation prohibiting the dissemination of
               unsolicited electronic communications to multiple third parties, including any violation of the Telephone Consumer
               Protection Act of 2001, as amended;
     I.   Wrongful Employment Practice /Discrimination/Harassment
          based upon or arising out of any actual or alleged employment practice, discrimination, humiliation, harassment or
          misconduct that includes, but is not be limited to, claims based upon an individual's race, creed, color, age, sex,
          national origin, religion, handicap, marital status or sexual preference.
     DEFINITIONS
     Application means all signed applications for this Policy and for any policy in an uninterrupted series of policies issued by
     the Insurer or any affiliate of the Insurer of which this Policy is a renewal or replacement. Application includes any
     materials submitted or required to be submitted therewith. An "affiliate of the Insurer" means an insurer controlling,
     controlled by, or under common control with, the Insurer.
     Claim means:
     A. a written demand for monetary damages or non -monetary relief (including demands for injunctive or declaratory relief)
        against an Insured alleging a wrongful act, which claim shall be deemed made on the date of the Insureds' receipt
        of such written demand; or
     B. a privacy regulation proceeding, against an Insured, alleging a wrongful act, including any appeal therefrom. Such
        claim shall be deemed made on the earliest of the date of service upon or other receipt by any Insured of a
        complaint, written notice of subpoena, or similar document of service in such proceeding, or arbitration;
     C. a written request received by the Insured to toll or waive a statute of limitations in connection with a claim as defined
        in paragraph A. and B., which claim shall be deemed made on the date of the Insureds' receipt of such written
        request.
     However, a claim does not include any criminal proceeding or criminal or civil investigation. Nor does claim include any
     regulatory proceeding except if the regulatory proceeding is a privacy regulation proceeding.
     Defense Costs means:
     A. all fees charged by attorneys designated by the Insurer;
     B. all reasonable and necessary:
          1.   fees charged by attorneys designated by the Insured Entity with the Insurer's written consent; and
          2.   fees, costs and expenses resulting from the investigation, adjustment, defense and appeal of a claim if incurred
               by the Insurer, or by an Insured with the Insurer's written consent, including the costs of appeal, attachment or
               similar bonds. The Insurer shall have no obligation to provide such bonds.
     However, defense costs does not include salaries, wages, fees, overhead or benefit expenses associated with the
     Insured Entity's directors, officers, employees, nor do defense costs include any fees or expenses of any third party
     contractors hired by an Insured to assist in any defense related activity.
     Domestic Partner means any spouse and any person qualifying as a domestic partner under any federal, state or local
     laws or under the Insured Entity's employee benefit plans.
     Employee means all of the Insured Entity's past, present or future full-time or part-time employees, including seasonal
     and temporary employees and employees leased or loaned to the Insured Entity. Employee does not include any
     independent contractor.
     ERISA or any Similar Act means the Employee Retirement Income Security Act of 1974, as amended or any similar
     common or statutory law of the United States, Canada or their states, territories or provinces or any other jurisdiction
-_   anywhere in the world.
     Executive means any of the Insured Entity's past, present or future:
     A. duly elected or appointed directors, officers, trustee governors or managers;
     B. management committee members if the Insured Entity is a joint venture; or

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C. officials, if the Insured Entity is organized and operated in a foreign jurisdiction, who are holding a position that is
   equivalent to an executive officer position listed in A. above.
Foreign Jurisdiction means any jurisdiction, other than the United States or any of its territories or possessions.
Insured means the Insured Person and the Insured Entity.
Insured Entity means the Named Insured and any subsidiary including any such entity as a debtor in possession under
United States bankruptcy law or an equivalent status under the law of any other country.
Insured Person means executives and employees of the Insured Entity. Insured Person includes an independent
contractor of the Insured Entity.
Interrelated Wrongful Acts means Wrongful Acts which are logically or causally connected by reason of any common
fact, circumstance, situation, transaction or event.
Loss means awards, settlements, judgments (including any award of pre -judgment and post-judgment interest on a
covered judgment) and defense costs for which any Insured is legally obligated to pay on account of a covered claim.
However, Loss does not include:
A. any amount for which an Insured is absolved from payment by reason of any covenant, agreement or court order;
B. any matters which are uninsurable under the law pursuant to which this Policy shall be construed;
C. civil or criminal fines, penalties, taxes, sanctions or forfeitures, imposed on an Insured whether pursuant to law,
   statute, regulation or court rule civil or criminal fines;
D. fees, costs and expenses paid or incurred or charged by any Insured, no matter whether claimed as restitution of
   specific funds, financial loss, set-off or paid in the form of service credits or other non -cash consideration by the
     Insured;
E. liquidated damages pursuant to a written contract or agreement in excess of the Insured's liability caused by the
   wrongful act;
F.   funds, monies, or securities that an Insured transferred or failed to transfer;
G. the cost of any non -monetary relief, including without limitation any costs associated with compliance with any
   injunctive relief of any kind or nature imposed by any judgment or settlement; or
H. the fees, costs and expenses, including refund of any money, incurred to comply with a warranty or guarantee.
Notwithstanding paragraph B. above, loss shall include (subject to this Policy's other terms, conditions and limitations),
punitive and exemplary damages and the multiplied portion of multiplied awards. Enforceability of this paragraph shall be
governed by such applicable law that most favors coverage for such punitive, exemplary and multiplied amounts. As used
herein, "applicable law" means the law of any of the following jurisdictions:
1.   where the claim seeking such loss is brought or where such loss are awarded or imposed;
2.   where the wrongful act giving rise to the claim occurred;
3.   where the lnsureds, subject to such loss, are incorporated, have their principal place of business or reside; or
4.   where the Insurer is incorporated or its principal place of business.
Management Control means:
A. owning interests representing more than 50% of the voting, appointment or designation power for the selection of a
   majority of the Board of Directors of a corporation; the management committee members of a joint venture; or the
   members of the management board of a limited liability company; or
B. having the right, pursuant to written contract or the Insured Entity's by-laws, charter, operating agreement or similar
   documents, to elect, appoint or designate a majority of the Board of Directors of a corporation; the management
   committee of a joint venture; or the management board of a limited liability company.
Manager means any manager, member of the Board of Managers or equivalent executive of the Insured Entity if such
Insured Entity is a limited liability company.
Named Insured means the person or entity named as such in the Policy Declarations.



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Network means a party's local or wide area network owned or operated by or on behalf of or for the benefit of that party;
provided, however, network shall not include the internet, telephone company networks, or other public infrastructure
network (collectively "public infrastructure network") unless such public infrastructure network is operated and controlled
exclusively by the Insured Entity.
Nonpublic Personal Information means two or more elements of information not available to the general public from
which an individual may be identified, including without limitation, an individual's name, address, telephone number, social
security number, account relationships, account numbers, account balances, and account histories.
Policy Period means the period of time from the effective date and time of this Policy to the date and time of termination
as shown in the Declarations, or its earlier cancellation date.
Policy Premium means the original premium and the fully annualized amount of any additional premiums, other than the
Extended Reporting Period premium, charged by the Insurer before or during the policy period.
Privacy Event means the Insured's discovery of, or the reasonable belief of an executive that:
A. an unauthorized disclosure of, inability to access, inaccuracy in, or the Insured's failure to prevent unauthorized
   access to, nonpublic personal information; or,
B. the Insured's failure to implement and maintain procedures designed to protect nonpublic personal information
   from unauthorized use or disclosure.
Privacy Event Expenses means:
A. all reasonable and necessary fees, costs and expenses incurred by the Insured Entity to directly effect compliance
   with a security breach notice law, notification and credit monitoring;
B. all reasonable and necessary fees, costs and expenses incurred by the Insured Entity to retain a crisis management
   firm, public relations firm or law firm to attempt to minimize potential negative media publicity arising from a privacy
    event.
Privacy Injury means:
A. any unauthorized disclosure of, inability to access, inaccuracy in, or the Insured's failure to prevent unauthorized
   access to, nonpublic personal information; or,
B. the Insured's failure to implement and maintain procedures designed to protect nonpublic personal information
   from unauthorized use or disclosure,
in violation of any federal, state, foreign or other law, statute or regulation governing the confidentiality, integrity, or
accessibility of non-public personal information, including but not limited to the Health Insurance Portability and
Accountability Act of 1996, Gramm-Leach -Bliley Act, Children's Online Privacy Protection Act, the EU Data Protection Act,
or the Fair and Accurate Credit Transactions Act.
Privacy Regulation Proceeding means a civil, administrative or regulatory proceeding against an Insured by a federal,
state or foreign governmental authority alleging a violation of any security breach notice law or any law, statute or
regulation governing the confidentiality, integrity or accessibility of nonpublic personal information.
Related Claims means all claims arising out of a single wrongful act or arising out of interrelated wrongful acts.
Security Breach Notice Law means any statute or regulation that requires an entity storing nonpublic personal
information to provide notice to specified individuals of any actual or potential security breach with respect to such
nonpublic personal information.
Single Loss means all Loss arising from each Claim.
Subsidiary means:
A. any entity (other than a partnership) in which the Named Insured has Management Control directly or indirectly
   through one or more other Subsidiaries:
    1.   on or before the effective date of this Policy; or
    2.   after the effective date of this Policy by reason of being created or acquired by the Named Insured and any
         Subsidiary after such date, if and to the extent coverage with respect to the entity is afforded pursuant to the
         Section entitled ADDITIONAL TERMS AND CONDITIONS, the paragraph entitled COVERAGE FOR NEW
         SUBSIDIARIES; or


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B. any not-for-profit entity under section 26 U.S.C. §501(c)(3), (4), (6), (7), and (10), as amended, sponsored exclusively
   by any Insured Entity or any Political Action committee formed by any Insured Entity.
Takeover means:
A. the acquisition by another entity or person, or group of entities or persons acting in concert, of:
    1.   the management control of the Named Insured; or
    2.   assets of Named Insured resulting in the ownership of more than 50% of the total consolidated assets of the
         Named Insured as of the date of the Named lnsureds most recent audited consolidated financial statement prior
         to such acquisition;
B. the merger of the Named Insured into another entity such that the Named Insured is not the surviving entity; or
C. the consolidation of the Named Insured with another entity.
Wrongful Act means any actual or alleged act, error, omission, neglect or breach of duty.
ADDITIONAL TERMS AND CONDITIONS
A. APPLICATION
    1.   The Insureds represent and acknowledge that the statements contained in the Application (which shall be
         maintained on file by the Insurer and be deemed attached to and incorporated into this Policy as if physically
         attached), are true and are the basis of this Policy and are to be considered as incorporated into and constituting
         a part of this Policy. This Coverage Form is issued in reliance upon the truth of such representations.
    2.   In the event the Application contains any misrepresentation or omission made with the intent to deceive, or
         which materially affects either the acceptance of the risk or the hazard assumed by the Insurer under the Policy
         then this Coverage Form shall be voided as to:
         a.   the Insured Entity, if the Chief Executive Officer, Chairperson, Chief Financial Officer, President (or any
              equivalent position), or the signer of the Apphcation knew of such misrepresentation or omission and,
         b.   any Insured Persons who knew of such misrepresentation or omission.              Such knowledge shall not be
              imputed to any other Insured Persons.
B. BANKRUPTCY
    Bankruptcy or insolvency of any Insured shall not relieve the Insurer of any of its obligations under this Coverage
    Form.
C. CHANGE OF STATUS OF INSUREDS
    1.   Takeover of the Named Insured
         In the event of a takeover of the Named Insured, coverage under this Coverage Form shall continue until this
         Policy expires or is otherwise terminated, but only with respect to wrongful acts that take place before the
         effective date of the takeover, unless:
         a.   the Insurer is notified in writing of the Takeover prior to the Takeover effective date and agrees in writing to
              provide coverage for Wrongful Acts occurring on or after such effective date, and
         b.   the Named Insured accepts any special terms, conditions, exclusions or additional premium charge required
              by the Insurer.
    2.   Cessation of Subsidiary
         If any Insured Entity ceases to be a subsidiary, coverage under this Coverage Form shall continue for such
         subsidiary but only for wrongful acts by such subsidiary or any Insured Person of such subsidiary occurring
         prior to the date such Insured Entity ceased to be a subsidiary.
D. COVERAGE FOR NEW SUBSIDIARIES
    1.   If, after the effective date of this Policy:
         a.   an Insured Entity creates or acquires a privately held entity, or
         b.   an Insured Entity merges with another privately held entity such that an Insured Entity is the surviving
              entity,

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          then such entity, and any subsidiaries, directors, officers, trustees or employees of such entity who otherwise
          would thereby become an Insured, shall be automatically covered under this Coverage Form, subject to its terms
          and conditions.
     2.   There shall be no coverage for any wrongful act by such created, acquired or merged entity, or by any persons
          or entities considered to be Insureds pursuant to sub-paragraph 1. of this paragraph D., where such wrongful
          act occurred in whole or in part before the effective date of such acquisition or merger or for any wrongful act
          occurring on or after such date which, together with any wrongful acts occurring before such date, would be
          considered interrelated wrongful acts.
E.   DEFENSE AND MEDIATION
     1.   Defense of Claims
          The Insurer has the right and duty to defend all claims even if the allegations are groundless, false or fraudulent.
          The Insurer shall have the right to appoint counsel and to make such investigation and defense of a claim as it
          deems necessary. Alternatively the Insurer may at its option, give its written consent to the defense of any such
          claim by the Insureds. The Insurer's obligation to defend any claim or pay any loss, including defense costs,
          shall be completely fulfilled and extinguished if the applicable limit of liability has been exhausted by payment of
          loss.
     2.   Mediation
          If, prior to institution of arbitration proceedings or service of suit or within sixty (60) days of the institution of such
          proceedings or service of suit, the Insurer and the Named Insured agree to use a process of non binding
          intervention by a neutral third party to resolve any Claim reported to the Insurer, and if such Claim is resolved
          through such process, the Insurer will reduce the retention applicable to such Claim by fifty percent or ten
          thousand dollars ($10,000.00), whichever is less.
     3.   Admission
          The Insureds shall not admit liability, consent to any judgment, agree to any settlement or make any settlement
          offer without the Insurer's prior written consent, such consent not to be unreasonably withheld. The Insurer shall
          not be liable for any Loss to which it has not consented. The Insureds agree that they shall not knowingly take
          any action which increases the Insurer's exposure for Loss under this Coverage Form.
     4.   Payment of Loss in Excess of Retentions
          The Insurer is liable to pay only that amount of a covered single loss in excess of the applicable retention, if any,
          up to the applicable limit of liability. The retention shall be uninsured.
F.   ESTATES
     The estates, heirs, legal representatives and any domestic partner of a natural person Insured shall be insured
     under this Policy; provided, however, coverage is afforded to such estates, heirs, legal representatives and domestic
     partners only for a claim arising solely out of their status as such and, in the case of a domestic partner, where such
     claim seeks loss from marital community property, jointly held property or property transferred from such Insured to
     the domestic partner. No coverage is provided for any act, error or omission of an estate, heir, legal representative or
     domestic partner. All terms and conditions of this Policy, including without limitation the retention, applicable to loss
     or defense costs incurred by the Insured shall also apply to loss and defense costs incurred by such estates, heirs,
     legal representatives, assigns, spouses and domestic partners.
G. EXTENDED REPORTING PERIOD
     1.   Optional Extended Reporting Period
          If the Named Insured cancels or non-renews this Policy or if the Insurer decides not to offer any renewal terms
          for this Policy, the Named Insured shall have the right to purchase, upon payment of an additional premium, an
          extension of this Coverage Form immediately following the end of the policy period, but only with respect to any
          wrongful act committed before the earlier of the end of the policy period or the effective date of any takeover.
          The additional premium for such extension is a percentage of the total policy premium for this Coverage Form
          attributable to the policy period in effect upon such cancellation or non-renewal.
          This period shall be referred to as the Extended Reporting Period.




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     2.   Payment of Extended Reporting Period Premium
          As a condition precedent to the right to purchase the Extended Reporting Period, the total premium for this Policy
          must have been paid. The right to purchase the Extended Reporting Period applicable to this Coverage Form
          ends sixty (60) days after termination or expiration of the policy period unless the Insurer receives written notice
          and full payment of the premium for such Extended Reporting Period within sixty (60) days after such termination
          or expiration.
     3.   Non-Cancelable/Premium Fully Earned
          If the Extended Reporting Period is purchased, the entire premium shall be deemed fully earned at its
          commencement without any obligation by the Insurer to return any portion thereof.
     4.   No Separate Limit
          There is no separate or additional limit of liability for the Extended Reporting Period. The remainder of the
          aggregate Limit of Liability of this Coverage Form in effect at the end of the policy period is the maximum limit of
          liability for all claims reported under this Coverage Form during the Extended Reporting Period.
H. HEADINGS
     The descriptions in the headings of this Coverage Form are solely for convenience, and form no part of the terms and
     conditions of coverage.
I.   LIMITS OF LIABILITY/RETENTIONS
     1.   Aggregate Limit of Liability
          The Limit of Liability set forth in the Declarations as the Data Breach Liability and Privacy Event Expense
          Coverage Form "aggregate limit" is the maximum limit of insurance the Insurer will pay for all loss arising out of all
          claims and privacy events first made against Insureds during the policy period and the Extended Reporting
          Period (if applicable). The Limit of Liability for the Extended Reporting Period shall be part of and not in addition to
          the Limit of Liability for the policy period.
     2.   Each Claim Limit of Liability
          Subject to the aggregate limit of the Insurer's liability as set forth in paragraph 1. above, the most the Insurer will
          pay for all loss arising out of each claim under this Coverage Form is the Limit of Liability set forth in the
          Declarations as the Data Breach Liability and Privacy Event Expense Coverage Form "each Claim limit."
     3.   All Privacy Event Expenses Limit of Liability
          Subject to the aggregate limit of the Insurer's liability as set forth in paragraph 1. above, the most the Insurer will
          pay for all privacy event expenses arising out of each privacy event and all privacy events under this
          Coverage Form is the Limit of Liability set forth in the Declarations as the Data Breach Liability and Privacy Event
          Expense Coverage Form 'privacy event expense limit."
     4.   Retentions
          a. The retention amount for the Data Breach Liability and Privacy Event Expense Coverage Form set forth in the
             Declarations shall apply to loss and privacy event expenses payable under this Coverage Form. The
             Insurer shall pay loss and privacy event expenses in excess of any retention as it becomes due and
             payable to the Insureds. A separate retention shall apply to each claim and each privacy event.
          b.    The Insurer's obligation to pay loss and privacy event expenses is in excess of any applicable retentions.
                The Insurer will have no obligation to pay all or any portion of any applicable retention. Should the Insurer, in
                its sole discretion, pay any retention, then the Named Insured shall have the obligation to reimburse the
                Insurer for such amounts.
          c.    Subject to the BUSINESSOWNERS COMMON POLICY CONDITIONS, the Section entitled Insurance
                Under Two Or More Coverages, if a single loss is covered under more than one of this Policy's coverages
                and if more than one retention applies to such single loss, the maximum total retention amount applicable to
                such single loss shall be the highest of such applicable retentions.
     5.   Multiple Insureds, Claims and Claimants
          Subject to the provisions of this Policy, the applicable limit of liability shown in the Declarations for the Data
          Breach Liability and Privacy Event Expense Coverage Form is the amount the Insurer will pay for loss and


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               privacy event expenses per policy period regardless of the number of Insureds, claims, or persons or entities
               making claims under this Coverage Form.
     J.   NOTICE/DATE OF CLAIM/INTERRELATED CLAIM CLAUSE
          1.   Notice of Claim
               The Insureds shall, as a condition precedent to the obligations of the Insurer under this Coverage Form, give
               prior wriften notice to the Insurer of a claim as soon as practicable after the Named Insured's Chief Executive
               Officer, Chief Financial Officer, President, Risk Manager or In -House General Counsel (or any equivalent position)
               learns of such claim but in no event later than ninety (90) days after termination or expiration of the policy period
               or any subsequent renewal policy period in an uninterrupted series of renewals, or prior to the expiration of the
               Extended Reporting Period, if applicable.
          2.   Duties in the Event of a Privacy Event
               The Insured must, as a condition precedent to the Insurer obligations under this Policy, give the Insurer written
               notice of any privacy event as soon as reasonably practicable after the Chief Executive Officer, Chief Financial
               Officer, President or Risk Manager learns of such privacy event, but in no event later than ninety (90) days
               following the end of the policy period or any renewal policy period in a continuous, uninterrupted series of
               renewals.
          3.   Notice of Circumstance
               If, during the policy period, the Insureds first become aware of a wrongful act that occurred during the policy
               period which may reasonably give rise to a future claim (a "circumstance") and during such period give written
               notice to the Insurer of:
               a.   the names of any potential claimants and a description of the wrongful act which forms the basis of their
                    potential claim;
               b.   the identity of the specific Insureds allegedly responsible for such specific wrongful act;
               c.   the consequences which have resulted or may result from such specific wrongful act;
               d.   the nature of the potential monetary damages or non -monetary relief which may be sought in consequence of
                    such specific wrongful act; and,
               e.   the circumstances by which Insureds first became aware of such specific wrongful act;
               then any claim otherwise covered pursuant to this Coverage Form which is subsequently made and which arises
               out of such circumstance shall be deemed to have been first made and reported to the Insurer by the lnsureds at
               the time such written notice was received by the Insurer. No coverage is provided for fees and expenses incurred
               prior to the time such notice results in a claim.
          4.   Interrelated Claims/Privacy Events
               a.   Multiple Claims
                    More than one claim involving the same wrongful act or interrelated wrongful acts shall be considered as
                    one claim which shall be deemed made on the earlier of:
                    1.   the date on which the earliest such claim was first made, or
                    2.   the first date valid notice was given by the Insureds to the Insurer under this Coverage Form of any
                         wrongful act or under any prior policy of any wrongful act or any fact, circumstance, situation, event or
                         transaction which underlies any such claim.
               b.   Multiple Events
                    More than one privacy event involving the same acts, errors or omissions or substantially related acts, errors
                    or omissions, shall be considered as one privacy event which shall be deemed made on the earlier of:

-a                  1.
                    2.
                         the date on which the earliest such privacy event was first discovered by an executive; or
                         the first date valid notice was given by the Insured to the Insurer under this Coverage Form or under any
                         prior coverage form.




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     5.   Lawsuits
          In no event shall an individual lawsuit or proceeding constitute more than one claim.
     6.   To Whom Notice of Claim or Circumstance is Sent
          The Insureds shall give written notice of claims or circumstances to the Insurer under this Coverage Form as
          specified in the Declarations, which notice shall be effective upon receipt.
K. OTHER INSURANCE
     If any loss resulting from any claim is insured under any other valid and collectible insurance, this Coverage Form
     shall apply only as excess over such other insurance unless such other insurance is written only as specific excess
     insurance over the limit of liability provided by this Coverage Form.
L.   TERRITORY
     Coverage under this Coverage Form shall apply worldwide.
M. TRADE AND ECONOMIC SANCTIONS
     This Coverage Form does not provide coverage for Insureds, transactions or that part of loss that is uninsurable
     under the laws or regulations of the United States concerning trade or economic sanctions.
N. VALUATION
     All premiums, limits, retentions, loss and other amounts under this Coverage Form are expressed and payable in
     United States of America currency. If any judgment, settlement or any part of loss is expressed or calculated in any
     other currency, payment of such loss due under this Coverage Form will be made in the currency of the United States
     of America, at the rate of exchange published in The Wall Street Journal on the date the Insurer's obligation to pay
     such loss is established, or, if not published on that date, on the date of next publication.
0. WAIVERORCHANGE
     Notice to or knowledge possessed by any agent or other person acting on behalf of the Insurer shall not effect a
     waiver or a change in any part of this Coverage Form or stop the Insurer from asserting any right under the provisions
     of this Coverage Form, nor shall the provisions be waived or changed except by written endorsement issued to form a
     part of this Coverage Form.




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                MISCELLANEOUS PROFESSIONAL LIABILITY COVERAGE FORM
    THIS COVERAGE FORM APPLIES ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED DURING THE POLICY
    PERIOD. CLAIMS MADE UNDER THIS COVERAGE FORM MUST BE REPORTED IN ACCORDANCE WITH THE
    SECTION ENTITLED ADDITIONAL TERMS AND CONDITIONS, THE PARAGRAPH ENTITLED NOTICE/DATE OF
    CLAIM/INTERRELATED CLAIM CLAUSE. NO COVERAGE EXISTS FOR CLAIMS FIRST MADE AGAINST THE
    INSURED AFTER THE END OF THE POLICY PERIOD UNLESS, AND TO THE EXTENT THAT, THE EXTENDED
    REPORTING PERIOD APPLIES. DEFENSE COSTS REDUCE THE LIMIT OF LIABILITY AND ARE SUBJECT TO THE
    RETENTION. PLEASE REVIEW THE POLICY CAREFULLY AND DISCUSS THE COVERAGE WITH YOUR
    INSURANCE AGENT OR BROKER.
    For purposes of this Coverage Form, words in bold, whether expressed in the singular or the plural, have the meaning set
    forth below in the Section entitled DEFINITIONS, even if otherwise defined in the Policy.
    Furthermore, the terms and conditions set forth below in the Section entitled ADDITIONAL TERMS AND CONDITIONS
    apply only to this Coverage Form and supplement those set forth in the BUSINESSOWNERS COMMON POLICY
    CONDITIONS, which shall continue to apply to this Coverage Form. However, if any terms and conditions set forth in the
    Section of this Coverage Form entitled ADDITIONAL TERMS AND CONDITIONS are inconsistent with or in conflict with
    those set forth in the BUSINESSOWNERS COMMON POLICY CONDITIONS, the terms and conditions set forth in this
    Coverage Form shall control for purposes of this Coverage Form.

    INSURING AGREEMENT

    The Insurer will pay on behalf of the Insured that loss, in excess of the retention and up to the applicable limit of liability,
    resulting from any claim first made against the Insured during the policy period, or any Extended Reporting Period, if
    applicable, for a wrongful act by the Insured Entity, by an Insured Person within the scope of such individual's duties on
    behalf of the Insured Entity or by someone for whose wrongful act the Insured is legally responsible, provided that:
    A. prior to the inception date of this Policy, or the first professional liability policy issued and continuously renewed by any
       insurer, of which this Policy is a replacement or renewal, whichever is earlier:
        1.   no Insured gave notice to any prior insurer of such claim or any related claim;
        2.   no Insured gave notice to a prior insurer of any such wrongful act or any interrelated wrongful act; and
        3.   no Insured had a basis to believe that any such wrongful act, or any interrelated wrongful act, might
             reasonably be expected to be the basis of such claim;
    B. the wrongful act occurred on or after the retroactive date for the Miscellaneous Professional Liability Coverage Form
       as set forth in the Declarations and prior to the end of the policy period; and
    C. such claim is reported in accordance with the Section entitled ADDITIONAL TERMS AND CONDITIONS, the
       paragraph entitled NOTICE/DATE OF CLAIM/INTERRELATED CLAIM CLAUSE.
    EXCLUSIONS
    The Insurer shall not be liable to pay any loss under this Coverage Form in connection with any claim made against any
    Insured:
    A. Bodily Injury/Property Damage
-



        for any actual or alleged bodily injury (including death), sickness, disease, emotional distress, mental anguish, of any
        person, or property damage;
    B. Claims by Insureds
        by or on behalf of any Insured in any capacity, provided, however that this exclusion shall not apply to:
        1.   any claim that is in the form of a crossclaim, third -party claim or otherwise for contribution or indemnity which is
             part of and results directly from a claim which is not otherwise excluded under this Policy; or
        2.   any claim brought or maintained by or on behalf of a bankruptcy or insolvency trustee, examiner, liquidator,
             receiver or rehabilitator for an Insured Entity or any assignee of such trustee, examiner, liquidator, receiver or
             rehabilitator;


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C. Deliberate Acts/Commingling or Misappropriation of Funds
     based upon or arising out of any actual or alleged dishonest, fraudulent, criminal or malicious act or omission,
     commingling, misappropriation or misuse of funds, or intentional wrongdoing, including the intentional
     misappropriation of trade secrets, by an Insured if a final judgment, ruling or other finding of fact in any proceeding
     establishes that such act, omission, commingling, misappropriation, misuse or intentional wrongdoing was committed.
     The Insurer will not defend any criminal act which was the subject of a criminal prosecution in which the Insured was
     found guilty or pleaded guilty, nob contendere or no contest. Criminal proceedings are not covered under this Policy
     regardless of the allegations made against any Insured.
     For purposes of determining the applicability of this exclusion:
     1.   the facts pertaining to and knowledge possessed by any Insured Person shall not be imputed to any other
          Insured Person; and,
     2.   only facts pertaining to and knowledge possessed by any executive shall be imputed to the Insured Entities;
D. ERISA or any Similar Act
     for any actual or alleged violation of the responsibilities, obligations or duties imposed upon fiduciaries by ERISA or
     any similar act;
E.   Injunctive Relief
     for the cost of any non -monetary relief, including without limitation any costs associated with compliance with any
     injunctive relief of any kind or nature imposed by any judgment or settlement. However, the Insurer shall provide a
     defense for any claim seeking injunctive relief. Such defense will not waive any of the Insurer's rights under this
     Policy;
F.   Owned Entity
     by any entity that is not an Insured under this Policy, if, at the time of the wrongful act giving rise to such claim:
     1.   any Insured controlled, owned, operated or managed such entity; or
     2.   any Insured was an executive or employee of such entity;
     For the purpose of this exclusion, a 10% or more owner of the voting stock of a publicly held corporation or a 50% or
     more owner of the voting stock of a privately held corporation shall be deemed to own such entity;
G. Patent Infringement
   based upon or arising out of actual or alleged infringement of patent;
H. Pollutants
     based upon or arising out of:
     1.   any nuclear reaction, radiation or contamination, or any actual, alleged or threatened discharge, release, escape,
          or disposal of, or exposure to, pollutants;
     2.   any request, direction or order that any of the lnsureds test for, monitor, clean up, remove, contain, treat, detoxify,
          neutralize or in any way respond to or assess the effect of pollutants or nuclear reaction, radiation or
          contamination, or any voluntary decision to do so; or
     3.   any actual or alleged property damage, or bodily injury, sickness, disease or death of any person, or financial
          loss arising out of paragraphs 1 or 2 above;
I.   Securities Claims
     based upon or arising out of:
     1.   the filing of any registration statement under the Securities Acts of 1933, or the Securities Exchange Act of 1934,
          any State Blue Sky Law, or any other state or local securities law; or
     2.   the Securities Act of 1933, the Securities and Exchange Act of 1934, rules or regulations of the Securities
          Exchange Commission under either or both acts, similar securities laws or regulations of state, or any laws of any
          state relating to any transaction arising out of, involving, or relating to the public offering of securities;



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J.   Unfair Competition/Antitrust Claims/RICO Claims
     based upon or arising out of any actual or alleged:
     1.   unfair competition, dilution, deceptive trade practices, civil actions for consumer fraud;
     2.   charges of price fixing, monopolization or restraint of trade;
     3.   any violation of:
          a.   the Federal Trade Commission Act;
          b.   the Sherman Act, the Clayton Act, or any federal statutory provision regarding anti-trust, monopoly, price
               fixing, price discrimination, predatory pricing or restraint of trade;
          c. the Racketeer Influenced and Corrupt Organizations Act;
          d.   any rules or regulations promulgated under or in connection with the above statutes; or
          e.   any state, federal or local statutory law or common law similar to the above statutes; or
     4.   false or deceptive advertising or misrepresentation in advertising,
     not directly related to a claim alleging a personal/proprietary injury as defined in paragraphs E. and F. of the
     definition of personal/proprietary injury;
K. Wrongful Employment Practice/Discrimination/Humiliation/Harassment
     for any actual or alleged wrongful employment practice or any other discrimination, humiliation or harassment.
RISK MITIGATION CREDIT
A. The Insurer will reduce the Insured Entity's retention for a claim by 50% or up to $10,000, whichever is less, if the
   Insured Entity involved in such claim demonstrates, to the Insurer's reasonable satisfaction, the existence of the
   following three (3) conditions:
     1.   a copy of the Insured Entity's executed contract or services agreement with the client bringing the claim that
          outlines professional services to be performed;
     2.   proof that the Insured Entity documented client approvals during the project and upon final acceptance of the
          completed project; and
     3.   proof that if there were any interim changes made to the existing contract with the client bringing the claim that
          such changes were documented in writing and approved by both the Insured Entity and the client.
B. In the event that one claim is eligible for both this Risk Mitigation Credit Section and the Mediation provision found in
   the     Section     entitled   ADDITIONAL           TERMS       AND      CONDITIONS,        the    paragraph      entitled
   DEFENSE/SETTLEMENTIMEDIATIONIPRE -CLAIM ASSISTANCE, the sub-paragraph entitled Mediation, then the
   Insured Entity shall receive only the benefit of one retention credit, but not both. In no way shall either section be
   construed to afford any more than a total of 50% or $10,000 credit toward any one retention for any one claim.
VICARIOUS LIABILITY
Any entity the Insured Entity is required by contract to include as an insured for liability of such entity for an Insured's
wrongful acts shall be insured under this Coverage Form but solely to the extent that a claim is made against such entity
for a wrongful act of an Insured, and only so long as the written contract is entered into before such wrongful act occurs.
Any coverage afforded by this Section is subject always to all of the terms and conditions applicable to this Coverage
Form, provided however:
A. there shall be no coverage afforded to such entity for its wrongful acts; and
B. nothing herein shall serve to confer any rights or duties to such entity under this Coverage Form, other than as
   provided in this Section.
DEFINITIONS
Application means all signed applications for this Policy and for any policy in an uninterrupted series of policies issued by
the Insurer or any affiliate of the Insurer of which this Policy is a renewal or replacement. Application includes any
materials submitted or required to be submitted therewith. An "affiliate of the Insurer" means an insurer controlling,
controlled by, or under common control with, the Insurer.


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Claim means:
A. a written demand for monetary damages or non -monetary relief (including demands for injunctive or declaratory relief)
   against an Insured alleging a wrongful act, which claim shall be deemed made on the date of the Insureds' receipt
   of such written demand; or
B. a written request received by the Insured to toll or waive a statute of limitations in connection with a claim as defined
   in paragraph C. below, which claim shall be deemed made on the date of the Insureds' receipt of such written
   request; or
C. a proceeding which is a:
    1.   civil proceeding in a court of law or equity or any alternative dispute resolution proceeding; or
    2.   a formal civil administrative or regulatory proceeding or formal civil, administrative or regulatory investigation,
    against an Insured, alleging a wrongful act including any appeal therefrom. Such claim shall be deemed made on
    the earliest of the date of service upon, or other receipt by, any Insured of a complaint, subpoena, formal order of
    investigation, target letter (within the meaning of Title 9, §11.151 of the United States Attorney's Manual), or similar
    document in such proceeding, arbitration or investigation.
However, a claim does not include any criminal proceeding, criminal administrative or criminal regulatory proceeding or
criminal investigation or informal civil investigation.
Defense costs means:
A. all fees charged by attorneys designated by the Insurer, and all reasonable fees charged by attorneys designated by
   the Named Insured with the Insurer's prior written consent;
B. all other fees, costs and expenses resulting from the investigation, adjustment, defense and appeal of a claim
   incurred by the Insurer or by the Insureds with the prior written consent of the Insurer; and,
C. the costs of appeal, attachment or similar bonds. The Insurer has no obligation to provide such bonds.
Defense costs do not include any fees, costs or expenses incurred by an Insured to the extent the defense costs are
without the Insurer's prior written consent.
All fees, costs and expenses incurred in the investigation, adjustment, defense and appeal of a claim must be reasonable
and necessary to the defense of the claim.
However, defense costs do not include salaries, wages, fees, overhead or benefit expenses associated with the directors,
officers, employees of the Insured Entity.
Domestic partner means any person qualifying as a "domestic partner" under any federal, state or local laws or under the
Insured Entity's employee benefit plans.
Employee means all past, present or future full-time or part-time employees of the Insured Entity, including seasonal and
temporary employees and employees leased or loaned to the Insured Entity. Employee does not include any volunteers
or independent contractors.
ERISA or any similar act means the Employee Retirement Income Security Act of 1974, as amended, or any similar
common or statutory law of the United States, Canada or their states, territories or provinces or any other jurisdiction
anywhere in the world.
Executive means any past, present or future:
A. duly elected or appointed director, officer, trustee, governor or manager of the Insured Entity;
B. management committee member if the Insured Entity is a joint venture; or,
C. official in the Insured Entity organized and operated in a foreign jurisdiction who is holding a position that is
   equivalent to an executive position listed in A. or B. above.
Foreign jurisdiction means any jurisdiction, other than the United States or any of its territories or possessions.
Insured means the Insured Person and the Insured Entity.
Insured Entity means the Named Insured and any subsidiary including any such entity as a debtor in possession under
United States bankruptcy law or an equivalent status under the law of any other country.


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Insured Person means executives and employees of the Insured Entity. Insured Person includes an independent
contractor of the Insured Entity.
Interrelated wrongful acts means wrongful acts which are logically or causally connected by reason of any common
fact, circumstance, situation, transaction or event.
Loss means:
A. damages, settlements, judgments (including any award of pre-judgment and post-judgment interest on a covered
   judgment) and defense costs for which the Insured is legally obligated to pay on account of a covered claim; and
B. punitive and exemplary damages and the multiplied portion of multiplied awards (subject to this Policy's other terms,
   conditions and limitations). Enforceability of this paragraph shall be governed by such applicable law that most favors
   coverage for such punitive, exemplary and multiplied amounts. As used herein, "applicable law" means the law of any
   of the following jurisdictions:
     1.   where the claim seeking such loss is brought or where such loss is awarded or imposed; or
     2.   where the wrongful act giving rise to the claim occurred; or
     3.   where the Insureds subject to such loss are incorporated, have their principal place of business or reside; or
     4.   where the Insurer is incorporated or has its principal place of business.
However, loss does not include:
A. any amount for which an Insured Person is absolved from payment by reason of any covenant, agreement or court
   order;
B. any matters which are uninsurable (other than punitive, exemplary and the multiplied portion of multiplied awards as
   set forth above) under the law pursuant to which this Policy shall be construed;
C. civil or criminal fines, penalties, taxes, sanctions or forfeitures, imposed on an Insured whether pursuant to law,
   statute, regulation or court rule;
D. fees, costs and expenses paid or incurred or charged by any Insured, no matter whether claimed as restitution of
   specific funds, financial loss, set-off or paid in the form of service credits or coupons or other non -cash consideration
   by the Insured;
E.   liquidated damages pursuant to a written contract or agreement in excess of the Insured's liability caused by the
     wrongful act;
F.   any amounts for which an Insured is liable due to an act or omission in knowing violation of any written contract or
     agreement or due to its assumption of the liability of others under any contract or agreement; or
G. funds, monies, or securities that an Insured transferred or failed to transfer.
Management control means:
A. owning interests representing more than 50% of the voting, appointment or designation power for the selection of a
   majority of the Board of Directors of a corporation; the management committee members of a joint venture; or the
   members of the management board of a limited liability company; or
B. having the right, pursuant to written contract or the by-laws, charter, operating agreement or similar documents of the
   Insured Entity, to elect, appoint or designate a majority of the Board of Directors of a corporation; the management
   committee of a joint venture; or the management board of a limited liability company.
Manager means any natural person manager, member of the management board or equivalent executive of an Insured
Entity that is a limited liability company.
Named Insured means the person or entity first named as such in the Declarations.
Personal/proprietary injury means injury arising out of one or more of the following:
A. false arrest, detention or imprisonment, or malicious prosecution;
B. wrongful entry or eviction, or other invasion of the right of private occupancy;
C. libel, slander, or other forms of defamation;
D. plagiarism, misappropriation of ideas (including advertising ideas), or breach of confidentiality;

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E.   invasion, infringement or interference with the rights of privacy or publicity; or
F.   infringement of copyright, title, slogan, logo, trademark, trade name, trade dress, service mark, or service name.
     Infringement of copyright does not include infringement of software, computer code and computer firmware.
Policy period means the period of time from the effective date and time of this Policy to the date and time of termination
as shown in the Declarations, or its earlier cancellation date.
Policy premium means the original premium and the fully annualized amount of any additional premiums, other than the
Extended Reporting Period premium, charged by the Insurer before or during the policy period.
Pollutants means any substance exhibiting hazardous characteristics as is or may be defined or identified on any list of
hazardous substances issued by the United States Environmental Protection Agency or any state, local or foreign
counterpart. Pollutants includes, without limitation, any solid, liquid, gaseous or thermal irritant or contaminant, including
smoke, vapor, soot, fumes, acids, alkalis, chemicals or waste (including materials to be recycled, reconditioned or
reclaimed), as well as any air emission, odor, waste water, oil or oil products, infectious or medical waste, asbestos, or
asbestos products or any noise.
Professional services means those services performed by the Insured Entity or by an Insured Person within the scope
of such individual's duties on behalf of the Insured Entity for others and that are specified in the attached "Professional
Services Endorsement."
Property damage means:
A. physical injury to tangible property, including all resulting loss of use of that property. All such loss of use shall be
   deemed to occur at the time of the physical injury that caused it; or,
B. loss of use of tangible property that is not physically damaged.
Related claims means all claims arising out of a single wrongful act or arising out of interrelated wrongful acts.
Single loss means all loss arising from each claim.
Subsidiary means:
A. any entity (other than a partnership) in which the Named Insured has management control directly or indirectly
   through one or more other subsidiaries:
     1.   on or before the effective date of this Policy; or
     2.   after the effective date of this Policy by reason of being created or acquired by the Named Insured and any
          subsidiary after such date, if and to the extent coverage with respect to the entity is afforded pursuant to the
          Section entitled ADDITIONAL TERMS AND CONDITIONS, the paragraph entitled COVERAGE FOR NEW
          SUBSIDIARIES; or
B. any not-for-profit entity under section 26 U.S.C. §501(c)(3), (4), (6), (7), and (10), as amended, sponsored exclusively
   by any Insured Entity or any Political Action Committee formed by any Insured Entity.
Takeover means:
A. the acquisition by another entity or person, or group of entities or persons acting in concert, of:
     1.   the management control of the Named Insured; or,
     2.   assets of the Named Insured resulting in the ownership of more than 50% of the total consolidated assets of
          Named Insured as of the date of the Named Insured's most recent audited consolidated financial statement prior
          to such acquisition;
B. the merger of the Named Insured into another entity such that the Named Insured is not the surviving entity; or,
C. the consolidation of the Named Insured with another entity.
Wrongful act means any actual or alleged act, error, omission, neglect, breach of duty or personal!proprietary injury
committed solely in the conduct of professional services.
ADDITIONAL TERMS AND CONDITIONS
A. APPLICATION
     1.   The Insureds represent and acknowledge that the statements contained in the application (which shall be
          maintained on file by the Insurer and be deemed attached to and incorporated into this Policy as if physically

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        attached), are true and are the basis of this Policy and are to be considered as incorporated into and constituting
        a part of this Policy. This Coverage Form is issued in reliance upon the truth of such representations.
   2.   In the event the application contains any misrepresentation or omission made with the intent to deceive, or which
        materially affects either the acceptance of the risk or the hazard assumed by the Insurer under the Policy then this
        Coverage Form shall be voided as to:
        a.   the Insured Entity, if the Chief Executive Officer, Chairperson, Chief Financial Officer, President (or any
             equivalent position), or the signer of the application knew of such misrepresentation or omission and,
        b.   any Insured Persons who knew of such misrepresentation or omission.             Such knowledge shall not be
             imputed to any other Insured Persons.
B. BANKRUPTCY
   Bankruptcy or insolvency of any Insured shall not relieve the Insurer of any of its obligations under this Coverage
   Form.
C. CHANGE OF STATUS OF INSUREDS
   1.   Takeover of the Named Insured
        In the event of a takeover of the Named Insured, coverage under this Coverage Form shall continue until this
        Policy expires or is otherwise terminated, but only with respect to wrongful acts that take place before the
        effective date of the takeover, unless:
        a.   the Insurer is notified in writing of the takeover prior to the takeover effective date and agrees in writing to
             provide coverage for wrongful acts occurring on or after such effective date, and
        b. the Named Insured accepts any special terms, conditions, exclusions or additional premium charge required
           by the Insurer.
   2.   Cessation of Subsidiary
        If any Insured Entity ceases to be a subsidiary, coverage under this Coverage Form shall continue for such
        subsidiary but only for wrongful acts by such subsidiary or any Insured Person of such subsidiary occurring
        prior to the date such Insured Entity ceased to be a subsidiary.
0. COVERAGE FOR NEW SUBSIDIARIES
   1.   If, after the effective date of this Policy:
        a.   an Insured Entity creates or acquires a privately held entity, or
        b.   an Insured Entity merges with another privately held entity such that an Insured Entity is the surviving
             entity,
        then such entity, and any subsidiaries, directors, officers, trustees or employees of such entity who otherwise
        would thereby become an Insured, shall be automatically covered under this Coverage Form, subject to its terms
        and conditions.
   2.   There shall be no coverage for any wrongful act by such created, acquired or merged entity, or by any persons
        or entities considered to be Insureds pursuant to sub -paragraph 1. of this paragraph D., where such wrongful
        act occurred in whole or in part before the effective date of such acquisition or merger or for any wrongful act
        occurring on or after such date which, together with any wrongful acts occurring before such date, would be
        considered interrelated wrongful acts.
E. DEFENSEISETTLEMENT/MEDIATION/PRE -CLAIM ASSISTANCE
   1.   Defense of Claims
        The Insurer has the right and duty to defend all claims even if the allegations are groundless, false or fraudulent.
        The Insurer shall have the right to appoint counsel and to make such investigation and defense of a claim as it
        deems necessary. Alternatively the Insurer may at its option, give its written consent to the defense of any such
        claim by the Insureds. The Insurer's obligation to defend any claim or pay any loss, including defense costs,
        shall be completely fulfilled and extinguished if the applicable limit of liability has been exhausted by payment of
        loss.



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     2.   Settlement
          a.   Consent
               The Insurer shall not settle a claim without the written consent of the Named Insured. If the Named Insured
               refuses to consent to a settlement or compromise recommended by the Insurer, and acceptable to the
               claimant, then the limit of liability applicable to such claim for all loss, including defense costs, under this
               Coverage Form shall be reduced to the amount of the proposed settlement plus defense costs incurred up to
               the date of the Named Insured's refusal to consent to proposed settlement of such claim, which amount
               shall not exceed the remainder of the applicable limit of liability for the Miscellaneous Professional Liability
               Coverage Form set forth in the Declarations.
          b.   Mediation
               If, prior to institution of arbitration proceedings or service of suit or within sixty (60) days of the institution of
               such proceedings or service of suit, the Insurer and the Named Insured agree to use a process of non
               binding intervention by a neutral third party to resolve any claim reported to the Insurer, and if such claim is
               resolved through such process, the Insurer will reduce the retention applicable to such claim by fifty percent
               or ten thousand dollars ($10,000.00), whichever is less.
          c.   Admission
               The Insureds shall not admit liability, consent to any judgment, agree to any settlement or make any
               settlement offer without the Insurer's prior written consent, such consent not to be unreasonably withheld. The
               Insurer shall not be liable for any loss to which it has not consented. The Insureds agree that they shall not
               knowingly take any action which increases the Insurer's exposure for loss under this Coverage Form.
          d.   Payment of Loss in Excess of Retentions
               The Insurer is liable to pay only that amount of a covered single loss in excess of the applicable retention, if
               any, up to the applicable limit of liability. The retention shall be uninsured.
          e.   Cooperation/Assistance of Insureds
               The Insureds shall furnish the Insurer with copies of reports, investigations, pleadings, and all related papers,
               and such other information, assistance and cooperation as the Insurer may reasonably request.
     3.   Pre-Claim Assistance
          Until the date a claim is made, the Insurer may pay for all costs or expenses it incurs, at its sole discretion, as a
          result of investigating a circumstance that an Insured reports in accordance with the Section entitled
          ADDITIONAL TERMS AND CONDITIONS, the paragraph entitled NOTICE/DATE OF CLAIM/INTERRELATED
          CLAIM CLAUSE. Should a circumstance be investigated pursuant to this Section, and that circumstance later
          becomes a covered claim under this Coverage Form, then the limits of liability and the retention applicable to
          such claim shall apply to such claim.
     4.   Allocation
          If, in any claim under this Coverage Form, the Insureds who are afforded coverage for such claim incur an
          amount consisting of both loss that is covered by this Coverage Form and also loss that is not covered by this
          Coverage Form because such claim includes both covered and uncovered matters or covered and uncovered
          parties, then coverage shall apply as follows:
          a.   defense costs: one hundred percent (100%) of reasonable and necessary defense costs incurred by such
               Insured from such claim will be considered covered loss; and
          b.   loss other than defense costs: all remaining loss incurred by such Insured from such claim will be allocated
               between covered loss and uncovered loss based upon the relative legal exposures of the parties to such
               matters.
F.   ESTATES, LEGAL REPRESENTATIVES AND SPOUSES
     The estates, heirs, legal representatives, assigns, spouses and any domestic partners of the Insured Persons shall
     be considered Insureds under this Coverage Form; provided, however, coverage is afforded to such estates, heirs,
     legal representatives, assigns, spouses and domestic partners only for claims arising solely out of their status as
     such and, in the case of a spouse or domestic partner, where such claim seeks damages from marital community
     property, jointly held property or property transferred from the Insured Person to the spouse or domestic partner.
     No coverage is provided for any act, error or omission of an estate, heir, legal representative, assign, spouse or
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     domestic partner. All terms and conditions of this Policy, including without limitation the retention, applicable to loss
     incurred by the Insured Person, shall also apply to loss incurred by such estates, heirs, legal representatives,
     assigns, spouses and domestic partners.
G. EXTENDED REPORTING PERIOD
     1.   Optional Extended Reporting Period
          If the Named Insured cancels or non -renews this Policy or if the Insurer decides not to offer any renewal terms
          for this Policy, the Named Insured shall have the right to purchase, upon payment of an additional premium, an
          extension of this Coverage Form immediately following the end of the policy period, but only with respect to any
          wrongful act committed before the earlier of the end of the policy period or the effective date of any takeover.
          The additional premium for such extension is a percentage of the total policy premium for this Coverage Form
          attributable to the policy period in effect upon such cancellation or non -renewal. For a one year extension, the
          premium equals seventy-five percent (75%) of such total policy premium; for a two year extension, the additional
          premium equals one hundred and twenty-five percent (125%) of such total policy premium; and for a three year
          extension, the additional premium equals one hundred and fifty percent (150%) of such total policy premium.
          This period shall be referred to as the Extended Reporting Period.
     2    Payment of Extended Reporting Period Premium
          As a condition precedent to the right to purchase the Extended Reporting Period, the total premium for this Policy
          must have been paid. The right to purchase the Extended Reporting Period applicable to this Coverage Form
          ends sixty (60) days after termination or expiration of the policy period unless the Insurer receives written notice
          and full payment of the premium for such Extended Reporting Period within sixty (60) days after such termination
          or expiration
     3.   Non -Cancelable/Premium Fully Earned
          If the Extended Reporting Period is purchased, the entire premium shall be deemed fully earned at its
          commencement without any obligation by the Insurer to retum any portion thereof.
     4.   No Separate Limit
          There is no separate or additional limit of liability for the Extended Reporting Period. The remainder of the
          aggregate Limit of Liability of this Coverage Form in effect at the end of the policy period is the maximum limit of
          liability for all claims reported under this Coverage Form during the Extended Reporting Period.
H.   HEADINGS
     The descriptions in the headings of this Coverage Form are solely for convenience, and form no part of the terms and
     conditions of coverage.
     LIMITS OF LIABILITY/RETENTIONS
     1.   Aggregate Limit of Liability
          The Limit of Liability set forth in the Declarations as the Miscellaneous Professional Liability Coverage Form
          "aggregate limit" is the maximum limit of insurance the Insurer will pay for all loss arising out of all claims first
          made against Insureds during the policy period and the Extended Reporting Period (if applicable). The Limit of
          Liability for the Extended Reporting Period shall be part of and not in addition to the Limit of Liability for the policy
          period.
     2.   Each Claim Limit of Liability
          Subject to the aggregate limit of the Insurer's liability as set forth in paragraph 1. above, the most the Insurer will
          pay for all loss arising out of each claim under this Coverage Form is the Limit of Liability set forth in the
          Declarations as the Miscellaneous Professional Liability Coverage Form "each claim limit."
     3.   Retentions
          a.   The retention amount for the Miscellaneous Professional Liability Coverage Form set forth in the Declarations
               shall apply to loss payable under this Coverage Form. The Insurer shall pay loss in excess of any retention
               as it becomes due and payable to the Insureds.
          b.   The Insurer's obligation to pay loss is in excess of any applicable retentions. The Insurer will have no
               obligation to pay all or any portion of any applicable retention. Should the Insurer, in its sole discretion, pay
               any retention, then the Named Insured shall have the obligation to reimburse the Insurer for such amounts.
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          c.   Subject to the BUSINESSOWNERS COMMON POLICY CONDITIONS, the Section entitled Insurance
               Under Two Or More Coverages, if a single loss is covered under more than one of this Policy's coverages
               and if more than one retention applies to such single loss, the maximum total retention amount applicable to
               such single loss shall be the highest of such applicable retentions.
     4.   Supplementary Payment Defendant Reimbursement
                                     -




          If the Insurer requests an Insured Persons presence at a trial, hearing, deposition, mediation or arbitration, the
          Insurer will pay up to $250.00 a day per person for reimbursement of costs and expenses incurred in connection
          with such presence, subject to a maximum amount of $2,500 per claim. Such payments are in addition to the
          limits of liability and do not erode any retention.
     5.   Multiple Insureds, Claims and Claimants
          Subject to the provisions of this Policy, the applicable limit of liability shown in the Declarations for the
          Miscellaneous Professional Liability Coverage Form is the amount the Insurer will pay for loss per policy period
          regardless of the number of Insureds, claims, or persons or entities making claims under this Coverage Form.
J.   NOTICE/DATE OF CLAIM/INTERRELATED CLAIM CLAUSE
     1.   Notice of Claim
          The Insureds shall, as a condition precedent to the obligations of the Insurer under this Coverage Form, give
          prior written notice to the Insurer of a claim as soon as practicable after the Named Insured's Chief Executive
          Officer, Chairperson, Chief Financial Officer, President, Risk Manager or In -House General Counsel (or any
          equivalent position) learns of such claim but in no event later than ninety (90) days after termination or expiration
          of the policy period or any subsequent renewal policy period in an uninterrupted series of renewals, or prior to
          the expiration of the Extended Reporting Period, if applicable.
     2.   Notice of Circumstance
          If, during the policy period, the Insureds first become aware of a wrongful act that occurred during the policy
          period which may reasonably give rise to a future claim (a "circumstance") and during such period give written
          notice to the Insurer of:
          a.   the names of any potential claimants and a description of the wrongful act which forms the basis of their
               potential claim;
          b. the identity of the specific Insureds allegedly responsible for such specific wrongful act;
          c.   the consequences which have resulted or may result from such specific wrongful act;
          d.   the nature of the potential monetary damages or non -monetary relief which may be sought in consequence of
               such specific wrongful act; and,
          e.   the circumstances by which lnsureds first became aware of such specific wrongful act;
          then any claim otherwise covered pursuant to this Coverage Form which is subsequently made and which arises
          out of such circumstance shall be deemed to have been first made and reported to the Insurer by the Insureds at
          the time such written notice was received by the Insurer. No coverage is provided for fees and expenses incurred
          prior to the time such notice results in a claim.
     3.   Interrelated Claims
          More than one claim involving the same wrongful act or interrelated wrongful acts shall be considered as one
          claim which shall be deemed made on the earlier of:
          a. the date on which the earliest such claim was first made, or
          b.   the first date valid notice was given by the Insureds to the Insurer under this Coverage Form of any wrongful
               act or under any prior policy of any wrongful act or any fact, circumstance, situation, event or transaction
               which underlies any such claim.
     4.   Lawsuits
          In no event shall an individual lawsuit or proceeding constitute more than one claim.




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           5.   To Whom Notice of Claim or Circumstance is Sent
                The Insureds shall give written notice of Claims or circumstances to the Insurer under this Coverage Form as
                specified in the Declarations, which notice shall be effective upon receipt.
      K. OTHER INSURANCE
           If any loss resulting from any claim is insured under any other valid and collectible insurance, this Coverage Form
           shall apply only as excess over such other insurance unless such other insurance is written only as specific excess
           insurance over the limit of liability provided by this Coverage Form.
      L.   TERRITORY
           Coverage under this Coverage Form shall apply worldwide.
      M. TRADE AND ECONOMIC SANCTIONS
           This Coverage Form does not provide coverage for Insureds, transactions or that part of loss that is uninsurable
           under the laws or regulations of the United States concerning trade or economic sanctions.
      N. VALUATION
           All premiums, limits, retentions, loss and other amounts under this Coverage Form are expressed and payable in
           United States of America currency. If any judgment, settlement or any part of loss is expressed or calculated in any
           other currency, payment of such loss due under this Coverage Form will be made in the currency of the United States
           of America, at the rate of exchange published in The Wall Street Journal on the date the Insurer's obligation to pay
           such loss is established, or, if not published on that date, on the date of next publication.
      0. WAIVERORCHANGE
           Notice to or knowledge possessed by any agent or other person acting on behalf of the Insurer shall not effect a
           waiver or a change in any part of this Coverage Form or stop the Insurer from asserting any right under the provisions
           of this Coverage Form, nor shall the provisions be waived or changed except by written endorsement issued to form a
           part of this Coverage Form.




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                            PROFESSIONAL SERVICES ENDORSEMENT
                                   CONSULTING SERVICES
It is understood and agreed that the Miscellaneous Professional Liability Coverage Form is amended as follows:
I.   The Section entitled DEFINITIONS is amended as follows:
     A. The definition of professional services is amended to include consulting services.
     B. The following new definition is added:
              Consulting services means services provided to identify, recommend, and implement solutions for personal
              and business management or operational matters or issues.
U.   Solely with respect to consulting services, the Section entitled EXCLUSIONS is amended by the addition of the
     following new exclusions:
         ¯
              based upon or arising out of any actual or alleged exercise of any authority or discretionary control with
              respect to any client funds or accounts;
         ¯
              based upon or arising out of any actual or alleged rendering of or failing to render a financial opinion;
         ¯
              based upon or arising out of any actual or alleged investment advice, or the selection of any investment
              manager or investment advisory/ custodial firm;
         ¯
              based upon or arising out of any actual or alleged fluctuation in the market value of any security;
         ¯
              based upon or arising out of any actual or alleged advice as to the present or future value of any funds,
              assets or investments;
         ¯
              based upon or arising out of any actual or alleged failure to pay, collect or safeguard funds;
         ¯
              based upon or arising out of any actual or alleged formation, promotion, syndication, offer, sale or
              management of any entity or any interest therein;
         ¯
              based upon, directly or indirectly arising out of, or in any way involving services as a director, officer, interim
              manager or turnaround manager of any third party entity;




All other terms and conditions of the Policy remain unchanged.
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          DATA BREACH LIABILITY AND PRIVACY EVENT EXPENSE AMENDATORY
                         ENDORSEMENT PENNSYLVANIA                   -




     It is understood and agreed that the Data Breach Liability and Privacy Event Expense Coverage Form is amended as
     follows:
     I.   The Section entitled ADDITIONAL TERMS AND CONDITIONS, the sub-section entitled EXTENDED REPORTING
          PERIOD is amended to add the section entitled Automatic Extended Reporting Period as follows:
              Automatic Extended Reporting Period
              If Named Insured cancels or non -renews this Policy or if the Insurer decides not to offer any renewal terms for
              this Policy, the Named Insured shall have the right to a sixty (60) day Automatic Extended Reporting Period, at
              no charge, immediately following the end of the policy period, but only with respect to any wrongful Act
              committed before the earlier of the end of the policy period or the effective date of any takeover;
              This Automatic Extended Reporting Period shall terminate immediately upon the effective date of the Optional
              Extended Reporting Period.
          The Section entitled DEFINITIONS, the definition of Loss, paragraph A. is deleted in its entirety and replaced with the
          following:
          A. damages, settlements, judgments (including any award of post-judgment interest on a covered judgment) and
             defense costs for which the Insured is legally obligated to pay on account of a covered claim; and




     All other terms and conditions of the Policy remain unchanged.




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MISCELLANEOUS PROFESSIONAL LIABILITY AMENDATORY ENDORSEMENT
                        PENNSYLVANIA
It is understood and agreed that the Miscellaneous Professional Liability Coverage Form is amended as follows:
I.   The Section entitled ADDITIONAL TERMS AND CONDITIONS, the sub-section entitled EXTENDED REPORTING
     PERIOD is amended to add the section entitled Automatic Extended Reporting Period as follows:
         Automatic Extended Reporting Period
         If Named Insured cancels or non-renews this Policy or if the Insurer decides not to offer any renewal terms for
         this Policy, the Named Insured shall have the right to a sixty (60) day Automatic Extended Reporting Period, at
         no charge, immediately following the end of the policy period, but only with respect to any wrongful Act
         committed before the earlier of the end of the policy period or the effective date of any takeover;
         This Automatic Extended Reporting Period shall terminate immediately upon the effective date of the Optional
         Extended Reporting Period.
     The Section entitled DEFINITIONS, the definition of Loss, paragraph A. is deleted in its entirety and replaced with the
     following:
     A. damages, settlements, judgments (including any award of post-judgment interest on a covered judgment) and
        defense costs for which the Insured is legally obligated to pay on account of a covered claim; and




All other terms and conditions of the Policy remain unchanged.




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     EXCLUSION ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL
                        -




      INFORMATION AND DATA -RELATED LIABILITY WITH LIMITED BODILY                     -



                          INJURY EXCEPTION
It is understood and agreed that this endorsement amends the BUSINESSOWNERS LIABILITY COVERAGE FORM as
follows:
Under Exclusions, the exclusions Applicable to Business Liability Coverage are amended to:
I.   Delete the exclusion entitled Electronic Data and replace it with the following:
     This insurance does not apply to:
     Access or Disclosure Of Confidential Or Personal Information And Data -related Liability
     (I) Damages, other than damages because of "personal and advertising injury," arising out of any access to or
         disclosure of any person's or organization's confidential or personal information, including patents, trade secrets,
         processing methods, customer lists, financial information, credit card information, health information or any other
         type of nonpublic information; or
     (2) Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to
         manipulate electronic data.
     This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
     expenses, public relations expenses or any other loss, cost or expense incurred by you or others arising out of that
     which is described in Paragraph (1) or (2) above.
     However, unless Paragraph (1) above applies, this exclusion does not apply to damages because of "bodily injury."
     As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used on, or
     transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD        -




     ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
     equipment.
II. Add the following to the exclusion entitled Personal and Advertising Injury:
     This insurance does not apply to:
     Personal And Advertising Injury
     "Personal and advertising injury":
     Arising out of any access to or disclosure of any person's or organization's confidential or personal information,
     including patents, trade secrets, processing methods, customer lists, financial information, credit card information,
     health information or any other type of nonpublic information.
     This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
     expenses, public relations expenses or any other loss, cost or expense incurred by you or others arising out of any
     person's or organization's confidential or personal information.




All other terms and conditions of the Policy remain unchanged.




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 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                      PRIMARY AND NONCONTRIBUTORY                                                    -



                                        OTHER INSURANCE CONDITION
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS COMMON POLICY CONDITIONS
The following is added to Paragraph H. Other Insurance and supersedes any provision to the contrary:
    Primary And Noncontributory Insurance
    This insurance is primary to and will not seek contribution from any other insurance available to an additional insured
    under your policy provided that:
    1.   The additional insured is a Named Insured under such other insurance; and
    2.   You have agreed in wring in a contract or agreement that this insurance would be primary and would not seek
         contribution from any other insurance available to the additional insured.



All other terms and conditions of the Policy remain unchanged.




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                      CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
                                      ENDORSEMENT
                                                              SCHEDULE


     Solely with respect to any Coverage Part set forth in the Schedule, it is understood and agreed as follows:
     Whenever used in this endorsement, 1) "we" means the insurer listed on the Declarations or the Certificate of Insurance,
     as applicable; and 2) "you" means the first person or entity named on the Declarations or the Certificate of Insurance, as
     applicable.
     A. Cap on Certified Terrorism Losses
         "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in consultation with the
         Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism pursuant to
         the Terrorism Risk Insurance Act, as extended and reauthorized (the "Act"). The criteria contained in the Act for a
         "certified act of terrorism" include the following:
         1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
              subject to the Terrorism Risk Insurance Act; and
         2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
              individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
              policy or affect the conduct of the United States Government by coercion.
         If aggregate insured losses attributable to terrorist acts certified under the Act exceed $100 billion in a calendar year
         (January 1 through December 31) and we have met our insurer deductible under the Act, we shall not be liable for the
         payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured losses up to
         that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of the
         Treasury.
     B. Application of Exclusions
         The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not
         serve to create coverage for any loss which would otherwise be excluded under this Policy, such as losses excluded
         by the Nuclear Hazard Exclusion or the War And Military Action Exclusion.


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     All other terms and conditions of the Policy remain unchanged.
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                                      UNMAN NED AIRCRAFT EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under
BUSINESSOWNERS LIABILITY COVERAGE FORM
It is understood and agreed as follows:
I.   Under Coverages, in the section entitled Exclusions, the paragraph entitled Applicable to Business Liability
     Coverage is amended to delete the exclusion entitled Aircraft, Auto Or Watercraft in its entirety, and replace it with
     the following:
     This insurance does not apply to:
     Aircraft, Auto Or Watercraft
     (1) Unmanned Aircraft
         "Bodily injury", "property damage" or "personal and advertising injury" arising out of the ownership, maintenance,
         use or entrustment to others of any aircraft that is an "unmanned aircraft." Use includes operation and "loading or
         unloading."
         This paragraph (1) applies even if the claims against any insured allege negligence or other wrongdoing in the
         supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" or offense
         which caused the "bodily injury", "property damage" or "personal and advertising injury" involved the ownership,
         maintenance, use or entrustment to others of any aircraft that is an "unmanned aircraft."
         But this paragraph (1) does not apply to "personal and advertising injury" resulting from:
         (a) The use of another's advertising idea in your "advertisement"; or
         (b) Infringing upon another's copyright, trade dress or slogan in your "advertisement."
     (2) Aircraft (Other Than Unmanned Aircraft), Auto Or Watercraft
        "Bodily injury" or "property damage" arising out of the ownership, maintenance, use or entrustment to others of
        any aircraft (other than "unmanned aircraft"), "auto" or watercraft owned or operated by or rented or loaned to any
        insured. Use includes operation and "loading or unloading."
        This paragraph (2) applies even if the claims against any insured allege negligence or other wrongdoing in the
        supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which caused
        the "bodily injury" or "property" damage involved the ownership, maintenance, use or entrustment to others of any
        aircraft (other than "unmanned aircraft"), "auto" or watercraft that is owned or operated by or rented or loaned to
        any insured.
        This paragraph (2) does not apply to:
        (a) An aircraft that is
             (i) Hired, chartered or loaned with a paid crew; and
             (ii) Not owned by any insured;
        (b) A watercraft while ashore on premises you own or rent;
        (c) A watercraft you do not own that is:
             (i) less than 51 feet long; and
             (ii) not being used to carry persons or property for a charge;
        (d) Parking an "auto" on, or on the ways next to, premises you own or rent, provided the "auto" is not owned by
            or rented or loaned to you or the insured;
        (e) Liability assumed under any "insured contract" for the ownership, maintenance or use of aircraft or watercraft;
            or


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          (f) 'Bodily injury' or property damage" arising out of the operation of any of the following equipment:
              (I) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
                  workers; or
              (ii) Air compressors, pumps or generators, or spraying, welding, building cleaning, geophysical exploration,
                   lighting or well servicing equipment.
II.   Under Liability And Medical Expenses Definitions, the following definition is added:
      "Unmanned aircraft" means an aircraft that is not designed by the manufacturer to be controlled directly by a person
      from within or on the aircraft.



All other terms and conditions of the Policy remain unchanged.




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                        NON -ACCUMULATION OF LIMITS ENDORSEMENT
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS LIABILITY COVERAGE PART
It is understood and agreed that the section entitled Liability And Medical Expenses Limits Of Insurance is amended as
follows:
A. The following provision is added:
    Non accumulation of limits:
    a.   If a continuing 'bodily injury" or "property damage" occurs partly during the policy period, and partly during the
         policy period of one or more prior and/or future policies issued to the insured by the Insurer, or any of our affiliated
         insurance companies, that include a Businessowners Liability coverage part, then the amount the Insurer will pay
         is limited. This policy's Liability and Medical Expenses Limit Each Occurrence limit will be reduced by the
                                                                          -




         amount of each payment made by the Insurer or any affiliated insurance company under the prior or future
         policies because of such "bodily injury" or "property damage."
    b.   If a "personal and advertising injury" is sustained by any one person or organization due in part to an offense
         committed during this policy period, and in part because of offenses committed during the policy period of one or
         more prior and/or future policies issued to the insured by the Insurer, or any of our affiliated insurance companies,
         that include a Businessowners Liability coverage part, then to the extent such offenses are not precluded from
         coverage by an exclusion pertinent to material first published before the policy period, the amount the Insurer will
         pay is limited. This policy's Personal and Advertising Injury Limit will be reduced by the amount of each payment
         made by the Insurer or any affiliated insurance company under the prior or future policies because of such
         "personal and advertising injury."
B. The final paragraph of this Section is deleted and replaced by the following:
    Policy Terms Greater Than One Year
    a.   Except as provided in b. below, the aggregate Limits of Insurance of this Coverage Part apply separately to each
         consecutive annual period and to any remaining period of less than 12 months starting with the beginning of the
         policy period shown in the Declarations, unless the policy period is extended after issuance for an additional
         period of less than 12 months. In that case, the additional period will be deemed part of the last preceding period
         for purposes of determining the aggregate Limits of Insurance.
    b. With respect to a "personal and advertising injury" sustained by any one person or organization arising out of a
       series of related offenses which transpire in more than one of the annual or partial periods described in a. above,
       all such related offenses will be deemed to have transpired when the earliest of them transpired. Otherwise        -




       related offenses that involve multiple publications of material will not be considered unrelated merely because the
       publications were not identical to each other or involved different media.




All other terms and conditions of the Policy remain unchanged.




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                                               BUSINESSOWNERS
                                       SPECIAL PROPERTY COVERAGE FORM
     Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
     and is not covered.
     Throughout this policy the words 'you' and 'your" refer to the Named Insured shown in the Declarations. The words "we,"
     "us" and "our" refer to the company providing the insurance.
     Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION G PROPERTY              -




     DEFINITIONS, and SECTION H         MALICIOUS CODE, SYSTEM PENETRATION, AND DENIAL OF SERVICE
                                               -




     DEFINITIONS.
     A.   COVERAGE
          We will pay for direct physical loss of or damage to Covered Property at the premises described in the Declarations
          caused by or resulting from a Covered Cause Of Loss.
          1.   Covered Property
               Covered Property includes Buildings as described under a. below, Business Personal Property as described
               under b. below, or both, depending on whether a Limit of Insurance is shown in the Declarations for the type of
               property. Regardless of whether coverage is shown in the Declarations for Buildings, Business Personal Property,
               or both, there is no coverage for property described under Paragraph A.2. Property Not Covered.
               a.   Buildings, meaning the buildings and structures at the premises described in the Declarations, including:
                    (1) Completed Additions;
                    (2) Fences
                    (3) Fixtures, including outdoor fixtures;
                    (4) Retaining walls, whether or not attached;
                    (5) Permanently installed:
                        (a) Machinery; and
                        (b) Equipment;
0s                  (6) Outdoor swimming pools;
                    (7) Personal Property owned by you that is used to maintain or service the building or structure or the
U,                      premises, including:
                        (a) Fire extinguishing equipment;
                        (b) Outdoor furniture;
                        (c) Floor coverings;
                        (d) Appliances used for refrigerating, ventilating, cooking, dishwashing or laundering;
                        (e) Lawn maintenance and snow removal equipment; and
                        (f) Alarm systems;
                    (8) If not covered by other insurance:
                        (a) Alterations and repairs to the building structure;
                        (b) Materials, equipment, supplies and temporary structures, on or within 1,000 feet of the described
                            premises, used for making alterations or repairs to the building or structure.
               b.   Business Personal Property located in or on the buildings at the described premises or in the open (or in a
                    vehicle) within 1,000 feet of the described premises, including;
                    (1) Property that you own that is used in your business;
                    (2) Property of others that is in your care, custody or control;
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               (3) Your use interest as tenant in improvements and betterments. Improvements and betterments are
                   fixtures, alterations, installations or additions:
                    (a) Made a part of the building or structure you occupy or lease but do not own; and
                    (b) You acquired or made at your expense but are not permitted to remove;
               (4) Leased personal property for which you have a contractual responsibility to insure, unless otherwise
                   provided for under Paragraph A.1.b.(2).;
               (5) Your leasehold interest in improvements and betterments which are not damaged or destroyed, but which
                   you lose because your lease is cancelled by the lessor as a result of damage to the building from a
                   Covered Cause of Loss. When this occurs, we will calculate the value of your interest in the
                   improvements and betterments as though they had been damaged or destroyed and not repaired or
                   replaced promptly, as provided In the Valuation Loss Condition;
               (6) Your 'money" and "securities";
               (7) "Stock."
               (8) Tools and equipment owned by your employees which are used in your business operations.
    2.   Property Not Covered
         Covered Property does not include:
         a.    Aircraft;
         b.    Automobiles held for sale;
         c.    Vehicles or self-propelled machines that are:
               (1) Licensed for use on public roads (subject to motor vehicle registration); or
               (2) Operated principally away from the described premises;
         This paragraph does not apply to:
               (1) Vehicles or self-propelled machines or autos that you manufacture, process or warehouse;
               (2) Vehicles or self-propelled machines, other than autos, that you hold for sale; or
               (3) Trailers or semi -trailers, except as provided in the Non-Owned Detached Trailers Coverage.
         d.    Dams or dikes;
         e.    Contraband, or property in the course of illegal transportation or trade;
         f.    The cost of excavating, grading, backfilling or filling (except those costs necessary due to repair of buildings
               insured under this Coverage Form from a Covered Cause of Loss), reclaiming or restoring land or water;
         g.   Water or land whether in its natural state or otherwise (including land on which the property is located), land
              improvements, growing crops or standing timber;
         h.    Outdoor trees, shrubs, plants and lawns, other than "stock" except as provided in the Outdoor Trees, Shrubs,
               Plants and Lawns Additional Coverage;
         i.   The following property while outside of the buildings:
              (1) Bridges, walks, roadways, patios or other paved surfaces; or
              (2) Outdoor radio or television antennas (including satellite dishes) and including their lead-in wiring, masts
                  or towers;
               Except as provided in the Outdoor Property Coverage Extension;
         j.   Watercraft (including motors, equipment and accessories) while afloat;
         k.   Accounts and bills, except as provided in the Accounts Receivable Coverage Extension;
         I.   "Valuable Papers and Records," except as provided in the Valuable Papers and Records Coverage
              Extension;


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              m. Property that is covered under another Coverage Form of this or any other policy in which it is more
                 specifically described, except for the excess of the amount due (whether you can collect on it or not) from that
                 other insurance;
              n.     "Fine Arts," except as provided in the Fine Arts Additional Coverage;
              o.     Bullion, gold, silver, platinum and other precious alloys or metals, unless they are used in your "operations"
                     (theft limitation applies);
              p.     "Electronic data processing equipment" and "Electronic media and data" (not including "stock"),except as
                     provided in the Electronic Data Processing Equipment, Electronic Media and Data and Electronic Data (EDP
                     Coverage Form) Coverage Extension, the Business Income And Extra Expense Coverage Extension, the
                     Accounts Receivable Coverage Extension or the Targeted Hacker Attack Coverage Extension;
                     Your Business Personal Property coverage is extended to provide excess coverage for loss to the Electronic
                     Data Processing Equipment and Electronic Media and Data (EDP Coverage Form) located only at the
                     described premises and resulting from a Covered Cause of Loss. All exclusions applicable to Business
                     Personal Property apply to this excess coverage. This excess coverage is included in and is not in addition to
                     the limits applicable to your Business Personal Property.
              q.     Outdoor signs, except as provided in the Signs Coverage Extension;
              r.     "Virtual currency."
         3.   Covered Causes of Loss
              RISKS OF DIRECT PHYSICAL LOSS unless the loss is:
              a.     Excluded in section B. EXCLUSIONS;
              b.     Limited in paragraph A.4. Limitations; or
              c.     Excluded or limited by other provisions of this policy.
         4.   Limitations
              a.     We will not pay for loss of or damage to:
                     (1) The "interior of any building or structure" or to personal property in the building or structure, caused by
                         rain, snow, sleet or ice whether driven by wind or not, unless:
                         (a) The building or structure first sustains actual damage to the roof or walls by wind or hail and then we
                             will pay only for the loss to the "interior of the building or structure" or the personal property in the
                             building or structure that is caused by rain, snow, sleet, sand or dust entering the building(s) or
                             structure(s) through openings in the roof or walls made by direct action of wind; or

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                         (b) The loss or damage is caused by or results from thawing of snow, sleet or ice on the building or
                             structure.
                     (2) Steam boilers, steam pipes, steam engines or steam turbines caused by or resulting from any condition
                         or event inside such equipment. But we will pay for loss of or damage to such equipment caused by or
                         resulting from an explosion of gasses or fuel within the furnace of any fired vessel or within the flues or
                         passages through which the gasses of combustion pass.
                     (3) Hot water boilers or other water heating equipment caused by or resulting from any condition or event
                         inside such boilers or equipment, other than an explosion.
              b.     We will not pay for loss of or damage to the following types of property unless caused by any of the "specified
                     causes of loss" or building glass breakage
                   (1) Live animals, birds or fish, and then only if they are killed or their destruction is made necessary. This
                       limitation does not apply to animals, birds or fish owned by you and held as "stock."
                     (2) Fragile articles such as glassware, statuary, marbles, chinaware and porcelains, if broken. This limitation
                         does not apply to:
                         (a) Glass that is part of the exterior or interior of a building or structure;
                         (b) Containers or property held for sale; or


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                  (c) Photographic or scientific instrument lenses.
        c.    For loss or damage by theft, the following types of property are covered only up to the limits shown:
              (1) $2,500 for furs, fur garments, and garments trimmed with fur.
              (2) $5,000 for jewelry, watches, watch movements, jewels, pearls, precious and semi-precious stones,
                  bullion, gold, silver, platinum and other precious alloys or metals. This limit does not apply to jewelry and
                  watches worth $500 or less per item.
              (3) $25,000 for patterns, dies, molds and forms.
        d.    We will not pay for any loss or damage caused by any of the following even if they are Covered Causes of
              Loss if the building where loss or damage occurs has been "vacant" for more than 60 consecutive days
              before that loss or damage occurs:
              (1) Vandalism;
              (2) Sprinkler leakage, unless you have protected the system against freezing;
              (3) Building glass breakage;
              (4) Discharge or leakage of water;
              (5) "Theft"; or
              (6) Attempted "theft."
              With respect to Covered Causes of Loss other than those listed in 4.d.(1) through 4.d.(6) above, we will
              reduce the amount we would otherwise pay for the loss or damage by 15%.
   5.   Additional Coverages
        Additional Coverages may be attached to this Policy (designation would appear in the attached form(s)). Unless
        otherwise stated, payments made under these Additional Coverages are in addition to the applicable Limits of
        Insurance.
   6.   Coverage Extensions
        Coverage forms may be attached to this Policy and designated as Coverage Extensions (such designation would
        appear in the attached form(s)). Unless otherwise stated, payments made under these Coverage Extensions are
        subject to and not in addition to the applicable Limits of Insurance in this Coverage Form.
B. EXCLUSIONS
   1.   We will not pay for loss or damage caused directly or indirectly by any of the following. Such loss or damage is
        excluded regardless of any other cause or event that contributes concurrently or in any sequence to the loss.
        a.    Ordinance or Law
              (1) The enforcement of any ordinance or law:
                  (a) Regulating the construction, use or repair of any property; or
                  (b) Requiring the tearing down of any property, including the cost of removing its debris.
             (2) This exclusion applies whether the loss results from:
                  (a) An ordinance or law that is enforced even if the property has not been damaged; or
                  (b) The increased costs incurred to comply with an ordinance or law in the course of construction, repair,
                      renovation, remodeling or demolition of property, or removal of its debris, following a physical loss to
                      that property.
        b.    Earth Movement
             (1) Earthquake, including any earth sinking, rising or shifting related to such event;
             (2) Landslide, including any earth sinking, rising or shifting related to such event;
             (3) Mine subsidence, meaning subsidence of a man-made mine, whether or not mining activity has ceased;



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                    (4) Earth sinking (other than sinkhole collapse), rising or shifting including soil conditions which cause
                        settling, cracking or other disarrangement of foundations or other parts of realty. Soil conditions include
                        contraction, expansion, freezing, thawing, erosion, improperly compacted soil and the action of water
                        under the ground surface.
                        But if Earth Movement, as described in Paragraphs (1) through (4) above, results in fire or explosion, we
                        will pay for the loss or damage caused by that fire or explosion.
                    (5) Volcanic eruption, explosion or effusion. But if volcanic eruption, explosion or effusion results in fire,
                        building glass breakage or volcanic action, we will pay for the loss or damage caused by that fire, or
                        volcanic action.
                        Volcanic action means direct loss or damage resulting from the eruption of a volcano when the loss or
                        damage is caused by:
                        (a) Airborne volcanic blast or airborne shock waves;
                        (b) Ash, dust or particulate matter; or
                        (c) Lava flow.
                        Volcanic action does not include the cost to remove ash, dust or particulate matter that does not cause
                        direct physical loss of or damage to Covered Property.
             c.     Governmental Action
                    Seizure or destruction of property by order of governmental authority.
                    But we will pay for loss or damage caused by or resulting from acts of destruction ordered by governmental
                    authority and taken at the time of a fire to prevent its spread, if the fire would be covered under this policy.
             d.     Nuclear Hazard
                    Nuclear reaction or radiation, or radioactive contamination, however caused.
                    But if nuclear reaction or radiation, or radioactive contamination, results in fire, we will pay for the loss or
                    damage caused by that fire.
             e.     Power Failure or Fluctuation
                    The failure or fluctuation of power or other utility service supplied to the described premises, however caused,
                    if the cause of the failure or fluctuation occurs away from the described premises.
                    But if the failure or fluctuation of power or other utility service results in a Covered Cause of Loss, we will pay
a)
                    for the loss or damage caused by that covered cause of Loss.
             f.     War And Military Action
                    (1) War, including undeclared or civil war;
                    (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
                        attack, by any government, sovereign or other authority using military personnel or other agents; or
                    (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering
                        or defending against any of these.
             g.   Water
                    (1) "Flood," surface water, waves, tides, tidal waves, overflow of any body of water, or their spray, all
                        whether driven by wind or not;
                    (2) Mudslide or mudflow;
                    (3) Water or sewage that backs up or overflows from a sewer, drain or sump; or
                    (4) Water under the ground surface pressing on, or flowing or seeping through:
                        (a) Foundations, walls, floors or paved surfaces;
                        (b) Basements, whether paved or not; or
                        (c) Doors, windows or other openings.

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                  But if Water, as described in Paragraphs (1) through (4), results in fire, explosion or sprinkler leakage, we
                  will pay for the loss or damage caused by that fire, explosion or sprinkler leakage.
       h.     Neglect
              Neglect of an insured to use reasonable means to save and preserve property from further damage at and
              after the time of loss.
       i.     Collapse of Buildings
            Collapse of buildings meaning an abrupt falling down or caving in of a building or any part of a building with
            the result being that the building or part of a building cannot be occupied for its intended purpose.
              (1) This exclusion does not apply to collapse of buildings if caused only by one or more of the following:
                  (a) A "specified cause of loss" or breakage of building glass;
                  (b) Decay, insect or vermin damage that is hidden from view, unless the presence of such decay or
                      insect or vermin damage is known to an insured prior to collapse;
                  (c) Weight of people or personal property;
                  (d) Weight of rain that collects on a roof; or
                  (e) Use of defective material or methods in construction, remodeling or renovation if the collapse occurs
                      during the course of construction, remodeling or renovation; or
                  (f) Use of defective material or methods in construction, remodeling or renovation if the collapse occurs
                      after construction, remodeling or renovation is complete and is caused in part by a cause of loss
                      listed in Paragraphs (a) through (d) above.
                  In the event collapse results in a Covered Cause of Loss, we will only pay for the resulting loss or
                  damage by that Covered Cause of Loss.
              (2) We will not pay for loss of or damage to the following types of property, if otherwise covered in this
                  Coverage Form under Paragraphs (1)(b) through (1)(f) above, unless the loss or damage is a direct result
                  of the collapse of a building:
                  (a) Awnings, gutters and downspouts;
                  (b) Outdoor radio or television antennas (including microwave or satellite dishes) and their lead-in wiring,
                      masts or towers;
                  (c) Fences;
                  (d) Piers, wharves and docks;
                  (e) Beach or diving platforms or appurtenances;
                  (f) Retaining walls;
                  (g) Walks, roadway and other paved surfaces;
                  (h) Yard fixtures; or
                  (i) Outdoor swimming pools.
            (3) A building or part of a building that:
                  (a) Is in imminent danger of abruptly falling down or caving in; or
                  (b) Suffers a substantial impairment of structural integrity;
                  is not considered to have collapsed but is considered to be in a state of imminent collapse.
            (4) With respect to buildings in a state of imminent collapse, we will not pay for loss or damage unless the
                state of imminent collapse first manifests itself during the policy period and is cause only by one or more
                of the following which occurs during the policy period:
                  (a) A "specified cause of loss" or breakage of glass
                  (b) Weight of people or personal property;

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                    (c) Weight of rain that collects on a roof; or
                    (d) Use of defective material or methods in construction, remodeling or renovation if the state of
                        imminent collapse occurs during the course of construction, remodeling or renovation.
         j.     Malicious Code
                Any "malicious code."
         k.     System Penetration
                Any "system penetration."
         I.     Denial of Service
                Any "denial of service."
    2.   We will not pay for loss or damage caused by or resulting from any of the following:
         a.     Electrical Apparatus
                Artificially generated electrical current, including electric arcing, that disturbs electrical devices, appliances or
                wires.
                But if artificially generated electrical current results in fire, we will pay for the loss or damage caused by fire.
         b.     Consequential Loss
                Delay, loss of use or loss of market.
         c.     Smoke, Vapor, Gas
                Smoke, vapor or gas from agricultural smudging or industrial operations.
         d.     Other Types Of Loss
                (1) Wear and tear;
                (2) Rust, corrosion, fungus, decay, deterioration, hidden or latent defect or any quality in property that
                    causes it to damage or destroy itself;
                (3) Smog;
                (4) Settling, cracking, shrinking or expansion;
                (5) Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds, rodents
                    or other animals;
              (6) Mechanical breakdown, including rupture or bursting caused by centrifugal force.
              (7) The following causes of loss to personal property:
                    (a) Dampness or dryness of atmosphere;
                    (b) Changes in or extremes of temperature; or
                    (c) Marring or scratching.
                    (d) Changes in flavor, color, texture or finish;
                    (e) Evaporation or leakage; or
                (8) Contamination by other than "pollutants."
                    But if an excluded cause of loss that is listed in Paragraphs (1) through (8) above results in a "specified
                    cause of loss," building glass breakage, or "breakdown" to "covered equipment" (only if otherwise a
                    Covered Cause of Loss), we will pay for the loss or damage caused by that "specified cause of loss,"
                    building glass breakage or "breakdown" to "covered equipment" (only if otherwise a Covered Cause of
                    Loss).
         e.   Steam Apparatus
              Explosion of steam boilers, steam pipes, steam engines or steam turbines owned or leased by you, or
              operated under your control. But if explosion of steam boilers, steam pipes, steam engines or steam turbines

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              results in fire or combustion explosion, we will pay for the loss or damage caused by that fire or combustion
              explosion. We will also pay for loss or damage caused by or resulting from the explosion of gases or fuel
              within the furnace of any fired vessel or within the flues or passages through which the gases of combustion
              pass.
       f.     Seepage
              Continuous or repeated seepage or leakage of water, or the presence of condensation of humidity, moisture
              or vapor, that occurs over a period of 14 days or more.
       g.     Frozen Plumbing
              Water, other liquids, powder or molten material that leaks or flows from plumbing, heating, air conditioning or
              other equipment (except fire protective systems) caused by or resulting from freezing, unless:
              (1) You do your best to maintain heat in the building or structure; or
              (2) You drain the equipment and shut off the supply if the heat is not maintained.
       h.     Dishonesty
              Dishonest or criminal acts by you, or any of your partners, "members," officers, "managers," "employees"
              (including leased employees), directors, trustees, authorized representatives or anyone to whom you entrust
              the property for any purpose:
              (1) Acting alone or in collusion with others;
              (2) Whether or not occurring during the hours of employment.
              This exclusion does not apply to acts of destruction to your property, or your "Electronic data processing
              equipment," "Electronic media and data," and "Electronic data," by your "employees" (including leased
              employees); but theft by employees (including leased employees) is not covered, except as provided in the
              Employee Dishonesty Additional Coverage.
              False Pretense
              Voluntary parting with any property by you, or anyone else to whom you have entrusted the property, if
              induced to do so by any fraudulent scheme, trick, device or false pretense; or
       j.     Exposed property
              Rain, snow, sand, dust, ice or sleet to personal property in the open, except as provided in the Coverage
              Extension for Outdoor Property.
       k.     Pollution
              Discharge, dispersal, seepage, migration, release or escape of "pollutants" unless the discharge, dispersal,
              seepage, migration, release or escape is itself caused by any of the "specified causes of loss." But if the
              discharge, dispersal, seepage, migration, release or escape of "pollutants" results in a "specified cause of
              loss," we will pay for the loss or damage caused by that "specified cause of loss"
       I.     Inventory Shortage, mysterious disappearance
              Property that is missing, where the only evidence of the loss or damage is a shortage disclosed on taking
              inventory, or other instances where there is no physical evidence to show what happened to the property.
            This exclusion does not apply to "money" and "securities"
       m. Inventory Computation
              Loss of property or that part of any loss, the proof of which as to its existence or amount is dependent on:
              (1) Any inventory computation; or
              (2) A profit and loss computation.
       n.   Transfer of Property
            The transfer of property to a person or to a place outside the described premises, on the basis of
            unauthorized instructions.



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         o.    Accounting Errors
               Loss of "money' or "securities" caused by or resulting from accounting or arithmetic errors or omissions.
         p.    Cost of Correction
               The cost of correcting or making good the damage to personal property attributable to such property being
               processed, manufactured, tested, repaired, restored, retouched or otherwise being worked on.
         q.    Fraudulent Electronic Communication
               Any loss caused by or resulting from phished, spoofed, fraudulent or fake wire transfer instructions, emails or
               other electronic communication.
    3.   We will not pay for loss or damage caused by or resulting from any of the following Paragraphs a. through C. But if
         an excluded cause of loss that is listed in Paragraphs a. through c. results in a Covered Cause of Loss, we will
         pay for the loss or damage caused by that Covered Cause of Loss.
         a.    Weather Conditions
               Weather conditions. But this exclusion only applies if weather conditions contribute in any way with a cause
               or event excluded in Paragraph B.1. above to produce the loss or damage.
         b.    Acts or Decisions
               Acts or decisions, including the failure to act or decide, of any person, group, organization or governmental
               body.
         c.    Negligent Work
               Faulty, inadequate or defective:
               (I) Planning, zoning, development, surveying, siting;
               (2) Design, specifications, workmanship, repair, construction, renovation, remodeling, grading, compaction;
               (3) Materials used in repair, construction, renovation or remodeling; or
               (4) Maintenance;
               of part or all of any property on or off the described premises.
              If an excluded cause of loss that is listed in Paragraphs (1) through (4) above results in a Covered Cause of
              Loss, we will pay for the resulting loss or damage caused by that Covered Cause of Loss. But we will not pay
              for:
               (1) Any cost of correcting or making good the fault, inadequacy or defect itself, including any cost incurred to
                   tear down, tear out, repair or replace any part of any property to correct the fault, inadequacy or defect; or
               (2) Any resulting loss or damage by a Covered Cause of Loss to the property that has the fault, inadequacy
                   or defect until the fault, inadequacy or defect is corrected.
   4.    Business Income and Extra Expense Exclusions
         a.   We will not pay for:
               (1) Any Extra Expense, or increase of Business Income loss, caused by or resulting from:
                   (a) Delay in rebuilding, repairing or replacing the property or resuming "operations," due to interference
                       at the location of the rebuilding, repair or replacement by strikers or other persons; or
                   (b) Suspension, lapse or cancellation of any license, lease or contract. But if the suspension, lapse or
                       cancellation is directly caused by the suspension of "operations," we will cover such loss that affects
                       your Business Income during the "period of restoration."
         b.   Any other consequential loss.
C. Limits of Insurance
    1.   Unless otherwise stated, the most we will pay for loss or damage in any one "occurrence" is the applicable Limit
         of Insurance shown in the Declarations, Schedules, Coverage Forms, or endorsements.


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     2.   Inflation Guard
          a. When a percentage for Inflation Guard is shown in the Declarations, the Limit of Insurance for property to
             which this coverage applies will automatically increase by that annual percentage.
          b.   The amount of increase will be:
               (1) The Limit of Insurance that applied on the most recent of the policy inception date, the policy anniversary
                   date, or any other policy change amending the Limit of Insurance, multiplied by
               (2) The percentage of annual increase shown in the Declarations, expressed as a decimal (example: 5% is
                   .05), multiplied by
               (3) The number of days since the beginning of the current policy year or the effective date of the most recent
                   policy change amending the Limit of Insurance, divided by 365.
                   Example:
                   If:
                   The applicable Building
                   limit is                              $100,000
                   The annual percentage
                   increase is                                   5%
                   The number of days since
                   the beginning of the policy
                   year (or last policy change)
                   is                                            146
                   The amount of increase is
                   $100,000 x .05 x (146/365)      =        $2,000
D. DEDUCTIBLES
     1.   We will not pay for loss or damage in any one "occurrence" until the amount of loss or damage exceeds the
          Businessowners Property Coverage Deductible amount shown in the Declarations. We will then pay the amount
          of loss or damage in excess of the Deductible up to the applicable Limit of Insurance.
     2.   Regardless of the amount of the Businessowners Property Coverage Deductible, the most we will deduct from
          any loss or damage under the Building Glass Coverage Extension in any one "occurrence" is the Building Glass
          Deductible shown in the Declarations.
     3.   The Businessowners Property Coverage Deductible does not apply to any of the following if they are included as
          part of this policy:
          a.   Fire Department Service Charge
          b.   Business Income and Extra Expense
          C.   Arson and Theft Reward; and
          d. Accounts Receivable;
          e.   Any other property coverage with a specific deductible amount shown in the coverage form or declaration.
     4.   If more than one deductible applies to loss or damage in any one "occurrence", we will apply each deductible
          separately. But the total of all deductible amounts applied in any one "occurrence" will not exceed the largest
          applicable deductible.
E.   PROPERTY LOSS CONDITIONS
     1.   Abandonment
          There can be no abandonment of any property to us.
     2.   Appraisal
          If we and you disagree on the amount of loss, either may make written demand for an appraisal of the loss. In this
          event, each party will select a competent and impartial appraiser. The two appraisers will select an umpire. If they

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              cannot agree, either may request that selection be made by a judge of a court having jurisdiction. The appraisers
              will state separately the amount of loss. If they fail to agree, they will submit their differences to the umpire. A
              decision agreed to by any two will be binding. Each party will:
              a.    Pay its chosen appraiser; and
              b.    Bear the other expenses of the appraisal and umpire equally.
              If there is an appraisal, we will still retain our right to deny the claim.
         3.   Duties In The Event Of Loss Or Damage
              a.    You must see that the following are done in the event of loss or damage to Covered Property:
                    (1) Notify the police if a law may have been broken.
                    (2) Give us prompt notice of the loss or damage. Include a description of the property involved.
                    (3) As soon as possible, give us a description of how, when and where the loss or damage occurred.
                    (4) Take all reasonable steps to protect the Covered Property from further damage, and keep a record of
                        your expenses necessary to protect the Covered Property, for consideration in the settlement of the
                        claim. This will not increase the Limits of Insurance. However, we will not pay for any loss or damage
                        from a cause of loss that is not a Covered Cause of Loss. Also, if feasible, set the damaged property
                        aside and in the best possible order for examination.
                    (5) At our request, give us complete inventories of the damaged and undamaged property. Include
                        quantities, costs, values and amount of loss claimed.
                    (6) As often as may be reasonably required, permit us to inspect the property proving the loss or damage
                        and examine your books and records.
                        Also permit us to take samples of damaged and undamaged property for inspection, testing an analysis,
                        and permit us to make copies from your books and records.
                    (7) Send us a signed, sworn proof of loss containing the information we request to investigate the claim. You
                        must do this within 60 days after our request. We will supply you with the necessary forms.
                    (8) Cooperate with us in the investigation or settlement of the claim.
                    (9) Resume all or part of your "operations" as quickly as possible.
              b.   We may examine any insured under oath, while not in the presence of any other insured and at such times as
N.                 may be reasonably required, about any matter relating to this insurance or the claim, including an insured's
it,
                   books and records. In the event of an examination, an insured's answers must be signed.
         4.   Loss Payment     -
                                   Building and Personal Property
              a.    In the event of loss or damage covered by this Coverage Form, at our option, we will either:
ci

                   (1) Pay the value of lost or damaged property;
                   (2) Pay the cost of repairing or replacing the lost or damaged property, subject to b. below;
                   (3) Take all or any part of the property at an agreed or appraised value; or
                   (4) Repair, rebuild or replace the property with other property of like kind and quality, subject to b. below.
                   We will determine the value of lost or damaged property, or the cost of its repair or replacement, in
                   accordance with the applicable terms of 4.e. below or any applicable provision which amends or supersedes
                   the value of Covered Property.
              b.   The cost to repair, rebuild or replace does not include the increased cost attributable to enforcement of any
                   ordinance or law regulating the construction, use or repair of any property, except as provided in the
                   Ordinance or Law Additional Coverage.
              c.   We will give notice of our intentions within 30 days after we receive the proof of loss.
              d.   We will not pay you more than your financial interest in the Covered Property.
              e.   We will determine the value of Covered Property as follows:


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               (1) At replacement cost (without deduction for depreciation), except as provided in (2) through (18) below
                   (a) You may make a claim for loss or damage covered by this insurance on an actual cash value basis
                       instead of on a replacement cost basis. In the event you elect to have loss or damage settled on an
                       actual cash value basis, you may still make a claim on a replacement cost basis if you notify us of
                       your intent to do so within 180 days after the loss or damage.
                   (b) We will not pay on a replacement cost basis for any loss or damage:
                        (i) Until the lost or damaged property is actually repaired or replaced; and
                        (ii) Unless the repairs or replacement are made as soon as reasonably possible after the loss or
                             damage.
                        With respect to tenants' improvements and betterment's, the following also applies:
                        a)   If the conditions in (b)(i) and (b)(ii) above are not met, the value of tenants' improvements and
                             betterments will be determined as a proportion of your original cost, as set forth under 4e.(7)
                             below; and
                        b) We will not pay for loss or damage to tenants' improvements and betterments if others pay for
                           repairs or replacement.
                   (c) We will not pay more for loss or damage on a replacement cost basis than the least of (i), (ii), or (iii)
                       subject to (d) below:
                        (i) The Limit of Insurance applicable to the lost or damaged property;
                        (ii) The cost to replace the lost or damaged property with other property:
                             a)   Of comparable material and quality; and
                             b)   Used for the same purpose; or
                        (iii) The amount actually spent that is necessary to repair or replace the lost or damaged property.
                       If a building is rebuilt at a new premises, the cost described in (c)(ii) above is limited to the cost
                       which would have been incurred if the building had been rebuilt at the original premises.
                   (d) The cost of repair or replacement does not include the increased cost attributable to enforcement of
                       any ordinance or law regulating the construction, use or repair of any property.
               (2) If the Declarations indicate that Actual Cash Value applies to Buildings or Business Personal Property,
                   paragraph (1) above does not apply to the property for which Actual Cash Value is indicated.
               (3) Property of others at the amount you are liable plus the cost of labor, materials, or services furnished or
                   arranged by you on personal property of others, not to exceed the replacement cost.
               (4) The following property at actual cash value:
                   (a) Used or second-hand merchandise held in storage or for sale;
                   (b) Household furnishings;
                   (c) Personal effects.
               (5) "Fine Arts" as follows:
                   (a) If there is a schedule of "fine arts" on file which includes a description and value of the lost or
                       damaged item, we will pay the value as stated in the schedule for that item if there is a total loss to
                       that item. If there is a partial loss to an item, we will pay the cost of reasonably restoring or repairing
                       that item.
                   (b) For "fine arts" without a schedule on file as described in paragraph (a) above, the value of "fine arts"
                       will be the least of the following amounts:
                       (I) Market value of the lost or damaged item at the time and place of loss;
                       (ii) The cost of reasonably restoring the lost or damaged item; or
                       (iii) The cost of replacing that lost or damaged item with property substantially the same.


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               (6) Glass at the cost of replacement with safety glazing material if required by law.
               (7) Tenants' Improvements and Betterments at:
                   (a) Replacement cost if you make repairs promptly.
                   (b) A proportion of your original cost if you do not make repairs promptly. We will determine the
                       proportionate value as follows:
                       (i) Multiply the original cost by the number of days from the loss or damage to the expiration date of
                           the lease; and
                       (ii) Divide the amount determined in (i) above by the number of days from the installation of
                            improvements to the expiration of the lease.
                       If your lease contains a renewal option, the expiration of the renewal option period will replace the
                       expiration of the lease in this procedure.
                   (c) Nothing, if others pay for repairs or replacement.
               (8) "Valuable Papers and Records" at the cost of restoration or replacement. To the extent that the contents
                   of the "valuable papers and records" are not restored or replaced, the "valuable papers and records" will
                   be valued at the cost of replacement with blank material of substantially identical type.
               (9) "Stock" you have sold but not delivered at the selling price less discounts and expenses you otherwise
                   would have had.
           (10) Property in transit (other than "stock" you have sold) at the amount of invoice, including your prepaid or
                advanced freight charges and other charges which may have accrued or become legally due from you
                since the shipment. If you have no invoice, the actual cash value will apply.
           (11) 'Money" at its face value.
           (12) "Securities" at their value at the close of business on the day the loss is discovered.
           (13) Accounts Receivable as follows:
                   (a) If you cannot accurately establish the amount of Accounts Receivable outstanding as of the time of
                       loss, we will:
                       (i) Determine the total of the average monthly amounts of Accounts Receivable for the 12 months
                           immediately preceding the month in which the loss occurs; and
                       (ii) Adjust that total for any normal fluctuations in the amount for Accounts Receivable for the month
                            in which the loss occurred or for any demonstrated variance from the average for that month.
                   (b) If you can accurately establish the amount of Accounts Receivable outstanding, that amount will be
                       used in the determination of loss.
                  (c) The following will be deducted from the total amount of Accounts Receivable, however that amount is
                      established:
                       (I) The amount of the accounts for which there was no loss;
                       (ii) The amount of the accounts that you are able to reestablish or collect;
                       (iii) An amount to allow for probable bad debts that you are normally unable to collect; and
                       (iv) All unearned interest and service charges.
           (14) "Electronic Data Processing Equipment" at replacement cost as of the time and place of loss, without
               deduction for physical deterioration, depreciation, obsolescence or depletion. However, in the event of
               replacement of "electronic data processing equipment" with identical property is impossible, the
               replacement cost will be the cost of items that are similar to the damaged or destroyed equipment and
               intended to perform the same function, but which may include technological advances.
                  "Electronic data processing equipment" that is obsolete or no longer used by you will be valued at actual
                  cash value.
          (15) "Electronic Media and Data" at the cost of the same or similar blank media.


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             (16) "Electronic Data":
                    (a) For which duplicates or back-ups do not exist, will be valued at your cost to research, replace or
                        restore the "electronic data," but only if the "electronic data" is actually replaced or restored.
                    (b) For which full duplicates or back-ups exist, will be valued at your cost of labor to copy the "electronic
                        data" from such duplicates or back-ups, but only if the "electronic data" is actually copied.
                    (c) For which partial duplicates or back-ups exist, will be valued at your cost of labor to copy the partial
                        "electronic data" from such duplicates or back-ups, and your cost to research, replace or restore the
                        remaining "electronic data," but only if the "electronic data" is actually copied and replaced or
                        restored.
                    (d) In the event that you are not able to copy "electronic data" from back-ups, or replace or restore,
                        "electronic data" will be valued at your cost of labor up to the point in time that you reach that
                        determination.
             (17) The value of United States Government Internal Revenue taxes and custom duties and refundable state
                 and local taxes paid or fully determined on the following property held for sale will not be considered in
                 determining the value of Covered Property:
                    (a) Distilled spirits;
                    (b) Wines;
                    (c) Rectified products; or
                    (d) Beer.
             (18) Lottery tickets at their initial cost to you except for winning tickets at their redeemed value.
        f.     Our payment for loss of or damage to personal property of others will only be for the account of the owners of
               the property. We may adjust losses with the owners of lost or damaged property, if other than you. If we pay
               the owners, such payments will satisfy your claims against us for the owners' property. We will not pay the
               owners more than their financial interest in the Covered Property.
        g.     We may elect to defend you against suits arising from claims of owners of property. We will do so at our
               expense.
        h.     We will pay for covered loss or damage within 30 days after we receive the sworn proof of loss provided you
               have complied with all of the terms of this policy; and
               (1) We have reached agreement with you on the amount of loss; or
               (2) An appraisal award has been made.
        i.   At our option, we may make a partial payment toward any claims, subject to the policy provisions and our
             normal adjustment process. To be considered for partial claim payment, you must submit a partial sworn
             proof of loss with supporting documentation. Any applicable policy deductibles must be satisfied before any
             partial payments are made.
       j.      Pair, Sets or Parts
               1.   Pair or Set. In case of "loss" to any part of a pair or set we may:
                    (a) Repair or replace any part to restore the pair or set to its value before the "loss"; or
                    (b) Pay the difference between the value of the pair or set before and after the "loss."
             2.     Parts. In case of "loss" to any part of Covered Property consisting of several parts when complete, we will
                    only pay for the value of the lost or damaged part.
        k.     Commodity Stock
             We will determine the value of merchandise and raw materials that are bought and sold at an established
             market exchange. We will determine the value at:
             (1) The posted market price as of the time and place of loss;
             (2) Less discounts and expenses you otherwise would have had.


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    5.   Loss Payment    -
                             Business Income and Extra Expense
         a.   If the Declarations indicate that Business Income and Extra Expense applies to Buildings or Business
              Personal Property, the amount of Business Income loss will be determined based on:
              (1) The Net Income of the business before the direct physical loss or damage occurred;
              (2) The likely Net Income of the business if no physical loss or damage occurred, but not including any likely
                  increase in Net Income attributable to an increase in the volume of business as a result if favorable
                  business conditions caused by the impact of the Covered Cause of Loss on customers or on other
                  businesses;
              (3) The operating expenses, including payroll expenses, necessary to resume "operations" with the same
                  quality of service that existed just before the direct physical loss or damage; and
              (4) Other relevant sources of information, including:
                  (a) Your financial records and accounting procedures;
                  (b) Bills, invoices and other vouchers; and
                  (c) Deeds, liens or contracts.
         b.   The amount of Extra Expense will be determined based on:
              (1) All reasonable and necessary expenses that exceed the normal operating expenses that would have
                  been incurred by "operations" during the "period of restoration" if no direct physical loss or damage had
                  occurred. We will deduct from the total of such expenses:
                  (a) The salvage value that remains of any property bought for temporary use during the "period of
                      restoration," once "operations" are resumed; and
                  (b) Any Extra Expense that is paid for by other insurance, except for insurance that is written subject to
                      the same plan, terms, conditions and provisions as this insurance; and
              (2) All reasonable and necessary expenses that reduce the Business Income loss that otherwise would have
                  been incurred.
         c.   We will reduce the amount of your:
              (1) Business Income loss, other than Extra Expense, to the extent you can resume your "operations," in
                  whole or in part, by using damaged or undamaged property (including merchandise or "stock") at the
                  described premises or elsewhere; or
              (2) Extra Expense loss to the extent you can return "operations" to normal and discontinue such Extra
                  Expense.
         d.   If you do not resume "operations," or do not resume "operations' as quickly as possible, we will pay based on
              the length of time it would have taken to resume "operations" as quickly as possible.
         e.   We will pay for covered loss or damage within 30 days after we receive your sworn proof of loss provided you
              have complied with all of the terms of this policy; and
              (1) We have reached agreement with you on the amount of loss; or
              (2) An appraisal award has been made.
   6.    Vacancy
         a.   Description of Terms
              (1) As used in this Vacancy Condition, the term building and the term vacant have the meanings set forth in
                  Paragraphs (a) and (b) below:
                  (a) When this policy is issued to a tenant, and with respect to that tenant's interest in Covered Property,
                      building means the unit or suite rented or leased to the tenant. Such building is vacant when it does
                      not contain enough business personal property to conduct customary operations.
                  (b) When this policy is issued to the owner or general lessee of a building, building means the entire
                      building. Such building is vacant unless at least 31% of its total square footage is:


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                        i.    Rented to a lessee or sub -lessee and used by the lessee or sub -lessee to conduct its customary
                              operations; and/or
                        ii.   Used by the building owner to conduct customary operations.
               (2) Buildings under construction or renovation are not considered vacant.
          b.   Vacancy Provisions
               If the building where loss or damage occurs has been vacant for more than 60 consecutive days before that
               loss or damage occurs:
               (1) We will not pay for any loss or damage caused by any of the following even if they are Covered Causes
                   of Loss:
                    (a) Vandalism;
                    (b) Sprinkler leakage, unless you have protected the system against freezing;
                   (c) Building glass breakage;
                   (d) Water damage;
                   (e) Theft; or
                   (f) Attempted theft.
     With respect to Covered Causes of Loss other than those listed in paragraphs (1)(a) through (1)(f) above, we will
     reduce the amount we would otherwise pay for the loss or damage by 15%.
     7.   Recovered Property
          If either you or we recover any property after loss settlement, that party must give the other prompt notice. At your
          option, you may retain the property. But then you must return to us the amount we paid to you for the property. We
          will pay the recovery expenses and the expenses to repair the recovered property, subject to the applicable Limit
          of Insurance.
     8.   Noncumulative Limit
          No Limit of Insurance cumulates from policy period to policy period.
F.   COMMERCIAL PROPERTY CONDITIONS
     1.   Concealment, Misrepresentation or Fraud
          This policy is void in any case of fraud by you as it relates to this policy at any time. It is also void if you or any
          other insured, at any time, intentionally conceal or misrepresent a material fact concerning:
          a.   This policy;
          b.   The Covered Property;
          c.   Your interest in the Covered Property; or
          d. A claim under this policy.
     2.   Control of Property
          Any act or neglect of any person other than you beyond your direction or control will not affect this insurance.
          The breach of any condition of this Coverage Form at any one or more premises will not affect coverage at any
          premises where, at the time of loss or damage, the breach of condition does not exist.
     3.   Insurance Under Two or More Coverages
          If two or more of this policy's coverages apply to the same loss or damage, we will not pay more than the actual
          amount of the loss or damage.
     4.   Legal Action Against Us
          No one may bring a legal action against us under this Coverage Form unless:
          a.   There has been full compliance with all of the terms of this Coverage Form; and

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         b.     The action is brought within 2 years after the date on which the direct physical loss or damage occurred.
    5.   Liberalization
         If, during your policy period, we adopt any revision that would broaden the coverage under this policy without
         additional premium the broadened coverage will immediately apply to this policy. The broadened coverage will
         also apply to the renewal of this policy if such renewal was in process, or was mailed prior to the date we adopted
         such revision.
    6.   No Benefit to Bailee
         No person or organization, other than you, having custody of Covered Property will benefit from this insurance.
    7.   Other Insurance
         a.     You may have other insurance subject to the same plan, terms, conditions and provisions as the insurance
                under this Coverage Form. If you do, we will pay our share of the covered loss or damage. Our share is the
                proportion that the applicable Limit of Insurance under this Coverage Form bears to the Limits of Insurance of
                all insurance covering on the same basis.
         b.     If you have other insurance covering the same loss or damage, other than that described in Paragraph a.
                above, we will pay only for the amount of covered loss or damage in excess of the amount due from that
                other insurance, whether you can collect on it or not. But we will not pay more than the applicable Limit of
                Insurance.
    8.   Policy Period, Coverage Territory
         Under this Coverage Form:
         a.     We cover loss or damage you sustain through acts committed or events occurring:
                (1) During the policy period shown in the Declarations; and
                (2) Within the coverage territory; and
         b.     The coverage territory is:
                (1) The United States of America (including its territories and possessions);
                (2) Puerto Rico; and
                (3) Canada
    9.   Transfer of Rights of Recovery Against Others To Us
         Applicable to the Businessowners Property coverage:
         If any person or organization to or for whom we make payment under this policy has rights to recover damages
         from another, those rights are transferred to us to the extent of our payment. That person or organization must do
         everything necessary to secure our rights and must do nothing after loss to impair them. But you may waive your
         rights against another party in writing.
         a.     Prior to a loss to your Covered Property or Covered Income; or
         b. After a loss to your Covered Property only if, at the time of loss, that party is one of the following:
                (1) Someone insured by this insurance;
                (2) A business firm:
                    (a) Owned or controlled by you; or
                    (b) That owns or controls you; or
                (3) Your tenant.
              This will not restrict your insurance.
    10. Coinsurance
         If a Coinsurance percentage is shown in the Declarations, the following condition applies.


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         a.     We will not pay the full amount of any loss if the value of Covered Property at the time of loss multiplied by
                the Coinsurance percentage shown for it in the Declarations is greater than the Limit of Insurance for the
                property
                 Instead, we will determine the most we will pay using the following steps:
                (1) Multiply the value of Covered Property at the time of loss by the Coinsurance Percentage;
                (2) Divide the Limit of Insurance of the property by the figure determined in step (1);
                (3) Multiply the total amount of the covered loss, before the application of any deductible, by the figure
                    determined in step (2) above; and
                (4) Subtract the deductible from the figure determined in step (3).
                We will pay the amount determined in step (4) or the limit of insurance, whichever is less.
                For the remainder, you will either have to rely on other insurance or absorb the loss yourself.
                Example No. I (Under Insurance):
                When:
                The value of the property is                  $250,000
                The coinsurance percent for
                itis                                              90%
                The Limit of Insurance for
                itis                                          $112,500
                The Deductible is                                 $250
                The amount of loss is                          $40,000
                Step (1): $250,000 x 90%            =   $225,000 (the minimum amount of insurance to meet your Coinsurance
                requirements)
                Step (2): $112,500/$225,000         =   .50
                Step (3): $40,000 x .50   =   $20,000
                Step (4): $20,000 -$250       =   $19,750
                We will pay no more than $19,750. The remaining $20,250 is not covered.
                Example No. 2 (Adequate Insurance):
                When:
                The value of the property is                  $250,000
                The Coinsurance percentage
                for it is                                         90%
                The Limit of Insurance for
                it is                                         $225,000
                The Deductible is                                 $250
                The amount of loss is                          $40,000
                The minimum amount of insurance to meet your Coinsurance requirement is $225,000 ($250,000 x 90%).
              Therefore, the Limit of Insurance in this Example is adequate and no penalty applies. We will pay no more
              than $39,750 ($40,000 amount of loss minus the deductible of $250).
        b.      Coinsurance does not apply to:
                (1) "Money" and "securities";
                (2) Additional Coverages;
              (3) Coverage Extensions; or

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               (4) Loss or damage in any one 'occurrence" totaling less than $2,500.
    11. Mortgageholders
         a.    The term, mortgageholder, includes trustee.
         b.    We will pay for covered loss of or damage to buildings or structures to each mortgageholder shown in the
               Declarations in their order of precedence, as interests may appear.
         c.    The mortgageholder has the right to receive loss payment even if the mortgageholder has started foreclosure
               or similar action on the building or structure.
         d.    If we deny your claim because of your acts or because you have failed to comply with the terms of this
               Coverage Form, the mortgageholder will still have the right to receive loss payment if the mortgageholder:
               (1) Pays any premium due under this Coverage Form at our request if you have failed to do so;
               (2) Submits a signed, sworn proof of loss within 60 days after receiving notice from us of your failure to do
                   so; and
               (3) Has notified us of any change in ownership or occupancy or substantial change in risk known to the
                   mortgageholder.
               All of the terms of this Coverage Form will then apply directly to the mortgageholder.
         e.    If we pay the mortgageholder for any loss or damage and deny payment to you because of your acts or
               because you have failed to comply with the terms of this Coverage Form:
               (1) The mortgageholder's rights under the mortgage will be transferred to us to the extent of the amount we
                   pay; and
               (2) The mortgageholder's rights to recover the full amount of the mortgageholder's claim will not be impaired.
                   At our option, we may pay to the mortgageholder the whole principal on the mortgage plus any accrued
                   interest. In this event, your mortgage and note will be transferred to us and you will pay your remaining
                   mortgage debt to us.
         f.    If we cancel this policy we will give written notice to the mortgageholder at least:
               (1) 10 days before the effective date of cancellation if we cancel for your non-payment of premium; or
               (2) 30 days before the effective date of cancellation if we cancel for any other reason.
         g.    If we elect not to renew this policy, we will give written notice to the mortgageholder at least 10 days before
               the expiration date of this policy.
G. PROPERTY DEFINITIONS
    1.   "Banking Premises" means the interior of that portion of any building which is occupied by a banking institution
         or similar safe depository.
    2.   "Breakdown"
         a.    Means:
               (1) Failure of pressure or vacuum equipment;
               (2) Mechanical failure, including rupture or bursting caused by centrifugal force; or
               (3) Electrical failure including arcing;
              That causes physical damage to "covered equipment" and necessitates its repair or replacement; and
         b.    Does not mean:
               (1) Malfunction, including but not limited to adjustment, alignment, calibration, cleaning or modification;
              (2) Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;
              (3) Damage to any vacuum tube, gas tube, or brush;
              (4) Damage to any structure or foundation supporting the "covered equipment" or any of its parts;


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               (5) The functioning of any safety or protective device; or
               (6) The cracking of any part on any internal combustion gas turbine exposed to the products of combustion.
    3.   "Communication Supply Services"
         a.    Means property supplying communication services, including telephone, radio, microwave or television
               services to the described premises, such as:
               (1) Communication transmission lines, including fiber optic transmission lines;
               (2) Coaxial cables; and
               (3) Microwave radio relays, except satellites and;
         b.    Does not mean overhead transmission lines.
   4.    "Covered Equipment"
         a.    Means the following types of equipment:
              (1) Equipment designed and built to operate under internal pressure or vacuum other than weight of
                   contents;
              (2) Electrical or mechanical equipment that is used in the generation, transmission or utilization of energy;
              (3) Refrigeration or Air Conditioning systems;
              (4) Wiring, cable, including fiber optic cable; and
              (5) Hoists and cranes;
         b.   Does not mean any
              (1) "Electronic data processing equipment";
              (2) "Electronic media and data" or "electronic data";
              (3) Part of pressure or vacuum equipment that is not under internal pressure of its contents or internal
                  vacuum;
              (4) Insulating or refractory material;
              (5) Vessels, piping and other equipment (including conduit) that are buried below ground and require the
                  excavation of materials to inspect, remove, repair, or replace;
              (6) Structure, foundation, cabinet or compartment supporting or containing the "covered equipment" or part of
                  the "covered equipment" including pen -stock, draft tube or well casing;
              (7) Vehicle, aircraft, self-propelled equipment or floating vessel, including any equipment mounted on or
                  used solely with any vehicle, aircraft, self-propelled equipment or floating vessel;
              (8) Elevator or escalator, but not excluding any electrical machine or apparatus mounted on or used with this
                   equipment; or
              (9) Equipment or any part of such equipment manufactured by you for sale.
   5.    "Diagnostic Equipment" means any:
         a.   Equipment; or
         b.   Apparatus;
         used solely for research, diagnostic, medical, surgical, therapeutic, dental or pathological purposes.
   6.    "Electronic Data"
         a.   Means information reduced to an electronic format for processing with and storage in "electronic data
              processing equipment," software and programming records and instructions used for "electronic data
              processing equipment."
         b.   Any reference to your "electronic data" means "electronic data" owned or licensed by you and stored on your
              "electronic data processing equipment."

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             c.    Does not mean "valuable papers and records or "virtual currency."
        7.   "Electronic Media and Data"
             a.    Means physical media on which "electronic data" is stored, and the "electronic data" stored thereon, including
                   without limitation, hard or floppy disks, CD -ROMS, tapes, drives, cells, data processing devices or any other
                   repositories used with electronically controlled equipment.
             b.    Any reference to your "electronic media and data" means "electronic media and data" owned by you and
                   stored on your "electronic data processing equipment."
             c.    "Electronic media and data" does not mean any "valuable papers & records' or "virtual currency."
        8.   "Electronic Data Processing Equipment"
             a.    Means any of the following equipment:
                   (1) Computers, facsimile machines, word processors, multi-functional telephones and computer servers, and
                   (2) Any component parts and peripherals of such equipment, including related surge protection devices.
                   (3) Laptops and personal digital assistants.
                   (4) "Diagnostic Equipment"
             b.    "Electronic data processing equipment" does not mean equipment used to operate production type of:
                   (1) Machinery; or
                   (2) Equipment.
             c.    Any reference to your "electronic data processing equipment" means "electronic data processing equipment"
                   used in your "operations" and controlled and operated by you, and includes any "electronic data processing
                   equipment" controlled or operated by a third party on your behalf.
        9.   "Employee(s)" means:
             a.    Any natural person:
                   (1) While in your service (and for 30 days after termination of service); and
                   (2) Whom you compensate directly by salary, wages or commissions; and
                   (3) Whom you have the right to direct and control while performing services for you.
             b.   Any natural person employed by an employment contractor while that person is subject to your direction and
U,
                  control and performing services for you excluding, however, any such person while having care and custody
                  of property outside the premises.
             c.   Your directors or trustees while acting as a member of any of your elected or appointed committees to
                  perform on your behalf specific, as distinguished from general, directorial acts.
             But "employee" does not mean any agent, broker, factor, commission merchant, consignee, independent
             contractor or representative of the same general character.
        10. "Employee Dishonesty" means only dishonest acts, committed by an "employee," whether identified or not,
            acting alone or in collusion with other persons, except you, a partner, a "member" or a "manager," including the
            "theft" of Personal Property of Others in your care custody or control by an "employee," with the manifest intent to:
             a.    Cause you, your customers or clients to sustain loss; and also
             b.    Obtain financial benefit (other than salaries, commissions, fees, bonuses, promotions, awards, profit sharing,
                   pensions or other employee benefits earned in the normal course of employment) for:
                   (1) The "employee"; or
                   (2) Any person or organization intended by the "employee" to receive that benefit.




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    11. ¯Fine Arts"
        a.     Means paintings, etchings, pictures, tapestries, art glass windows, valuable rugs, statuary, marbles, bronzes,
               antique furniture, rare books, antique silver, porcelains, rare glass, bric-a-brac, and similar property with
               historical value, or artistic merit; and
        b.     Does not mean any glass that is a part of a building or structure.
    12. "Flood" means a general and temporary condition of partial or complete inundation of normally dry land areas,
        whether caused by natural "occurrences", acts or omissions of man or any other cause or combination of causes.
        All flooding in a continuous or protracted event will constitute a single "flood."
    13. "Forgery" means the signing of the name of another person or organization with intent to deceive. "Forgery" does
        not mean a signature which consists in whole or in part of one's own name signed with or without authority, in any
        capacity for any purpose.
    14. "Interior of any building or structure" as used in this policy means all portions of the structure that are within
        the exterior skin of the structure's walls and roof, including, but not limited to lathe, sand paper, framing, wallboard
        and tarpaper.
    15. "Maintenance Fees" means the regular payment made to you by unit-owners and used to service the common
        property.
    16. "Manager" means a person serving in a directorial capacity for a limited liability company.
    17. "Member' means an owner of a limited liability company represented by its membership interest, who also may
        serve as a "manager."
    18. "Money" means currency and coins in current use, bank notes, travelers checks, register checks and money
        orders held for sale to the public. However, "money" does not mean "virtual currency."
    19. "Occurrence" means one event or a series of related events that contribute concurrently to or contribute in any
        sequence to physical loss of or damage to property. However, with respect to:
        a.     Equipment breakdown, "occurrence" means all equipment breakdowns that manifest themselves at the same
               time and are the result of the same cause, regardless of the number of described premises involved.
        b.     volcanic eruption, "occurrence" means all volcanic eruptions, explosions or effusions that occur within any
               168 hour period.
        c.     Utility Services Coverage, "occurrence" means one event or a series of related events that contribute
               concurrently to or contribute in any sequence to physical loss of or damage to property, regardless of the
               number of described premises or the number of utility service providers or utility service properties involved in
               the same event.
        This defined version of "occurrence" will supersede and replace the word 'occurrence' wherever it appears in this
        Businessowners Special Property Coverage Form, unless otherwise noted.
    19. "Operations" means the type of your business activities occurring at the described premises and tenantability of
        the described premises.
    20. "Period of restoration" means the period of time that:
        a.     Begins with the date of direct physical loss or damage caused by or resulting from any Covered Cause of
               Loss at the described premises; and
        b.     Ends on the earlier of:
               (1) The date when the property at the described premises should be repaired, rebuilt or replaced with
                   reasonable speed and similar quality; or
               (2) The date when business is resumed at a new permanent location.
               'Period of restoration" does not include any increased period required due to the enforcement of any law that:
                   (a) Regulates the construction, use or repair, or requires the tearing down of any property; or
                   (b) Regulates the prevention, control, repair, clean-up or restoration of environmental damage.


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                    The expiration date of this policy will not cut short the "period of restoration."
         21. 'Pollutants" means any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot,
             fumes, acids, alkalis, chemicals, waste, and any unhealthful or hazardous building materials (including but not
             limited to asbestos and lead products or materials containing lead). Waste includes materials to be recycled,
             reconditioned or reclaimed.
         22. "Power Generating Equipment"
             a.     Means the following types of equipment or apparatus:
                    (1) Pressure;
                    (2) Mechanical; or
                    (3) Electrical;
                    Used in or associated with the generation of electrical power; and
             b.     Does not mean such equipment that is used solely to generate emergency power that is less than or equal to
                    1000KW
         23. "Power Supply Services"
             a.     Means the following types of property supplying electricity, steam or gas to the described premises:
                    (1) Utility generating plants;
                    (2) Switching stations;
                    (3) Substations;
                    (4) Transformers; and
                    (5) Transmission Lines; and
             b.     Does not mean overhead transmission lines.
         24. "Production Equipment"
             a.     Means any:
                    (1) Production machinery; or
                    (2) Process machinery that processes, shapes, forms or grinds:
U,                      i.    Raw materials;
                        ii.   Materials in process; or
(0


a
                        iii. Finished products; and
             b.     Includes "covered equipment" that is used solely with or forms an integral part of the:
                    (1) Production;
                    (2) Process; or
                    (3) Apparatus.
         25. "Rental Value" means Business Income that consist of:
             a.     Net income (Net Profit or Loss before income taxes) that would have been earned or incurred as rental
                    income from tenant occupancy of the premises described in the Declarations as furnished and equipped by
                    you, including the fair rental value of any portion of the described premises which is occupied by you; and
             b.     Continuing normal operating expenses incurred in connection with that premises, including:
                    (1) Payroll; and
                    (2) The amount of charges which are the legal obligation of the tenant(s) but would otherwise be your
                        obligations.



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   26. "Securities" means negotiable and nonnegotiable instruments or contracts representing either 'money" or other
       property and includes:
       a.    Tokens, tickets except lottery tickets, revenue and other non -postage stamps whether or not in current use;
             and
        b.     Evidences of debt issued in connection with credit or charge cards, which are not of your own issue;
       but does not include "money." Lottery tickets held for sale and "virtual currency" are not securities.
   27. "Specified causes of loss" means the following:
       Fire; lightning; explosion; windstorm or hail; smoke; aircraft or vehicles; riot or civil commotion; vandalism;
       leakage from fire extinguishing equipment; sinkhole collapse; volcanic action; falling objects; weight of snow, ice
       or sleet; water damage.
       a.    Sinkhole collapse means the sudden sinking or collapse of land into underground empty spaces created by
             the action of water on limestone or dolomite. This cause of loss does not include:
             (1) The cost of filling sinkholes; or
             (2) Sinking or collapse of land into man-made underground cavities.
       b.      Falling objects does not include loss of or damage to:
             (1) Personal Property in the open; or
             (2) The interior of a building or structure, or property inside a building or structure, unless the roof or an
                 outside wall of the building or structure is first damaged by a falling object.
       c.    Water damage means:
             (1) Accidental discharge or leakage of water or steam as the direct result of the breaking apart or cracking of
                 any part of a system or appliance (other than a sump system including its related equipment and parts)
                 that is located on the described premises and contains water or steam; and
             (2) Accidental discharge or leakage of water or waterborne material as the direct result of the breaking apart
                 or cracking of a water or sewer pipe caused by wear and tear, when the pipe is located off the described
                 premises and is connected to or is part of a potable water supply system or sanitary sewer system
                 operated by a public or private utility service provider pursuant to authority granted by the state or
                 governmental subdivision where the described premises are located.
             But water damage does not include loss or damage otherwise excluded under the terms of the Water
             Exclusion. Therefore, for example, there is no coverage under this policy in the situation in which discharge or
             leakage of water results from the breaking apart or cracking of a pipe which was caused by or related to
             weather-induced flooding, even if wear and tear contributed to the breakage or cracking. As another example,
             and also in accordance with the terms of the Water Exclusion, there is no coverage for loss or damage
             caused by or related to weather-induced flooding which follows or is exacerbated by pipe breakage or
             cracking attributable to wear and tear.
             To the extent that accidental discharge or leakage of water falls within the criteria set forth in c.(1) or c.(2) of
             this definition of "specified causes of loss", such water is not subject to the provisions of the Water Exclusion
             which preclude coverage for surface water or water under the surface of the ground.
   28. "Stock" means merchandise held in storage or for sale, raw materials and in-process or finished goods, including
       supplies used in their packing or shipping.
   29. "Suspension" means:
       a.    The partial or complete cessation of your business activities; or
       b.    That a part or all of the described premises is rendered untenantable.
   30. "Theft" means any act of stealing. "Theft" does not include the unlawful taking of property resulting from phished,
       spoofed, fraudulent or fake wire transfer instructions, emails or other electronic communication..
   31. "Vacant" means the following



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          a. When this policy is issued to a tenant, and with respect to that tenant's interest in Covered Property, building
             means the unit or suite rented or leased to the tenant. Such building is vacant when it does not contain
             enough business personal property to conduct customary operation.
          b. When this policy is issued to the owner or general lessee of a building, building means the entire building.
             Such building is vacant unless at least 31% of its total square footage is:
               (1) Rented to a lessee or sub-lessee and used by the lessee or sub-lessee to conduct its customary
                   operations; and/or
               (2) Used by the building owner to conduct customary operations.
     32. "Valuable papers and records" means inscribed, printed or written:
          a.   Documents;
          b.   Manuscripts; and
          c.   Records;
          Including abstracts, books, deeds, drawings, films, maps or mortgages.
          But "valuable papers and records" does not mean:
          a.   "Money" or securities";
          b.   "Electronic data";
          c.   "Electronic media and data";
     33. "Virtual currency" means any assets, representations of monetary value or means of payment that exist purely
         in electronic or digital form that is accounted for and transferred using computers including, but not limited to,
         digital money, digital currency, crypto currency, cybercash or any other type of electronic or digital currency.
     34. "Water Supply Services" means the following types of property supplying water to the described premises:
          a.   Pumping stations; and
          b.   Water mains.
H.   MALICIOUS CODE, SYSTEM PENETRATION AND DENIAL OF SERVICE DEFINITIONS:
     1.   "Denial of Service' means any failure or inability of any person, user, customer, "electronic data processing
          equipment," computer system or computer network to communicate with, gain access to, or use, any "electronic
          data processing equipment," computer system, computer network, "electronic media and data" or "electronic data"
          because an excessive volume of data, requests or communications is sent to, received by or processed by such
          "electronic data processing equipment," computer system or computer network, and depletes the bandwidth,
          capacity or computational resources thereof, including without limitation, any business interruption caused by the
          foregoing.
     2.   "Electronic Data Peril" means:
          a.   Corruption, unauthorized use, distortion, deletion, damage, destruction or any other harm to, or
               misappropriation or copying of, "electronic data" or information;
          b.   Interruption, delay, disruption, suspension, loss of functionality of, inaccessibility to, unauthorized access to or
               inability to use or communicate with, "electronic data processing equipment," "electronic media and data,"
               "electronic data," computer resources, electronic devices, computer system, computer network or equipment;
               or
          c.   Misappropriation, transfer or copying of any property, "money," "securities" or "stock," including without
               limitation, the use of any computer to cause such misappropriation, transfer or copying.
     3.   "Malicious Code" means any data, computer program, software, firmware or computer code designed to cause
          or result in, or that does cause or result in (whether designed to do so or not), any "electronic data peril," including
          without limitation, computer viruses, worms or Trojan horses..
     4.   "Mass Attack Malware" means any "malicious code":
          a.    Capable of replicating or mutating;


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         b.    Propagating, spreading or moving to other "electronic data processing equipment," "electronic media and
               data," "electronic data," electronic devices, media, computer systems, equipment or computer networks,
               including without limitation, by attaching to applications, e -mails, e-mail attachments or otherwise;
         c.    Designed to exploit a vulnerability that is common to or present on more than one "electronic data processing
               equipment," "electronic media and data," "electronic data," electronic devices, media, computer systems,
               equipment or computer networks; or
         d.    That infects, is stored upon, exists within or resides on more than one "electronic data processing
               equipment," "electronic media and data," "electronic data," electronic device, media, computer system,
               equipment or computer network.
    5.   "Mass System Penetration" means any "system penetration" that:
         a.    Exploits, or is designed to exploit, a vulnerability that is common to or present on more than one "electronic
               data processing equipment," "electronic media and data," "electronic data," electronic devices, media,
               computer systems, equipment or computer networks; or
         b.    Targets or exploits more than one "electronic data processing equipment," "electronic media and data,"
               "electronic data," electronic device, media, computer system, equipment or computer network.
    6.   "System Penetration" means any access to or use of any "electronic data processing equipment," "electronic
         media and data," "electronic data," electronic device, computer system, equipment or computer network intended
         to cause or result in, or that does cause or result in, any "electronic data peril," which is not directly or indirectly
         enabled by "malicious code" and which is achieved by a person without the use or assistance, directly or
         indirectly, of "malicious code."
    7.   "Targeted Hacker Attack" means the corruption, distortion, damaging, deletion or destruction of your "electronic
         data" resulting from "targeted system penetration" or "targeted malware."
    8.   "Targeted Maiware" means any "malicious code" that:
         a.    Is intended by a hacker to specifically infect, or be stored or reside on, only your "electronic data processing
               equipment";
         b.    Is incapable of replicating, mutating, propagating, spreading or moving to other "electronic data processing
               equipment," "electronic media and data," "electronic data," electronic devices, media, computer systems or
               computer networks;
         c.    Does not infect or reside on any other "electronic data processing equipment," "electronic media and data,"
               "electronic data," computer system, electronic device, or computer network that is not yours; and
         d.    Exploits a vulnerability that is unique to, and present on, only your "electronic data processing equipment,"
               and such vulnerability is not common to or present on any other "electronic data processing equipment,"
               computer, electronic device, medium, computer system, equipment or computer network.
    9.   "Targeted System Penetration" means "system penetration" that is designed to target and exploit, and that does
         target and exploit, a vulnerability that is unique to, and present on, only your "electronic data processing
         equipment," and such vulnerability is not common to or present on any other "electronic data processing
         equipment," computer, electronic device, medium, computer system, equipment or computer network.




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                                BUSINESS INCOME AND EXTRA EXPENSE
This endorsement modifies insurance provided under the following:
     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners Special Property Coverage Form under Paragraph A. Coverage.
Business Income and Extra Expense
Business Income and Extra Expense is provided at the premises described in the Declarations when the Declarations
show that you have coverage for Business Income and Extra Expense.
1.   Business Income
     a.   Business Income means:
          (1) Net Income (Net Profit or Loss before Income taxes) that would have been earned or incurred, including:
              (a) "Rental Value"; and
              (b) "Maintenance Fees," if you are a condominium association; plus
          (2) Continuing normal operating expenses incurred, including payroll, subject to 90 day limitation if indicated on
              the Declaration page.
     b. We will pay for the actual loss of Business Income you sustain due to the necessary "suspension" of your
        "operations" during the "period of restoration." The "suspension" must be caused by direct physical loss of or
        damage to property at the described premises. The loss or damage must be caused by or result from a Covered
        Cause of Loss. With respect to loss of or damage to personal property in the open or personal property in a
        vehicle, the described premises include the area within 1,000 feet of the site at which the described premises are
        located.
     c.   Your loss of Business Income is covered up to 30 consecutive days when caused as a direct result of damage, by
          a Covered Cause of Loss, to property adjacent to your premises.
     d. With respect to the requirements set forth in Paragraph b. above, if you rent, lease or occupy only part of the site
        at which the described premises are located, the described premises means:
          (1) The portion of the building which you rent, lease or occupy; and
          (2) Any area within the building or on the site at which the described premises are located, if that area services,
              or is used to gain access to, the described premises.
     e.   Property in Transit
          (1) We will pay for the actual loss of Business Income you sustain and necessary Extra Expense you incur during
              the "period of restoration" due to direct physical loss of or damage to:
              (a) Your business personal property; or
              (b) Personal property of others in your care, custody or control;
              while such property in the due course of transit.
              If caused by such loss or damage to property in the due course of transit, we will also pay for the actual loss
              of Business Income you sustain during the additional period of coverage provided under the Extended
              Business Income Additional Coverage.
          (2) Insurance under this Additional Coverage applies only if the loss or damage to the property in transit is
              caused by a Covered Cause of Loss. Insurance under this Additional Coverage does not apply to any loss of
              Business Income or Extra Expense due to loss of or damage to:
              (a) Vehicles or self-propelled machines (including motor vehicles, trailers, aircraft, watercraft and similar
                  conveyances) unless such vehicles are themselves in the due course of transit in or on another
                  transporting conveyance;



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              (b) Property while waterborne, except in regular ferry operations in the course being moved by other means
                  of transportation;
              (c) Property shipped by mail;
              (d) Contraband, or property in the course of illegal transportation or trade;
              (e) Import shipments that have not been unloaded from any importing aircraft or watercraft, or that are under
                  the protection of marine insurance;
              (f) Export shipments once loaded on board exporting aircraft or watercraft, or under the protection of marine
                  insurance; or
              (g) Properly sold by you under conditional sale, trust agreement, installment payment or other deferred
                  payment plan, after delivery to customers.
          (3) The most we will pay for loss under this Additional Coverage is $10,000 unless a different Limit of Insurance
              is shown in the Declarations for Property in Transit Business Income and Extra Expense.
                                                                    -




     f.   Extended Business Income
          If the necessary "suspension" of your "operations" produces a Business Income loss payable under Paragraphs
          l.a. through l.d. above, we will also pay for the actual loss of Business Income you sustain during the period that:
          (1) Begins on the date property is actually repaired, rebuilt or replaced and "operations" are resumed; and
          (2) Ends on the earlier of:
              (a) The date you could restore your "operations" with reasonable speed, to the level which would generate
                  the Business Income amount that would have existed if no direct physical loss or damage occurred; or
              (b) Sixty consecutive days after the date determined in paragraph f.(l) above.
          However, this extended Business Income does not apply to loss of Business Income incurred as a result of
          unfavorable business conditions caused by the impact of the Covered Cause of loss in the area where the
          described premises are located.
2.   Extra Expense
     a.   Extra Expense means reasonable and necessary expenses you incur during the "period of restoration" that you
          would not have incurred if there had been no direct physical loss of or damage to property caused by or resulting
          from a Covered Cause of Loss.
     b.   We will pay Extra Expense (other than the expense to repair or replace property) to:
          (1) Avoid or minimize the "suspension" of business and to continue "operations" at the described premises or at
              replacement premises or temporary locations, including relocation expenses and costs to equip and operate
              the replacement premises or temporary locations; or
          (2) Minimize the "suspension" of business if you cannot continue "operations."
     c.   We will also pay Extra Expense (including Expediting Expenses) to repair or replace the property, but only to the
          extent it reduces the amount of loss that otherwise would have been payable under Paragraph 1. Business
          Income above.
3.   If the Declarations show for Business Income and Extra Expense:
     a.   Actual loss sustained for 12 consecutive months, then we will pay for loss of Business Income and Extra Expense
          that occurs within 12 consecutive months following the date of direct physical loss or damage; or actual loss
          sustained for the number of months shown on the Declaration page; or
     b.   Subject to a. above, if a maximum dollar limit is shown on the Declarations page, then we will pay actual loss
          sustained, plus loss payable under Extended Business Income, up to a maximum dollar limit, for the loss of
          Business Income and Extra Expense.
4.   "Electronic Data Processing Equipment" and "Electronic Media and Data"
     a."Electronic data processing equipment" and "electronic media and data" shall be considered covered property as
       referenced in this Coverage Part.
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          b.   We shall not be liable for any payment for the Extra Expense you incur, and loss of Business Income you sustain,
               during the first 12 hours following the start of a necessary "suspension" of your "operations" during the "period of
               restoration" that is caused by direct physical loss of or damage to "electronic data processing equipment" or
               "electronic data and media" at the described premises; or at the premises of a 3rd party vendor who is managing
               or controlling your "electronic data processing equipment" on your behalf, provided, however, if the Business
               Income And Extra Expense 72 Hour Deductible endorsement is part of this policy, the 72 hour deductible stated
                                           -




               in that endorsement shall apply with respect to this sub -paragraph 5.b. instead of the 12 hour deductible set forth
               above.




      All other terms and conditions of the Policy remain unchanged.




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CNA                                                                                                            (Ed. 01/06)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                          SEASONAL INCREASE
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   shown in the Declarations to provide for seasonal
Special Property Coverage Form:                                          variations.
    Subject to the Exclusions, Conditions and Limitations           2.   This increase will apply only if the Limit of
    of this policy, you may extend this insurance as                     Insurance shown for Business Personal Property
    indicated below.                                                     in the Declarations is at least 100% of your
                                                                         average monthly values during the lesser of:
    Unless otherwise stated, payments made under the
    following coverage will not increase the applicable                  a. The 12 months immediately preceding the
    Limits of Insurance.                                                    date of the loss or damage occurs; or

    1.   The Limit of Insurance for Business Personal                    b.   The period of time you have been in business
         Property shown in the Declarations will                              at the location where the loss or damage
         automatically increase by 25%, or the amount                         occurs, on the date the loss or damage
                                                                              occurs.




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     CNA                                                                                                           (Ed. 01/06)


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                            ARSON & THEFT REWARD
     This endorsement modifies insurance provided under the following:
         BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
     The following coverage is added to your Businessowners                   a. An arson conviction in connection with a
     Special Property Coverage Form under Section A.5.                           covered fire or explosion loss; or
     Additional Coverages.
                                                                              b.   A "theft" conviction in connection with a
     Unless otherwise stated, payments made under the                              covered "theft" loss.
     following Additional Coverage is in addition to the
     applicable Limits of Insurance.                                     2.   The most we will pay under this Additional
                                                                              Coverage in connection with a particular loss is
     Arson and Theft Reward                                                   $5,000.
         1.   We will pay for reasonable expenses you incur for
              rewards that lead to:




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CNA                                                                                                                  (Ed. 6-16)


                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              CLAIM DATA EXPENSE
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners Special Property Coverage under Section A.5. Additional
Coverages:
Unless otherwise stated, payments made under the following Additional Coverage is in addition to the applicable Limit of
Insurance.
Claim Data Expense
    1.   We will pay the reasonable and necessary expenses you incur in preparing claim data when we require such data
         or we request you prepare income statements to show the extent of covered loss or damage. This includes the
         cost of taking inventories, making appraisals, preparing income statements, and preparing other documentation.
    2.   Under this Additional Coverage, we will not pay for:
         a.   Any fees, costs or expenses incurred, directed or billed by or payable to:
              (1) attorneys, public adjusters, loss adjusters, loss consultants or their associates or subsidiaries; or
              (2) insurance brokers or agents, or their associates or subsidiaries, including related forensic accounting
                  services, without our written consent prior to such expenses being incurred.
         b. Any costs incurred in connection with Paragraph E.2. Appraisal.
    3.   The most we will pay for preparation of claim data under this Additional Coverage in any one occurrence is $5,000
         regardless of the number of premises involved.




All other terms and conditions of the Policy remain unchanged.




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     CNA                                                                                                             (Ed. 01/08)


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                      DEBRIS REMOVAL
     This endorsement modifies insurance provided under the following:

         BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
     The following coverage is added to your Businessowners                   b.   Remove, restore or replace polluted land or
     Special Property Coverage Form under Paragraph A.5.                           water.
     Additional Coverages.
                                                                         3.   Except as provided in Paragraph 4. below,
     Unless otherwise stated, payments made under the                         payment for Debris Removal is included within the
     following Additional Coverage is in addition to the                      applicable Limit of Insurance shown in the
     applicable Limit of Insurance.                                           Declarations. The most we will pay under this
                                                                              Additional Coverage is 25% of:
     Debris Removal
                                                                              a.   The amount we pay for the direct physical
         1.   We will pay your expense to remove debris of
                                                                                   loss or damage to Covered Property; plus
              Covered Property, other than outdoor trees,
              shrubs, plants and lawns as described in the                    b. The deductible in this Coverage           Form
              Outdoor Trees, Shrubs, Plants and Lawns                            applicable to that loss or damage.
              Coverage Extension, caused by or resulting from
              a Covered Cause of Loss that occurs during the             4.   When the debris removal expense exceeds the
              policy period. The expenses will be paid only if                25% limitation in Paragraph 3. above or when the
              they are reported to us within 180 days of the date             sum of the debris removal expense and the
              of direct physical loss or damage                               amount we pay for the direct physical loss of or
                                                                              damage to Covered Property exceeds the
         2.   Debris Removal does not apply to costs to:                      applicable Limit of Insurance, we will pay up to an
                                                                              additional $25,000, or the limit shown in the
              a.   Extract "pollutants" from land or water; or                Declarations, for debris removal expense in any
                                                                              one occurrence, at each described premises.




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CNA                                                                                                               (Ed. 10-19)


                                           EMPLOYEE DISHONESTY
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners Special Property Coverage Form under Paragraph A.5.
Additional Coverages:
Unless otherwise stated, payments under the following Additional Coverage are in addition to the applicable Limit of
Insurance.
Employee Dishonesty
(1) We will pay for loss of or damage to Covered Property resulting directly from dishonest acts committed by any of your
    "employees" acting alone or in collusion with other persons (except you or your partner) with the manifest intent to:
    (a) Cause you to sustain loss or damage; and also
    (b) Obtain financial benefit (other than salaries, commissions, fees, bonuses, promotions, awards, profit sharing,
        pensions or other employee benefits earned in the normal course of employment) for:
         (i) Any employee; or
         (ii) Any other person or organization.
    We will pay for loss or damage you sustain to Covered Property through acts committed or events occurring during the
    Policy Period. Regardless of the number of years this insurance remains in force or the number of premiums paid, no
    Limit of Insurance cumulates from year to year or period to period.
(2) Paragraphs A.2.m., A.2.n., A.2.p., B.1.k., B.2.h., B.2.i., B.2.n. and B.2.o. do not apply, but only to the extent of the
    coverage provided under this Employee Dishonesty Additional Coverage.
(3) We will not pay for loss resulting from the dishonest acts of any "employee" if coverage for that "employee" was either
    cancelled or excluded from any previous insurance of yours providing "employee dishonesty" coverage.
(4) This Additional Coverage is cancelled as to any "employee immediately upon discovery by:
    (a) You; or
    (b) Any of your partners, "members," "managers," officers, directors or trustees not in collusion with the "employee,"
    of any fraudulent dishonest act committed by that "employee" before or after being employed by you.
(5) We will pay for covered loss or damage only if discovered no later than one year from the end of the Policy Period.
(6) The most we will pay for loss under this Additional Coverage in any one "occurrence" is the limit shown on the
    Declarations regardless of the number of premises involved.
(7) With respect to this Additional Coverage, the definition of "occurrence" is deleted and replaced by the following:
    "Occurrence" means:
    a.   Any single act;
    b.   The combined total of all separate acts whether or not related; or
    c. A series of acts whether or not related,
committed by an "employee", acting alone or in collusion with other persons, or any group of "employees" acting together,
even if in collusion with other persons, during the policy period, subject to Paragraphs (8) and (9) below.
(8) If, during the period of any prior Employee Dishonesty or Employee Theft insurance, you (or any predecessor in
    interest) sustained loss or damage that you could have recovered under that insurance, except that the time within
    which to discover loss or damage has expired, we will pay for it under this Additional Coverage, subject to the
    following:
    (a) This insurance became effective at the time of cancellation or termination of the prior insurance; and


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    (b) The loss or damage would have been covered by this insurance had it been in effect when the acts or events
        causing the loss or damage were committed or occurred.
(9) The insurance provide under paragraph (8) above is part of, not in addition to the Limit of Insurance described in
    Paragraph (6) above and is limited to the lesser of the amount recoverable under:
    (a) This Additional Coverage, as of its effective date; or
    (b) The prior Employee Dishonesty or Employee Theft insurance, had it remained in effect.
(10) We will not pay for loss or damage under this endorsement until the amount of loss or damage in any one occurrence
     exceeds $250. We will then pay the amount of loss or damage in excess of the $250 up to the Limit of Insurance.
(11) Under PROPERTY DEFINITIONS, and only for the purpose of the coverage provided by this Employee Dishonesty
     Additional Coverage, the definition of "employee" is deleted and replaced by the following:
    "Employee(s)" means:
    a.   Any natural person:
         (1) While in your service (and for 30 days after termination of service); and
         (2) Whom you compensate directly by salary, wages or commissions; and
         (3) Whom you have the right to direct and control while performing services for you.
    b.   Any natural person employed by an employment contractor while that person is subject to your direction and
         control and performing services for you excluding, however, any such person while having custody of property
         outside the premises.
    c.   Any natural person, whether or not compensated, while performing services for you as a member or chairperson
         of any committee.
    d.   Your natural person director or trustee while acting as a member of any of your elected or appointed committees
         to perform on your behalf specific, as distinguished from general, directorial acts.
    But "employee" does not mean any agent, broker, factor, commission merchant, consignee, independent contractor or
    representative of the same general character.




All other terms and conditions of the Policy remain unchanged.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                            EXPEDITING EXPENSES
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   replacement, at the premises sustaining loss or
Special Property Coverage Form under Paragraph A.5.                      damage. Expediting expenses include overtime
Additional Coverages.                                                    wages and the extra cost of express or other rapid
                                                                         means of transportation. Expediting expenses do
Unless otherwise stated, payments made under the                         not include expenses you incur for the temporary
following Additional Coverage is in addition to the                      rental of property or temporary replacement of
applicable Limits of Insurance.                                          damaged property.

Expediting Expenses                                                 2.   With respect to this Additional Coverages,
                                                                         "breakdown" to "covered equipment" will not be
    1.   In the event of direct physical loss of or damage to            considered a Covered Cause of Loss, even if
         Covered Property caused by or resulting from a                  otherwise covered elsewhere in this Policy.
         Covered Cause of Loss, we will pay for the
         reasonable and necessary additional expenses               3.   The most we will pay under this Additional
         you incur to make temporary repairs, expedite                   Coverage in any one occurrence is $25,000,
         permanent repairs, or expedite permanent                        regardless of the number of premises involved.




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CNA                                                                                                              (Ed. 07/09)


            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                       FINE ARTS
This endorsement modifies insurance provided under the following:

    BUSINESS OWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   c.   We will not pay for loss or damage cause by
Special Property Coverage Form under Paragraph A.5.                           or resulting from any repairing, restoration or
Additional Coverages.                                                         retouching process;

Unless otherwise stated, payments made under the                         d. We will not pay for loss or damage cause by
following Additional Coverage is in addition to the                         or resulting from faulty packing;
applicable Limits of Insurance.                                          e.   Paragraph B.1.b. Earth Movement;
Fine Arts                                                                f.   Paragraph B.1.c. Governmental Action;
    1.   When a Limit of Insurance is shown in the                       g.   Paragraph B.1.d. Nuclear Hazard;
         Declarations for Building or Business Personal                  h.   Paragraph B.1.f. War and Military Action;
         Property at any described premises, we will pay
         for direct physical loss of or damage to "fine arts'            i.   Paragraph B.1.g. (1), (2) and (4) Water;
         which are owned by:
                                                                         j.   Paragraph B.1.h. Neglect; and
         a.   You;or
                                                                         k.   Paragraph B.2.g. Frozen Plumbing
         b.   Others and in your care, custody or control;
                                                                         No other exclusions in Paragraph B. Exclusions
         caused by or resulting from a Covered Cause of                  apply to this Additional Coverage. However, if any
         Loss, including while on exhibit, or in transit,                exclusions are added by endorsement to this
         anywhere within the Coverage Territory.                         policy, such exclusions will apply to this Additional
                                                                         Coverage.
   2.    The breakage limitation under Paragraph A.4.b.(2)
         does not apply to this Additional Coverage.                4.   The most we pay for loss or damage under this
                                                                         Additional Coverage in any one occurrence is
   3.    The following exclusions apply to this Additional               $25,000, or the amount shown in the Declarations
         Coverage:                                                       for "fine arts," whichever is greater.
         a.   We will not pay for loss or damage caused by          5.   This Additional Coverage does not apply to
              or resulting from wear and tear, any quality in            property:
              the property that causes it to damage or                   a. While in the custody of the United States
              destroy itself, gradual deterioration, insects,                Postal Service;
              birds, rodents or other animals;
                                                                         b.   After delivery to customers.
         b.   We will not pay for loss or damage caused by
              or resulting from dampness or dryness of
              atmosphere, or changes in extremes of
              temperature;




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CNA                                                                                                           (Ed. 01/06)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                              FIRE DEPARTMENT SERVICE CHARGE
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners              When the fire department is called to save or protect
Special Property Coverage Form under Paragraph A.5.                 Covered Property from a Covered Cause of loss, we
Additional Coverages.                                               will pay up to $25,000 for your liability for fire
                                                                    department service charges:
Unless otherwise stated, payments made under this
following Additional Coverage is in addition to the                 1.   Assumed by contract or agreement prior to loss;
applicable Limit of Insurance.                                           or
                                                                    2.   Required by local ordinance.




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                                                                                                            SB -14681 1-A
C'NA                                                                                                          (Ed. 01/06)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                          FIRE PROTECTIVE EQUIPMENT DISCHARGE
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   a.   Refill or recharge the system with the
Special Property Coverage Form under Paragraph A.5.                           extinguishing agents that were discharged;
Additional Coverages.                                                         and
Unless otherwise stated, payments made under the                         b.   Replace or repair faulty valves or controls
following Additional Coverage is in addition to the                           which caused the discharge.
Applicable Limits of Insurance.
                                                                    2.   The most we will pay under this Additional
    1.   If fire     protective   equipment  discharges                  Coverage in any one occurrence is $10,000,
         accidentally or to control a Covered Cause of                   regardless of the number of premises involved.
         Loss, we will pay your cost to:




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                                                                                                                         SB146812D
 CNA                                                                                                                      (Ed. 10-19)


                                           FORGERY AND ALTERATION
This endorsement modifies insurance provided under the following:
     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners Special Property Coverage Form under Paragraph A.5.
Additional Coverages.
Unless otherwise stated, payment made under the following Additional Coverage is in addition to the applicable Limits of
Insurance.
Forgery and Alteration
(1) We will pay for loss resulting directly from "forgery" or alteration of, any check, draft, promissory note, bill of exchange,
    or similar written promise of payment in "money" that you or your agent has issued, or that was issued by someone
    who impersonates you or your agent
(2) If you are sued for refusing to pay the check, draft, promissory note, bill of exchange or similar written promise of
    payment in "money," on the basis that it has been forged or altered, and you have our written consent to defend
    against the suit, we will pay any reasonable legal expenses that you incur in that defense.
(3) For the purposes of this coverage, check includes a substitute check as defined in the Check Clearing for the 21st
    Century Act, and will be treated the same as the original if replaced.
(4) We will consider signatures that are produced or reproduced electronically, mechanically or by facsimile the same as
    handwritten signatures.
(5) We will pay for loss that you sustain through acts committed or events occurring during the Policy Period. Regardless
    of the number of years this insurance remains in force or the number of premiums paid, no Lirriit of Insurance
    cumulates from year to year or period to period.
(6) We will pay for covered loss discovered no later than one year from the end of the Policy Period.
(7) The most we will pay for loss under this Additional Coverage in any one "occurrence" is the limit shown on the
    Declarations regardless of the number of premises involved.
(8) Solely with respect to this Additional Coverage, the definition of "occurrence" is deleted and replaced by the following:
    "Occurrence" means:
    a.   any single act;
    b. the combined total of all separate acts whether or not related; or
    C.   a series of acts whether or not related,
committed by any one person acting alone or in collusion with others, or in which such a person is implicated, involving
one or more instruments, during the policy period, before this policy period, or both, subject to Paragraphs (5) and (9)
(9) If, during the period of any prior Forgery or Alteration insurance, you (or any predecessor in interest) sustained loss or
    damage that you could have recovered under that insurance, except that the time within which to discover loss or
    damage has expired, we will pay for it under this Additional Coverage provided:
    (a) This insurance became effective at the time of cancellation or termination of the prior insurance; and
    (b) The loss would have been covered by this insurance had it been in effect when the acts or events causing the
        loss were committed or occurred.
(10) The insurance provided under Paragraph (9). above is part of, and not in addition to the limit described in Paragraph
     (7) above and is limited to the lesser of the amount recoverable under:
    (a) This Additional Coverage up to the applicable Limit of Insurance under this Policy, as of its effective date; or
    (b) The prior Forgery or Alteration insurance, had it remained in effect.




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     (11) The following definition is added:
         "Forgery" means the signing of the name of another person or organization with intent to deceive; it does not mean a
         signature which consists in whole or in part of one's own name signed with or without authority, in any capacity for any
         purpose.
     (12) Paragraphs B.2.i., and B.2.n. do not apply to this Additional Coverage but only to the extent of the coverage provided
          under this Forgery and Alteration Additional Coverage.




     All other terms and conditions of the Policy remain unchanged.




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CNA                                                                                                             (Ed. 01/08)


           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                       NEWLY ACQUIRED OR CONSTRUCTED PROPERTY
This endorsement modifies insurance provided under the following:
     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners         2.   Business Personal Property
Special Property Coverage Form under Paragraph A.5.
Additional Coverages.
                                                                    a. When a Limit of Insurance is shown in the
                                                                       Declarations for Business Personal Property at
Unless otherwise stated, payments made under the                       any described premises, we will pay for direct
following Additional Coverage is in addition to the                    physical loss of or damage to the following
applicable Limits of Insurance.                                        property caused by or resulting from a Covered
                                                                       Cause of Loss:
Newly Acquired or Constructed Property
                                                                         (1) Business Personal Property, including such
1.   Buildings
                                                                             property that you newly acquire, at a building
     a.   We will pay for direct physical loss of or damage                  you acquire by purchase or lease at any
          to the following property caused by or resulting                   premises, including those premises shown in
          from a Covered Cause of Loss:                                      the Declarations; and
          (1) Your:                                                      (2) Business Personal Property that you newly
                                                                             acquire at a described premises.
              (a) New buildings while being built on a
                  premises shown in the Declarations;               b. The most we will pay for loss of or damage to
                                                                       Business Personal Property under this Additional
              (b) New buildings while being built on newly             Coverage in any once occurrence is $250,000 at
                  acquired premises; and                               each premises.
                  (I) intended for similar use as a building   3.   Period of Coverage
                      described in the Declarations; or
                                                                    a.   With respect to insurance under this Additional
                  (ii) used as a warehouse                               Coverage, coverage will end when any of the
              (C) Materials,  equipment, supplies and                    following first occurs:
                  temporary structures used in connection                (1) This policy expires;
                  with such buildings while they are being
                  built; or                                              (2) 180 days expire after you acquire the property
                                                                             or begin to construct the property;
          (2) Buildings you acquire by purchase or lease at
              any premises, including those premises                     (3) You report values to us; or
              shown in the Declarations.                                 (4) The property is more specifically insured.
     b.   The most we will pay for loss of or damage to             b. We will charge you additional premium for values
          newly constructed buildings or newly acquired
                                                                       reported to us from the date construction begins or
          buildings under this Additional Coverage in any              you acquire the property.
          one occurrence is $1,000,000 at each premises.




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                                                                                                                         SB-146814-B
     CNA                                                                                                                   (Ed. 03/06)


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                           ORDINANCE OR LAW
     This endorsement modifies insurance provided under the following:
         BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
     The following coverage is added to your Businessowners                          (1) You were required to comply with before
     Special Property Coverage Form under Section A.5.                                   the loss, even if the building was
     Additional Coverages.                                                               undamaged; and
     Unless otherwise stated, payments made under the                                (2) You failed to comply with; or
     following Additional Coverage is in addition to the
     applicable Limits of Insurance.                                            b.   Costs associated with the enforcement of any
                                                                                     ordinance or law that requires any insured or
         1.   In the event of damage by a Covered Cause of                           other to test for, monitor, clean up, remove,
              Loss to a building that is Covered Property, we will                   contain, treat, detoxify or neutralize, or in any
              pay for:                                                               way respond to, or assess the effects of
              a.                                                                     "pollutants."
                    Loss in value of the undamaged portion of the
                    building as a consequence of enforcement of            4.   Paragraph B.1.a. does not apply to this Additional
                    the minimum requirements of any ordinance                   Coverage.
                    or law that requires the demolition of
                    undamaged parts of the same building;                  5.   Subject to the limit described in Paragraph 6.
                                                                                below:
              b.    Demolition cost, meaning the cost to demolish
                    and clear the site of undamaged parts of the                a. The insurance provided under this Additional
                    same building as a consequence of                              Coverage for loss in value to the undamaged
                    enforcement of the minimum requirements of                     portion of the building is limited as follows:
                    any ordinance or law that required demolition                    (1) If Replacement Cost Coverage applies
                    of such undamaged property; and                                      and the building is repaired or replaced
              c.    The increased cost of construction, meaning                          on the same or another premises, we will
                    the increased cost to repair, rebuild or                             not pay more than the lesser of:
                    reconstruct the property as a consequence of                         (a) The amount you actually spend to
                    enforcement of the minimum requirements of                               repair, rebuild or reconstruct the
                    any ordinance or law. This increased cost of                             undamaged portion of the building; or
                    construction coverage applies only if:
                                                                                         (b) The amount it would cost to restore
'0                  (1) The building is insured for replacement                              the undamaged portion of the
                        cost;                                                                building on the same premises and to
                    (2) The building is repaired,           rebuilt   or                     the same height, floor area, style and
                        reconstructed; and                                                   comparable quality of the original
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                                                                                             undamaged portion of the building; or
                    (3) The repaired, rebuilt or reconstructed
                        building is intended for similar occupancy                   (2) If Replacement Cost Coverage applies
                        as the current building, unless otherwise                        and the building is not repaired or
                        required by zoning or land use ordinance                         replaced, or if Replacement Cost
                        or law.                                                          Coverage does not apply, we will not pay
                                                                                         more than the actual cash value of the
        2.    The ordinance or law referred to in this Additional                        undamaged portion of the building at the
              Coverage is an ordinance or law that:                                      time of loss.
              a.    Regulates the demolition, construction or                   b.   We will not pay more for demolition costs than
                    repair of buildings, or establishes zoning or                    the amount you actually spend to demolish
                    land use requirements at the described                           and clear the site of the described premises.
                    premises; and
                                                                                c.   The insurance provided under this Additional
              b.    Is in force at the time of the loss.                             Coverage for increased cost of construction is
        3.    We will not pay under this Additional Coverage for:
                                                                                     limited as follows:

              a.                                                                     (1) If the building is repaired or replaced at
                    Loss due to any ordinance or law that:
                                                                                         the same premises, or if you elect to

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                rebuild at another premises, the most we      a.   Paragraph l.a. above in any one occurrence
                will pay is the increased cost of                  is the Building Limit at each described
                construction at the same premises; or              premises shown in the Declarations, if this
                                                                   coverage has been selected and is indicated
            (2) If the ordinance or law requires relocation        on the Declarations.
                to another premises, the most we will pay
                is the increased cost of construction at      b.   Paragraph 1.b. and 1.c. above in any one
                the new premises.                                  occurrence is $25,000 or the limit shown in
                                                                   the Declarations, whichever is greater at each
   6.   The most we will pay for loss under this Additional        described premises.
        Coverage for the total of all coverages described
        in:




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                                                                                                                      (Ed. 01/06)



               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                            OUTDOOR TREES, SHRUBS, PLANTS AND LAWNS
     This endorsement modifies insurance provided under the following:
         BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
     The following coverage is added to your Businessowners                   of trees, shrubs or plants) and lawns located at the
     Special Property Coverage Form under Section A.5.                        described premises caused by or resulting from a
     Additional Coverages.                                                    Covered Cause of Loss.

     Unless otherwise stated, payments made under the                    2.   The most we will pay for loss or damage under
     following Additional Coverage is in addition to the                      this Additional Coverage in any one occurrence is
     applicable Limits of Insurance.                                          $3,000 at each described premises.
     Outdoor Trees, Shrubs, Plants and Lawns                             3.   Debris removal, because of covered loss or
                                                                              damage to outdoor trees, shrubs, plants and
         1.   We will pay for direct physical loss of or damage               lawns, is included within the limits described in
              to outdoor trees, shrubs, plants (other than "stock"            Paragraph 2. above.




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     SB -I 46815-A                                                                                                    Page 1 of 1
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                                                                                                               SB -146816-A
CNA                                                                                                              (Ed. 01/06)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                              POLLUTANT CLEAN UP AND REMOVAL
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   c.   During the policy period.
Property Coverage Form under Paragraph A.5. Additional
Coverages.                                                          2.   The expenses will be paid only if they are reported
                                                                         to us in writing within 180 days of the date on
Unless otherwise stated, payments made under the                         which the 'specified cause of loss" occurs.
following Additional Coverage is in addition to the
applicable Limits of Insurance.                                     3.   This Additional Coverage does not apply to costs
                                                                         to test for, monitor or assess the existence,
Pollutant Clean Up and Removal                                           concentration or effects of "pollutants." But we will
                                                                         pay for testing which is performed in the course of
    1.   We will pay your necessary and reasonable                       extracting the "pollutants" from the land or water.
         expense to extract "pollutants' from land or water
         at the described premises if the discharge,                4.   The most we will pay under this Additional
         dispersal, seepage, migration, release or escape                Coverage is $25,000 for the sum of all covered
         of the "pollutants" is caused by or results from                expenses arising out of all Covered Causes of
         "specified causes of loss" that occurs:                         Loss occurring during each separate 12 month
                                                                         period of this policy beginning with the effective
         a.   On the described premises;                                 date of this policy. This amount applies regardless
         b.   To Covered Property; and                                   of the number of premises involved.




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                                                                                                              (Ed. 01/06)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                       PRESERVATION OF PROPERTY
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners              2.   Coverage under this Additional Coverage will end
Special Property Coverage Form under Paragraph A.5.                      when any of the following first occurs:
Additional Coverages.
                                                                         a.   When the policy is amended to provide
Unless otherwise stated, payments made under the                              insurance at the new location;
following Additional Coverage is in addition to the
applicable Limits of Insurance.                                          b.   The property is returned to the original
                                                                              described premises;
Preservation of Property
                                                                         c.   90 days expire after the property is first
    1.   If it is necessary to move Covered Property from                     moved; or
         the described premises to preserve it from loss or
         damage by a Covered Cause of Loss, we will pay                  d.   This policy expires.
         for:                                                       3.   Payments under this Additional Coverage are
         a.   Any direct physical loss or damage to this                 subject to and not in addition to the applicable
              property:                                                  Limit of Insurance.

              (1) While it is being moved; or
              (2) Temporarily stored at another location
                  only if the loss or damage occurs within
                  90 days after the property is first moved;
                  and
         b.   The costs incurred to:
              (I) Remove such property from the described
                  premises; and
              (2) Return such property to the described
                  premises.




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CNA                                                                                                             (Ed. 01/06)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                            TEMPORARY RELOCATION OF PROPERTY
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   premises is being renovated or remodeled, we will
Special Property Coverage Form under Paragraph A.5.                      pay for loss or damage to that stored property:
Additional Coverages.                                                    a.   Caused by or resulting from a Covered Cause
Unless otherwise stated, payments made under the                              of Loss;
following Additional Coverage is in addition to the                      b.   Up to $50,000 at each temporary location;
applicable Limits of Insurance.                                               and
Temporary Relocation of Property                                         C.   During the storage period of up to 90
    1.   If Covered Property is removed from the described                    consecutive days but not beyond expiration of
         premises and stored temporarily at a location you                    this policy.
         own, lease or operate while the described                  2.   This Additional Coverage does not apply if the
                                                                         stored property is more specifically insured.




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                                                                                                                     SB -146819-A
     C,NA                                                                                                              (Ed. 01/06)


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
     WATER DAMAGE, OTHER LIQUIDS, SOLDER OR MOLTEN MATERIAL DAMAGE
     This endorsement modifies insurance provided under the following:

         BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
     The following coverage is added to your Businessowners                   system or appliance from which the water or other
     Special Property Coverage Form under Paragraph A.5.                      substance escapes.
     Additional Coverages.                                               2.   We will not pay the cost to repair any defect to a
     Unless otherwise stated, payments made under the                         system or appliance from which the water, other
     following Additional Coverage is in addition to the                      liquid, solder or molten material escapes. But we
     applicable Limits of Insurance.                                          will pay the cost to repair or replace damaged
                                                                              parts of fire extinguishing equipment if the
     Water Damage, Other Liquids, Solder or Molten                            damage:
     Material Damage
                                                                              a.   Results in discharge of any substance from
         1.   If loss or damage caused by or resulting from                        an automatic fire protection system; or
              covered water or other liquid, solder or molten
              material damage loss occurs, we will also pay the               b.   Is directly caused by freezing.
              cost to tear out and replace any part of the               3.   Payments made under this Additional Coverage
              building or structure to repair damage to the                   are subject to and not in addition to the applicable
                                                                              Limit of Insurance.




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                                                                                                                  SB -146820-C
C'NA                                                                                                                (Ed. 06/11)



             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                           ACCOUNTS RECEIVABLE
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   b. We will not pay for loss that requires an audit
Special Property Coverage Form under Paragraph A.6.                         of records or any inventory computation to
Coverage Extensions.                                                        prove its factual existence;
Unless otherwise stated, payments made under the                         c. We will not pay for loss caused by or resulting
following Coverage Extension is subject to and not in                       from alteration, falsification, concealment or
addition to the applicable Limits of Insurance.                             destruction of records of accounts receivable
                                                                            done to conceal the wrongful giving, taking or
Accounts Receivable                                                         withholding of money, securities or other
        When a Limit of Insurance is shown in the                           property. But this exclusion applies only to the
        Declarations for Building or Business Personal                        extent of      wrongful   giving,     taking   or
        Property at the described premises, you may                           withholding;
        extend that insurance to apply to loss, as                       d.   Paragraph B.1.b. Earth Movement;
        described in Paragraph 2. below, due to direct
        physical loss of or damage to your records of                    e.   Paragraph B.1.c. Governmental Action;
        accounts receivable (including those on electronic
                                                                         f.   Paragraph B.1.d. Nuclear Hazard;
        data processing media) caused by or resulting
        from a Covered Cause of Loss. Credit card                        g.   Paragraph B.1.f. War and Military Action;
        company media will be considered accounts
        receivable until delivered to the credit card                    h.   Paragraph B.1.g. (1), (2), and (4) Water;
        company.                                                         i.   Paragraph B.1.h. Neglect; and
   2.   We will pay for:                                                 j.   Paragraph B.2.i. False Pretense;
        a.    All amounts due from your customers that you               No other exclusions in Paragraph B. Exclusions
              were unable to collect;                                    apply to this Coverage Extension. However, if any
        b.    Interest charges on any loan required to offset            exclusions are added by endorsement to this
              amounts you are unable to collect pending our              Policy, such exclusions will apply to this Coverage
              payment of these amounts;                                  Extension.
        c.    Collection expenses in excess of your normal          4.   The most we will pay under this Coverage
              collection expenses that are made necessary                Extension for loss of or damage to records of
              by the loss or damage; and                                 accounts receivable in any one occurrence while
                                                                         in transit or at a premises other than the described
        d.    Other reasonable expenses that you incur to                premises is $25,000.
              re-establish your records of accounts
              receivable.                                           5.   The most we will pay under this Coverage
                                                                         Extension for loss of or damage to records of
   3.   The following exclusions apply to this Coverage                  accounts receivable in any one occurrence at
        Extension:                                                       each described premises is $25,000 or the
        a.    We will not pay for loss caused by or resulting            amount shown in the Declarations for Accounts
              from bookkeeping, accounting or billing errors             Receivable, whichever is greater.
              or omissions;                                         6.   Payments made under this Coverage Extension
                                                                         are in addition to the applicable Limits of
                                                                         Insurance.




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     CNA                                                                                                             (Ed. 01/06)


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                              APPURTENANT BUILDINGS AND STRUCTURES
     This endorsement modifies insurance provided under the following:

          BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
     The following coverage is added to your Businessowners              described premises, caused by or resulting from a
     Special Property Coverage Form under Paragraph A.6.                 Covered Cause of Loss.
     Coverage Extensions.                                          3.    Incidental appurtenant buildings or structures include:
     Unless otherwise stated, payments made under the                    a.   Storage buildings;
     following Coverage Extension is subject to and not in
     addition to the applicable Limits of Insurance.                     b.   Carports;
     Appurtenant Buildings and Structures                                C.   Garages;
     1.   When a Limit of Insurance is shown in the                      d.   Pump houses; or
          Declarations for Building at the described premises,           e.   Above ground tanks;
          you may extend that insurance to apply to direct
          physical loss of or damage to incidental appurtenant           Which have not been specifically described in the
          buildings or structures, within 1,000 feet of that             Declarations.
          described premises, caused by or resulting from a
          Covered Cause of Loss.                                   4.    The most we will pay for loss or damage under this
                                                                         Coverage Extension in any one occurrence for any
     2.   When a Limit of Insurance is shown in the                      combination of loss of or damage to Building and
          Declarations for Business Personal Property at the             Business Personal Property is $50,000, regardless of
          described premises, you may extend that insurance to           the number of described premises involved.
          apply to direct physical loss of or damage to Business
          Personal Property within incidental appurtenant          5.    Payments made under this Coverage Extension are in
          buildings or structures within 1,000 feet of that              addition to the applicable Limits of Insurance.




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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                  BUILDING GLASS
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   breakage and damage to glass by chemicals
Special Property Coverage Form under Paragraph A.6.                      accidentally or maliciously applied to glass. If a
Coverage Extensions.                                                     specific deductible has been selected for building
                                                                         glass as shown on the Declarations we will apply
Unless otherwise stated, payments made under the                         that deductible to any covered loss. If no
following Coverage Extension is subject to and not in                    deductible is selected for building glass, the policy
addition to the applicable Limits of Insurance,                          deductible will be applied to covered building
Building Glass                                                           glass losses.

    1.   If:                                                        3.   We will also pay for necessary expenses in
                                                                         connection with loss or damage covered in
         a.     You are the building owner; and                          Paragraphs 1. or 2. above, incurred by you to:
         b.     A Limit of Insurance is shown in the                     a.   Put up temporary       plates   or    board   up
                Declarations for Building at the described                    openings;
                premises;
                                                                         b.   Repair or replace encasing frames; and
         you may extend that insurance to apply to direct
         physical loss of or damage to all exterior and                  c.   Remove or replace obstructions.
         interior building glass caused by or resulting from        4.   The following exclusions apply to this Coverage
         a Covered Cause of Loss, including glass                        Extension:
         breakage and damage to glass by chemicals
         accidentally or maliciously applied to glass. If a              a.   We will not pay for loss or damage caused by
         specific deductible has been selected for building                   or resulting from:
         glass as shown on the Declarations we will apply                     (1) Wear and tear;
         that deductible to any covered loss. If no
         deductible is selected for building glass, the policy                (2) Hidden or latent defect;
         deductible will be applied to covered building                       (3) Corrosion; or
         glass losses.
                                                                              (4) Rust;
    2.   If:
                                                                         b.   Paragraph B.1.b. Earth Movement;
         a.     You are a tenant;
                                                                         c.   Paragraph B.1.c. Governmental Action;
         b.     A   Limit of Insurance shown in the
                Declarations for Building or Business                    d.   Paragraph B.1.d. Nuclear Hazard;
                Personal Property at the described premises;
                                                                         e.   Paragraph B.1.f. War and Military Action; and
                and
                                                                         f.   Paragraph B.1 .g. Water.
         c.     You are contractually obligated to repair or
                replace building glass at the described                  No other exclusions in Paragraph B. Exclusions
                premises;                                                apply to this Coverage Extension. However, if any
                                                                         exclusions are added by endorsement to this
         you may extend that insurance to apply to direct
                                                                         Policy, such exclusions will apply to this Coverage
         physical loss of or damage to all exterior and
                                                                         Extension.
         interior building glass caused by or resulting from
         a Covered Cause of Loss, including glass




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            BUSINESS INCOME AND EXTRA EXPENSE                                                   -
                                                                                                     DEPENDENT PROPERTY
    This endorsement modifies insurance provided under the following:
        BUSINESS INCOME AND EXTRA EXPENSE COVERAGE FORM
        BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
    The following coverage is added to your Businessowners Special Property Coverage Form under Paragraph A.6.
    Coverage Extensions.
    Unless otherwise stated, payments made under the following Coverage Extension is subject to and not in addition to the
    applicable Limits of Insurance.
    Business Income and Extra Expense      -
                                               Dependent Property
    (1) When the Declarations show that you have coverage for Business Income and Extra Expense, you may extend that
        insurance to apply to the actual loss of Business Income you sustain and reasonable and necessary Extra Expense
        you incur due to the "suspension" of your "operations" during the "period of restoration." The "suspension" must be
        caused by direct physical loss or damage at the premises of a "Dependent Property", caused by or resulting from a
        Covered Cause of Loss.
    (2) With respect to this Coverage Extension, the "period of restoration":
        (a) Begins 24 hours after the time of direct physical loss or damage caused by or resulting from any Covered Cause
            of Loss at the "Dependent Property";
        (b) Ends on the date when the "Dependent Property" shoUld be repaired, rebuilt or replaced with reasonable speed
            and similar quality; and
        (c) Does not include any increased period required due to the enforcement of any ordinance or law that:
            (i) Regulates the construction, use or repair, or requires the tearing down of any property; or
            (ii) Requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or
                 in any way respond to, or assess the effects of "pollutants."
    (3) This Coverage Extension:
        (a) Applies to "Dependent Property" located within the Coverage Territory; and
        (b) Does not apply when you have more specific insurance under any other policy.
    (4) We wilt reduce the amount of your Business Income loss, other than Extra Expense, to the extent you can resume
        "operations" in whole or in part, by using any other available:
        (a) Source of materials; or
        (b) Outlet for your products.
    (5) The most we will pay for Business Income and Extra Expense under this Coverage Extension is $10,000, or the limit
        shown in the Declarations, whichever is higher, regardless of the number of described premises or number of
        "Dependent Properties" involved.
    (6) Payments made under this Coverage Extension are in addition to the applicable Limits of Insurance.
    (7) The following definitions are added to SECTION G. PROPERTY DEFINITIONS:
        ¯
            "Dependent Property" means any premises:
            a.   of a direct: supplier, contract manufacturer or contract service provider to you or to others for your account
                 (Contributing Locations);
            b.   of a business-to -business entitythat directly accepts your products or services (Recipient Locations);
            c.   that directly manufactures products for delivery to your customers under contract of sale (Manufacturing
                 Locations); or
-
            d.   within 2 mites of your premises that attract customers to your business (Leader Locations).

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       e.    of any company under written: royalty, licensing fee or commission agreements with you.
       The "dependent property" includes the area associated with that address in which the occupant of the above
       premises is legally entitled to conduct business activities and includes the area extending 1,000 feet beyond that
       address.
       "Dependent property" does not include premises:
       (1) of "external service providers";
       (2) with utility service provider's (such as "power supply providers", "water supply providers", or "communication
           supply providers") transmission and distribution property, including;
       (3) owned, leased, operated or occupied by you, your "employees", "managers", "members", "messengers",
           trustees or authorized representatives;
       (4) occupied by individuals as a residence, home or place of dwelling; or
       "External service provider" means a premises that is operated by others on whom you depend, pursuant to a
       written service contract, to provide:
       a.    internet services; or
       b.    data management, network management, software management and cloud computing and storage services.
       "External service provider does not include:
       (1) "dependent property";
       (2) any utility service provider's transmission and distribution property;
       (3) premises owned, leased, operated or occupied by you, your "employees", "managers", "members",
           "messengers", trustees or authorized representatives;
       (4) premises within any country in which the United States government has imposed sanctions, embargoes
           or similar prohibitions.




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 CNA                                                                                                               (Ed. 06/11)



              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                        BUSINESS PERSONAL PROPERTY OFF PREMISES
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners              2.   This Coverage Extension does not apply to
Special Property Coverage Form under Paragraph A.6.                      property:
Coverage Extensions.
                                                                         a.   While in the custody of the United States
Unless otherwise stated, payments made under the                              Postal Service;
following Coverage Extension is subject to and not in
addition to the applicable Limits of Insurance.                          b.   Rented or leased to others;
Business Personal Property Off Premises                                  c.   After delivery to customers;
    1.   When a Limit of Insurance is shown in the                       d.   Temporarily at a premises for more than 60
         Declarations for Business Personal Property at the                   consecutive days, except "money" and
         described premises, you may extend that                              "securities" at a "banking premises";
         insurance to apply to direct physical loss of or                e.   Otherwise covered under the Fine Arts
         damage to such property caused by or resulting                       Additional Coverage; or
         from a Covered Cause of Loss while:
                                                                         f.   Otherwise  covered under          the   following
         a.    In the course of transit, more than 1,000 feet                 Coverage Extensions:
               from the described premises;
                                                                              (1) Accounts Receivable;
         b.    Temporarily away      from    the   described
               premises and:                                                  (2) Electronic Data Processing;
               (1) At a premises you do not own, lease or                     (3) Personal Effects; or
                   operate; or                                                (4) Valuable Papers and Records.
               (2) At any fair, trade show or exhibition at a
                   premises you do not own or regularly
                   occupy.




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CNA                                                                                                                      (Ed. 10-19)



                                                       CIVIL AUTHORITY
This endorsement modifies insurance provided under the following:
    BUSINESS INCOME AND EXTRA EXPENSE COVERAGE FORM
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners Special Property Coverage Form under Paragraph A.6.
Coverage Extensions.
Unless otherwise stated, payments made under the following Coverage Extension is subject to and not in addition to the
applicable Limits of Insurance.
Civil Authority
(1) When the Declarations show that you have coverage for Business Income and Extra Expense, you may extend that
    insurance to apply to the actual loss of Business Income you sustain and reasonable and necessary Extra Expense
    you incur caused by action of civil authority that prohibits access to the described premises. The civil authority action
    must be due to direct physical loss of or damage to property located away from a described premises. The lost or
    damaged property must be within five miles of that described premises which sustains the business income or extra
    expense loss and the loss or damage must be caused by or resulting from a Covered Cause of Loss.
(2) The coverage for Business Income will begin 24 hours after the time of that action and will apply for a period of up to
    four consecutive weeks after coverage begins.
(3) The coverage for Extra Expense will begin immediately after the time of that action and will end when your Business
    Income coverages ends for this Coverage Extension.




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       CNA                                                                                                               (Ed. 06/Il)


                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                     ELECTRONIC DATA PROCESSING EQUIPMENT AND ELECTRONIC
                                        MEDIA AND DATA
                                     (EDP COVERAGE FORM)
      This endorsement modifies insurance provided under the following:
           BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
           The following coverage is added to your                        5.   The following additional exclusions apply:
           Businessowners Special Property Coverage Form
           under Paragraph A.6. Coverage Extension:                            With respect to this Coverage Extension, we will
                                                                               not pay for loss or damage caused directly or
           Electronic Data Processing                                          indirectly by any of the following. Such loss or
                                                                               damage is excluded regardless of any other cause
           1.   When a Limit of Insurance is shown in the                      or event that contributes concurrently or in any
                Declarations for Electronic Data Processing at the             sequence to the loss:
                described premises, that insurance applies to:
                                                                               a.   Programming errors or omissions, or incorrect
                a.    Direct physical loss of or damage to your                     instructions to a machine, including without
                      "electronic data processing equipment"                        limitation, incorrect instructions to "electronic
                      caused by or resulting from a Covered Cause                   data processing equipment" from a user
                      of Loss; and                                                  incorrectly operating with, or committing an
                b.                                                                  error using an input device (including, without
                      Direct physical loss of or damage to your
                                                                                    limitation, a keyboard, mouse or touchpad)
                      "electronic media and data" caused by or                      and corrupting, distorting, deleting, damaging
                      resulting from a Covered Cause of Loss.
                                                                                    or destroying "electronic data"; provided,
          2.    Worldwide coverage is provided under this                           however, that this exclusion shall not apply to
                Coverage Extension. The coverage territory as                       an otherwise covered mechanical breakdown
                described in Paragraph F.8.b does not apply to                      of "electronic data processing equipment"
                this Coverage Extension.                                            under the Insuring Agreement set forth in
                                                                                    Paragraph l.a. of this Coverage Extension.
          3.    This Coverage Extension does not apply to:
                                                                               b.   Unauthorized viewing, copying or use of
                a.    "Stock'; or                                                   "Electronic Media and Data" or "Electronic
I')
                                                                                    Data" (or any proprietary or confidential
                b.    Property that is leased or rented to others.                  information or intellectual property) by any
                                                                                    person, even if such activity is characterized
c0
          4.    The following exclusions as described in Section                    as "theft."
                B., Exclusions, of the Businessowners Special
                Property Coverage Form do not apply to the                     c.   Errors or deficiency in design, installation,
                Insuring Agreement set forth in Paragraph l.a. or                   maintenance, repair or modification of your
                lb. of this Coverage Extension:                                     "electronic data processing equipment,"
                                                                                    "electronic media and data" or "electronic
                a.    Paragraph I.e.; and                                           data" or any "electronic data processing
                                                                                    equipment," electronic devices, computer
                b.    Paragraph 1.g.(3); and                                        system or network to which your "electronic
                                                                                    data processing equipment" "electronic media
                c.    Paragraph 2.a.                                                and data" or "electronic data" is connected or
                                                                                    dependent; provided, however, that this
                The following exclusion as described in Section
                                                                                    exclusion shall not apply to an otherwise
                B., Exclusions, of the Businessowners Special
                                                                                    covered mechanical breakdown of "electronic
                Property Coverage Form does not apply to the
                                                                                    data processing equipment" under the
                Insuring Agreement set forth in Paragraph l.a. of
                                                                                    Insuring Agreement set forth in Paragraph l.a.
                this Coverage Extension: Paragraph 2.d.(6).
                                                                                    of this Coverage Extension.




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        d.    Unexplained      or indeterminable failure,            equipment" or "electronic media and data,"
              malfunction or slowdown of a "electronic data          coverage will end on the date and time that any of
              processing equipment" "electronic media and            the following first occurs:
              data" or "electronic data."
                                                                     a.   This policy expires;
   6.   The most we will pay under this Coverage
        Extension for all direct physical loss of or damage          b.   180 days after you acquire the "electronic
        to "electronic data processing equipment" and                     data processing equipment" or "electronic
        "electronic media and data" (combined) in any one                 media and data"; or
        occurrence while in transit or at a premises other
        than the described premises is $25,000, or the               c.   You report values to us.
        limit shown in the Declarations.
                                                                9.   The most we will pay under this Coverage
   7.   The most we will pay under this Coverage                     Extension for all direct physical loss of or damage
        Extension for loss of or damage to "Electronic               to "electronic data processing equipment" and
        Media and Data" while stored at a separate                   "electronic media and data" (combined) at the
        premises from where your original "Electronic                described premises in any one occurrence is the
        Media and Data" are kept, in any one occurrence,             Limit of Insurance shown in the Declarations or
        is $25,000.                                                  $50,000, whichever is greater.

   8.   The most we will pay under this Coverage                10. A separate Blanket Limit of Insurance applies to
        Extension for all direct physical loss or damage to         "electronic data processing equipment" and
        "electronic data processing equipment" and                  "electronic media and data" at all scheduled
        "electronic media and data" (combined) you                  premises, if indicated in the declarations as
        acquire after the inception date of the policy in any       Blanket Electronic Data Processing
        one occurrence is $25,000.
                                                                11. Payments made under this Coverage Extension
        Provided, however, with respect to insurance                are in addition to the applicable Limits of
        coverage under this Coverage Extension on any               Insurance.
        such newly acquired "electronic data processing




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    CNA                                                                                                                                        (Ed. 04/14)


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                     EQUIPMENT BREAKDOWN
    This endorsement modifies insurance provided under the following:
        BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
    The following coverage is added to your Businessowners Special Property Coverage Form under Paragraph A.6.
    Coverage Extensions.
    Unless otherwise stated, payments made under the following Coverage Extension are subject to and not in addition to the
    applicable Limits of Insurance.
    Equipment Breakdown
        1.   When a Limit of Insurance is shown in the Declarations for Equipment Breakdown, at the described premises, the
             limit applies to direct physical loss of or damage to Covered Property at the described premises caused by or
             resulting from a "breakdown" to "covered equipment."
             For the purposes of this coverage form, "covered equipment" includes, but is not limited to, the following:
             a.    "Diagnostic Equipment";
             b.    "Power Generating Equipment";
             c.    "Production Equipment."
             With respect to otherwise covered Business Income and Extra Expense, "breakdown" to "covered equipment" will
             be considered a Covered Cause of Loss.
             If an initial "breakdown" causes other "breakdowns," all will be considered one "breakdown." All "breakdowns" that
             manifest themselves at the same time and are the result of the same cause will also be considered one
             "breakdown."
        2.   Under this Coverage Extension, the following coverages also apply:
             a.    Expediting Expenses
                   (1) In the event of direct physical loss of or damage to Covered Property caused by or resulting from a
                       "breakdown" to "covered equipment," we will pay for the reasonable additional expenses you necessarily
                       incur to make temporary repairs to, or expedite the permanent repair or replacement of, the lost or
                       damaged Covered Property.
                   (2) Expediting expenses include overtime wages and the extra cost of express or other rapid means of
                       transportation.
                   (3) The most we will pay under this Coverage Extension for all Expediting Expenses arising out of any one
                       "breakdown" is $25,000. This limit is part of and not in addition to the Limit of Insurance that applies to
0
                       lost or damage Covered Property.
             b.    "Pollutants"
                   (1) In the event of direct physical loss of or damage to Covered Property caused by or resulting from a
                       "breakdown" to "covered equipment," we will pay for the additional cost to repair or replace Covered
-
                       Property because of contamination by "pollutants." This includes the additional expenses to clean up or
                       dispose of such property. Additional costs mean those beyond what would have been required had no
                       "pollutants" been involved.
                   (2) The most we will pay under this Coverage Extension for loss or damage to Covered Property caused by
-                      contamination by "pollutants" arising out of any one "breakdown" is $25,000. This limit is subject to and
-
                       not in addition to the Limit of Insurance that applies to lost or damaged Covered Property.




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         c.     Service Interruption
                When the Declarations show that you have coverage for Business Income and Extra Expense, you may
                extend that insurance to apply to loss caused by or resulting from a "breakdown' to equipment that is owned,
                operated or controlled by a local public or private utility or distributor that directly generates, transmits,
                distributes or provides the following utility services:
                (1) "Water Supply Services";
                (2) "Communication Supply Services'; or
                (3) "Power Supply Services."
         d.     Data Restoration
                We will pay for your cost to research, replace and restore "electronic data" and "electronic media and data"
                that is lost as a result due to a "breakdown" to "Covered Equipment." The most we will pay for loss or
                expenses under this coverage is $100,000 or the limit shown in the Declarations for Equipment Breakdown
                Coverage at the described premises, whichever is less.
                The limit provided for the Data Restoration Coverage is a part of, and does not increase the Limit of
                Insurance for Equipment Breakdown Coverage.
    3.   We will not pay under this Coverage Extension for loss or damage caused by or resulting from any of the following
         tests:
         a.    A hydrostatic, pneumatic or gas pressure test of any boiler or pressure vessel; or
         b. An insulation breakdown test of any type of electrical equipment.
    4.   We will not pay under this Coverage Extension for loss or damage caused by or resulting from a change in:
         a.    Temperature; or
         b.    Humidity;
         as a consequence of "breakdown" to "covered equipment."
    5.   The following limitations in Paragraph A.4. do not apply to this Coverage Extension:
         a.    Paragraph a.(2); and
         b.    Paragraph a.(3).
    6.   The following exclusions in Paragraph B. Exclusions do not apply to this Coverage Extension:
         a.    Paragraph 2.a.;
         b.    Paragraph 2.d.(6); and
         c.    Paragraph 2.e.
    7.   With respect to this Coverage Extension, the following condition is added to Paragraph F. Commercial Property
         Conditions:
         Suspension
         If any "covered equipment" is found to be in or exposed to a dangerous condition, any of our representatives may
         immediately suspend the insurance provided by this Coverage Form for loss or damage caused by or resulting
         from a "breakdown" to that "covered equipment." This can be done by delivering or mailing a notice of suspension
         to:
         a.    Your last known address; or
         b.    The address where the "covered equipment" is located.
         Once suspended in this way, such insurance can only be reinstated by a written endorsement issued by us. If we
         suspend your insurance, you will get a pro rata refund of premium for that "covered equipment." But the
         suspension will be effective even if we have not yet made or offered a refund.


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          8.   The following Loss Payment Condition is added under E.4.e. Loss Payment Building and Personal Property of
               the Businessowners Special Property Coverage Form:
               (19) "Covered Equipment" as follows:
                  If Equipment Breakdown Property requires replacement due to an Equipment Breakdown, we will pay your
                  additional cost to replace it with equipment that is better for the environment, safer or more efficient than the
                  equipment being replaced. However, we will not pay more than 125% of what the cost would have been to
                  repair or replace with property of comparable material and quality. This coverage does not increase any of the
                  applicable limits. This coverage does not apply to any property indicated as being valued on an Actual Cash
                  Value basis.
                   If you wish to retrofit air conditioning or refrigeration equipment that utilizes a refrigerant containing CFC
                   (chlorofluorocarbon) substances to accept a non -CFC refrigerant, we will consider this better for the
                   environment. Any associated Business Income or Extra Expense will be included, in determining the
                   additional cost, if Business Income and Extra Expense apply to this policy.




      All other terms and conditions of the Policy remain unchanged.




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CNA                                                                                                            (Ed. 01/08)


           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                MONEY ORDERS AND COUNTERFEIT PAPER CURRENCY
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners              1.   Any U.S. or Canadian post office or express
Special Property Coverage Form under Paragraph A.6.                      money order, issued or claiming to have been
Coverage Extensions:                                                     issued by any post office or express company, if
                                                                         the money order is not paid upon presentation; or
Unless otherwise stated, payments made under this
Coverage Extension are subject to and not in addition to            2.   Counterfeit United States or Canadian paper
the applicable Limits of Insurance.                                      currency.
    When    a Limit of Insurance is shown in the                    in exchange for merchandise, 'money" or services or
    Declarations for Business Personal Property at the              as part of a normal business transaction.
    described premises, you may extend that insurance to
    apply to loss due to the good faith acceptance of:




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                    NON -OWNED DETACHED TRAILERS
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners              2.   We will not pay for any loss or damage that
Special Property Coverage Form under Paragraph A.6.                      occurs:
Coverage Extensions.
                                                                                                 is attached to any motor
                                                                                   .

                                                                         a.   While the trailer
Unless otherwise stated, payments made under the                              vehicle or motorized conveyance, whether or
following Coverage Extension is subject to and not in                         not the motor vehicle or motorized
addition to the applicable Limits of Insurance,                               conveyance is in motion;
    1.   When a Limit of Insurance is shown in the                       b    During hitching or unhitching operations, or
         Declarations for Building or Business Personal                       when a trailer becomes accidentally unhitched
         Property at the described premises you may                           from a motor vehicle or motorized
         extend the insurance that applies to your Business                   conveyance.
         Personal Property to apply to loss or damage to
         trailers or semi-trailers that you do not own,             3.   The most we will pay for loss or damage under
         provided that:                                                  this Coverage Extension in any one occurrence is
                                                                         $5,000 regardless of the number of described
         a.    The trailer is used in your business;                     premises, trailers or semi-trailers involved.
         b.    The trailer is in your care, custody or control      4.   This insurance is excess over the amount due
               at the premises described in the Declarations;            (whether you can collect on it or not) from any
               and                                                       other insurance covering such property.
         c.    You have a contractual responsibility to pay
               for loss or damage to the trailer.




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CNA                                                                                                                 (Ed. 01/08)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
              ORDINANCE OR LAW                        -
                                                          INCREASED PERIOD OF RESTORATION
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
    BUSINESS INCOME AND EXTRA EXPENSE COVERAGE FORM
The following coverage is added to your Businessowners              2.   This Coverage Extension applies only to the
Special Property Coverage Form under Paragraph A.6.                      period that would be required, with reasonable
Coverage Extensions.                                                     speed, to reconstruct, repair or replace the
                                                                         property to comply with the minimum requirements
Unless otherwise stated, payments made under the                         of the ordinance or law.
following Coverage Extension is subject to and not in
addition to the applicable Limits of Insurance.                     3.   This Coverage Extension does not apply to:
Ordinance or Law      -
                          Increased Period of Restoration                a.   Loss due to an ordinance or law that:
    1.   When:                                                                (1) You were required to comply with before
                                                                                  the loss, even if the property was
         a.    A Covered Cause of Loss occurs to property                         undamaged; and
               at the described premises; and
                                                                              (2) You failed to comply with; or
         b.    The Declarations shown that you have
               coverage for Business Income and Extra                    b.   Costs associated with the enforcement of any
               Expense;                                                       ordinance or law that requires any insured or
                                                                              others to test for, monitor, clean up, remove,
         you may extend that insurance to apply to the                        contain, treat, detoxify or neutralize, or in any
         amount of actual loss of Business Income you
                                                                              way respond to or assess the effects of
         sustain and reasonable and necessary Extra                           "pollutants."
         Expense you incur during the increased period of
         "suspension" of "operations" caused by or                  4.   Paragraph B.1.a., does not apply to this Coverage
         resulting from the enforcement of any ordinance or              Extension.
         law that:
                                                                    5.   The most we will pay for loss under this Coverage
               (1) Regulates the construction, repair or                 Extension in any one occurrence is $25,000 at
                   replacement of any property;                          each described premises.
               (2) Requires the tearing down or replacement         6.   Payments made under this Coverage Extension
                   of any parts of property not damaged by a             are in addition to the applicable Limits of
                   Covered Cause of Loss; and                            Insurance.
               (3) Is in force at the time of loss.




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      CNA                                                                                                             (Ed. 01/06)



                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                 OUTDOOR PROPERTY
      This endorsement modifies insurance provided under the following:
          BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
      The following coverage is added to your Businessowners                   loss of or damage to the following types of outdoor
      Special Property Coverage Form under Paragraph A.6.                      property at that described premises caused by or
      Coverage Extensions.                                                     resulting from a Covered Cause of Loss:

      Unless otherwise stated, payments made under the                         a.   Radio or television antennas (including
      following Coverage Extension is subject to and not in                         microwave or satellite dishes) and their lead
      addition to the applicable Limits of Insurance.                               in wiring, masts or towers; or
      Outdoor Property                                                         b.   Bridges, walks, roadways, patios and other
                                                                                    paved surfaces.
          1.   When a Limit of Insurance is shown in the
               Declarations for Building or Business Personal             2.   The most we will pay for loss or damage under
               Property at the described premises, you may                     this Coverage Extension in any one occurrence is
               extend that insurance to apply to direct physical               $10,000 at each described premises.




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                                                                                                               (Ed. 01/06)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                            PERSONAL EFFECTS
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   b.   Your    officers,    partners,    "members",
Special Property Coverage Form under Paragraph A.6.                           "managers",     "employees",   directors or
Coverage Extensions.                                                          trustees;
Unless otherwise stated, payments made under the                         caused by or resulting from a Covered Cause of
following Coverage Extension is subject to and not in                    Loss.
addition to the applicable Limits of Insurance.
                                                                    2.   Such property must be located at a described
Personal Effects                                                         premises.
    1.   When a Limit of Insurance is shown in the                  3.   The most we will pay for loss or damage under
         Declarations for Building or Business Personal                  this Coverage Extension in any one occurrence is
         Property at the described premises, you may                     $25,000 at each described premises.
         extend that insurance to apply to direct physical
         loss of or damage to personal effects owned by:            4.   Payments under this Coverage Extension are in
                                                                         addition to the applicable Limits of Insurance.
         a.    You; or




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CNA                                                                                                           (Ed. 01/06)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                          SIGNS
This endorsement modifies insurance provided under the following:
    BUSINESSOWNIERS SPECIAL PROPERTY COVERAGE FORM
Subject to the Exclusions, Conditions and Limitations of        Your Building or Business Personal Property insurance is
this policy, you may extend this insurance as indicated         extended to cover outdoor signs attached to the building or
below,                                                          on or within 1,000 feet of the described premises.
Unless otherwise stated, payments made under the
following coverage will not increase the applicable Limits of
Insurance.




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CNA                                                                                                             (Ed. 01/06)

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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                  SPOILAGE       -
                                                     CONSEQUENTIAL LOSS
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   situated within the building at the described
Special Property Coverage Form under Paragraph A.6.                      premises:
Coverage Extensions.                                                     a.   Refrigerating;
Unless otherwise stated, payments made under the                         b. Cooling;
following Coverage Extension is subject to and not in
addition to the applicable Limits of Insurance.                          c.   Humidifying;
Spoilage   -
               Consequential Loss                                        d. Air conditioning;
    1.   When a Limit of Insurance is shown in the                       e.   Heating;
         Declarations for Business Personal Property at the              f.   Generating or converting power; or
         described premises, you may extend that
         insurance to apply to consequential loss to your                g.   Connections, supply or transmission lines and
         Business Personal Property caused by a change                        pipes associated with the above equipment.
         in:
                                                                    2.   With respect to this Coverage Extension,
         a.     Temperature; or                                          "breakdown" to "covered equipment" will not be
                                                                         considered a Covered Cause of Loss, even if
         b.     Humidity;                                                otherwise covered elsewhere in this Policy.
         caused by or resulting from a Covered Cause of             3.   Paragraphs B.2.d.(7)(a) and B.2.d.(7)(b) do not
         loss to any of the following types of equipment                 apply to this Coverage Extension.




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CNA                                                                                                             (Ed. 01/06)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                               THEFT DAMAGE TO RENTED PROPERTY
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   b.   Property within such non-owned building used
Special Property Coverage Form under Paragraph A.6.                           for maintenance or service of such non -owned
Coverage Extensions,                                                          building.
Unless otherwise stated, payments made under the                    2.   We will not pay under this Coverage Extension for
following Coverage Extension is subject to and not in                    loss or damage:
addition to the applicable Limits of Insurance.
                                                                         a.   Caused by or resulting from fire or explosion;
Theft Damage to Rented Property                                               or
    1.   When a Limit of Insurance is shown in the                       b. To glass (other than glass building blocks) or
         Declarations for Business Personal Property at the                 to any lettering, ornamentation or burglar
         described premises, you may extend that                            alarm tape on glass.
         insurance to apply to direct physical loss of or
         damage to the following caused by or resulting by          3.   This Coverage Extension applies only if you are a
         "theft" or attempted "theft":                                   tenant and you are contractually obligated to
                                                                         insure this exposure.
         a.    That part of a building you occupy, but do not
               own, which contains Covered Property; and




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C'NA                                                                                                              (Ed. 06/11)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                   VALUABLE PAPERS AND RECORDS
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners                   b.   Paragraph B.1.b. Earth Movement;
Special Property Coverage Form under Paragraph A.6.
Coverage Extensions.                                                     C.   Paragraph B.1.c. Governmental Action;
                                                                         d.   Paragraph B.1.d. Nuclear Hazard;
Unless otherwise stated, payments made under the
following Coverage Extension is subject to and not in                    e.   Paragraph B.1.f. War and Military Action;
addition to the applicable Limits of Insurance.
                                                                         f.   Paragraph B.1.g. (1), (2) and (4) Water;
Valuable Papers and Records
                                                                         g.   Paragraph B.1.h. Neglect;
    1.   When a Limit of Insurance is shown in the
         Declarations for Building or Business Personal                  h.   Paragraph B.2.g. Frozen plumbing.
         Property at the described premises, you may                     No other exclusions in Paragraph B. Exclusions
         extend that insurance to apply to loss, as                      apply to this Coverage Extension. However, if any
         described in Paragraph 2. below, due to direct                  exclusions are added by endorsement to this
         physical loss of or damage to "valuable papers                  Coverage Form, such exclusions will apply to this
         and records" that:                                              Coverage Extension.
         a.    You own; or                                          4.   The most we will pay under this Coverage
         b.    Are owned by others, but in your care,                    Extension for loss of or damage to "valuable
               custody or control;                                       papers and records" in any one occurrence while
                                                                         in transit or at a premises other than the described
         caused by or resulting from a Covered Cause of                  premises is $25,000.
         loss.
                                                                    5.   The most we will pay under this Coverage
         This Coverage Extension includes the cost to                    Extension for loss of or damage to "valuable
         research, replace or restore the lost information on            papers and records" in any one occurrence at
         "valuable papers and records" for which duplicates              each described premises is $25,000 or the
         do not exist.                                                   amount shown in the Declarations for Valuable
    3.   The following exclusions apply to this Coverage                 Papers and Records, whichever is greater.
         Extension:                                                 6.   Payments made under this Coverage Extension
         a.   We will not pay for any loss or damage to                  are in addition to the applicable Limits of
              "valuable papers and records" caused by or                 Insurance.
              resulting from any errors or omissions in
              processing or copying. But if errors or
              omissions in processing or copying results in
              fire or explosion, we will pay for the resulting
              loss or damage caused by that fire or
              explosion.




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    CNA                                                                                                             (Ed. 06/11)


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                            SEWER OR DRAIN BACK UP
    This endorsement modifies insurance provided under the following:
         BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
         CONCURRENT CAUSATION, EARTH MOVEMENT & WATER EXCLUSION CHANGES
    The following coverage is added to your Businessowners                   (i) 'Flood," surface water, waves, tides, tidal
    Special Property Coverage Form:                                              waves, overflow of any body of water, or their
                                                                                 spray, all whether driven by wind or not;
    Unless otherwise stated, payments made under the
    following coverage will not increase the applicable Limits of            (ii) Mudslide or mudflow.
    Insurance.
                                                                         b. The most we will pay for direct physical damage is
    Subject to the Exclusions, Conditions and Limitations of                the limit of insurance shown in the Declarations for
    this policy, you may extend this insurance as indicated                 Sewer or Drain Back Up.
    below.
                                                                    2.   With respect to otherwise covered Business Income
    1.   We will pay for loss or damage to covered property              and Extra Expense, loss or damage to covered
         caused by water that backs up or overflows from a               property caused by water that backs up or overflows
         sewer, drain, sump, or from water that overflows due            from a sewer, drain, sump, or from water that
         to the failure of a sump pump, sump pump well, or any           overflows due to the failure of a sump pump, sump
         other type of system designed to remove subsurface              pump well, or any other type of system designed to
         water from the foundation area, subject to the following        remove subsurface water from the foundation area,
         limitations:                                                    will be considered a Covered Cause of Loss.
         a.   We will not pay for loss or damage under this         3.   Exclusion B.1.g. (3) of the Businessowners Special
              Additional Coverage caused by the emanation of             Property Coverage Form does not apply to this
              water from a sewer or drain, sump, sump pump,              Additional Coverage.
              sump pump well, or any other type of system
              designed to remove subsurface water from the
              foundation area, that itself caused by, or is the
              result of:




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CNA                                                                                                                     (Ed. 6-16)


                         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         HIRED AUTO AND NON -OWNED AUTO LIABILITY

This endorsement modifies insurance provided under the following:
     BUSINESSOWNERS LIABILITY COVERAGE FORM
     BUSINESSOWNERS COMMON POLICY CONDITIONS
                                                              SCHEDULE
                     Insurance is provided only with respect to those coverages for which a specific limit is shown:
                                    COVERAGE                   LIMIT
                             Hired Auto Liability:        $
                              Non-owned Auto Liability:   $
   (If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
   applicable to this endorsement.)
PROVISIONS
A.   COVERAGE
     With respect only to the Coverage(s) for which a limit is shown in the SCHEDULE above, the insurance provided
     under Coverage A.1. Business Liability for "bodily injury" and "property damage" also applies to "bodily injury" or
     "property damage" arising out of the maintenance or use of a:
     ¯
          "Hired auto" used by you or your "employee" in the course of your business; and/or
     ¯
          "Non -owned auto" used in the course of your business. Maintenance or use of a "non -owned auto" includes test
          driving in connection with an "auto business."
     With respect only to the coverage provided by this endorsement, under Coverages, coverage A.1. Business Liability
     is amended to:
     1.   Delete paragraph A.1.b.(1)(b) and replace it with the following:
          b.    This insurance applies:
                (1) To "bodily injury" and "property damage" only if:
                       (b) The "occurrence" occurs during the policy period; and
     2.   Delete paragraph A.Lb.(2),.
B. LIMITS OF INSURANCE
     With respect only to the coverage provided by this endorsement, SECTION D. Liability And Medical Expenses
     Limits of Insurance is deleted in its entirety and replaced with the following:
     D. Limits Of Insurance
          1.    Regardless of the number of:
                a.     lnsureds;
                b.     Claims made or "suits" brought;
                c.     Persons or organizations making claims or bringing "suits"; or
                d. "Autos,"
                the applicable Hired Auto Liability limit or Non-Owned Auto Liability limit shown in the Declarations is the most
                we will pay for damages under SECTION A. Coverages because of all "bodily injury" and "property damage"
                resulting from any one "occurrence" arising out of the maintenance or use of a "hired auto" or "non-owned
                auto."

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C. EXCLUSIONS
   With respect only to the insurance provided by this endorsement:
   1.   Under Exclusions, the paragraph entitled Applicable to Business Liability Coverage is amended to delete all
        exclusions except exclusions a., b., d., e., f. and I. and to add the following exclusions:
        This insurance does not apply to:
               Fellow Employee
              "Bodily injury" to:
               (1) Any fellow "employee" of the insured arising out of and in the course of employment by the insured or
                   while performing duties related to the conduct of the insured's business; or
               (2) The spouse, child, parent, brother or sister of that fellow "employee" while as a consequence of
                   Paragraph (1) above.
               Care, Custody or Control
              "Property Damage" to:
              (1) Property owned or being transported by, or rented or loaned to the insured; or
              (2) Property in the care, custody or control of the insured.
D. WHO IS AN INSURED
   With respect only to the insurance provided by this endorsement, Who Is An Insured is replaced by the following:
   Each of the following is an insured under this insurance to the extent set forth below:
   1.   You;
   2.   Subject to paragraph 3.c. below, your "employee" while operating an "auto" hired or rented under a contract or
        agreement, with your permission, in that "employee's" name, while performing duties related to the conduct of
        your business.
   3.   Anyone else including any partner or "executive officer" of yours while using with your permission a "hired auto" or
        a 'non-owned auto" except:
        a.    The owner or lessee (of whom you are a sublessee) of a "hired auto" or the owner or lessee of a "non-owned
              auto" or any agent or "employee" of any such owner or lessee;
        b.    Your "employee" if the covered "auto" is owned by that "employee" or a member of his or her household;
        c. Your "employee" if the covered "auto" is leased, hired or rented by him or her or a member of his or her
           household under a lease or rental agreement for a period of 180 days or more;
        d.    Any partner or "executive officer" with respect to any "auto" owned by such partner or officer or a member of
              his or her household;
        e. Any partner or "executive officer" with respect to any "auto" leased or rented to such partner or officer or a
           member of his or her household under a lease or rental agreement for a period of 180 days or more;
        f.    Any person while employed in or otherwise engaged in duties in connection with an "auto business," other
              than an "auto business" you operate;
        g.    Anyone other than your "employees," partners, a lessee or borrower or any of their "employees," while
              moving property to or from a "hired auto" or a "non-owned auto"; or
   4.   Any other person or organization, but only with respect to their liability because of acts or omissions of an insured
        under 1., 2. or 3. above.
E. AMENDED DEFINITION
   The Definition of "insured contract" in Section F   -
                                                           Definitions is amended by the addition of the following exceptions to
   paragraph t:

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     Paragraph f. does not include that part of any contract or agreement:
     ¯
          That pertains to the loan, lease or rental of an "auto" to you or any of your "employees," if the "auto" is loaned,
          leased or rented with a driver; or
     ¯
          That holds a person or organization engaged in the business of transporting property by "auto" for hire harmless
          for your use of a covered "auto" over a route or territory that person or organization is authorized to serve by
          public authority.
F.   ADDITIONAL DEFINITIONS
     Section F. Definitions is amended by the addition of the following definitions:
     a.   "Auto Business" means the business or occupation of selling, repairing, servicing, storing or parking "autos."
     b.   "Hired auto" means any 'auto" you or your "employee" lease, hire, rent or borrow in the course of your business.
          This does not include:
          i.     Any "auto" you lease, hire or rent under a lease or rental agreement for a period of 180 days or more, or
          ii.    Any "auto" you lease, hire, rent or borrow from any of your "employees," partners, stockholders, or members
                 of their households.
     c.   "Non-owned auto" means any "autos" you do not own, lease, hire, rent or borrow that are being used in the
          course and scope of your business at the time of the "occurrence." This includes "autos" owned by your
          "employees" or partners or members of their households but only while being used in the course and scope of
          your business at the time of the "occurrence."
          If you are a sole proprietor, "non-owned auto" means any "autos" you do not own, lease, hire, rent or borrow that
          are being used in the course and scope of your business or personal affairs at the time of the "occurrence."
6. With respect only to the operation of a "hired auto" or "non -owned auto," Paragraph H, of the Businessowners
   Common Policy Conditions is deleted and replaced with the following:
     H. Other Insurance
          1.     Except for any liability assumed under an "insured contract" the insurance provided by this Coverage Form is
                 excess over any other collectible insurance.
                 However, if your business is the selling, servicing, repairing, parking or storage of "autos," the insurance
                 provided by this endorsement is primary when covered "bodily injury" or "property damage" arises out of the
                 operation of a customer's "auto" by you or your "employee."
          2.     When this Coverage Form and any other Coverage Form or policy covers on the same basis, either excess or
                 primary, we will pay only our share. Our share is the proportion that the Limit of Insurance of our Coverage
                 Form bears to the total of the limits of all the Coverage Forms and policies covering on the same basis.




All other terms and conditions of the Policy remain unchanged.




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 BLANKET ADDITIONAL INSURED AND LIABILITY EXTENSION ENDORSEMENT
This endorsement modifies insurance provided under the following:

           BUSINESSOWNERS LIABILITY COVERAGE FORM
           BUSINESSOWNERS COMMON POLICY CONDITIONS

                                                     TABLE OF CONTENTS
           Blanket Additional Insured Provisions
           A. Additional Insured Blanket Vendors
                                           -




           B. Miscellaneous Additional Insureds
           C. Additional Provisions Pertinent to Additional Insured Coverage
               l.a.     Primary Noncontributory provision
                                       -




               l.b.     Definition of "written contract"
               2.       Additional Insured Extended Coverage
                                                   -




     II.   Liability Extension Coverages
           A. Bodily Injury Expanded Definition
                               -




           B. Broad Knowledge of Occurrence
           C. Estates, Legal Representatives and Spouses
           D. Fellow Employee First Aid
           E. Legal Liability Damage to Premises
                                   -




           F. Personal and Advertising Injury Discrimination or Humiliation
                                                        -




           G. Personal and Advertising Injury Broadened Eviction
                                                        -




           H. Waiver of Subrogation Blanket    -




I.   BLANKET ADDITIONAL INSURED PROVISIONS
     A. ADDITIONAL INSURED                 -
                                               BLANKET VENDORS
           Who Is An Insured is amended to include as an additional insured any person or organization (referred to below
           as vendor) with whom you agreed under a "written contract" to provide insurance, but only with respect to
           'bodily injury" or "property damage" arising out of "your products" which are distributed or sold in the regular
           course of the vendor's business, subject to the following additional exclusions:
           1.    The insurance afforded the vendor does not apply to:
                 a.   "Bodily injury" or "property damage" for which the vendor is obligated to pay damages by reason of the
                      assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages
                      that the vendor would have in the absence of the contract or agreement;
                 b. Any express warranty unauthorized by you;
                 c.   Any physical or chemical change in the product made intentionally by the vendor;
                 d.   Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing, or the
                      substitution of parts under instructions from the manufacturer, and then repackaged in the original
                      container;
                 e.   Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to make
                      or normally undertakes to make in the usual course of business, in connection with the distribution or sale
                      of the products;
                 f.   Demonstration, installation, servicing or repair operations, except such operations performed at the
                      vendor's premises in connection with the sale of the product;
                 g.   Products which, after distribution or sale by you, have been labeled or relabeled or used as a container,
                      part or ingredient of any other thing or substance by or for the vendor; or



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             h.   "Bodily injury" or "property damage" arising out of the sole negligence of the vendor for its own acts or
                  omissions or those of its employees or anyone else acting on its behalf. However, this exclusion does not
                  apply to:
                  (1) The exceptions contained in Subparagraphs d. orf.; or
                  (2) Such inspections, adjustments, tests or servicing as the vendor has agreed to make or normally
                      undertakes to make in the usual course of business, in connection with the distribution or sale of the
                      products.
       2.    This insurance does not apply to any insured person or organization, from whom you have acquired such
             products, or any ingredient, part or container, entering into, accompanying or containing such products.
       3.    This provision 2. does not apply to any vendor included as an insured by an endorsement issued by us and
             made a part of this Policy.
       4.    This provision 2. does not apply if "bodily injury" or "property damage" included within the "products              -



             completed operations hazard" is excluded either by the provisions of the Policy or by endorsement.
   B. MISCELLANEOUS ADDITIONAL INSUREDS
       1.    Who Is An Insured is amended to include as an insured any person or organization (called additional
             insured) described in paragraphs 3.a. through 3.j. below whom you are required to add as an additional
             insured on this policy under a "written contract."
       2.    However, subject always to the terms and conditions of this policy, including the limits of insurance, we will
             not provide the additional insured with:
             a.   A higher limit of insurance than required by such "written contract;"
             b.   Coverage broader than required by such "written contract" and in no event greater than that described
                  by the applicable paragraph a. through k. below; or
             c.   Coverage for "bodily injury" or "property damage" included within the "products -completed
                  operations hazard." But this paragraph c. does not apply to the extent coverage for such liability is
                  provided by paragraph 3.]. below.
       Any coverage granted by this endorsement shall apply only to the extent permitted by law.
       3.    Only the following persons or organizations can qualify as additional insureds under this endorsement:
             a.   Controlling Interest
                  Any persons or organizations with a controlling interest in you but only with respect to their liability arising
                  out of:
                  (1) such person or organization's financial control of you; or
                  (2) Premises such person or organization owns, maintains or controls while you lease or occupy these
                      premises;
                  provided that the coverage granted to such additional insureds does not apply to structural alterations,
                  new construction or demolition operations performed by or for such additional insured.
             b.   Co-owner of Insured Premises
                  A co-owner of a premises co -owned by you and covered under this insurance but only with respect to the
                  co -owners liability for "bodily injury," "property damage" or "personal and advertising injury" as co-
                  owner of such premises.
             c.   Grantor of Franchise
                  Any person or organization that has granted a franchise to you, but only with respect to such person or
                  organization's liability for "bodily injury," "property damage," or "personal and advertising injury" as
                  grantor of a franchise to you.




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            d.   Lessor of Equipment
                 Any person or organization from whom you lease equipment, but only with respect to liability for "bodily
                 injury," "property damage" or "personal and advertising injury" caused in whole or in part by your
                 maintenance, operation or use of such equipment, provided that the "occurrence" giving nse to such
                 "bodily injury" or "property damage" or the offense giving rise to such "personal and advertising
                 injury" takes place prior to the termination of such lease.
            e.   Lessor of Land
                 Any person or organization from whom you lease land, but only with respect to liability for "bodily injury,"
                 "property damage" or "personal and advertising injury" arising out of the ownership, maintenance or
                 use of that specific part of the land leased to you, provided that the "occurrence" giving rise to such
                 "bodily injury" or "property damage" or the offense giving rise to such "personal and advertising
                 injury," takes place prior to the termination of such lease. The insurance hereby afforded to the additional
                 insured does not apply to structural alterations, new construction or demolition operations performed by,
                 on behalf of or for such additional insured.
            f.   Lessor of Premises
                 An owner or lessor of premises leased to you, or such owner or lessor's real estate manager, but only
                 with respect to liability for "bodily injury," "property damage" or "personal and advertising injury"
                 arising out of the ownership, maintenance or use of such part of the premises leased to you, and
                 provided that the "occurrence" giving rise to such "bodily injury" or "property damage" or the offense
                 giving rise to such "personal and advertising injury," takes place prior to the termination of such lease.
                 The insurance hereby afforded to the additional insured does not apply to structural alterations, new
                 construction or demolition operations performed by, on behalf of or for such additional insured.
            g.   Mortgagee, Assignee or Receiver
                 A mortgagee, assignee or receiver of premises but only with respect to such mortgagee, assignee, or
                 receiver's liability for "bodily injury," "property damage" or "personal and advertising injury" arising
                 out of the ownership, maintenance, or use of a premises by you.
                 This insurance does not apply to structural alterations, new construction or demolition operations
                 performed by, on behalf of or for such additional insured.
            h.   State or Political Subdivisions
                 A state or government agency or subdivision or political subdivision that has issued a permit or
                 authorization, but only with respect to such government agency or subdivision or political subdivision's
                 liability for "bodily injury," "property damage" or "personal and advertising injury" arising out of:
                 (1) The following hazards in connection with premises you own, rent, or control and to which this
                     insurance applies:
                     (a) The existence, maintenance, repair, construction, erection, or removal of advertising signs,
                         awnings, canopies, cellar entrances, coal holes, driveways, manholes, marquees, hoistaway
                         openings, sidewalk vaults, street banners, or decorations and similar exposures; or
                     (b) The construction, erection, or removal of elevators; or
                     (c) The ownership, maintenance or use of any elevators covered by this insurance; or
                 (2) The permitted or authorized operations performed by you or on your behalf. But the coverage granted
                     by this paragraph does not apply to:
                     (a) "Bodily injury", "property damage" or "personal and advertising injury" arising out of
                         operations performed for the state or government agency or subdivision or political subdivision;
                         or
                     (b) "Bodily injury" or "property damage" included within the "products-completed operations
                         hazard."
              With respect to this provision's requirement that additional insured status must be requested under a
              "written contract," we will treat as a "written contract" any governmental permit that requires you to add
              the governmental entity as an additional insured.
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             i.   Trade Show Event Lessor
                  With respect to your participation in a trade show event as an exhibitor, presenter or displayer, any
                  person or organization whom you are required to include as an additional insured, but only with respect to
                  such person or organization's liability for "bodily injury," "property damage," or "personal and
                  advertising injury" caused by:
                  a.   Your acts or omissions; or
                  b.   Acts or omissions of those acting on your behalf;
                  in the performance of your ongoing operations at the trade show premises during the trade show event.
             j.   Other Person or Organization
                  Any person or organization who is not an additional insured under paragraphs a. through i. above. Such
                  additional insured is an insured solely for "bodily injury," "property damage" or "personal and
                  advertising injury" for which such additional insured is liable because of your acts or omissions.
                  The coverage granted by this paragraph does not apply to any person or organization:
                  (1) For "bodily injury," "property damage," or "personal and advertising injury" arising out of the
                      rendering or failure to render any professional services;
                  (2) For "bodily injury" or "property damage" included in the "products -completed operations
                      hazard." But this provision (2) does not apply to such "bodily injury" or "property damage" if:
                       (a) It is entirely due to your negligence and specifically results from your work for the additional
                           insured which is the subject to the "written contract"; and
                       (b) The "written contract" requires you to make the person or organization an additional insured for
                           such "bodily injury" or "property damage"; or
                  (3) Who is afforded additional insured coverage under another endorsement attached to this policy.
   C. ADDITIONAL PROVISIONS PERTINENT TO ADDITIONAL INSURED COVERAGE
       1.    With respect only to additional insured coverage provided under paragraphs A. and B. above:
             a.   The BUSINESSOWNERS COMMON POLICY CONDITIONS are amended to add the following to the
                  Condition entitled Other Insurance:
                  This insurance is excess of all other insurance available to an additional insured whether primary,
                  excess, contingent or on any other basis. However, if a "written contract" requires that this insurance be
                  either primary or primary and noncontributing, then this insurance will be primary and non-contributory
                  relative solely to insurance on which the additional insured is a named insured.
             b.   Under Liability and Medical Expense Definitions, the following definition is added:
                  "Written contract" means a written contract or agreement that requires you to make a person or
                  organization an additional insured on this policy, provided the contract or agreement:
                  (1) Is currently in effect or becomes effective during the term of this policy; and
                  (2) Was executed prior to:
                       (a) The "bodily injury" or "property damage;" or
                       (b) The offense that caused the "personal and advertising injury";
                       for which the additional insured seeks coverage.
       2.    With respect to any additional insured added by this endorsement or by any other endorsement attached to
             this Coverage Part, the section entitled Who Is An Insured is amended to make the following natural persons
             insureds.
             If the additiopal insured is:
             a.   An individual, then his or her spouse is an insured;

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                    b.   A partnership or joint venture, then its partners, members and their spouses are insureds;
                    c.   A limited liability company, then its members and managers are insureds;
                    d.   An organization other than a partnership, joint venture or limited liability company, then its executive
                         officers, directors and shareholders are insureds; or
                    e.   Any type of entity, then its employees are insureds;
                    but only with respect to locations and operations covered by the additional insured endorsement's provisions,
                    and only with respect to their respective roles within their organizations. Furthermore, employees of
                    additional insureds are not insureds with respect to liability arising out of:
                    (1) "Bodily injury" or 'personal and advertising injury" to any fellow employee or to any natural person
                        listed in paragraphs a. through d. above;
                    (2) "Property damage" to property owned, occupied or used by their employer or by any fellow employee; or
                    (3) Providing or failing to provide professional health care services.
      II.   LIABILITY EXTENSION COVERAGES
            It is understood and agreed that this endorsement amends the Businessowners Liability Coverage Form. If any
            other endorsement attached to this policy amends any provision also amended by this endorsement, then that other
            endorsement controls with respect to such provision, and the changes made by this endorsement to such provision do
            not apply.
            A. Bodily injury   -
                                   Expanded Definition
                Under Liability and Medical Expenses Definitions, the definition of "Bodily injury" is deleted and replaced by
                the following:
                "Bodily injury" means physical injury, sickness or disease sustained by a person, including death, humiliation,
                shock, mental anguish or mental injury by that person at any time which results as a consequence of the physical
                injury, sickness or disease.
            B. Broad Knowledge of Occurrence
                Under Businessowners Liability Conditions, the Condition entitled Duties In The Event of Occurrence, Offense,
                Claim or Suit is amended to add the following:
                Paragraphs a. and b. above apply to you or to any additional insured only when such "occurrence," offense,
                claim or "suit" is known to:
                (1) You or any additional insured that is an individual;
                (2) Any partner, if you or an additional insured is a partnership;
                (3) Any manager, if you or an additional insured is a limited liability company;
                (4) Any "executive officer" or insurance manager, if you or an additional insured is a corporation;
                (5) Any trustee, if you or an additional insured is a trust; or
                (6) Any elected or appointed official, if you or an additional insured is a political subdivision or public entity.
               This paragraph applies separately to you and any additional insured.
            C. Estates, Legal Representatives and Spouses
               The estates, heirs, legal representatives and spouses of any natural person insured shall also be insured under
-__            this policy; provided, however, coverage is afforded to such estates, heirs, legal representatives and spouses only
               for claims arising solely out of their capacity as such and, in the case of a spouse, where such claim seeks
               damages from marital common property, jointly held property, or property transferred from such natural person
               insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
               representative or spouse outside the scope of such person's capacity as such, provided however that the spouse
               of a natural person Named Insured and the spouses of members or partners of joint venture or partnership
               Named Insureds are insureds with respect to such spouses' acts, errors or omissions in the conduct of the Named
               Insured's business.
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   D.   Fellow Employee First Aid Coverage
        In the section entitled Who Is An Insured, paragraph 2.a.1. is amended to add the following:
        The limitations described in subparagraphs 2.a.1.(a), (b) and (c) do not apply to your "employees" for "bodily
        injury" that results from providing cardiopulmonary resuscitation or other first aid services to a co-"employee" or
        "volunteer worker" that becomes necessary while your "employee" is performing duties in the conduct of your
        business. Your "employees" are hereby insureds for such services. But the insured status conferred by this
        provision does not apply to "employees" whose duties in your business are to provide professional health care
        services or health examinations.
   E.   Legal Liability   -
                              Damage To Premises
        1.    Under B. Exclusions, 1. Applicable to Business Liability Coverage, Exclusion k. Damage To Property, is
              replaced by the following:
              k.   Damage To Property
                   "Property damage" to:
                   1.   Property you own, rent or occupy, including any costs or expenses incurred by you, or any other
                        person, organization or entity, for repair, replacement, enhancement, restoration or maintenance of
                        such property for any reason, including prevention of injury to a person or damage to another's
                        property;
                   2.   Premises you sell, give away or abandon, if the "property damage" arises out of any part of those
                        premises;
                   3.   Property loaned to you;
                   4.   Personal property in the care, custody or control of the insured;
                   5.   That particular part of any real property on which you or any contractors or subcontractors working
                        directly or indirectly in your behalf are performing operations, if the "property damage" arises out of
                        those operations; or
                   6.   That particular part of any property that must be restored, repaired or replaced because "your work"
                        was incorrectly performed on it.
                   Paragraph 2 of this exclusion does not apply if the premises are "your work" and were never occupied,
                   rented or held for rental by you.
                   Paragraphs 1, 3, and 4, of this exclusion do not apply to "property damage" (other than damage by fire
                   or explosion) to premises:
                   (1) rented to you:
                   (2) temporarily occupied by you with the permission of the owner, or
                   (3) to the contents of premises rented to you for a period of 7 or fewer consecutive days.
                   A separate limit of insurance applies to Damage To Premises Rented To You as described in Section D       -




                   Liability and Medical Expenses Limits of Insurance.
                   Paragraphs 3, 4, 5, and 6 of this exclusion do not apply to liability assumed under a sidetrack agreement.
                   Paragraph 6 of this exclusion does not apply to "property damage" included in the "products                  -



                   completed operations hazard."
        2.    Under B. Exclusions, 1. Applicable to Business Liability Coverage, the following paragraph is added, and
              replaces the similar paragraph, if any, beneath paragraph (14) of the exclusion entitled Personal and
              Advertising Injury:
              Exclusions c, d, e, f, g, h, I, k, I, m, n, and o, do not apply to damage by fire to premises while rented to you
              or temporarily occupied by you with permission of the owner or to the contents of premises rented to you for a
              period of 7 or fewer consecutive days. A separate limit of insurance applies to this coverage as described in
              Section D. Liability And Medical Expenses Limits Of Insurance.

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               3.    The first Paragraph under item 5. Damage To Premises Rented To You Limit of the section entitled
                     Liability And Medical Expenses Limits Of Insurance is replaced by the following:
                     The most we will pay under Business Liability for damages because of 'property damage" to any one
                     premises, while rented to you or temporarily occupied by you with the permission of the owner, including
                     contents of such premises rented to you for a period of 7 or fewer consecutive days, is the Damage to
                     Premises Rented to You Limit. The Damage to Premises Rented to You Limit is the greater of:
                     a.   $1,000,000; or
                     b. The Damage to Premises Rented to You Limit shown in the Declarations.
          F.   Personal and Advertising Injury       -
                                                         Discrimination or Humiliation
               1.    Under Liability and Medical Expenses Definitions, the definition of "personal and advertising injury" is
                     amended to add the following:
                     h.   Discrimination or humiliation that results in injury to the feelings or reputation of a natural person, but only
                          if such discrimination or humiliation is:
                          (I) Not done intentionally by or at the direction of:
                              (a) The insured; or
                              (b) Any "executive officer," director, stockholder, partner, member or manager (if you are a limited
                                  liability company) of the insured; and
                          (2) Not directly or indirectly related to the employment, prospective employment, past employment or
                              termination of employment of any person or person by any insured.
               2.    Under B. Exclusions, 1. Applicable to Business Liability Coverage, the exclusion entitled Personal and
                     Advertising Injury is amended to add the following additional exclusions:
                     (15) Discrimination Relating to Room, Dwelling or Premises
                          Caused by discrimination directly or indirectly related to the sale, rental, lease or sub-lease or prospective
                          sale, rental, lease or sub-lease of any room, dwelling or premises by or at the direction of any insured.
                     (16) Employment Related Discrimination
                          Discrimination or humiliation directly or indirectly related to the employment, prospective employment,
                          past employment or termination of employment of any person by any insured.
                     (17) Fines or Penalties
                          Fines or penalties levied or imposed by a governmental entity because of discrimination.
               3.    This provision (Personal and Advertising Injury    Discrimination or Humiliation) does not apply if
                                                                               -




                     Personal and Advertising Injury Liability is excluded either by the provisions of the Policy or by
                     endorsement.
          G. Personal and Advertising Injury Broadened Eviction
                                                     -




               Under Liability and Medical Expenses Definitions, the definition of "Personal and advertising injury" is
               amended to delete Paragraph c. and replace it with the following:
               c. The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room
                  dwelling or premises that a person or organization occupies committed by or on behalf of its owner, landlord
                     or lessor.
___
          H. Waiver of Subrogation         -
                                               Blanket
               We waive any right of recovery we may have against:
               a.    Any person or organization with whom you have a written contract that requires such a waiver.


      All other terms and conditions of the Policy remain unchanged.

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  NA                                                                                                           (Ed. 01/06)


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                               INFLATION GUARD
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners              b. The percentage of annual increase shown in
Special Property Coverage Form:                                        the Declarations, expressed as a decimal
                                                                       (example: 5% is .05); times
Inflation Guard
                                                                    c.   The number of days since the beginning of
    1.   The   limit of Insurance for Building will be
                                                                         the current policy year or the effective date of
         increased by the annual percentage shown in the                 the most recent policy change amending the
         Declarations, if you choose this optional coverage,             limit, divided by 365.
         The limit of Insurance for Business Personal                    Example:
         Property will be increased by the annual
         percentage shown in the Declarations, if you                    If: the applicable limit is $100,000.
         choose this optional coverage.
                                                                         The annual increase is 5%.
    2.   The amount of increase will be:
                                                                         The number of days since the beginning of
         a.    The limit that applied on the most recent of              the policy year (or last policy change) is 146.
               the policy inception date, the policy
               anniversary date, or any other policy change              The amount of increase is:
               amending the limit; times                                 $100,000 x .05 x 146/365     =   $2,000.




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    C'NA                                                                                                                            (Ed. 07109)


                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                      PENNSYLVANIA CHANGES
    This endorsement modifies insurance provided under the following:
        BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
        BUSINESSOWNERS COMMON POLICY CONDITIONS
    A. The Businessowners Special Property Coverage                                     Actual cash value is calculated as the amount it
       Form is amended as follows:                                                      would cost to repair or replace Covered Property,
                                                                                        at the time of loss or damage, with material of like
        1.   The following is added to Paragraph E.4. Loss
             Payment        Building and Personal Property
                             -
                                                                                        kind or quality, subject to a deduction for
                                                                                        deterioration, depreciation and obsolescence.
             Property Loss Condition and supersedes any
                                                                                        Actual cash value applies to valuation of Covered
             provision to the contrary:
                                                                                        Property regardless of whether that property has
             j.    Notice of Acceptance or Denial of Claim                              sustained a partial or total loss or damage.
                   1.   Except as provided in 3. below, we will                         The actual cash value of the lost or damaged
                        give you notice, within 15 working days                         property may be significantly less than its
                        after we receive a properly executed                            replacement cost.
                        proof of loss, that we:
                                                                             B. The Businessowners Common Policy Conditions
                        a.       Accept your claim;                             are amended as follows:
                        b.       Deny your claim; or                               I.   Paragraph A. Cancellation is replaced by the
                        c.       Need more time to determine                            following:
                                 whether your claim should be                           A. Cancellation
                                 accepted or denied.
                                                                                                1.   The first Named Insured shown in the
                        If we deny your claim, such notice will be                                   Declarations may cancel this policy by
                        in writing, and will state any policy                                        writing or giving notice of cancellation.
                        provision, condition or exclusion used as
                        a basis for the denial.
                                                                                                2.   Cancellation Of Policies In Effect For
                                                                                                     Less Than 60 Days
                        If we need more time to determine
                        whether your claim should be accepted or                                     We may cancel this policy by mailing or
                        denied, the written notice will state the                                    delivering to the first Named Insured
                                                                                                     written notice of cancellation at least 30
                        reason why more time is required.
                                                                                                     days before the effective date of
                   2.   If we have not completed our                                                 cancellation.
                        investigation, we will notify you again in
                                                                                                3.   Cancellation Of Policies In Effect For
                        writing, within 30 days after the date of
                                                                                                     60 Days Or More
                        the initial notice as provided in 1.c.
                        above, and thereafter every 45 days. The                                     If this policy has been in effect for 60
                        written notice will state why more time is                                   days or more or if this policy is a renewal
                        needed to investigate your claim and                                         of a policy we issued, we may cancel this
                        when you may expect us to reach a                                            policy only for one or more of the
                        decision on your claim.                                                      following reasons:
                   3.   The notice procedures in 1. and 2. above                                     a. You      have    made a         material
                        do not apply if we have a reasonable                                            misrepresentation which affects the
-




                        basis supported by specific information                                         insurability of the risk. Notice of
                        to suspect that an insured has                                                  cancellation will be mailed or
                        fraudulently caused or contributed to the                                       delivered at least 15 days before the
-                       loss by arson or other illegal activity.                                        effective date of cancellation.
                        Under such circumstances, we will notify                                     b. You have failed to pay a premium
                        you of the disposition of your claim within
                                                                                                        when due, whether the premium is
                        a period of time reasonable to allow full
                                                                                                        payable directly to us or our agents or
                        investigation of the claim, after we receive
                                                                                                        indirectly under a premium finance
-
                        a properly executed proof of loss.
                                                                                                        plan or extension of credit. Notice of
       2.    The following is added to any provision which                                              cancellation will be mailed at least 15
             uses the term actual cash value:
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                     days before the effective date of                                 7.   If notice is mailed, it will be by registered
                     cancellation.                                                          or first class mail. Proof of mailing will be
                C.   A condition, factor or loss experience                                 sufficient proof of notice.
                     material to insurability has changed                 2.   Paragraph K. Transfer Of Your Rights And
                     substantially    or    a     substantial                  Duties Under This Policy is replaced by the
                     condition, factor or loss experience                      following:
                     material to insurability has become
                                                                               K. Transfer Of Your Rights And Duties Under
                     known during the policy period.
                                                                                  This Policy
                     Notice of cancellation will be mailed
                     or delivered at least 60 days before                              Your rights and duties under this policy may
                     the effective date of cancellation.                               not be transferred without our written consent
                                                                                       except in the case of death of an individual
                     Loss of reinsurance or a substantial                              Named Insured.
                     decrease      in   reinsurance      has
                     occurred, which loss or decrease, at                              If you die, your rights and duties will be
                     the time of cancellation, shall be                                transferred to your legal representative but
                     certified     to    the      Insurance                            only while acting within the scope of duties as
                     Commissioner as directly affecting in    -
                                                                                       your legal representative. Until your legal
                     force policies. Notice of cancellation                            representative is appointed, anyone having
                     will be mailed or delivered at least 60                           proper temporary custody of your property will
                     days before the effective date of                                 have your rights and duties but only with
                     cancellation.                                                     respect to that property.
                e.   Material failure to comply with policy                            If you die, this Policy will remain in effect as
                     terms,    conditions or contractual                               provided in 1. or 2. below, whichever is later:
                     duties. Notice of cancellation will be                            1.   For 180 days after your death regardless
                     mailed or delivered at least 60 days
                                                                                            of the policy period shown in the
                     before the effective         date   of                                 Declarations, unless the insured property
                     cancellation.
                                                                                            is sold prior to that date; or
                f.   Other reasons that the Insurance                                  2.   Until the end of the policy period shown in
                     Commissioner may approve. Notice
                                                                                            the Declarations, unless the insured
                     of cancellation will be mailed or
                                                                                            property is sold prior to that date.
                     delivered at least 60 days before the
                     effective date of cancellation.                                   Coverage during the period of time after your
                                                                                       death is subject to all provisions of this policy
                This policy may also be cancelled from                                 including payment of any premium due for the
                inception upon discovery that the policy
                                                                                       policy period shown in the Declarations and
                was       obtained    through  fraudulent                              any extension of that period.
                statements, omissions or concealment of
                facts material to the acceptance of the                  3.    The following paragraphs are added                   and
                risk or to the hazard assumed by us.                           supersede any provisions to the contrary:
           4.   We will mail or deliver our notice to the                      M. Nonrenewal
                first Named Insured's last mailing address                             If we decide not to renew this policy, we will
                known to us. Notice of cancellation will                               mail or deliver written notice of nonrenewal,
                state the specific reasons for cancellation.                           stating the specific reasons for nonrenewal, to
           5.   Notice of cancellation will state the                                  the first Named Insured at least 60 days
                effective date of cancellation. The policy                             before the expiration date of the policy.
                period will end on that date.                                  N. Increase Of Premium
           6.   If this policy is cancelled, we will send the                          If we increase your renewal premium, we will
                first Named Insured any premium refund                                 mail or deliver to the first Named Insured
                due. If we cancel, the refund will be pro                              written notice of our intent to increase the
                rata and will be returned within 10                                    premium at least 30 days before the effective
                business days after the effective date of                              date of the premium increase.
                cancellation. If the first Named Insured
                cancels, the refund may be less than pro                       Any notice of nonrenewal or renewal premium
                rata and will be returned within 30 days                       increase will be mailed or delivered to the first
                after the effective date of cancellation.                      Named Insured's last known address. If notice is
                The cancellation will be effective even if                     mailed, it will be by registered or first class mail.
                we have not made or offered a refund.                          Proof of mailing will be sufficient proof of notice.

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                                                                                                                       SB -I 47030-A
     CNA                                                                                                                 (Ed. 01/06)



                                                  PENNSYLVANIA NOTICE
     An Insurance Company, its agents, employees, or service           occurring as a result of any act or omission by any person
     contractors acting on its behalf, may provide services to         in the furnishing of or the failure to furnish these services.
     reduce the likelihood of injury death or loss. These
     services may include any of the following or related              The Act does not apply:
     services incident to the application for, issuance, renewal        1.   If the injury, death or loss occurred during the actual
     or continuation of, a policy of insurance:                              performance of the services and was caused by the
     I                                                                       negligence of the Insurance Company, its agents,
            Surve y   ¯

                      ,


                                                                             employees or service contractors;
     2.     Consultation or advice; or
                                                                       2.    To consultation services required to be performed
     3.     Inspections.                                                     under a written service contract not related to a policy
                                                                             of insurance; or
     The "Insurance Consultation Services Exemption Act" of
     Pennsylvania provides that the Insurance Company, its             3.    If any acts or omissions of the Insurance Company, its
     agents, employees or service contractors acting on its                  agents, employees or service contractors are judicially
     behalf, is not liable for damages from injury, death or loss            determined to constitute a crime, actual malice, or
                                                                             gross negligence.




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                                                     Instruction to Policy Writers
         Attach the Pennsylvania Notice to all new and renewal certificates insuring risks located in Pennsylvania.




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                                                                                                                   (Ed. 01/06)


             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                        ECONOMIC AND TRADE SANCTIONS CONDITION
The following condition is added to the COMMON POLICY             4.   Property that is located in a Sanctioned Country or that
CONDITIONS:                                                            is owned by, rented to or in the care, custody or
                                                                       control of a Sanctioned Country Government, where
ECONOMIC AND TRADE SANCTIONS CONDITION                                 any activities related to such property are prohibited by
In accordance with laws and regulations of the United                  U.S. economic or trade sanctions; or
States concerning economic and trade embargoes, this              5.   Property that is owned by, rented to or in the care,
policy is void ab initio (void from its inception) with respect        custody or control of a Specially Designated National
to any term or condition of this policy that violates any laws         or Blocked Person, or any person or entity who is
or regulations of the United States concerning economic
                                                                       otherwise subject to U.S. economic or trade sanctions.
and trade embargoes including, but not limited to the
following:                                                        As used in this endorsement a Specially Designated
                                                                  National or Blocked Person is any person or entity that is
1.   Any insured, or any person or entity claiming the
                                                                  on the list of Specially Designated Nationals and Blocked
     benefits of an insured, who is or becomes a Specially
                                                                  Persons issued by the U.S. Treasury Department's Office
     Designated National or Blocked Person or who is
                                                                  of Foreign Asset Control (O.F.A.C.) as it may be from time
     otherwise subject to U.S. economic or trade sanctions;       to time amended.
2.   Any claim or "suit" that is brought in a Sanctioned
                                                                  As used in this endorsement a Sanctioned Country is any
     Country or by a Sanctioned Country Government,
                                                                  country that is the subject of trade or economic embargoes
     where any action in connection with such claim or suit       imposed by the laws or regulations of the United States of
     is prohibited by U.S. economic or trade sanctions;           America.
3.   Any claim or "suit" that is brought by any Specially
     Designated National or Blocked Person or any person
     or entity who is otherwise subject to U.S. economic or
     trade sanctions;




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                                                                                                                               (Ed. 01/06)



              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                               WAR LIABILITY EXCLUSION
     This endorsement modifies insurance provided under the following:
         BUSINESSOWNERS LIABILITY COVERAGE FORM
         The following provisions are added to the Business                                  sovereign or other authority using military
         Liability Coverage Forms:                                                           personnel or other agents; or
         A. War    Exclusion i. under Paragraph B.1.,                                   (3) Insurrection, rebellion, revolution, usurped
             Exclusions Applicable to Business Liability
                          -
                                                                                            power, or action taken by governmental
             Coverage is replaced by the following:                                         authority in hindering or defending against any
                                                                                            of these.
             This insurance does not apply to War.
                                                                             II.   The following provision is added to the Business
             "Bodily injury," "property damage," "personal and                     Liability Coverage Form:
             advertising injury," however caused, arising,
             directly or indirectly, out of:                                       A. Exclusion h. under Paragraph B.2., Exclusions      -




                                                                                      Applicable To Medical Expenses Coverage
             (1) War, including undeclared or civil war; or                           does not apply. Medical Expenses due to war are
             (2) Warlike action by a military force, including                        now subject to Exclusion g. of Paragraph B.2.,
                 action in hindering or defending against an                          since "bodily injury" arising out of war is now
                 actual or expected attack, by any government,                        excluded under Paragraph B.1., Exclusions          -




                                                                                      Applicable To Business Liability Coverage.




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                                             EXCLUSION           -
                                                                     SILICA
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS LIABILITY COVERAGE FORM
A. The following exclusion is added to Section B.1. EXCLUSIONS        -
                                                                          Applicable to Business Liability Coverage:
    This insurance does not apply to:
    Silica
    (1) "Bodily injury arising in whole or in part out of the actual, alleged or threatened respiration or ingestion at any
        time of "silica";
    (2) "Property damage" arising in whole or in part out of the actual, alleged or threatened presence of "silica;" or
    (3) "Personal and advertising injury" arising in whole or in part out of the actual, alleged or threatened exposure at
        any time to or the presence of "silica."
B. The following definition is added:
    'Silica" means the chemical compound silicon dioxide (SiO2) in any form, including dust which contains "silica."




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                                    EXCLUSION            -
                                                             RESPIRABLE DUST
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS LIABILITY COVERAGE FORM
The following exclusion is added to Section B.1. EXCLUSIONS         -
                                                                        Applicable to Business Liability Coverage:
    This insurance does not apply to:
    Respirable Dust
    (1) "Bodily injury" arising in whole or in part out of the actual, alleged or threatened respiration or ingestion at any
        time of respirable dust;
    (2) "Property damage" arising in whole or in part out of the actual, alleged or threatened presence of respirable dust;
        or
    (3)    "Personal and advertising injury" arising in whole or in part out of the actual, alleged or threatened exposure at
          any time to or the presence of respirable dust.




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C'NA                                                                                                                              (Ed. 04/14)



                        BUSINESSOWNERS COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions:
A. Cancellation                                                                                     (b) Pay property taxes that are owing
                                                                                                        and have been outstanding for more
    1.   The first Named Insured shown in the                                                           than one year following the date due,
         Declarations may cancel this policy by mailing or                                              except that this provision will not
         delivering to us advance written notice of
                                                                                                        apply where you are in a bona fide
         cancellation.                                                                                  dispute with the taxing authority
    2.   We may cancel this policy by mailing or delivering                                             regarding payment of such taxes.
         to the first Named Insured written notice of
                                                                                         b.    10 days before the effective date of
         cancellation at least:                                                                cancellation if we cancel for nonpayment of
         a.     5 days before the effective date of                                            premium.
                cancellation if any one of the following
                                                                                         c.    30 days before the effective date of
                conditions exists at any building that is                                      cancellation if we cancel for any other reason.
                Covered Property in this policy.
                                                                                    3.   We will mail or deliver our notice to the first
                (1) The building has been vacant or
                                                                                         Named Insured's last mailing address known to
                    unoccupied 60 or more consecutive days.
                                                                                         us.
                    This does not apply to:
                                                                                    4.   Notice of cancellation will state the effective date
                   (a) Seasonal unoccupancy; or
                                                                                         of cancellation. The policy period will end on that
                   (b) Buildings     in  the     course      of                          date.
                       construction, renovation or addition.
                                                                                    5.   If this policy is cancelled, we will send the first
                   Buildings with 65% or more of the rental                              Named Insured any premium refund due. If we
                   units or floor area vacant or unoccupied                              cancel, the refund will be pro rata. If the first
                   are considered unoccupied under this                                  Named Insured cancels, the refund may be less
                   provision.                                                            than pro rata. The cancellation will be effective
                                                                                         even if we have not made or offered a refund.
               (2) After damage by a covered cause of loss,
                   permanent repairs to the building:                               6.   If notice is mailed, proof of mailing will be
                                                                                         sufficient proof of notice.
                   (a) Have not started, and
                                                                              B. Changes
                   (b) Have not been contracted for,
                                                                                   This policy contains all the agreements between you
                   within 30 days of initial payment of loss                       and us concerning the insurance afforded. The first
               (3) The building has:                                               Named Insured shown in the Declarations is
                                                                                   authorized to make changes in the terms of this policy
                   (a) An outstanding order to vacate;                             with our consent. This policy's terms can be amended
                   (b) An outstanding demolition order; or                         or waived only by endorsement issued by us and
                                                                                   made a part of this policy.
                   (c) Been    declared        unsafe                 by
                       governmental authority.                                C. Concealment, Misrepresentation Or Fraud

               (4) Fixed and salvageable items have been                           This policy is void in any case of fraud by you as it
                   or are being removed from the building                          relates to this policy at anytime. It is also void if you or
                   and are not being replaced. This does not                       any other insured, at any time, intentionally conceal or
                   apply to such removal that is necessary                         misrepresent a material fact concerning:
                   or incidental to any renovation or                              1.    This policy;
                   remodeling.
                                                                                   2.    The Covered Property;
               (5) Failure to:
                                                                                   3.    Your interest in the Covered Property; or
                   (a) Furnish necessary heat, water, sewer
                       service or electricity for 30                               4.    A claim under this policy.
                       consecutive days or more, except                       13. Examination Of Your Books And Records
                        during a    period            of     seasonal
                        unoccupancy; or                                            We may examine and audit your books and records as
                                                                                   they relate to this policy at any time during the policy
                                                                                   period and up to three years afterward.

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     E.   Inspections And Surveys                                                          undertake to do so; but we will be entitled to the
                                                                                           insured's rights against all those other insurers.
          We have the right but are not obligated to:
                                                                                I.   Premiums
          1.   Make inspections and surveys at any time;
                                                                                           The first Named                 Insured   shown     in   the
          2.   Give you reports on the conditions we find; and                             Declarations:
          3.   Recommend changes.                                                                                                               of all
                                                                                           a.   Is responsible for the               payment
          Any inspections, surveys, reports or recommendations                                  premiums; and
          relate only to insurability and the premiums to be                               b.   Will be the payee for any return premiums we
          charged. We do not make safety inspections. We do
                                                                                                pay.
          not undertake to perform the duty of any person or
          organization to provide for the health or safety of                        2.    The premium shown in the Declarations was
          workers or the public. And we do not warrant that                                computed based on rates in effect at the time the
          conditions:                                                                      policy was issued. On each renewal, continuation
                                                                                           or anniversary of the effective date of this policy,
          1.   Are safe or healthful; or                                                   we will compute the premium in accordance with
          2.   Comply with       laws,     regulations,      codes      or                 our rates and rules then in effect.
               standards.                                                            3.    With our consent, you may continue this policy in
          This condition applies not only to us, but also to any                           force by paying a continuation premium for each
          rating, advisory, rate service or similar organization                           successive one-year period. The premium must
          which makes insurance inspections, surveys, reports                              be:
          or recommendations.                                                              a.   Paid to us prior to the anniversary date; and
     F.   Insurance Under Two Or More Coverages                                            b.   Determined in accordance with Paragraph 2.
          If two or more of this policy's coverages apply to the                                above.
          same loss or damage, we will not pay more than the                               Our forms then in effect will apply. If you do not
          actual amount of the loss or damage.                                             pay the continuation premium, this policy will
     G. Liberalization                                                                     expire on the first anniversary date that we have
                                                                                           not received the premium.
          If, during your policy period, we adopt any revision that
          would broaden the coverage under this policy without                       4.    Undeclared exposures or change in your business
          additional premium the broadened coverage will                                   operation, acquisition or use of locations may
          immediately apply to this policy. The broadened                                  occur during the policy period that are not shown
          coverage will also apply to the renewal of this policy if                        in the Declarations. If so, we may require an
          such renewal was in process or was mailed prior to                               additional premium. That premium will be
          the date we adopted such revision.                                               determined in accordance with our rates and rules
                                                                                           then in effect.
to
     H. Other!nsurance
                                                                                J.   Premium Audit
               If you have other insurance covering the same
               loss or damage, we will pay only for the amount of                    1.    This policy is subject to audit if the Declarations
               covered loss or damage in excess of the amount                              show an Audit Period other than 'Not Auditable.'
               due from that other insurance, whether you can                              We will compute the final premium due when we
               collect on it or not. But we will not pay more than                         determine your actual exposures.
               the applicable Limit of Insurance.                                    2.    Premium shown in this policy as advance
          2.   Business Liability Coverage is excess over:                                 premium is a deposit premium only. At the close of
                                                                                           each audit period we will compute the earned
               a.    Any other insurance that insures for direct                           premium for that period. Audit premiums are due
                     physical loss or damage; or                                           and payable on notice to the first Named Insured.
               b.    Any other primary insurance available to you                          If the sum of the advance and audit premiums
                     covering liability for damages arising out of                         paid for the policy period is greater than the
                     the premises or operations for which you have                         earned premium, we will return the excess to the
                     been added as an additional insured.                                  first Named Insured.
          3.   When this insurance is excess, we will have no                        3.    The first Named Insured must keep records of the
               duty under Business Liability Coverage to defend                            information we need for premium computation,
               any claim or "suit" that any other insurer has a                            and send us copies at such times as we may
               duty to defend. If no other insurer defends, we will                        request.


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K. Transfer Of Rights Of Recovery Against Others To                                  This will not restrict your insurance.
   Us
                                                                                2.   Applicable to Businessowners Liability Coverage:
    1.   Applicable to Businessowners Property Coverage:
                                                                                     If the insured has rights to recover all or part of
         If any person or organization to or for whom we                             any payment we have made under this policy,
         make payment under this policy has rights to                                those rights are transferred to us. The insured
         recover damages from another, those rights are                              must do nothing after loss to impair them. At our
         transferred to us to the extent of our payment.                             request, the insured will bring "suit" or transfer
         That person or organization must do everything                              those rights to us and help us enforce them. This
         necessary to secure our rights and must do                                  condition does not apply to Medical Expenses
         nothing after loss to impair them. But you may                              Coverage.
         waive your rights against another party in writing:
                                                                          L. Transfer Of Your Rights And Duties Under This
         a.    Prior to a loss to your Covered Property.                        Policy
         b. After a loss to your Covered Property only if,                      Your rights and duties under this policy may not be
            at time of loss, that party is one of the                           transferred without our written consent except in the
            following:                                                          case of death of an individual Named Insured.
               (1) Someone insured by this insurance;                           If you die, your rights and duties will be transferred to
                                                                                your legal representative but only while acting within
               (2) A business firm:
                                                                                the scope of duties as your legal representative. Until
                   (a) Owned or controlled by you; or                           your legal representative is appointed, anyone having
                                                                                proper temporary custody of your property will have
                   (b) That owns or controls you; or                            your rights and duties but only with respect to that
               (3) Your tenant.                                                 property.

         You may also accept the usual bills of lading or
         shipping receipts limiting the liability of carriers.




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                     FUNGI I MOLD I MILDEW I YEAST I MICROBE EXCLUSION
     This endorsement modifies insurance provided under the following:
         BUSINESSOWNERS LIABILITY COVERAGE FORM
     A. The following exclusion is added to SECTION B.1., EXCLUSIONS                  -
                                                                                          Applicable to Business Liability Coverage:
         This insurance does not apply to:
         Fungi and Microbes
         (1) 'Bodily injury" or "personal and advertising injury" arising out of or relating to, in whole or in part, the actual,
             alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or growth or presence of
             any "fungi" or "microbes" on or within a building or structure, or on or within any contents of a building or
             structure. This exclusion applies regardless of any other cause or event that contributes concurrently or in any
             sequence to such injury.
             This exclusion does not apply to:
             (a) any "fungi" or "microbes" that are, are on, or are contained in, a good or product intended for bodily
                 consumption; or
             (b) "microbes" that were transmitted directly from person to person.
         (2) Any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
             containing, treating, detoxifying, neutralizing, remediating, or disposing of, or in any way responding to or
             assessing the effects of "fungi" or "microbes" by any insured or by anyone else.
         (3) "Property damage" arising out of or relating to the actual, alleged or threatened contact with, exposure to,
             existence of, or growth or presence of any "fungi" or "microbes" on or within a building or structure, or on or
             within any contents of a building or structure.
     B. The following definitions are added to SECTION F., Liability and Medical Expenses Definitions:
         "Fungi" means any form of fungus, including but not limited to, yeast, mold, mildew, rust, smut or mushroom, and
         including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released by,
         or arising out of the current or past presence of fungi.
         "Microbe(s)" means any non-fungal microorganism or non -fungal, colony-form organism that causes infection or
         disease. "Microbe" includes any spores, mycotoxins, odors, or any other substances, products, or byproducts
         produced by, released by, or arising out of the current or past presence of microbes.

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   NA                                                                                                                          (Ed. 07/09)


           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
  FUNGI, WET ROT, DRY ROT AND MICROBE EXCLUSION/LIMITED COVERAGE
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
A. Section B.1., EXCLUSIONS, is amended to add the                                  a.    Direct physical loss or damage to Covered
   following provision:                                                                   Property caused by "fungus," wet or dry rot or
    m. Fungi, Wet Rot, Dry Rot and Microbes                                               bacteria, including the cost of removal of the
                                                                                          "fungus," wet or dry rot or bacteria.
         Presence, growth, proliferation, spread or any
                                                                                    b.    The cost to tear out and replace any part of
         activity of "fungi," wet or dry rot, or "microbes."
                                                                                          the building or other property as needed to
         This exclusion does not apply when "fungi," wet or                               gain access to the "fungus," wet or dry rot or
         dry rot or "microbes" result from fire or lightning.                             bacteria; and
B. Section B.2., EXCLUSIONS, Paragraph d. Other                                     c.    The cost of testing performed after removal,
   Types of Loss, items (2) and (7), are deleted in their                                 repair, replacement or restoration of the
   entirety and replaced as follows:                                                      damaged property is completed, provided
                                                                                          there is a reason to believe that "fungus," wet
    (2) Rust, or other corrosion, decay, deterioration,                                   or dry rot or bacteria are present.
        hidden or latent defect or any quality in property
        that causes it to damage or destroy itself;                            3.   The coverage described under paragraph D.2. of
                                                                                    this Limited Coverage endorsement is limited to
    (7) The following causes of loss:                                               $25,000, unless a different limit is shown in the
         (a) Dampness or dryness of atmosphere;                                     Declarations.     Regardless of the number of
                                                                                    claims, this limit is the most we will pay for the
         (b) Changes in or extremes of temperature; or                              total of all loss or damage arising out of all
         (c) Marring or scratching.                                                 occurrences of Covered Causes of Loss (other
                                                                                    than fire or lightning) which take place in a 12
C. Section B.1., EXCLUSIONS, Paragraph g. Water, is                                 month period (starting with the beginning of the
   amended to add the following provision:                                          present annual policy period). With respect to a
    (5) Continuous or repeated discharge, seepage or                                particular occurrence of loss which results in
        leakage of water, or the presence or condensation                           "fungus," wet or dry rot or bacteria, we will not pay
        of humidity, moisture or vapor, that occurs over a                          more than a total of $25,000 (unless a different
        period of 14 days or more. But if the continuous or                         limit is shown in the Declarations), even if the
        repeated seepage or leakage of water results in                             "fungus," wet or dry rot or bacteria continues to be
        Equipment Breakdown not otherwise excluded, we                              present or active, or recurs, in a later policy
        will pay for the loss or damage caused by that                              period.
        Equipment Breakdown.                                                  4.    The     coverage      provided   under   this   Limited
D. The following is added to Section A. Coverage,                                   Coverage does not increase the applicable Limit
   Paragraph 5. of the Additiohal Coverages section:                                of Insurance on any Covered Property. If a
                                                                                    particular occurrence results in loss or damage by
    Additional Coverage       Limited Coverage for
                              -
                                                                                    "fungus," wet or dry rot or bacteria, and other loss
    "Fungus," Wet Rot, Dry Rot and Bacteria                                         or damage, we will not pay more, for the total of all
                                                                                    loss or damage, than the applicable Limit of
    1.   The coverage described below in paragraphs D.2.
                                                                                    Insurance on the affected Covered Property.
         and D.6. of this Limited Coverage endorsement
         only applies when the "fungus," wet or dry rot or                          If there is covered loss or damage to Covered
         bacteria is the result of Covered Causes of Loss                           Property, not caused by "fungus," wet or dry rot or
         other than fire or lightning that occur during the                         bacteria, loss payment will not be limited by the
         policy period and only if all reasonable means                             terms of this Limited Coverage, except to the
         were used to save and preserve the property from                           extent that "fungus," wet or dry rot or bacteria
         further damage at the time of and after that                               causes an increase in the loss. Any such
         occurrence.                                                                increase in the loss will be subject to the terms of
                                                                                    this Limited Coverage.
   2.    We will pay for loss or damage by "fungus," wet or
         dry rot or bacteria. As used in this Limited
         Coverage, the term loss or damage means:

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        5.   The terms of this Limited Coverage do not                      E.   Under this policy, we will not pay under the Ordinance
             increase or reduce the coverage provided under                      or Law Coverage for:
             the Additional Coverages Section of the Special
                                                                                 1.   Loss or expense sustained due to the
             Property Coverage Forms.
                                                                                      enforcement of any ordinance or law which
        6.   The following paragraphs, 6.a. or 6.b. applies to                        requires the demolition, repair, replacement,
             the Business Income and Extra Expense coverage                           reconstruction, remodeling or remediation of
             and only if the suspension (slowdown or                                  property due to the presence, growth, proliferation,
             cessation) of 'operations" satisfies all terms and                       spread or any activity of "fungus," wet or dry rot or
             conditions of the applicable Business Income and                         bacteria; or
             Extra Expense coverage. The coverage provided
             under this Limited Coverage is part of and does
                                                                                 2.   The costs associated with the enforcement of any
                                                                                      ordinance or law which requires any insured or
             not increase the applicable Limit of Insurance on
             the Business Income and Extra Expense
                                                                                      others to test for, monitor, clean up, remove,
                                                                                      contain, treat, detoxify or neutralize, or in any way
             coverage.
                                                                                      respond to, or assess the effects of "fungus," wet
             a.    If the loss which resulted in "fungus," wet or                     or dry rot or bacteria.
                   dry rot or bacteria does not in itself
                                                                            F.   Section G., PROPERTY DEFINITIONS, is amended
                   necessitate a suspension of "operations," but
                                                                                 to add the following two (2) definitions:
                   such suspension is necessary due to loss or
                   damage to property caused by "fungus," wet                    "Fungi" means any form of fungus, including but not
                   or dry rot or bacteria, then our payment under                limited to, yeast, mold, mildew, rust, smut or
                   Business Income and/or Extra Expense is                       mushroom, and including any spores, mycotoxins,
                   limited to the amount of loss and/or expense                  odors, or any other substances, products, or
                   sustained in a period of not more than 30                     byproducts produced by, released by, or arising out of
                   days. The days need not be consecutive.                       the current or past presence of "fungi." But "fungi"
             b.    If a covered suspension of "operations" was                   does not include any "fungi" intended by the insured
                   caused by loss or damage other than
                                                                                 for consumption.
                   "fungus," wet or dry rot or bacteria but                      "Microbe(s)" means any non -fungal micro-organism
                   remediation of "fungus," wet or dry rot or                    or non -fungal, colony-form organism that causes
                   bacteria prolongs the "period of restoration,"                infection or disease. "Microbe" includes any spores,
                   we will pay for loss and/or expense sustained                 mycotoxins, odors, or any other substances, products,
                   during the delay (regardless of when such a                   or byproducts produced by, released by, or arising out
                   delay occurs during the "period of                            of the current or past presence of "microbes."
                   restoration"), but such coverage is limited to
                   30 days. The days need not be consecutive.


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C'NA                                                                                                                  (Ed. 04/10)



             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                 LOSS PAYABLE CLAUSES
This endorsement modifies insurance provided under the following:
      BUSINESSOWNERS POLICY
                                                            SCHEDULE*
                                                                                                     Provision Applicable
    Prem.                          Description                      Loss Payee                       (Indicate Paragraph
     No.                           of Property                (Name & Address)                           A, B, C or D)


                                                  REFER TO LOSS PAYEE SCHEDULE
*
     Information required to complete this Schedule, if not shown on this endorsement, will be shown in the Declarations.
The following is added to the Businessowners Special                         have the right to receive loss payment if the
Property  Coverage  Form LOSS   PAYMENT      Loss Condition,                 Loss Payee:
as shown in the Declarations or by an 'A," "B" "C," or "D"                   (1) Pays any premium due under this policy
in the Schedule:                                                                 at our request if you have failed to do so;
A. LOSS PAYABLE CLAUSE                                                             (2) Submits a signed, sworn proof of loss
      For Covered Property in which both you and a Loss                                within 60 days after receiving notice from
      Payee shown in the Schedule or in the Declarations                               us of your failure to do so; and
      have an insurable interest, we will:                                         (3) Has notified us of any change in
      1.    Adjust losses with you; and                                                ownership, occupancy or substantial
                                                                                       change in risk known to the Loss Payee.
      2.    Pay any claim for loss or damage jointly to you
            and the Loss Payee, as interests may appear.                           All of the terms of the Businessowners
                                                                                   Special Property Coverage Form will then
B. LENDER'S LOSS PAYABLE CLAUSE                                                    apply directly to the Loss Payee.
      1.    The Loss Payee shown in the Schedule or in the                    d.   If we pay the Loss Payee for any loss or
            Declarations is a creditor (including           a                      damage and deny payment to you because of
            mortgageholder or trustee) with whom you have                          your acts or because you have failed to
            entered a contract for the sale of Covered                             comply with the terms of this policy:
            Property, whose interest in that Covered Property
                                                                                   (1) The    Loss   Payee's     rights     will   be
            is established by such written contracts as:
                                                                                       transferred to us to the extent of the
            a.    Warehouse receipts;                                                  amount we pay; and
            b.    A contract for deed;                                             (2) The Loss Payee's right to recover the full
                                                                                       amount of the Loss Payee's claim will not
            c.    Bills of lading; or
                                                                                       be impaired.
            d.    Financing statements.
                                                                                       At our option, we may pay to the Loss
      2.    For Covered Property in which both you and a                               Payee the whole principal on the debt
            Loss Payee have an insurable interest:                                     plus any accrued interest. In this event,
                                                                                       you will pay your remaining debt to us.
            a.    We will pay for covered loss or damage to
                  each Loss Payee in their order of precedence,          3.   If we cancel this policy, we will give written notice
                  as interests may appear.                                    to the Loss Payee at least:
            b.    The Loss Payee has the right to receive loss                a.   10 days before the effective date of
                  payment even if the Loss Payee has started                       cancellation if we cancel for your nonpayment
                  foreclosure for similar action on the Covered                    of premium; or
                  Property.
                                                                              b. 30 days before the effective date of
            c.    If we deny your claim because of your acts or                  cancellation if we cancel for any other reason.
                  because you have failed to comply with the
                  terms of this policy, the Loss Payee will still

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         4.   If we do not renew this policy, we will give written        3.   The following is added to the OTHER
              notice to the Loss Payee at least 10 days before                 INSURANCE Businessowners Common Policy
              the expiration date of this policy.                              Condition:
     C   CONTRACT OF SALE CLAUSE                                                   For Covered Property that is the subject of a
                                                                                   contract of sale, the word "you" includes the
         1.   The Loss Payee shown in the Schedule or in the                       Loss Payee.
              Declarations is a person or organization you have
              entered a contract with for the sale of Covered        D.   BUILDING OWNER LOSS PAYABLE CLAUSE
              Property.
                                                                          1.   The Loss Payee shown in the Schedule or in the
         2.   For Covered Property in which both you and the                   Declarations is the owner of the described
              Loss Payee have an insurable interest, we will:                  building, in which you are a tenant.
              a.    Adjust losses with you; and                           2.   We will adjust losses to the described building
                                                                               with the Loss Payee. Any loss payment made to
              b.    Pay any claim for loss or damage jointly to                the Loss Payee will satisfy your claims against us
                    you and the Loss Payee, as interests may                   for the owner's property.
                    appear.
                                                                          3.   We will adjust losses to tenant's improvements
                                                                               and betterments with you, unless the lease
                                                                               provides otherwise.




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CNA                                                                                                                    (Ed. 01/06)


           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                            EXCLUSION             -
                                                                      ASBESTOS
This endorsement modifies insurance provided under the following:
      BUSINESSOWNERS POLICY
This insurance does not apply to:                                     Asbestos means the mineral in any form whether or not the
                                                                      asbestos was at any time:
(1)    Bodily injury, "property damage' or "personal and
      advertising injury" arising out of the actual, alleged or       (1) airborne as a fiber, particle or dust;
      threatened exposure at any time to asbestos; or
                                                                      (2) contained in, or formed a part of a product, structure or
(2) Any loss, cost or expense that may be awarded or                      other real or personal property;
    incurred:
                                                                      (3) carried on clothing;
      (a) by reason of a claim or "suit' for any such injury or
          damage; or                                                  (4) inhaled or ingested; or

      (b) in complying with a governmental direction or               (5) transmitted by any other means.
          request to test for, monitor, clean up, remove,
          contain or dispose of asbestos.




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      CNA                                                                                                                           (Ed. 01/06)


                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                              EMPLOYMENT                 -
                                                             RELATED PRACTICES EXCLUSION
      This endorsement modifies insurance provided under the following:
            BUSINESSOWNERS LIABILITY COVERAGE FORM
      The   following exclusion is added to Section B.                                                 humiliation or discrimination directed at
      EXCLUSIONS of the Businessowners Liability Coverage                                              that person; or
      Form:                                                                                 (2) The spouse, child, parent, brother or sister of
      This insurance does not apply to:                                                         that person as a consequence of "bodily
                                                                                                injury" or "personal and advertising injury" to
            r.   "Bodily injury" or "personal and advertising injury"                           that person at whom any of the employment      -




                 to:                                                                            related practices described in paragraphs (1),
                 (1) A person arising out of any;                                               (2) or (3) above is directed.

                     (a) Refusal to employ that person;                                     This exclusion applies:
                     (b) Termination of that person's employment;                           a.    Whether the insured may be liable as an
                         or                                                                       employer or in any other capacity; and

                     (c) Employment-related practices, policies,                            b.    To any obligation to share damages with or
                         acts or omissions, such as coercion,                                     repay someone else who must pay damages
                         demotion,   evaluation,  reassignment,                                   because of the injury.
                         discipline, defamation,    harassment,




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CNA                                                                                                                              (Ed. 04/14)



                         BUSINESSOWNERS LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
and is not covered.
Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The words "we,"
"us" and "our" refer to the company providing the insurance.
The word 'insured" means any person or organization qualifying as such under Section C.                     -
                                                                                                                Who Is An Insured.
Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION F                                 -
                                                                                                                                     LIABILITY
DEFINITIONS.
A.   Coverages                                                                                  (c) Prior to the policy period, no insured
                                                                                                    listed under Paragraph C.1. Who Is
     1.   Business Liability (Bodily Injury, Property                                               An Insured and no "employee"
          Damage, Personal and Advertising Injury)
                                                                                                    authorized by you to give or receive
          a.   We will pay those sums that the insured                                              notice of an "occurrence" or claim,
               becomes legally obligated to pay as damages                                          knew that the "bodily injury" or
               because of "bodily injury," "property damage"                                        'property damage" had occurred, in
               or "personal and advertising injury" to which                                        whole or in part. If such a listed
               this insurance applies. We will have the right                                       insured or authorized "employee"
               and duty to defend the insured against any                                           knew, prior to the policy period, that
               "suit" seeking those damages. However, we                                            the "bodily injury" or "property
               will have no duty to defend the insured                                              damage"      occurred,     then    any
               against any "suit" seeking damages for "bodily                                       continuation, change or resumption of
               injury," "property damage" or "personal and                                          such "bodily injury" or "property
               advertising injury," to which this insurance                                         damage" during or after the policy
               does not apply. We may at our discretion,                                            period will be deemed to have been
               investigate any "occurrence" or any offense                                          known before the policy period.
               and settle any claim or "suit" that may result.                            (2) To "personal and advertising injury"
               But:
                                                                                              caused by an offense arising out of your
               (1) The amount we will pay for damages is                                      business, but only if the offense was
                   limited as described in Section D               -
                                                                                              committed in the "coverage territory"
                   Liability And Medical Expenses Limits Of                                   during the policy period.
                   Insurance; and
                                                                                     c.   "Bodily injury" or "property damage" which
               (2) Our right and duty to defend ends when                                 occurs during the policy period and was not,
                   we have used up the applicable limit of                                prior to the policy period, known to have
                   insurance in the payment of judgments or                               occurred by any insured listed under Section
                   settlements or medical expenses to which                               Ci. Who Is An Insured or any "employee"
                   this insurance applies,                                                authorized by you to give or receive notice of
                                                                                          an "occurrence" or claim, includes any
               No other obligation or liability to pay sums or                            continuation, change or resumption of "bodily
               perform acts or services is covered unless                                 injury" or "property damage" after the end of
               explicitly provided for under Coverage                                     the policy period.
               Extension Supplementary Payments.
                         -




                                                                                     d. "Bodily injury" or "property damage" will be
          b. This insurance applies:                                                    deemed to have been known to have
               (1) To "bodily injury" and "property damage"                             occurred at the earliest time when any insured
                   only if:                                                             listed under Section C.1. Who Is An Insured
                                                                                        or any "employee" authorized by you to give
                   (a) The "bodily injury" or "property                                 or receive notice of an 'occurrence" or claim:
                       damage"     is     caused   by    an
                       "occurrence" that takes place in the                               (1) Reports all, or any part, of the "bodily
                       "coverage territory";                                                  injury" or "property damage" to us or any
                                                                                              other insurer;
                   (b) The "bodily injury" or "property
                       damage" occurs during the policy                                   (2) Receives a written or verbal demand or
                       period; and                                                            claim for damages because of the "bodily
                                                                                              injury" or "property damage"; or


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                 (3) Becomes aware by any other means that                                   (2) If we defend an insured against a "suit"
                     "bodily injury" or "property damage" has                                    and an indemnitee of the insured is also
                     occurred or has begun to occur.                                             named as a party to the "suit," we will
                                                                                                 defend that indemnitee if all of the
           e.    Damages because of "bodily injury" include                                      following conditions are met:
                 damages claimed by any person or
                 organization for care, loss of services or death                                  (a) The "suit" against the indemnitee
                 resulting at any time from the "bodily injury."                                       seeks damages for which the insured
                                                                                                       has assumed the liability of the
           f.    Coverage     Extension       -
                                                   Supplementary
                                                                                                       indemnitee  in    a   contract   or
                 Payments                                                                              agreement that is an "insured
                 (1) In addition to the Limit of Insurance of                                           contract";
                     Liability we will pay, with respect to any                                    (b) This insurance applies to such
                     claim we investigate or settle, or any                                            liability assumed by the insured;
                     "suit" against an insured we defend:
                                                                                                   (c) The obligation to defend, or the cost
                     (a) All expenses we incur,                                                        of the defense of, that indemnitee,
                     (b) Up to $1 000 for cost of bail bonds                                           has also been assumed by the
                         required because of accidents or                                              insured in the same "insured
                         traffic law violations arising out of the                                      contract";
                         use of any vehicle to which Business                                      (d) The allegations in the "suit" and the
                         Liability Coverage for "bodily injury"                                        information we know about the
                         applies. We do not have to furnish                                            "occurrence" are such that no conflict
                         these bonds.                                                                  appears to exist between the
                     (c) The cost of bonds to release                                                  interests of the insured and the
                         attachments, but only for bond                                                interests of the indemnitee:
                         amounts within     our Limit of                                           (e) The indemnitee and the insured ask
                         Insurance. We do not have to furnish                                          us to conduct and control the defense
                         these bonds.                                                                  of that indemnitee against such "suit"
                     (d) All reasonable expenses incurred by                                           and agree that we can assign the
                         the insured at our request to assist us                                       same counsel to defend the insured
                         in the investigation or defense of the                                        and the indemnitee; and
                         claim or "suit," including actual loss of                                 (f) The indemnitee:
                         earnings up to $250 a day because of
                         time off from work.                                                            (i) Agrees in writing to:
                     (e) All court costs taxed against the                                                   i.    Cooperate with us in the
                         insured in the "suit." However, these                                                     investigation, settlement or
                         payments do not include attorneys'                                                        defense of the "suit";
                         fees or attorney expenses taxed
                                                                                                             ii.   Immediately send us copies
                         against the insured,
                                                                                                                   of any demands, notices,
                     (f) Prejudgment       interest   awarded                                                      summonses or legal papers
                         against the insured on that part of the                                                   received in connection with
                         judgment we pay. If we make an offer                                                      the "suit";
                         to pay the Limit of Insurance, we will
                                                                                                             iii. Notify any other insurer
                         not pay any prejudgment interest
-

                         based on that period of time after the                                                   whose coverage is available
-
                         offer.                                                                                   to the indemnitee; and
-
                     (g) All interest on the full amount of any                                              iv. Cooperate       with    us     with
                                                                                                                   respect to coordinating other
                         judgment that accrues after entry of
                                                                                                                   applicable         insurance
                         the judgment and before we have
                         paid, offered to pay, or deposited in                                                     available to the indemnitee;
                                                                                                                   and
                         court the part of the judgment that is
                         within our Limit of Insurance.                                                 (ii) Provides     us      with        written
                                                                                                             authorization to:
                     These payments will not reduce the
                     Limits of Insurance.



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                             i.       Obtain records and other                                  applicable Limit of Insurance. We will pay
                                      information related to the                                reasonable expenses for:
                                      "suit"; and
                                                                                                (1) First aid administered at the time of an
                             ii.      Conduct and control the                                       accident;
                                      defense of the indemnitee in
                                                                                                (2) Necessary medical, surgical, x-ray and
                                      such "suit."
                                                                                                    dental services, including prosthetic
              (3) So long as the above conditions are met,                                          devices; and
                  attorneys' fees incurred by us in the
                                                                                                (3) Necessary       ambulance,        hospital,
                  defense of that indemnitee, necessary
                  litigation expenses incurred by us and
                                                                                                    professional nursing and funeral services.
                  necessary litigation expenses incurred by                     B. Exclusions
                  the indemnitee at our request will be paid
                  as         Supplementary       Payments.                           1.    Applicable To Business Liability Coverage
                  Notwithstanding     the   provisions    of                               This insurance does not apply to:
                  Paragraph B.1.b.(2) Exclusions in Section
                  B  -
                         EXCLUSIONS, such payments will                                    a.   Expected Or Intended Injury
                  not be deemed to be damages for "bodily                                       "Bodily injury" or "property damage" expected
                  injury" and "property damage" and will not                                    or intended from the standpoint of the insured.
                  reduce the limits of insurance.                                               This exclusion does not apply to "bodily
                  Our obligation to defend an insured's                                         injury" resulting from the use of reasonable
                  indemnitee and to pay for attorneys' fees                                     force to protect persons or property.
                  and necessary litigation expenses as                                     b.   Contractual Liability
                  Supplementary Payments ends when:
                                                                                                "Bodily injury" or "property damage" for which
                  (a) We have used up the applicable limit                                      the insured is obligated to pay damages by
                      of insurance in the payment of                                            reason of the assumption of liability in a
                      judgments or settlements; or                                              contract or agreement. This exclusion does
                  (b) The conditions set forth above, or the                                    not apply to liability for damages:
                      terms of the agreement described in                                       (1) That the insured would have in the
                      f. above are no longer met.                                                   absence of the contract or agreement; or
   2.   Medical Expenses                                                                        (2) Assumed in a contract or agreement that
        a.    We will pay medical expenses as described                                             is an "insured contract," provided the
              below for "bodily injury" caused by an                                                "bodily injury" or "property damage"
              accident:                                                                             occurs subsequent to the execution of the
                                                                                                    contract or agreement. Solely for the
              (1) On premises you own or rent;                                                      purposes of liability assumed in an
              (2) On ways next to premises you own or                                               "insured contract," reasonable attorney
                  rent; or                                                                          fees and necessary litigation expenses
                                                                                                    incurred by or for a party other than an
              (3) Because of your operations;                                                       insured are deemed to be damages
              provided that:                                                                        because of "bodily injury" or "property
                                                                                                     damage," provided:
                  (a) The accident takes place in the
                                                                                                     (a) Liability to such party for, or for the
                      "coverage territory" and during the
                                                                                                         cost of, that party's defense has also
                      policy period;
                                                                                                         been assumed in the same "insured
                  (b) The expenses are incurred and                                                      contract"; and
                      reported to us within one year of the
                                                                                                     (b) Such attorney fees and litigation
                      date of the accident; and
                                                                                                         expenses are for defense of that
                  (c) The injured person submits to                                                      party against a civil or alternative
                      examination, at our expense, by                                                    dispute resolution proceeding in
                      physicians of our choice as often as                                               which damages to which this
                      we reasonably require.                                                             insurance applies are alleged.
        b.    We will make these payments regardless of                                    c.   Liquor Liability
              fault. These payments will not exceed the
                                                                                                "Bodily injury" or "property damage" for which
                                                                                                any insured may be held liable by reason of:

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             (1) Causing or contributing to the intoxication                                    migration,    release      or    escape     of
                 of any person;                                                                 "pollutants":
             (2) The furnishing of alcoholic beverages to a                                     (a) At or from any premises, site or
                 person under the legal drinking age or                                             location which is or was at any time
                 under the influence of alcohol; or                                                 owned or occupied by, or rented or
                                                                                                    loaned to, any insured. However, this
             (3) Any statute, ordinance or regulation                                               subparagraph does not apply to:
                 relating to the sale, gift, distribution or use
                 of alcoholic beverages.                                                             (i) "Bodily injury" if sustained within
                                                                                                         a building and caused by smoke,
             This exclusion applies even if the claims                                                   fumes, vapor or soot from
             allege negligence or other wrongdoing in:
                                                                                                         equipment used to heat, cool or
             (a) The supervision, hiring, employment,                                                    dehumidify the building or
                 training or monitoring of others by an                                                  equipment that is used to heat
                 insured; or                                                                             water for personal use by the
                                                                                                         buildings occupants or their
             (b) Providing     or failing     to    provide                                               guests;
                 transportation with respect to any person
                 that may be under the influence of alcohol                                          (ii) "Bodily injury" or "property
                                                                                                          damage" for which you may be
             This exclusion applies only if you are in the                                                held liable, if you are a contractor
             business of manufacturing, distributing,                                                     and the owner or lessee of such
             selling, serving or furnishing alcoholic                                                     premises, site or location has
             beverages,                                                                                   been added to your policy as an
                                                                                                          additional insured with respect to
       d.    Workers' Compensation And Similar Laws
                                                                                                          your       ongoing       operations
             Any obligation of the insured under a workers'                                               performed for that additional
             compensation,       disability  benefits    or                                               insured at that premises, site or
             unemployment compensation law or any                                                         location and such premises, site
             similar law.                                                                                 or location is not and never was
                                                                                                          owned or occupied by, or rented
       e.    Employer's Liability                                                                         or loaned to, any insured, other
             "Bodily Injury" to:                                                                          than that additional insured; or
             (1) An "employee" of the insured arising out                                            (iii) "Bodily injury" or "property
                 of and in the course of:                                                                  damage" arising out of heat,
                                                                                                           smoke or fumes from a "hostile
                 (a) Employment by the insured; or                                                        fire";
                 (b) Performing duties related to the                                           (b) At or from any premises, site or
                     conduct of the insured's business; or                                          location which is or was at any time
             (2) The spouse, child, parent, brother or                                              used by or for any insured or others
                 sister of that "employee" as a                                                     for the handling, storage, disposal,
                 consequence of(1) above,                                                           processing or treatment of waste;

             This exclusion applies:                                                            (c) Which are or were at any time
                                                                                                    transported, handled, stored, treated,
             (1) Whether the insured may be liable as an                                            disposed of, or processed as waste
                 employer or in any other capacity; and                                             by or for:
             (2) To any obligation to share damages with                                             (I) Any insured; or
                 or repay someone else who must pay
                 damages because of the injury.                                                      (ii) Any person or organization for
                                                                                                          whom you may be legally
             This exclusion does not apply to liability                                                   responsible; or
             assumed by the insured under an "insured
             contract."                                                                         (d) At or from any premises, site or
                                                                                                    location on which any insured or any
       f.    Pollution                                                                              contractors or subcontractors working
                                                                                                    directly or indirectly on any insured's
             (1) "Bodily injury" or "property damage"
                 arising out of the actual, alleged or                                              behalf are performing operations if
                                                                                                    the "pollutants" are brought on or to
                 threatened discharge, dispersal, seepage,
                                                                                                    the premises, site or location in

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                     connection with such operations by                                        a.   Request, demand, order or statutory
                     such     insured,  contractor     or                                           or regulatory requirement that any
                     subcontractor.    However,      this                                           insured or others test for, monitor,
                     subparagraph does not apply to:                                                clean up, remove, contain, treat,
                                                                                                    detoxify or neutralize, or in any way
                     (i) "Bodily injury" or "property                                               respond to, or assess the effects of,
                         damage" arising out of the                                                 "pollutants"; or
                         escape of fuels, lubricants or
                         other operating fluids which are                                      b.   Claim or "suit" by or on behalf of a
                         needed to perform the normal                                               governmental authority for damages
                         electrical,       hydraulic      or                                        because of testing for, monitoring,
                         mechanical functions necessary                                             cleaning up, removing, containing,
                         for the operation of "mobile                                               treating, detoxifying or neutralizing, or
                         equipment" or its parts, if such                                           in any way responding to, or
                         fuels,     lubricants    or   other                                        assessing the effects of, "pollutants."
                         operating fluids escape from a
                         vehicle part designed to hold,                                        However, this paragraph does not apply
                         store or receive them. This                                           to liability for damages because of
                         exception does not apply if the                                       "property damage" that the insured would
                         "bodily injury" or "property                                          have in the absence of such request,
                         damage" arises out of the                                             demand, order or statutory or regulatory
                         intentional discharge, dispersal                                      requirement or such claim or "suit" by or
                         or release of the fuels, lubricants                                   on behalf of a governmental authority.
                         or other operating fluids, or if                           g.   Aircraft, Auto OrWatercraft
                         such fuels, lubricants or other
                         operating fluids are brought on or                              "Bodily injury" or "property damage" arising
                         to the premises, site or location                               out of the ownership, maintenance, use or
                         with the intent that they be                                    entrustment to others of any aircraft, "auto" or
                         discharged,        dispersed     or                             watercraft owned or operated by or rented or
                         released as part of the                                         loaned to any insured. Use includes operation
                         operations being performed by                                   and "loading or unloading."
                         such insured, contractor or                                     This exclusion applies even if the claims
                         subcontractor;                                                  allege negligence or other wrongdoing in the
                     (ii) "Bodily  injury" or "property                                  supervision, hiring, employment, training or
                          damage"    sustained within a                                  monitoring of others by an insured, if the
                         building and caused by the                                      "occurrence" which caused the "bodily injury"
                         release of gases, fumes or                                      or "property damage" involved the ownership,
                         vapors from materials brought                                   maintenance, use or entrustment to others of
                         into that building in connection                                any aircraft, "auto" or watercraft that is owned
                         with operations being performed                                 or operated by or rented or loaned to any
                         by you or on your behalf by a                                   insured.
                         contractor or subcontractor; or                                 This exclusion does not apply to:
                     (iii) "Bodily
                                 injury" or "property                                    (1) An aircraft that is:
                         damage" arising out of heat,
                         smoke or fumes from a "hostile                                        (a) Hired, chartered, or loaned with a
                         fire."                                                                    paid crew; but
              (e) At or from any premises, site or                                             (b) Not owned by any insured;
                  location on which any insured or any                                   (2) A watercraft while ashore on premises
                  contractors or subcontractors working                                      you own or rent;
                  directly or indirectly on any insured's
                  behalf are performing operations if                                    (3) A watercraft you do not own that is:
                  the operations are to test for, monitor,
                                                                                               (a) Less than 51 feet long; and
                  clean up, remove, contain, treat,
                  detoxify or neutralize, or in any way                                       (b) Not being used to carry persons or
                  respond to, or assess the effects of,                                           property for a charge;
                  "pollutants."
                                                                                         (4) Parking an "auto" on, or on the ways next
          (2) Any loss, cost or expense arising out of                                       to, premises you own or rent, provided
              any:

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                   the "auto" is not owned by or rented or                                (6) Any service, treatment, advice or
                   loaned to you or the insured;                                              instruction for the purpose of appearance
                                                                                              or skin enhancement, hair removal or
             (5) Liability assumed under any 'insured                                         replacement or personal grooming;
                 contract" for the ownership, maintenance
                 or use of aircraft or watercraft; or                                     (7) Optometry or optical or hearing aid
                                                                                              services including the prescribing,
             (6) "Bodily injury" or "property damage"                                         preparation, fitting, demonstration or
                 arising out of the operation of any of the
                                                                                              distribution of ophthalmic lenses and
                 following equipment:
                                                                                              similar products or hearing aid devices;
                   (a) Cherry pickers and similar devices                                 (8) Body piercing services;
                       mounted on automobile or truck
                       chassis and used to raise or lower                                 (9) Services in the practice of pharmacy;
                       workers; and
                                                                                          (1 0) Veterinary medicine services;
                   (b) Air    compressors,      pumps    and
                       generators,     including    spraying,
                                                                                          (11) Mortician services; and
                       welding,       building      cleaning,                             (12) Services rendered in connection with the
                       geophysical exploration, lighting and                                   creation       and/or        development,
                       well servicing equipment.                                               modification, or repair of "software,"
       h.    Mobile Equipment                                                                  including, but not limited to design,
                                                                                               specifications, system or "software"
             "Bodily injury" or "property damage" arising                                      configuration and consultation.
             out of:
                                                                                          This exclusion applies even if the claims
             (1) The transportation of "mobile equipment"                                 allege negligence or other wrongdoing in the
                 by an "auto" owned or operated by or                                     supervision, hiring, employment, training or
                 rented or loaned to any insured; or                                      monitoring of others by an insured, if the
                                                                                          "occurrence" which caused the "bodily injury"
             (2) The use of "mobile equipment" in, or
                                                                                          or "property damage," or the offense which
                 while in practice for, or while being                                    caused the "personal and advertising injury,"
                 prepared for, any prearranged racing,
                                                                                          involved the rendering or failure to render any
                 speed, demolition or stunting activity.
                                                                                          professional service.
             War                                                                     k.   Damage To Property
             "Bodily injury" or "property damage" due to
                                                                                          "Property damage" to:
             war, whether or not declared, or any act or
             condition incident to war. War includes civil                                (1) Property you own, rent or occupy,
             war, insurrection, rebellion or revolution. This                                 including any costs or expenses incurred
             exclusion applies only to liability assumed                                      by you, or any other person, organization
             under a contract or agreement.                                                   or entity, for repair, replacement,
                                                                                              enhancement, restoration or maintenance
       j.    Professional Services
                                                                                              of such property for any reason, including
             "Bodily injury," "property damage," "personal                                    prevention of injury to a person or
             and advertising injury" caused by the                                            damage to another's property;
             rendering or failure to render any professional                              (2) Premises you sell, give away or abandon,
             service. This includes but is not limited to:
                                                                                               if the "property damage" arises out of any
             (1) Legal, accounting or advertising services;                                    part of those premises;
             (2) Preparing, approving, or failing to prepare                              (3) Property loaned to you;
                 or approve maps, drawings, opinions,
                                                                                          (4) Personal property in the care, custody or
                 reports, surveys, change orders, designs
                                                                                              control of the insured;
                 or specifications;
                                                                                          (5) That particular part of real property on
             (3) Supervisory, inspection or engineering
                                                                                              which you or any contractor or
                 services;                                                                                      working              or
                                                                                              subcontractor                 directly
             (4) Medical, surgical, dental, x-ray or nursing                                  indirectly on your behalf is performing
                 services treatment, advice or instruction;                                   operations, if the "property damage"
                                                                                              arises out of those operations; or
             (5) Any     health    or    therapeutic       service
                 treatment, advice or instruction;

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             (6) That particular part of any property that                          o.   Recall Of Products, Work Or Impaired
                 must be restored, repaired or replaced                                  Property
                 because "your work" was incorrectly
                 performed on it.                                                        Damages claimed for any loss, cost or
                                                                                         expense incurred by you or others for the loss
             Paragraphs (1), (3) and (4) of this exclusion                               of use, withdrawal, recall, inspection, repair,
             do not apply to "property damage" (other than                               replacement, adjustment, removal or disposal
             damage by fire or explosion) to premises,                                   of:
             including the contents of such premises,
             rented to you for a period of 7 or fewer                                    (1) "Your product";
             consecutive days. A separate limit of                                       (2) "Your work"; or
             insurance applies to Damage To Premises
             Rented To You as described in Paragraph D.                                  (3) "Impaired property";
             Liability And Medical Expenses Limit Of                                     if such product, work or property is withdrawn
             Insurance.                                                                  or recalled from the market or from use by any
             Paragraph (2) of this exclusion does not apply                              person or organization because of a known or
             if the premises are "your work" and were                                    suspected defect, deficiency, inadequacy or
             never occupied, rented or held for rental by                                dangerous condition in it.
             you.                                                                   p.   Personal And Advertising Injury
             Paragraphs (3), (4), (5) and (6) of this                                    "Personal and advertising injury":
             exclusion do not apply to liability assumed
             under a sidetrack agreement.                                                (1) Caused by or at the direction of the
                                                                                             insured with the knowledge that the act
             Paragraph (6) of this exclusion does not apply                                  would violate the rights of another and
             to "property damage" included in the                                            would inflict "personal and advertising
             "products completed operations hazard."
                       -


                                                                                             injury";
       I.    Damage To Your Product                                                      (2) Arising out of oral or written publication of
             "Property damage" to "your product" arising                                     material, if done by or at the direction of
             out of it or any part of it.                                                    the insured with knowledge of its falsity;
       m. Damage To Your Work                                                            (3) Arising out of oral or written publication of
                                                                                             material whose first publication took place
             "Property damage" to "your work" arising out                                    before the beginning of the policy period;
             of it or any part of it and included in the
             "products completed operations hazard."
                       -
                                                                                         (4) Arising out of a criminal act committed by
                                                                                             or at the direction of any insured;
             This exclusion does not apply if the damaged
             work or the work out of which the damage                                    (5) For which the insured has assumed
             arises was performed on your behalf by a                                        liability in a contract or agreement. This
             subcontractor.                                                                  exclusion does not apply to liability for
                                                                                             damages that the insured would have in
       n.    Damage To Impaired Property Or Property                                         the absence of the contract or agreement;
             Not Physically Injured
                                                                                         (6) Arising out of a breach of contract, except
             "Property damage" to "impaired property" or                                     an implied contract to use another's
             property that has not been physically injured,                                  advertising idea in your "advertisement";
             arising out of:
                                                                                         (7) Arising out of the failure of goods,
             (1) A defect, deficiency, inadequacy or                                         products or services to conform with any
                 dangerous condition in "your product" or                                     statement of quality or performance made
                 "your work"; or                                                              in your "advertisement";
             (2) A delay or failure by you or anyone acting                              (8) Arising out of the wrong description of the
                 on your behalf to perform a contract or                                     price of goods, products or services
                 agreement in accordance with its terms.                                     stated in your "advertisement";
             This exclusion does not apply to the loss of                                (9) Committed by an insured whose business
             use of other property arising out of sudden                                     is:
             and accidental physical injury to "your
             product" or "your work" after it has been put to                                 (a) Advertising, broadcasting, publishing
             its intended use.                                                                    or telecasting;


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               (b) Designing or determining content of                                  Damage To Premises Rented To You Limit of
                   web -sites for others; or                                            Insurance applies to this coverage as
                                                                                        described in Paragraph D. Liability And
               (c) An Internet search, access, content
                                                                                        Medical Expenses Limits of Insurance.
                   or service provider.
                                                                                   q.   Electronic Data
               However, this exclusion does not apply to
               Paragraphs 14.a., b. and c. of "personal                                 Damages arising out of the loss of, loss of use
               and advertising injury" under Paragraph                                  of, damage to, corruption of, inability to
               F. Liability     And      Medical      Expenses                          access, or inability to manipulate electronic
               Definitions.                                                             data.
               For the purposes of this exclusion, the                                  As used in this exclusion, electronic data
               placing of frames, borders or links, or                                  means information, facts or programs stored
               advertising, for you or others anywhere                                  as or on, created or used on, or transmitted to
               on the Internet, by itself, is not considered                            or from computer software, including systems
               the business of advertising, broadcasting,                               and applications software, hard or floppy
               publishing or telecasting.                                               disks, CD -ROMs, tapes, drives, cells, data
                                                                                        processing devices or any other media which
          (1O)Arising out of the actual, alleged or
                                                                                        are used with electronically controlled
              threatened discharge, dispersal, seepage,                                 equipment.
              migration,    release or escape of
              "pollutants" at any time.                                      2.    Applicable To Medical Expenses Coverage
          (11)With respect to any loss, cost or expense                            We will not pay expenses for "bodily injury":
              arising out of any:
                                                                                   a.   To any insured, except "volunteer workers."
               (a) Request, demand or order that any
                   insured or others test for, monitor,                            b. To a person hired to do work for or on behalf
                   clean-up, remove, contain, treat,                                  of any insured or a tenant of any insured.
                   detoxify or neutralize or in any way                            c. To a person injured on that part of premises
                   respond to, or assess the effects of,                              you own or rent that the person normally
                   "pollutants"; or                                                     occupies.
               (b) Claim or "suit" by or on behalf of a                            d. To a person, whether or not an "employee" of
                   governmental authority for damages                                 any insured, if benefits for the "bodily injury"
                   because of testing for, monitoring,                                are payable or must be provided under a
                   cleaning up, removing, containing,                                 workers' compensation or disability benefits
                   treating, detoxifying or neutralizing or                           law or a similar law.
                   in any way responding to, or
                   assessing the effects of, "pollutants."                         e.   To a person injured while taking part in
                                                                                        athletics.
          (12)Arising out of an electronic chatroom or
              bulletin board the insured hosts, owns or                            f.   Included within the "products      -
                                                                                                                               completed
              over which the insured exercises control.                                 operations hazard."

          (13) Arising out of the infringement of                                  g.   Excluded under Business Liability Coverage.
               copyright, patent, trademark, trade secret                          h.   Due to war, whether or not declared, or any
               or other intellectual property rights.                                   act or condition incident to war. War includes
          However, this exclusion does not apply to                                     civil war, insurrection, rebellion or revolution.
          infringement, in your "advertisement," of                          3.    Applicable To Both Business Liability Coverage
          copyright, trade dress or slogan.                                        And Medical Expenses Coverage          Nuclear
                                                                                                                               -




          (14)Arising out of the unauthorized use of                               Energy Liability Exclusion
              another's name or product in your e-mail                             This insurance does not apply:
              address, domain name or metatags, or
              any other similar tactics to mislead                                 a.   Under Business Liability Coverage, to "bodily
              another's potential customers.                                            injury" or "property damage":
          Exclusions c., d., e., f., g., h., i., k., I., m., n.                         (1) With respect to which an insured under
          and o. in Section II Liability do not apply to
                                 -                                                          the policy is also an insured under a
          damage by fire or explosion to premises while                                     nuclear energy liability policy issued by
          rented to you, or temporarily occupied by you                                     the Nuclear Energy Liability Insurance
          with permission of the owner. A separate                                          Association, Mutual Atomic Energy

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                 Liability Underwriters  or   Nuclear                                    (1) "By-product material" has the meaning
                 Insurance Association of Canada, or                                         given it in the Atomic Energy Act of 1954
                 would be an insured under any such                                          or in any law amendatory thereof;
                 policy but for its termination upon
                                                                                         (2) "Hazardous         properties"      include
                 exhaustion of its limit of liability; or
                                                                                             radioactive, toxic or explosive properties;
             (2) Resulting from the "hazardous properties"
                                                                                         (3) "Nuclear facility" means:
                 of "nuclear material" and with respect to
                 which:                                                                        (a) Any "nuclear reactor";
                 (a) Any person or organization is                                             (b) Any equipment or device designed or
                     required   to   maintain  financial                                           used for:
                     protection pursuant to the Atomic
                     Energy Act of 1954, or any law                                                 (I) Separating the isotopes         of
                     amendatory thereof; or                                                             uranium or plutonium;

                 (b) The insured is, or had this policy not                                         (ii) Processing or utilizing "spent
                     been issued would be, entitled to                                                   fuel"; or
                     indemnity from the United States of                                            (iii) Handling,    processing       or
                     America, or any agency thereof,                                                      packaging "waste";
                     under any agreement entered into by
                     the United States of America, or any                                      (c) Any equipment or device used for the
                     agency thereof, with any person or                                            processing, fabricating or alloying of
                     organization.                                                                   special nuclear material" if at any
                                                                                                   time the total amount of such material
       b.    Under Medical Expenses Coverage, to                                                   in the custody of the insured at the
             expenses incurred with respect to "bodily                                             premises where such equipment or
             injury" resulting from the "hazardous                                                 device is located consists of or
             properties" of "nuclear material" and arising                                         contains more than 25 grams of
             out of the operation of a "nuclear facility" by                                       plutonium or uranium 233 or any
             any person or organization.                                                           combination thereof, or more than
       c.    Under Business Liability Coverage, to "bodily                                         250 grams of uranium 235;
             injury" or "property damage" resulting from the                                   (d) Any structure, basin, excavation,
             "hazardous properties" of the nuclear                                                 premises or place prepared or used
             material"; if:                                                                        for the storage or disposal of "waste";
             (1) The "nuclear material":                                                      and includes the site on which any of the
                 (a) Is at any "nuclear facility" owned by,                                   foregoing is located, all operations
                     or operated by or on behalf of, an                                       conducted on such site and all premises
                     insured; or                                                              used for such operations;
                 (b) Has been discharged or dispersed                                    (4) "Nuclear material" means "source
                     therefrom;                                                              material," "special nuclear material" or
                                                                                             "byproduct material";
             (2) The "nuclear material" is contained in
                 "spent fuel" or "waste" at any time                                     (5) "Nuclear reactor" means an apparatus
                 possessed, handled, used, processed,                                        designed or used to sustain nuclear
                 stored, transported or disposed of by or                                    fission in a self-supporting chain reaction
                 on behalf of an insured; or                                                 or to contain a critical mass of fissionable
                                                                                             material;
             (3) The "bodily injury" or "property damage"
                 arises out of the furnishing by an insured                              (6) "Property damage" includes all forms of
                 of services, materials, parts or equipment                                  radioactive contamination of property.
                 in connection with the planning,                                        (7) "Source material" has the meaning given
                 construction, maintenance, operation or                                     it in the Atomic Energy Act of 1954 or in
                 use of any "nuclear facility"; but if such                                  any law amendatory thereof;
                 facility is located within the United States
                 of America, its territories or possessions                              (8) "Special    nuclear material" has the
                 or Canada, this Exclusion (3) applies only                                   meaning given it in the Atomic Energy Act
                 to "property damage" to such "nuclear                                        of 1954 or in any law amendatory thereof;
                 facility" and any property thereat.                                     (9) "Spent fuel" means any fuel element or
       d. As used in this exclusion:                                                         fuel component, solid or liquid, which has

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                  been used or exposed to radiation in a                                  "employees"        or      "volunteer workers"   are
                   nuclear reactor';                                                      insureds for:
              (10) Waste" means any waste material:                                       (1) "Bodily      injury"   or       "personal    and
                                                                                                advertising injury":
                  (a) Containing    'by-product     material
                      other than the tailings or wastes                                         (a) To you, to your partners or members
                      produced by the extraction or                                                 (if you are a partnership or joint
                      concentration of uranium or thorium                                           venture), to your members (if you are
                      from any one processed primarily for                                          a limited liability company), or to a
                      its source material" content; and                                             co -employee" while in the course of
                                                                                                    his or her employment or performing
                  (b) Resulting from the operation by any                                           duties related to the conduct of your
                      person or organization of any                                                 business, or to your other "volunteer
                      "nuclear facility      included under                                         workers" while performing duties
                      Paragraph (a) and (b) of the definition
                                                                                                    related to the conduct of your
                      of "nuclear facility."                                                        business;
C. Who Is An Insured                                                                            (b) To the spouse, child, parent, brother
   1.   If you are designated in the Declarations as:                                               or sister of that co -"employee" as a
                                                                                                    consequence of Paragraph (a)
        a.    An individual, you and your spouse are                                                above;
              insureds, but only with respect to the conduct
              of a business of which you are the sole                                           (c) For which there is any obligation to
              owner.                                                                                share damages with or repay
                                                                                                    someone else who must pay
        b.    A partnership or joint venture, you are an                                            damages because of the injury
              insured. Your members, your partners and                                              described in Paragraphs (a) or (b); or
              their spouses are also insureds, but only with
              respect to the conduct of your business.                                          (d) Arising out of his or her providing or
                                                                                                    failing to provide professional health
        c.    A limited liability company, you are an                                               care services.
              insured. Your members are also insureds, but
              only with respect to the conduct of your                                    (2) "Property damage" to property:
              business. Your managers are insureds, but                                        (a) Owned, occupied or used by,
              only with respect to their duties as your
              managers.                                                                        (b) Rented to, in the care, custody or
                                                                                                   control of, or over which physical
        d.    An organization other than a partnership, joint
                                                                                                   control is being exercised for any
              venture or limited liability company, you are                                        purpose by
              an insured. Your "executive officers" and
              directors are insureds, but only with respect to                                 you, any of your "employees," "volunteer
              their duties as your officers or directors. Your                                 workers," any partner or member (if you
              stockholders are also insureds, but only with                                    are a partnership or joint venture), or any
              respect to their liability as stockholders.                                      member (if you are a limited liability
                                                                                               company).
        e.    A trust, you are an Insured. Your trustees are
              also insureds, but only with respect to their                          b.   Any person (other than your "employee" or
              duties as trustees.                                                         "volunteer worker"), or any organization while
                                                                                          acting as your real estate manager.
   2.   Each of the following is also an insured:
                                                                                     c.   Any person or organization having proper
        a.    Your "volunteer workers" only while                                         temporary custody of your property if you die,
              performing duties related to the conduct of
                                                                                          but only:
              your business, or your "employees," other
              than either your "executive officers" (if you are                           (1) With respect to liability arising out of the
              an organization other than a partnership, joint                                 maintenance or use of that property; and
              venture or limited liability company) or your
                                                                                          (2) Until your legal representative has been
              managers (if you are a limited liability
              company), but only for acts within the scope
                                                                                              appointed.
              of their employment by you or while                                    d.   Your legal representative if you die, but only
              performing duties related to the conduct of                                 with respect to duties as such. That
              your business. However, none of these                                       representative will have all your rights and
                                                                                          duties under this policy.

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   3.   With respect to 'mobile equipment" registered in                              a.   Injury or damages under the "products
        your name under any motor vehicle registration                                     completed operations hazard" arising from all
        law, any person is an insured while driving such                                   "occurrences" during the policy period is the
        equipment along a public highway with your                                         Products -Completed Operations Aggregate
        permission. Any other person or organization                                       Limit shown in the Declarations.
        responsible for the conduct of such person is also
        an insured, but only with respect to liability arising                        b. All other injury or damages, including medical
        out of the operation of the equipment, and only if                               expenses, arising from all "occurrences"
                                                                                         during the policy period is the General
        no other insurance of any kind is available to that
                                                                                         Aggregate Limit shown in the Declarations.
        person or organization for this liability. However,
        no person or organization is an insured with                                       This General Aggregate Limit applies
        respect to:                                                                        separately to each of your "locations" owned
        a.    "Bodily injury" to a co-"employee" of the                                    by or rented to you.
              person driving the equipment; or                                             "Location" means premises involving the
        b.    "Property damage" to property owned by,                                      same or connecting lots, or premises whose
                                                                                           connection is interrupted only by a street,
              rented to, in the charge of or occupied by you
              or the employer of any person who is an                                      roadway or right-of-way of a railroad.
              insured under this provision.                                                This aggregate Limit does not apply to
   4.   Any organization you newly acquire or form, other
                                                                                           "property damage" to premises rented to you
                                                                                           arising out of fire, lightning or explosion.
        than a partnership or joint venture, and over which
        you maintain ownership of majority interest, will                       3.    Subject to item 2. above, the most we will pay for
        qualify as a Named Insured if there is no other                               the sum of all damages because of all "bodily
        similar insurance available to that organization.                             injury," "property damage" and medical expenses
        However:                                                                      arising out of any one "occurrence" is the Liability
        a.    Coverage under this provision is afforded only                          and Medical Expense Limit shown in the
              until the 90th day after you acquire or form the                        Declarations.
              organization or the end of the policy period,                           The most we will pay for all medical expenses
              whichever is earlier;                                                   because of "bodily injury" sustained by any one
        b.    Bodily Injury and Property Damage coverage                              person is the Medical Expenses Limit shown in
              does not apply to "bodily injury" or "property                          the Declarations.
              damage" that occurred before you acquired or                      4.    Subject to item 2. above, the most we will pay for
              formed the organization; and                                            the sum of all damages because of all "personal
        c.    Personal and Advertising Injury coverage                                and advertising injury" sustained by any one
              does not apply to "personal injury" or                                  person or organization is the Personal and
              "advertising injury" arising out of an offense                          Advertising Injury Limit shown in the Declarations.
              committed before you acquired or formed the                       5.    The most we will pay under Business Liability
              organization.                                                           Coverage for damages because of "property
        No person or organization is an insured with                                  damage" to premises rented to you, or in the case
        respect to the conduct of any current or past                                 of fire, while rented to you or temporarily occupied
        partnership, joint venture or limited liability                               by you with permission of the owner, is the
        company that is not shown as a Named Insured in                               Damage To Premises Rented To You Limit shown
        the Declarations.                                                             in the Declarations.

D. Liability And          Medical     Expenses        Limits      Of                  The Damage to Premises Rented To You Limit
   Insurance                                                                          applies to all damage proximately caused by the
                                                                                      same event, whether such damage results from
   1.   The Limits of Insurance shown in the Declarations                            fire, lightning, or explosion or any combination of
        and the rules below fix the most we will pay                                 the three.
        regardless of the number of:
                                                                                      If more than one limit of insurance under this
        a.    Insureds;                                                               policy and any endorsements attached thereto
                                                                                      applies to any claim or "suit," the most we will pay
        b.    Claims made or "suits" brought; or                                      under this policy and the endorsements is the
        c.    Persons or organizations making claims or                               single highest limit of liability of all coverages
              bringing "suits."                                                       applicable to such claim or "suit." However, this
                                                                                      paragraph does not apply to the Medical
   2.   The most we will pay for:                                                     Expenses limit set forth in paragraph 3. above.

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               The Limits of this policy apply separately to each                                      damage to which this insurance may also
               consecutive annual period and to any remaining                                          apply.
               period of less than 12 months, starting with the
               beginning of the policy period shown in the                                  d.   No insured will, except at that insured's own
                                                                                                 cost, voluntarily make a payment, assume
               Declarations, unless the policy period is extended
               after issuance for an additional period of less than                              any obligation, or incur any expense, other
               12 months. In that case, the additional period will                               than for first aid, without our consent.
               be deemed part of the last preceding period for                        3.    Financial Responsibility Laws
               purposes of determining the Limits of Insurance.
                                                                                            a.   When this policy is certified as proof of
     E.   Businessowners Liability Conditions                                                    financial responsibility for the future under the
          1.   Bankruptcy                                                                        provisions of any motor vehicle financial
                                                                                                 responsibility law, the insurance provided by
               Bankruptcy or insolvency of the insured or of the                                 the policy for "bodily injury" liability and
               insured's estate will not relieve us of our                                       "property damage" liability will comply with the
               obligations under this policy.                                                    provisions of the law to the extent of the
                                                                                                 coverage and limits of insurance required by
          2.   Duties In The Event Of Occurrence, Offense,                                       that law.
               Claim Or Suit
                                                                                            b.   With respect to "mobile equipment" to which
               a.    You must see to it that we are notified as soon
                                                                                                 this insurance applies, we will provide any
                     as practicable of an "occurrence" or an                                     liability, uninsured motorists, underinsured
                     offense which may result in a claim. To the                                 motorists, no-fault or other coverage required
                     extent possible, notice should include:                                     by any motor vehicle law. We will provide the
                     (1) How, when and where the "occurrence"                                    required limits for those coverages.
                         or offense took place;                                       4.    Legal Action Against Us
                     (2) The names and addresses of any injured
                                                                                            No person or organization has a right under this
                         persons and witnesses; and                                         policy:
                     (3) The nature and location of any injury or
                                                                                            a.   To join us as a party or otherwise bring us into
                         damage arising out of the "occurrence" or
                                                                                                 a "suit" asking for damages from an insured;
                         offense.                                                                or
               b.    If a claim is made or "suit" is brought against                        b.   To sue us on this policy unless all of its terms
                     any insured, you must:
                                                                                                 have been fully complied with.
                     (1) Immediately record the specifics of the
                                                                                                 A person or organization may sue us to
                         claim or "suit" and the date received; and
                                                                                                 recover on an agreed settlement or on a final
LO
                     (2) Notify us as soon as practicable.                                       judgment against an insured; but we will not
                                                                                                 be liable for damages that are not payable
                     You must see to it that we receive written                                  under the terms of this policy or that are in
c0
                     notice of the claim or "suit" as soon as                                    excess of the applicable limit of insurance. An
0
                     practicable.                                                                agreed settlement means a settlement and
               c.    You and any other involved insured must:                                    release of liability signed by us, the insured
                                                                                                 and the claimant or the claimant's legal
                     (1) Immediately send us copies of any                                       representative.
                         demands, notices, summonses or legal
                         papers received in connection with the                       5.    Separation Of Insureds
                         claim or "suit";                                                  Except with respect to the Limits of Insurance in
                     (2) Authorize us to obtain records and other                          this policy, and any rights or duties specifically
                         information;                                                      assigned in this policy to the first Named Insured,
                                                                                           this insurance applies:
                     (3) Cooperate with us in the investigation, or
                         settlement of the claim or defense against                         a.   As if each Named Insured were the only
                         the "suit"; and                                                         Named Insured; and

                     (4) Assist us, upon our request, in the                                b.   Separately to each insured against whom
                         enforcement of any right against any                                    claim is made or "suit" is brought.
                         person or organization that may be liable
                         to the insured because of injury or


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     6.   Unintentional Failure to Disclose Hazards                                           merits in the territory described in Paragraph
                                                                                              a. above or in a settlement we agree to.
          It is agreed that based on our reliance on your
          representations as to existing hazards, if                               5.    "Employee"        includes      a "leased    worker."
          unintentionally you should fail to disclose all such                           "Employee"       does not       include a "temporary
          hazards at the inception date of your policy, we                               worker."
          shall not deny any coverage under this Coverage
          Form because of such failure.                                            6.    "Executive officer" means a person holding any of
                                                                                         the officer positions created by your charter,
F.   Liability And Medical Expenses Definitions                                          constitution, by-laws or any other similar
                                                                                         governing document.
     1.   "Advertisement" means a notice that is broadcast
          or published to the general public or specific                           7.    "Hostile fire" means one which becomes
          market segments about your goods, products or                                  uncontrollable or breaks out from where it was
          services for the purpose of attracting customers or                            intended to be.
          supporters. For the purposes of this definition:
                                                                                   8.    "Impaired property" means tangible property, other
          a.    Notices that are published include material                              than "your product" or "your work," that cannot be
                placed on the Internet or on similar electronic                          used or is less useful because:
                means of communication; and
                                                                                         a.   It incorporates "your product" or "your work"
          b.    Regarding web -sites, only that part of a web          -
                                                                                              that is known or thought to be defective,
                site that is about your goods, products or                                    deficient, inadequate or dangerous; or
                services for the purposes of attracting
                                                                                         b. You have failed to fulfill the terms of a contract
                customers or supporters is considered an
                advertisement.                                                              or agreement;
     2.   "Auto" means a land motor vehicle, trailer or                                  if such property can be restored to use by:
          semitrailer designed for travel on public roads,                                    (1) The repair, replacement, adjustment or
          including any attached machinery or equipment.                                          removal of "your product" or "your work";
          But "auto" does not include "mobile equipment."                                         or
     3.   "Bodily injury" means bodily injury, sickness or                                    (2) Your fulfilling the terms of the contract or
          disease sustained by a person, including death                                            agreement.
          resulting from any of these at any time.
                                                                                   9.    "Insured contract" means:
     4.   "Coverage territory" means:
                                                                                         a. A contract for a lease of premises. However,
          a.    The United States of America (including its                                 that portion of the contract for a lease of
                territories and possessions), Puerto Rico and                               premises that indemnifies any person or
                Canada;                                                                     organization for damage by fire to premises
          b.    International waters or airspace, but only if the                           while rented to you or temporarily occupied by
                injury or damage occurs in the course of travel                             you with permission of the owner is not an
                or transportation between any places included                               "insured contract";
                in Paragraph a. above; or                                                b.   A sidetrack agreement;
          c.    All other parts of the world if the injury or                            c.   Any easement or license agreement, except
                damage arises out of:                                                         in connection with construction or demolition
                (1) Goods or products made or sold by you in                                  operations on or within 50 feet of a railroad;
                    the territory described in Paragraph a.                              d. An obligation, as required by ordinance, to
                    above;                                                                  indemnify a municipality, except in connection
                (2) The activities of a person whose home is                                with work for a municipality;
                    in the territory described in Paragraph a.                           e.   An elevator maintenance agreement;
                    above, but is away for a short time on
                    your business; or                                                    f.   That part of any other contract or agreement
                                                                                              pertaining to your business (including an
                (3) "Personal and advertising injury" offenses                                indemnification of a municipality in connection
                    that take place through the Internet or                                   with work performed for a municipality) under
                    similar     electronic      means       of                                which you assume the tort liability of another
                    communication;                                                            party to pay for "bodily injury" or "property
                provided the insured's responsibility to pay
                                                                                              damage" to a third person or organization.
                damages is determined in a "suit" on the                                      Tort liability means a liability that would be


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             imposed by law in the absence of any                             12. "Mobile equipment" means any of the following
             contract or agreement.                                               types of land vehicles, including any attached
                                                                                  machinery or equipment:
             Paragraph f. does not include that part of any
             contract or agreement:                                                a.   Bulldozers, farm machinery, forklifts and other
                                                                                        vehicles designed for use principally off public
             (1) That indemnifies a railroad for "bodily                                roads;
                 injury" or "property damage" arising out of
                 construction or demolition operations,                            b. Vehicles maintained for use solely on or next
                 within 50 feet of any railroad property and                          to premises you own or rent;
                 affecting any railroad bridge or trestle,
                 tracks, road beds, tunnel, underpass or                           c.   Vehicles that travel on crawler treads;
                 crossing;                                                         d.   Vehicles, whether self-propelled or not, on
             (2) That indemnifies an architect, engineer or                             which are permanently mounted:
                 surveyor for injury or damage arising out                              (1) Power cranes, shovels, loaders, diggers
                 of:                                                                        or drills; or
                 (a) Preparing, approving or failing to                                 (2) Road   construction   or    resurfacing
                     prepare or approve maps, drawings,                                     equipment such as graders, scrapers or
                     opinions, reports, surveys, change                                       rollers;
                     orders, designs or specifications; or
                                                                                   e.   Vehicles not described in Paragraphs a., b., c.
                 (b) Giving directions or instructions, or                              or d. above that are not self-propelled and are
                     failing to give them, if that is the                               maintained primarily to provide mobility to
                     primary cause of the injury or                                     permanently attached equipment of the
                     damage; or                                                         following types:
                 (c) Under which the insured, if an                                     (1) Air compressors, pumps and generators,
                     architect, engineer or surveyor,                                         including spraying, welding, building
                     assumes liability for an injury or                                       cleaning, geophysical exploration, lighting
                     damage arising out of the insured's                                      and well servicing equipment; or
                     rendering or failure to render
                     professional services, including those                             (2) Cherry pickers and similar devices used
                     listed in Paragraph (2) above and                                      to raise or lower workers;
                     supervisory,       inspection       or                        f.   Vehicles not described in Paragraphs a., b., c.
                     engineering services.                                              or d. above maintained primarily for purposes
   10. "Leased worker" means a person leased to you by                                  other than the transportation of persons or
       a labor leasing firm under an agreement between                                  cargo.
       you and the labor leasing firm, to perform duties                                However, self-propelled vehicles with the
       related to the conduct of your business. "Leased                                 following types of permanently attached
       worker" does not include a "temporary worker."                                   equipment are not "mobile equipment" but will
   11. "Loading or unloading" means the handling of                                     be considered "autos":
       property:                                                                        (1) Equipment designed primarily for:
       a.    After it is moved from the place where it is                                    (a) Snow removal;
             accepted for movement into or onto an
             aircraft, watercraft or "auto";                                                 (b) Road      maintenance,      but     not
                                                                                                 construction or resurfacing; or
       b. While it is in or on an aircraft, watercraft or
             "auto"; or                                                                      (c) Street cleaning;
       c.    While it is being moved from an aircraft,                                  (2) Cherry pickers and similar devices
             watercraft or "auto" to the place where it is                                  mounted on automobile or truck chassis
             finally delivered;                                                             and used to raise or lower workers; and
       but "loading or unloading" does not include the                                  (3) Air compressors, pumps and generators,
       movement of property by means of a mechanical                                        including spraying, welding, building
       device, other than a hand truck, that is not                                         cleaning, geophysical exploration, lighting
       attached to the aircraft, watercraft or "auto."                                      and well servicing equipment.
                                                                             13. "Occurrence" means an accident, including
                                                                                 continuous or repeated exposure to substantially
                                                                                 the same general harmful conditions.
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    14. "Personal and advertising injury" means injury,                                        replacement, but which is otherwise
        including consequential "bodily injury," arising out                                   complete, will be treated as completed.
        of one or more of the following offenses:
                                                                                          The "bodily injury" or "property damage" must
        a.    False arrest, detention or imprisonment;                                    occur away from premises you own or rent,
                                                                                          unless your business includes the selling,
        b.    Malicious prosecution;                                                      handling or distribution of "your product" for
        c. The wrongful eviction from, wrongful entry                                     consumption on premises you own or rent.
           into, or invasion of the right of private                                 b.   Does not include "bodily injury" or "property
           occupancy of a room, dwelling or premises                                      damage" arising out of:
           that a person occupies, committed by or on
           behalf of its owner, landlord or lessor;                                       (1) The transportation of property, unless the
                                                                                              injury or damage arises out of a condition
        d.    Oral or written publication, in any manner, of
                                                                                              in or on a vehicle not owned or operated
              material that slanders or libels a person or                                    by you, and that condition was created by
              organization or disparages a person's or
                                                                                              the "loading or unloading" of that vehicle
              organization's goods, products or services;
                                                                                              by any insured; or
        e.    Oral or written publication, in any manner, of                              (2) The existence of tools, uninstalled
              material that violates a person's right of                                      equipment or abandoned or unused
              privacy;
                                                                                              materials.
        f.    The use of another's advertising idea in your                    17. "Property damage" means:
              "advertisement"; or
                                                                                     a.   Physical injury to tangible property, including
        g.    Infringing upon another's copyright, trade
                                                                                          all resulting loss of use of that property. All
              dress or slogan in your "advertisement."
                                                                                          such loss of use shall be deemed to occur at
   15. "Pollutants" mean any solid, liquid, gaseous or                                    the time of the physical injury that caused it;
       thermal irritant or contaminant, including smoke,                                  or
       vapor, soot, fumes, acids, alkalis, chemicals and                             b.   Loss of use of tangible property that is not
       waste. Waste includes materials to be recycled,
                                                                                          physically injured. All such loss of use shall be
       reconditioned or reclaimed                                                         deemed to occur at the time of the
   16. "Products   -
                       completed operations hazard":                                      "occurrence" that caused it.
        a.    Includes all "bodily injury" and "property                             For the purposes of this insurance, electronic data
              damage" occurring away from premises you                               is not tangible property.
              own or rent and arising out of "your product"
                                                                                     As used in this definition, electronic data means
              or "your work" except:                                                 information, facts or programs stored as, created
              (1) Products that are still in your physical                           or used on, or transmitted to or from computer
                  possession; or                                                     software, including systems and applications
                                                                                     software, hard or floppy disks, CD -ROMs, tapes,
              (2) Work that has not yet been completed or                            drives, cells, data processing devices or any other
                  abandoned. However, "your work" will be                            media which are used with electronically
                  deemed completed at the earliest of the                            controlled equipment.
                  following times:
                                                                               18. "Software" means:
                  (a) When all of the work called for in your
                      contract has been completed.                                   a.   Electronic data processing, recording or
                                                                                          storage media such as films, tapes, cards,
                  (b) When all of the work to be done at                                  discs, drums or cells; and
                      the job site has been completed if
                      your contract calls for work at more                           b.   Data and programming records used for
                      than one job site.                                                  electronic data processing or electronically
                                                                                          controlled equipment stored on such media;
                  (c) When that part of the work done at                                  and
                      the job site has been put to its
                      intended use by any other person or                            c.   Written or printed data, such as programs,
                      organization other than another                                     routines, and symbolic languages, essential to
                      contractor or subcontractor working                                 the operation of computers; and
                      on the same project.                                           d.   Documents containing information on the
                  Work    that       may      need    service,                            operation and maintenance of computers.
                  maintenance,       correction,   repair or

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       19. "Suit" means a civil proceeding in which damages                                       (c) A person or organization whose
           because of "bodily injury," "property damage,"                                             business or assets you have
           "personal and advertising injury" to which this                                            acquired; and
           insurance applies are alleged. "Suit" includes:
                                                                                             (2) Containers     (other    than    vehicles),
           a.    An arbitration proceeding in which such                                         materials, parts or equipment furnished in
                 damages are claimed and to which the                                            connection with such goods or products.
                 insured must submit or does submit with our
                 consent; or                                                            b.   Includes:

           b.    Any other alternative dispute resolution
                                                                                             (1) Warranties or representations made at
                 proceeding in which such damages are                                            any time with respect to the fitness,
                                                                                                 quality, durability, performance or use of
                 claimed and to which the insured submits with
                                                                                                 "your product"; and
                 our consent.
       20. "Temporary worker" means a person who is                                          (2) The providing of or failure to provide
                                                                                                 warnings or instructions.
           furnished to you to substitute for a permanent
           "employee" on leave or to meet seasonal or short-                            c.   Does not include vending machines or other
           term workload conditions.                                                         property rented to or located for the use of
       21. "Volunteer worker" means a person who is not                                      others but not sold.
           your "employee," and who donates his or her work                       23. "Your work":
           and acts at the direction of and within the scope of
           duties determined by you, and is not paid a fee,                             a.   Means:
           salary or other compensation by you or anyone                                     (1) Work or operations performed by you or
           else for their work performed for you.                                                on your behalf; and
       22. "Your product":                                                                   (2) Materials, parts or equipment furnished in
           a.    Means:                                                                          connection with such work or operations.
                 (1) Any goods or products, other than real                             b.   Includes:
                     property, manufactured, sold, handled,                                  (1) Warranties or representations made at
                     distributed or disposed of by:                                              any time with respect to the fitness,
                     (a) You;                                                                    quality, durability, performance or use of
                                                                                                 "your work"; and
                     (b) Others trading under your name; or
                                                                                             (2) The providing of or failure to provide
                                                                                                 warnings or instructions.




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                                        TARGETED HACKER ATTACK
This endorsement modifies insurance provided under the following:
     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners Special Property Coverage Form under Paragraph A.6.
Coverage Extensions. Unless otherwise stated, payments made under this Coverage Extension are subject to and not in
addition to the applicable Limits of Insurance.
Targeted Hacker Attack
1.   We will pay up to the Limits of Insurance indicated in Paragraphs 9. and 10. below, for the following:
     a.   Corruption, distortion, deletion, damage or destruction of your "electronic data" caused by or resulting from a
          "targeted hacker attack."
     b.   Subject to paragraph 8. below, actual loss of Business Income you sustain due to the necessary "suspension" of
          your "operations" during the "period of restoration." The "suspension" must be caused by the necessary
          interruption or suspension of your "electronic data processing equipment" resulting from a "targeted hacker attack"
          that corrupts, distorts, deletes, damages or destroys your "electronic data."
     c.   Subject to paragraph 8. below, with respect to a "suspension" of your "operations" as described in paragraph 1.b.
          above, the "extra expense" (other than the expense to repair or replace property) to:
          (1) Avoid or minimize the "suspension" of business and to continue "operations'; or
          (2) Minimize the "suspension" of business if you cannot continue "operations."
2.   Worldwide coverage is provided under this Coverage Extension. The coverage territory as described in Paragraph
     F.8.b does not apply to this Coverage Extension.
3.   This Coverage Extension does not apply to:
     a.   "Stock"; or
     b.   Property that is licensed, leased or rented to others.
4.   The following exclusions as described in Section B., Exclusions, of the Businessowners Special Property Coverage
     Form do not apply to this Coverage Extension:
     a.   Paragraph 1.j.; and
     b.   Paragraph 1.k.
5.   The following additional exclusions apply:
     With respect to this Coverage Extension, we will not pay for loss or damage caused directly or indirectly by any of the
     following. Such loss or damage is excluded regardless of any other cause or event that contributes concurrently or in
     any sequence to the loss.
     a.   Programming errors or omissions, or incorrect instructions to a machine, including without limitation, incorrect
          instructions to "electronic data processing equipment" from a user incorrectly operating with, or committing an
          error using, an input device (including, without limitation, a keyboard, mouse or touchpad) and corrupting,
          distorting, deleting, damaging or destroying "electronic data."
     b.   Misappropriation, theft, copying, transfer or unauthorized viewing of any property, proprietary or confidential
          information, "money," "securities," "stock," "electronic data processing equipment" "electronic media and data" or
          "electronic data" including without limitation, the use of any computer to cause such misappropriation, transfer or
          copying.
     c.   Errors or deficiency in design, installation, maintenance, repair or modification of your "electronic data processing
          equipment," "electronic media and data" or "electronic data" or any "electronic data processing equipment,"
          electronic devices, computer system or network to which your "electronic data processing equipment" "electronic
          media and data" or "electronic data" is connected or dependent; provided, however, this exclusion shall not apply
          with respect to any such error or deficiency in design, installation, maintenance, repair or modification that is
          exploited as part of an otherwise covered "targeted hacker attack."

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         d.   Unexplained or indeterminable failure, malfunction or slowdown of an "electronic data processing equipment"
              "electronic media and data" or "electronic data."
         e.   Suspension, Jnterruptiori, delay, disruption, loss of functionality of, inaccessibility to, or inability to use or
              communicatewith, any "electronic data processing equipment," "electronic media and data," "electronic data,"
              computer resource, electronic device, computer system, computer network or equipment.
         f.   "Mass attack malware."
         g.   "Mass system penetration."
    6.   The following definitions apply to this Coverage Extension:
         a.   Business Income means:
              (1) Net Income (Net Profit or Loss before Income taxes) that would have been earned or incurred, including; plus
              (2) Continuing normal operating expenses incurred, including payroll.
         b.   Extra Expense means reasonable and necessary expenses you incur during the "period of restoration" that you
              would not have incurred if there had been no necessary interruption or suspension of your "electronic data
              processing equipment" resulting from a "targeted hacker attack" that corrupts, distorts, deletes, damages or
              destroys your "electronic data." Provided, however, that Extra Expense shall not mean the costs you incur to
              copy, research, replace or restore "electronic data."
    7.   For purposes of this Coverage Extension only, the definition for "period of restoration" as set forth in the
         Businessowners Special Property Coverage Form is changed to the following (the definition shall remained
         unchanged with respect to all other parts of the policy):
         "Period of restoration' means the period of time that:
         a.   Begins on the date and time of the necessary interruption or suspension of your "electronic data processing
              equipment"; and
         b.   Ends on the date and time that the necessary interruption or suspension of your "electronic data processing
              equipment" ends, or would have ended had you acted with due diligence and dispatch.
         Provided, however, that "period of restoration" shall not mean more than, or exceed, thirty (30) days. The expiration
         date of this policy will not cut short the "period of restoration."
    8.   We shall not be liable for any payment for the "extra expense" you incur, and loss of Business Income you sustain,
         during the first 12 hours following the date and time the necessary interruption or suspension of your "electronic data
         processing       equipment"     begins;    provided,    however,    if    the    "business    income      and     extra
         expense" 72 Hour Deductible endorsement is part of this policy, the "12 hours" reference in this paragraph shall be
                   -




         changed to '72 hours" and the 72 hour deductible stated in that endorsement shall apply with respect to this Coverage
         Extension.
    9.   The most we will pay in the aggregate under this Coverage Extension and the policy for all corruption, distortion,
         deletion, damage, destruction or any other harm to "electronic data" (combined) caused by or resulting from a
         "targeted hacker attack," during each separate 12 month period of this policy beginning with the effective date of this
         policy, is $25,000 or the limit shown on the Declaration page.
    10. The most we will pay in the aggregate under this Coverage Extension and the policy for all "extra expense" and loss of
-
        "business income" (combined) during each separate 12 month period of this policy beginning with the effective date of
        this policy is $25,000.




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                                              CHOICE ENDORSEMENT
This endorsement modifies insurance provided under the following:
     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
     BUSINESS INCOME AND EXTRA EXPENSE
                                            SUMMARY OF COVERAGES AND LIMITS
The following is a summary of the Coverages and Limits provided by this Choice Endorsement. No coverage is provided
by this summary. Please refer to the pertinent provisions herein to review coverages and limits. The Limits shown below in
this summary apply on an each occurrence basis unless indicated otherwise (* next to the limit means the limit applies at
each described premises).
Coverage                                                                                                   Limit
Accounts Receivable                                                                     Additional $100,000*
Accounts Receivable     -
                            Away from Described Premises and in Transit                 Additional $100,000
Brands or Labels                                                                        $25,000
Business Income and     Extra Expense   -
                                            Dependent Property                          Additional $15,000
Business Income and     Extra Expense   -
                                            Extended Business Income                    Additional 30 days
Business Income and     Extra Expense   -
                                            Newly Acquired Locations                    Additional $250,000 each newly acquired
                                                                                            location
Claim Data Expense                                                                      Additional $5,000
Computer Fraud                                                                          $5,000
Electronic Data Processing Equipment and Electronic Media and Data              -




   Worldwide Coverage Extension (Off Premises)                                          Additional $25,000
Limited Building Coverage Tenant Obligation
                               -
                                                                                        $5 000*
Lost Key Consequential Loss                                                             $500*
Newly Acquired or Constructed Business Personal Property                                Additional $250,000 each newly acquired
                                                                                            premises
Ordinance or Law Increased Period of Restoration
                    -
                                                                                        Additional $25,000*
Outdoor Trees, Shrubs, Plants and Lawns                                                 Additional $2,000*
Unauthorized Business Credit/Debit Card Use                                             $5,000
Utility Services Direct Damage
                -
                                                                                        $2 500*
Utility Services Time Element
                -
                                                                                        $2,500*

The BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM, BUSINESS INCOME AND EXTRA EXPENSE
COVERAGE FORM, ADDITIONAL COVERAGES AND COVERAGE EXTENSIONS are changed as follows:
1.   The following Additional Coverages are changed:
     a.   With respect to Extended Business Income, the time frame referenced in Paragraph 1.f.(2)(b) of the Business
          Income and Extra Expense coverage form is increased by an additional 30 consecutive days.
     b.   The limit applicable to the Additional Coverage Claim Data Expense referenced in Paragraph 3. of the Claim
                                                              -




          Data Expense coverage form is increased by $5,000.
     c.   The limit applicable to the Additional Coverage     Newly Acquired or Constructed Property for Business
                                                                  -




          Personal Property referenced in Paragraph 2b. of the Newly Acquired or Constructed Property coverage form, is
          increased by $250,000.
     d. The limit applicable to the Additional Coverage Outdoor Trees, Shrubs, Plants and Lawns referenced in
                                                                  -




        Paragraph 2. of the Outdoor Trees, Shrubs, Plants and Lawns coverage form is increased by $2,000.
     e.   With respect to the Additional Coverage   Ordinance or Law, coverage is extended to include tenant's
                                                          -




          improvements and betterments as described in Paragraph A.1.b.(3) of the Businessowners Special Property
          Coverage form, if:
          (1) You are a tenant; and
          (2) A limit of Insurance is shown in the Declarations for Business Personal Property at the described premises.



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    2.   The following Additional Coverages are added:
         a.   Brands or Labels
              If branded or labeled merchandise that is Covered Property is damaged by a Covered Cause of Loss, we may
              take all or part of the property at an agreed or appraised value. If so, you may:
              (1) Stamp the word Salvage on the merchandise or its containers, if the stamp will not physically damage the
                  merchandise; or
              (2) Remove the brands and labels, if doing so will not physically damage the merchandise or its containers to
                  comply with the law.
              We will pay reasonable costs you incur to perform the activity described in Paragraphs (1) and (2) above. The
              most we will pay for these costs and the value of the damaged property under this Additional Coverage is
              $25,000.
              Payments under this Additional Coverage are subject to and not in addition to the Limits of Insurance.
         b.   Lost Key Consequential Loss
              (1) We will pay for consequential loss to keys and locks if a master or grand master key is lost or damaged from
                  a Covered Cause of Loss. We will pay for:
                  (a) The actual cost of keys, and
                  (b) Adjustment of locks to accept new keys, or
                  (c) If required, new locks including cost of their installation.
              (2) Loss or damage must be caused by or result from a Covered Cause of Loss including mysterious
                  disappearance.
              (3) The most we will pay for loss or damage under this Additional Coverage is $500 at each described premises.
                  A deductible does not apply.
         c.   Unauthorized Business Card Use
              We will pay for your loss of money or charges and costs you incur that result directly from the unauthorized use of
              credit, debit or charge cards issued in your business name, including:
              (1) Fund transfer cards:
              (2) Charge plates; or
              (3) Telephone cards.
              The most we will pay under this Additional Coverage in any one "occurrence" is $5,000.
         d.   Utility Services   -
                                     Direct Damage
              (1) We will pay for loss of or damage to Covered Property caused by the interruption of services to the described
                  premises. The interruption must result from direct physical loss or damage by a Covered Cause of Loss to the
                  following Property not on the described premises:
                  (a) "Water Supply Services";
                  (b) "Communication Supply Services"; or
                  (c) "Power Supply Services."
                  For the coverage provided with this endorsement, "Communication Supply Services" and "Power Supply
-




                  Services" includes overhead transmission lines.
              (2) The most we will pay for loss or damage under this Additional Coverage in any one "occurrence" is $2,500 at
                  each described premises.
              (3) Payments under this Additional Coverage are subject to and not in addition to the applicable Limit of
                  Insurance.

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3.   The following Coverage Extensions are changed as follows:
     a.   The limits applicable to the Coverage Extension       -
                                                                    Accounts Receivable are changed as follows:
          (1) The limit applicable to records of accounts receivable while in transit or at a premises other than the
              described premises is increased by $100,000.
          (2) The limit applicable to records of accounts receivable at each described premises is increased by $100,000.
     b.   The limit applicable to the Coverage Extension            -
                                                                        Business Income and Extra Expense From Dependent
          Property is increased by $15,000.
     c.   The limit applicable to the Coverage Extension            -
                                                                        Business Income and Extra Expense      -
                                                                                                                   Newly Acquired
          Locations is increased by $250,000.
     d.   The limit applicable in paragraph 6. of the Electronic Data Processing Equipment and Electronic Media and
          Data Coverage Extension is increased by $25000.
     e.   The limit applicable to the Coverage Extension            -
                                                                        Ordinance or Law   -
                                                                                               Increased Period of Restoration is
          increased by $25,000.
4.   The following Coverage Extensions are added:
     a.   Computer Fraud
          (1) When a Limit of insurance is shown in the Declarations for Business Personal Property at the described
              premises, we will also pay for loss of Business Personal Property resulting directly from the fraudulent
              transfer of that property to a:
              (a) person (other than an "employee," "manager," "member," "messenger, "trustee or authorized
                  representative): or
              (b) financial institution account not under your control
              Such fraudulent transfer is a transfer done without your knowledge or consent by a natural person (other than
              an "employee," "manager," "member," "messenger," trustee or authorized representative) who has gained
              unauthorized access to your "Electronic Data" "Electronic Media and Data;" or "Electronic Data Processing
              Equipment"
              However, this Computer Fraud Coverage Extension does not apply to loss resulting from fraudulent or
              unauthorized entry or change of "electronic data" or "electronic media and data" by any an "employee,"
              "manager," "member," "messenger," trustee or authorized representative or any person or organization with
              authorized access to "Electronic Data Processing Equipment."
          (2) The most we will pay under this Coverage Extension in any one "occurrence" is $5,000, regardless of the
              number of premises involved.
              Solely for this Computer Fraud Coverage Extension, "Occurrence" means:
              (a) Any single act or series of related acts;
              (b) The combined total of all separate acts or events whether or not related; or
              (c) A series of acts or events whether or not related
              committed by a person acting alone or in collusion with others, or not committed by any identifiable person,
              during the Policy Period.
          (3) The Transfer of Property, Malicious Code and System Penetration exclusions described in Section B.,
              Exclusions, of the Businessowners Special Property Coverage Form, do not apply to this Coverage
              Extension.
          (4) With respect to this Computer Fraud Coverage Extension, we will not pay for loss or damage caused directly
              or indirectly by any "mass system penetration." Such loss or damage is excluded regardless of any other
              cause or event that contributes concurrently or in any sequence to the loss.
     b.   Limited Building Coverage       -
                                              Tenant Obligation
          (1) If, at the described premises:
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             (a) You are a Tenant; and
             (b) You are contractually obligated to repair or replace that part of a building you occupy as a tenant, and
             (c) A Limit of Insurance is shown in the Declarations for Business Personal Property:
             This insurance applies to direct physical loss of or damage to that part of a building you occupy as a tenant
             caused by or resulting from a Covered Cause of Loss other than theft or attempted theft.
         (2) This Coverage Extension does not apply to any otherwise covered:
             (a) Building glass; or
             (b) Tenants improvements and betterments as described in Paragraph A.1.b.(3), of the Businessowners
                 Special Property Coverage Form.
         (3) The most we will pay under this Coverage Extension in any one occurrence is $5,000 at each described
             premises.
    c.   Utility Services   -
                                Time Element
         (1) When the Declarations show that you have coverage for Business Income and Extra Expense, that insurance
             shall apply to the loss of Business Income or Extra Expense caused by the interruption of service to the
             described premises. The interruption must result from direct physical loss or damage by a Covered Cause of
             Loss to the following property not on the described premises:
             (a) "Water Supply Services";
             (b) "Communication Supply Services"; or
             (c) "Power Supply Services."
             For the coverage provided with this endorsement, "Communication Supply Services" and "Power Supply
             Services" includes overhead transmission lines.
         (2) We will pay the actual loss sustained from the initial time of service(s) failure at the described premises but
             only when the service interruption at the described premises exceeds 24 hours immediately following the
             direct physical loss or damage. Coverage does not apply to any reduction of income after service has been
             restored to your premises.
         (3) The most we will pay for loss under this Coverage Extension in any one "occurrence" is $2,500 at each
             described premises.



All other terms and conditions of the Policy remain unchanged.




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                              FIDUCIARY LIABILITY COVERAGE FORM
THIS IS A CLAIMS MADE COVERAGE FORM. PLEASE READ ALL PROVISIONS AND CONTACT YOUR AGENT IF
YOU HAVE ANY QUESTIONS. THIS INSURANCE APPLIES ONLY TO 'WRONGFUL ACTS' THAT OCCUR BETWEEN
THE RETROACTIVE DATE AND THE END OF THE POLICY PERIOD.' THIS INSURANCE APPLIES ONLY TO
"CLAIMS" FIRST MADE AGAINST THE INSURED AFTER THE INCEPTION DATE AND BEFORE THE END OF THE
"POLICY PERIOD" OR ANY APPLICABLE EXTENDED REPORTING PERIOD AND REPORTED TO US IN
ACCORDANCE WITH THE PROVISIONS OF THIS FORM. UPON TERMINATION OF YOUR POLICY AN AUTOMATIC
EXTENDED REPORTING PERIOD WILL BE PROVIDED, AND A SUPPLEMENTAL EXTENDED REPORTING PERIOD
WILL BE AVAILABLE.



Various provisions in this Coverage Form restrict coverage. Read the entire Coverage Form carefully to determine rights,
duties and what is and is not covered.
Throughout this Coverage Form the terms "you" and "your" refer to the Named Insured shown in the Declarations, and any
other person or organization qualifying as a Named Insured under this policy." The terms "we," "us" and "our" refer to the
Stock Insurance Company named on the Declarations providing this insurance.
The word "insured" means any person or organization qualifying as such under Section II   -
                                                                                              Who Is An Insured.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section III       -
                                                                                                            Definitions.


SECTION I     -
                  INSURING AGREEMENTS                               for   under   paragraph      1.D.       -
                                                                                                                 Supplementary
                                                                    Payments
A. Coverage
                                                               B. Defense
    We will pay those sums in excess of the deductible
    and subject to the limits of liability that the Insured         We have the right and duty to defend all "suits," even
    becomes legally obligated to pay as "damages"                   if the allegations are groundless, false or fraudulent.
    because of a claim resulting from a "wrongful act"              We shall have the right to appoint counsel and to
    provided:                                                       make such investigation and defense of a "suit" as we
                                                                    deem necessary. Alternatively we may, at our option,
    1.   The "wrongful act" takes place in the "coverage            give our written consent to the defense of any such
         territory";                                                "suit" to the insured. Our obligation to defend any
    2.   The "wrongful act" did not occur before the                "suit" or pay any "damages" and "defense expenses"
         Retroactive Date, if any, shown in the                     for any "claim" shall be completely fulfilled and
         Declarations nor after the end of the "policy              extinguished if the limit of insurance has been
         period"; and                                               exhausted by payment of "damages" or "defense
                                                                    expenses."
    3.   A "claim" arising out of a "wrongful act" is first
                                                               C. Consent To Settle
         made against an insured, during the "policy
         period" or Extended Reporting Period, if                   We shall not settle a "claim" without your written
         applicable and is reported to us in accordance             consent If you refuse to consent to a settlement or
                                                                             .



         with Section VIII, Conditions, paragraph C, Duties         compromise recommended by us, and acceptable to
         in the event of a "Claim"; and                             the claimant, then the applicable limit of insurance
    4.   Prior to the inception date of this Coverage Form:         under this Coverage Form shall be reduced to the
                                                                    amount for which the "claim" could have been settled
         a.    The Insured did not give notice to a prior           plus all "defense expenses" incurred up to the time
               insurer of a "related claim":                        we made our recommendation.
         b.    The Insured did not give notice to a prior      D.   Supplementary Payments
               insurer of any such "wrongful act" or
               "interrelated wrongful act."                         We will pay, with respect to any "claim" or "suit" we
                                                                    investigate or settle, or any "suit" against an insured
    No other obligation or liability to pay sums or perform         we defend all "defense expenses." These payments
    acts or services is covered unless explicitly provided

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        are included within and reduce the Limits of                         "suit" on the merits brought in the territory
        Insurance.                                                           described in Paragraph 1. above or in a
                                                                             settlement of a "claim" that we agree to.
    SECTION Il -WHO IS AN INSURED
    A. If you are designated in the Declarations as:
                                                                   C. "Damages" means sums, settlements, judgments
                                                                      (including any award of pre-judgment and post               -




        1.   A partnership or joint venture, you are an insured.        judgment interest) for which you are legally obligated
             Your partners or members are also insureds.                to pay on account of a covered "claim." "Damages"
                                                                        shall not include:
        2.   A limited liability company, you are an insured.
             Your members and managers are also insureds.               1.   Any taxes, sanctions, criminal or civil fines, or
                                                                             penalties imposed by law other than:
        3.    An organization other than a partnership, joint
             venture or limited liability company, you are an                a. The live percent or less or the twenty percent
             insured. Your directors, officers and trustees are                 or less penalty imposed upon an insured as a
             also insureds.                                                     Fiduciary under Section 502(i) or 502(l) of
                                                                                 ERISA;
    B. Your "plans" and their employees, directors, officers
       and trustees are also insureds.                                       b. Those civil fines or penalties imposed under
                                                                                42 USC 1320d -5(a) the Health Insurance
    D. Your employees are also insureds, unless otherwise                       Portability and Accountability Act of 1996
       excluded in this policy.                                                 provided however that our maximum limit of
    E. Any organization you newly acquire or form, other                        insurance for all such fines and penalties
       than a partnership, joint venture or limited liability                   shall be $10,000 in the aggregate, regardless
       company, and over which you maintain ownership or                        of the number of "claims" made or Insureds
       majority interest, will qualify as a Named Insured if no                 covered under this Coverage Form. This
       other similar insurance applies to that organization.                    sublimit of insurance is part of and not in
       You must notify us of such acquisition or formation as                   addition to the limit of insurance set forth on
       soon as practicable. However, coverage under this                         the Declarations.
       provision:                                                       2.   Any amount for which an "insured person" is
        1.   Is afforded only until the 90th day after you                   absolved from payment by reason of any
             acquire or form the organization, or until the end              covenant, agreement or court order;
             of the "policy period," whichever is earlier; and          3.   Any matters deemed uninsurable under the law
        2.   Does not apply to an offense committed before                   pursuant to which this Policy is construed.
             you acquired or formed the organization.                   Notwithstanding anything to the contrary above,
    No person or organization is an insured with respect to the         "damages" shall include punitive or exemplary
    conduct of any current or past partnership, joint venture or        damages, if insurable, to the fullest extent permitted
    limited liability company that is not shown as a Named              by any applicable law. Where you reasonably
    Insured in the Declarations.                                        determine that punitive, exemplary or multiple
                                                                        damages are insurable under any applicable law, we
    SECTION III    -
                       DEFINITIONS                                      shall not challenge that determination of insurability.
    The following defined words shall have                         D. "Defense expenses" means all fees charged by
    the same meaning throughout this Coverage                         attorneys designated by us, or by you, with our written
    Form, whether expressed in the singular                           consent and all other reasonable and necessary fees,
    or the plural.                                                    costs and expenses resulting from the investigation,
                                                                      adjustment, defense and appeal of a "claim" if
                                                                      incurred by us or you with our written consent,
:   A. "Claim" means:                                                 including the costs of appeal, attachment or similar
        1.
                                                                      bonds. We have no obligation to provide such bonds.
             A "suit"; or
                                                                      "Defense Expenses" shall not include salaries,
        2. A written demand for monetary or non -monetary             wages, fees, overhead or benefit expenses
           damages made against an insured, arising out of            associated with the directors, officers, and employees
           a "wrongful act,"                                          of yours.
    B. "Coverage territory" means:                                 E.   "Domestic Partner" means any person qualifying as
                                                                        such under any federal, state or local laws or under
        1.   The United States of America (including its                your employee benefit plans.
             territories or possessions) and Puerto Rico; or
                                                                   F.   "ERISA or any Similar Act" means the Employee
        2.   All   parts  of the world if the "insured's"               Retirement Income Security Act of 1974, as
             responsibility to pay "damages" is determined in a
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     amended, or any similar common or statutory law of               identified on any list of hazardous substances issued
     the United States, Canada or their states, territories or        by the United States Environmental Protection
     provinces or any other jurisdiction anywhere in the              Agency or any state or local or foreign counterpart.
     world.                                                           "Pollutants" also means, without limitation, any solid,
                                                                      liquid, gaseous or thermal irritant or contaminant,
G. "Executive officer" means your chairperson, chief                  including smoke, vapor, soot, fumes, acids, alkalis,
   executive officer, president, chief financial officer and
                                                                      chemicals or waste (including materials to be
   in-house general counsel;                                          recycled, reconditioned or reclaimed), as well as any
H. "Insured Persons" means all of those natural person                air emission, odor, waste water, oil or oil products,
   insureds who are your partners, trustees, members,                 infectious or medical waste, asbestos, or asbestos
   managers, "executive officers," directors and                      products or any noise.
   employees                                                     o.   "Related claims" mean all claims arising out of a
I.   "Interrelated Wrongful Acts" means any "wrongful                 single "wrongful act" or arising out of "interrrelated
     acts" which are logically or causally connected by               wrongful acts."
     reason of any common fact, circumstance, situation,              "Suit" means a formal civil, criminal, administrative,
     transaction or event.                                            or regulatory proceeding or investigation or an
J    "Pension Plan" means any employee pension                        arbitration against an "insured," including any appeal
     benefit plan as defined in 29 U.S.C. §1002 subject to            therefrom.
     regulation under "ERISA or any Similar Act." "Pension
                                                                      "Wrongful act" means any actual or alleged error,
     plan" shall not include an excess benefit plan as                misstatement, misleading statement, act, omission,
     defined in 29 U.S.C. §1002 or an employee stock                  neglect or breach of duty by the insureds in the
     ownership plan as defined in 26 U.S.C. §4975.
                                                                      discharge of their duties in their capacities, or solely
K. "Plan" means:                                                      by reason of their status as fiduciaries or
                                                                      administrators (as defined in "ERISA or any similar
     a. Any "welfare plan" which was, is now, or                      act") of any "plan," including, without limitation:
        hereafter becomes, sponsored solely by you, or
          sponsored jointly by you and a labor organization,          (i) Counseling employees, beneficiaries or "plan"
          solely for the benefit of your employees;                       participants with respect to any "plans";
     b. Any "pension plan" which was, on or prior to the              (ii) Providing interpretations with respect to any
        effective date of this Policy, sponsored solely by                 "plan";
        you, or sponsored jointly by you and a labor                  (iii) Handling records in connection with any "plan";
        organization, solely for the benefit of your
          employees;                                                  (iv) Enrolling, terminating or canceling employees
                                                                           under any "plan"; or
     c.   Any "pension plan" which, after the effective date
          of this Policy, becomes sponsored solely by you,            (v) Otherwise performing or failing to perform "ERISA
          or jointly by you and a labor organization, solely              or any similar act" obligations relating to any
          for the benefit of your employees, if and to the                "plan."
          extent coverage with respect such "pension plan"
          is afforded pursuant to Section XIV.1 of the           SECTION IV- EXTENDED REPORTING PERIOD
          General Terms & Conditions of this Policy; or          A.   If the first Named Insured cancels or non -renews this
     d.   Any government-mandated insurance for workers'              Coverage Form or if we decide not to offer any
          compensation, unemployment, social security or              renewal terms for this Coverage Form, the first
          disability benefits for employees of Named                  Named Insured shall have the right to purchase, upon
                                                                      payment of an additional premium not to exceed
          Company or any Subsidiary.
                                                                      200% of the annual premium for this coverage, an
L.   "Welfare Plan" means any employee welfare benefit                extension of this Coverage Form for a period of 12
     plan as defined in 29 U.S.C. §1002 subject to                    months immediately following the end of the "policy
     regulation under ERISA or any Similar Act. Welfare               period," but only with respect to any "wrongful act"
     Plan shall not include an excess benefit plan as                 committed before the earlier of the end of the "policy
     defined in 29 U.S.C. §1002.                                      period";
M. "Policy Period" means the period from the effective                This period shall be referred to as the Extended
   date of this Coverage Form to the expiration date                  Reporting Period.
   stated on the Declarations, or its earlier cancellation
   date.                                                              As a condition precedent to the right to purchase the
                                                                      Extended Reporting Period, the total premium for this
N. "Pollutants" means any substance exhibiting                        Coverage Form must have been paid. The right to
   hazardous characteristics as, is or may be defined or              purchase the Extended Reporting Period shall end

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         unless we receive written notice and full payment of             4.        Pnor Wrongful Acts of Subsidiaries
         the premium for such period within 30 days after the
         end of the "policy period."                                                For:

     C. If the Extended Reporting Period is purchased, the                          (a) Any "wrongful act" by an insured of any of
        entire premium shall be deemed fully earned at its                              your subsidiaries, or by such subsidiary
                                                                                        occurring before the date such entity became
        commencement without any obligation by us to return
        any portion thereof.                                                            a subsidiary, or

     D. There is no separate or additional limit of insurance
                                                                                    (b) Any other "wrongful act," whenever
        for the Extended Reporting Period.                                              occurring, which, together with a "wrongful
                                                                                        act" described in (a) above, would constitute
     SECTION V- LIMIT OF INSURANCE                                                      "interrelated wrongful acts."
         Your rights and ours are stated in the attached Single           5.        Assumed Liability
         Limit of Insurance Endorsement For Employment
         Practices/Fiduciary Liability Coverage Forms                               Based upon, directly or indirectly arising out of or
                                                                                    in any way involving the insured's assumption of
     SECTION VI EXCLUSIONS
                   -
                                                                                    the liability of others in any oral or written contract
                                                                                    or agreement, unless such liability would have
     A. Exclusions Applicable to Damages and Defense
                                                                                    attached to an Insured in the absence of such
        Expenses
                                                                                    agreement.
         We will not be liable to pay any "damages" or               B. Exclusions Applicable to Non -Monetary Relief
         "defense expenses" under this Coverage Form in
         connection with any "claim" made against an insured:                  We will not be liable to pay any "damages" under this
                                                                               Coverage Form that represent:
         1.   Bodily Injury/Property Damage
                                                                               1.   The return or reversion to you of any contribution
              For any actual or alleged bodily injury (including
                                                                                    or asset of any "plan";
              death), sickness, disease of any person, or
              damage to or destruction of any tangible property                2.   Any costs incurred by an insured to comply with
              including loss of use;                                                any order for remedial, preventive, injunctive or
                                                                                    other non -monetary relief, or to comply with an
         2.   Violation of Law
                                                                                    agreement to provide such relief;
              For any actual or alleged violation of any law                   3.   Benefits due or to become due under any "plan,"
              governing workers' compensation, unemployment
                                                                                    or benefits which would be due under any "plan"
              insurance, social security, disability benefits or                    if such "plan" complied with all applicable law,
              any other similar federal, state or local statutory
                                                                                    except to the extent that:
              or regulatory law or common law anywhere in the
              world except the Consolidated Omnibus Budget                          i.     An "insured person" is legally obligated to
              Reconciliation Act of 1985 or the Health                                     pay such benefits as a personal obligation,
              Insurance Portability and Accountability Act of                              and
              1996 or any amendments to such laws or any
              rules or regulations promulgated under such                           ii.    Recovery for the benefits is based upon a
              laws.                                                                        covered "wrongful act"; or

         3.   Pollution                                                        4.   An employer's contributions owed to a "plan" and
                                                                                    other amounts for which the insureds are legally
              Based upon, directly or indirectly arising out of or                  obligated to pay by reason of the failure to collect
              in any way involving: any nuclear reaction,                           such contributions.
              radiation or contamination, or any actual, alleged
                                                                     SECTION VII- CONDITIONS
-_            or threatened discharge, release, escape, or
-
              disposal of, or exposure to, "pollutants"; any         A. Bankruptcy
-
              request, direction or order that any of the
-

              insureds test for, monitor, clean up, remove,                    Bankruptcy or insolvency of the insured or of the
              contain, treat, detoxify, neutralize or in any way               "insured's" estate will not relieve us of our obligations
              respond to or assess the effect of "pollutants" or               under this policy.
              nuclear reaction, radiation or contamination, or       B.        Duties In The Event Of A "Claim"
              any voluntary decision to do so; or any actual or
              alleged property damage, or bodily injury,                       1.   If, during the "policy period' or any Extended
              sickness, disease or death of any person                              Reporting Period, if applicable, any "claim" is first
              resulting from any of the aforementioned matters.                     made against the "insured," the insured shall, as
                                                                                    a condition precedent to our obligations under
                                                                                    this Coverage Form, give us written notice as
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          soon as practicable but in no event later than             2.   In the case of an investigation, on the earliest of
          ninety (90) days after the end of the "policy                   the date of service upon or other receipt by the
          period" or the Extended Reporting Period, if                    insured of a written notice or subpoena from the
          applicable.                                                     investigating authority identifying such "insured
                                                                          person" as an individual against whom a formal
     2.   You must:                                                       proceeding may be commenced;
          a.    Immediately send us copies of any demands,           3.   In the case of a written demand for monetary
                notices, summonses or legal papers received
                                                                          damages or non monetary relief, upon the
                in connection with the "claim";
                                                                          insured's receipt of such written demand.
          b.    Authorize us to obtain records and other        E.   Other Insurance
                information; and
                                                                     The Other Insurance clause, Section H. of the
          c.    Cooperate with us in the investigation or
                                                                     Common Policy Conditions is deleted and replaced
                settlement of the "claim" or defense of the          with the following:
                "siit."
                                                                     If any "damages" and "defense expenses" resulting
     3.   No insured shall voluntarily make a payment,
                                                                     from any "claim" are insured under any other policies,
          assume any obligation, or incur any expense                this Coverage Form shall apply only to the extent the
          without our written consent.                               "damages" and "defense expenses" exceed the
C.   Duties in the Event of A "Wrongful Act" That May                amount paid under such other insurance, whether
     Result In A "Claim"                                             such other insurance is stated to be primary,
                                                                     contributory, excess, contingent or otherwise, unless
     If, during the "policy period," you first become aware          such other insurance is written only as specific
     of a specific "wrongful act" which may reasonably               excess insurance over this Coverage Form.
     give rise to a future "claim," and during the "policy
     period" give written notice to us of:                      F.   Section IV. Estates, Legal Representatives and
                                                                     Spouses/Domestic Partners
     1.   The names of any potential claimants and a
          description of the "wrongful act" which forms the          Section L. of the Common Policy Conditions, Transfer
          basis of their potential "claim";                          Of Your Rights And Duties Under This Policy, is
                                                                     deleted in its entirety and replaced as follows:
     2.   The identity of the specific insureds allegedly
          responsible for such specific "wrongful act";              The estates, heirs, legal representatives, assigns,
                                                                      spouses and any "domestic partner" of "insured
     3.   The consequences which have resulted or may                 persons" shall be considered insureds under this
          result from such specific "wrongful act";                  Coverage Form; provided, however, coverage is
     4.   The nature of the potential monetary damages               afforded to such estates, heirs, legal representatives,
          which may be sought in consequence of such                 assigns and spouses only for a "claim "arising solely
          specific "wrongful act"; and                               out of their status as such and, in the case of a
                                                                     spouse or "domestic partner," where such "claim"
     5.   The circumstances by which you first became                seeks damages from marital community property,
          aware of such specific "wrongful act";                     jointly held property or property transferred from the
     Then any "claim" otherwise covered pursuant to this             "insured person" to the spouse or "domestic partner."
     Coverage Form which is subsequently made and                    No coverage is provided for any act, error or omission
     which arises out of such "wrongful act" shall be                of an estate, heir, legal representative, assign, spouse
     deemed to have been first made and reported to us               or "domestic partner." All terms and conditions of this
     by you at the time we received such written notice. No          Coverage Form, including without limitation the
     coverage is provided for fees and expenses incurred             deductible applicable to "damages" and "defense
     prior to the time such notice results in a "claim."             expenses" incurred by the "insured person" shall also
                                                                     apply to "damages" and "defense expenses" incurred
D. When a "Claim" is Deemed Made                                     by such estates, heirs, legal representatives, assigns,
     A "claim" shall be deemed made:
                                                                     spouses and "domestic partners."
                                                                G. No Action Against Us
          In the case of a civil, criminal, administrative or
          regulatory proceeding or arbitration, on the               1.   No action shall be taken against us unless, as a
          earliest of the date of service upon or other                   condition precedent, there shall have been full
          receipt by the insured of a complaint, indictment,              compliance with all the provisions of this
          notice of charge or similar document against the                Coverage Form nor until the amount of your
          insured in such proceeding or arbitration;                      obligation to pay shall have been finally
                                                                          determined either by final and nonappealable


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        judgment against you after trial or by written                         completed, provided you are cooperating in
        agreement by you, the claimant and us.                                 completing such transfer.
   2.   No person or organization shall have any right               3.   Upon receipt of such notice, you, must:
        under this Coverage Form to join us a party to
        any "suit" against you to determine your liability,               a.   Cooperate in the transfer of control of
                                                                               "claims"; and
        nor shall we be impleaded by you or your legal
        representatives in any such "suit."                               b.   Arrange for the defense of such "claim" within
H. Transfer Of Rights Of Recovery Against Others To                            such time period as agreed to between you
   Us                                                                          and us. Arrangements for the defense of
                                                                               such "claim" must be made as soon as
   If the insured has rights to recover all or part of any                     practicable.
   payment we have made under this Coverage Form
   those rights are transferred to us. The insured must              4.   We will take no action with respect to defense for
   do nothing after a "claim" is made to impair them. At                  any "claim" if such "claim" is reported to us after
   our request, the insured will bring "suit" or transfer                 the applicable limit of insurance is exhausted. It
   those rights to us and help us enforce them.                           becomes the your responsibility to arrange
                                                                          defense for such "claim."
   In no event shall the insured be entitled to recoup
   from recoveries any amount to satisfy any deductible              5.   You will reimburse us as soon as practicable for
   until after all amounts which we are required to pay or                expenses we incur in taking those steps we deem
   do pay under this Coverage Form are reimbursed to                      appropriate in accordance with Paragraph 2.
   us.                                                                    above.

   Transfer Of Duties When Limit Of Insurance Is                     6.   The exhaustion of the applicable limit of
   Exhausted                                                              insurance and the resulting end of our duty to
                                                                          defend will not be affected by our failure to
        If we conclude that, based on "claims" which                      comply with any of the provisions of this
        have been reported to us and to which this                        Condition.
        insurance may apply, the limit of insurance is
        likely to be exhausted in the payment of                J.   Named Insured Authorization
        "damages" or "defense expenses," we will notify              The insureds agree that the first named insured will
        the first named insured, in writing, to that effect;         act on behalf of all insureds with respect to giving of
   2.   When the limit of insurance has actually been                all notice to us (except notices provided in Section VII
        exhausted by payments of "damages" or                        Paragraph B and C), the receipt of notices from us,
        "defense expenses," we will:                                 the payment of the premiums, the receipt of any
                                                                     return premiums that may become due under this
        a.    Notify the first "named insured" in writing, as        Coverage       Form,     and the       acceptance     of
              soon as practicable, that such limit has been          endorsements.
              exhausted and that our obligations under this
              Coverage Form shall be deemed completely          K. Assignment of Interest
              fulfilled and extinguished;                            Assignment of interest under this Coverage Form
        b.    Initiate, and cooperate in, the transfer of            shall not bind us unless its consent is endorsed to this
              control, to any appropriate insured, of all            Coverage Form.
              open "claims" to you; and                         L.   Common Policy Conditions
        c.    Take such steps, as we deem appropriate, to            Unless otherwise stated in this Coverage Form, all of
              avoid a default in, or continue the defense of,        the terms and conditions of the Businessowners
              such "claims" until such transfer is                   Common Policy Conditions shall be included and
                                                                     incorporated into this Coverage Form.




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               SINGLE LIMIT OF INSURANCE ENDORSEMENT FOR
         EMPLOYMENT PRACTICES/FIDUCIARY LIABILITY COVERAGE FORMS

In consideration of the premium paid for this Policy, it is hereby understood and agreed that the following endorsement is
applicable to the Employment Practices Liability and Fiduciary Liability Coverage Forms:


SINGLE LIMIT OF INSURANCE/DEDUCTIBLE                                Example No. I
A. The Employment Practices/Fiduciary Liability single                   EPL Deductible: $5,000
    limit of insurance shown in the Declarations and                     Employment Practices/Fiduciary Single Limit of
    subject to the provisions of the Employment Practices
                                                                         Insurance: $100,000
    Liability and Fiduciary Liability Coverage Forms is the
    total amount we will pay as "damages' and "defense                   "Damages" and "Defense Expenses": $75,000
    expenses" under both the Employment Practices
    Liability and Fiduciary Liability Coverage Forms                     The EPL Deductible will be subtracted from the
    combined, regardless of the number of insureds,                      amount of "damages" and "defense expenses" in
    "claims" made or persons or entities making "claims"                 calculating the amount payable:
    under such Coverage Forms. If "related claims" are                   $75,000 $5,000
                                                                                 -        =   $70,000 Amount Payable
    subsequently made against the insured and reported
    to us, all such "related claims," whenever made, shall          Example No. 2
    be considered a single "claim" first made and reported               EPL Deductible: $5,000
    to us within the "policy period" in which the earliest of
    the "related claims" was first made and reported to us.              Employment Practices/Fiduciary Single Limit of
                                                                         Insurance: $100,000
B. The Employment Practices/Fiduciary Liability single
   limit of insurance shown in the Declarations shall be                 "Damages" and "Defense Expenses": $120,000
   our maximum aggregate limit of insurance for all                      The EPL Deductible will be subtracted from the
   "damages" and "defense expenses" under the                            amount of "damages" and "defense expenses"
   Employment Practices Liability and Fiduciary Liability                ($120,000 $5,000 = $115,000). Since the amount
                                                                                     -




   Coverage Forms combined, regardless of the number                     of the "damages" and "defense expenses" minus
   of:                                                                   the EPL Deductible exceeds the Employment
                                                                         Practices/Fiduciary Liability single limit of
    1.   Insureds;                                                       insurance, the policy will pay the full Employment
    2.   "Claims";                                                       Practices/Fiduciary Liability Single Limit of
                                                                         Insurance ($100,000).
    3.   "Damages" or "defense expenses" incurred; or
                                                                D   Subject to Paragraph E. below, we may pay any part
    4.   Claimants;                                                 or all of the EPL Deductible amount to effect
    Our obligations under both the Employment Practices             settlement of any "claim" and, upon notification of the
    Liability and Fiduciary Liability Coverage Forms, shall         action taken, you shall promptly reimburse us for such
    be completely fulfilled and extinguished if the                 part of the EPL Deductible amount as has been paid
    Employment Practices/Fiduciary Liability single limit of        by us.
    insurance is exhausted by payment of "damages" or           E.. No deductible applies with respect to any "claim"
    "defense expenses."                                             against any "insured person" if you are not permitted
C. We will pay "damages" and "defense expenses" in                  to advance "defense expenses" or to indemnify such
   excess of the EPL Deductible shown on the                        "insured person" for "damages" by reason of:
   Declarations, up to the applicable Employment                    I. Financial insolvency; or
   Practices/Fiduciary Liability single limit of insurance.
                                                                    2.   A good faith determination by you that such
                                                                         payment is not permitted under the broadest
                                                                         construction of applicable law




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                          EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM
    THIS IS A CLAIMS MADE COVERAGE FORM. PLEASE READ ALL PROVISIONS AND CONTACT YOUR AGENT IF
    YOU HAVE ANY QUESTIONS. THIS INSURANCE APPLIES ONLY TO 'WRONGFUL ACTS" THAT OCCUR BETWEEN
    THE RETROACTIVE DATE AND THE END OF THE "POLICY PERIOD." THIS INSURANCE APPLIES ONLY TO
    "CLAIMS" FIRST MADE AGAINST THE INSURED AFTER THE INCEPTION DATE AND BEFORE THE END OF THE
    "POLICY PERIOD' OR ANY APPLICABLE EXTENDED REPORTING PERIOD AND REPORTED TO US IN
    ACCORDANCE WITH THE PROVISIONS OF THIS FORM. UPON TERMINATION OF YOUR POLICY AN AUTOMATIC
    EXTENDED REPORTING PERIOD WILL BE PROVIDED, AND A SUPPLEMENTAL EXTENDED REPORTING PERIOD
    WILL BE AVAILABLE.



    Various provisions in this Coverage Form restrict coverage. Read the entire Coverage Form carefully to determine rights,
    duties and what is and is not covered.
    Throughout this Coverage Form the terms "you" and "your" refer to the Named Insured shown in the Declarations, and any
    other person or organization qualifying as a Named Insured under this policy." The terms "we," "us" and "our" refer to the
    Stock Insurance Company named on the Declarations providing this insurance.
    The word "insured" means any person or organization qualifying as such under Section II Who Is An Insured.
    Other words and phrases that appear in quotation marks have special meaning. Refer to Section III Definitions.


    SECTION I INSURING AGREEMENTS
                  -
                                                                          No other obligation or liability to pay sums or perform
                                                                          acts or services is covered unless explicitly provided
    A. Coverage
                                                                          for under paragraph 1.D. -Supplementary Payments
        We will pay those sums in excess of the deductible
                                                                       B. Defense
        and subject to the limits of liability that the Insured
        becomes legally obligated to pay as "damages"                     We have the right and duty to defend all "suits," even if
        because of a "claim" resulting from a "wrongful                   the allegations are groundless, false or fraudulent. We
        employment practice" provided:                                    shall have the right to appoint counsel and to make
        1.
                                                                          such investigation and defense of a "suit" as we deem
             The "wrongful employment practice" takes place in            necessary. Alternatively we may, at our option, give
             the "coverage territory";
                                                                          our written consent to the defense of any such "suit" to
        2.   The "wrongful employment practice" did not occur             the insured. Our obligation to defend any "suit" or pay
             before the Retroactive Date, if any, shown in the            any 'damages" and "defense expenses" for any
e            Declarations nor after the end of the "policy                "claim" shall be completely fulfilled and extinguished if
             period"; and                                                 the limit of insurance has been exhausted by payment
                                                                          of "damages" or "defense expenses."
        3.   A "claim" arising out of a "wrongful employment
             practice" is first made against an insured, during        C. Consent To Settle
             the "policy period" or Extended Reporting Period,
                                                                          We shall not settle a "claim" without your written
             if applicable and is reported to us in accordance
                                                                          consent. If you refuse to consent to a settlement or
             with Section VIII, Conditions, paragraph C, Duties           compromise recommended by us, and acceptable to
             in the event of a "Claim"; and                               the claimant, then the applicable limit of insurance
        4.   Prior to the inception date of this Coverage Form:           under this Coverage Form shall be reduced to the
                                                                          amount for which the "claim" could have been settled
             a.    the Insured did not give notice to a prior             plus all "defense expenses" incurred up to the time we
                   insurer of a "related claim";                          made our recommendation.
             b.       the Insured did not give notice to a prior       D. Supplementary Payments
                      insurer of any such "wrongful employment
                      practice" or "interrelated wrongful employment      We will pay, with respect to any "claim" or "suit" we
                      practice."                                          investigate or settle, or any "suit" against an insured
                                                                          we defend all "defense expenses." These payments
                                                                          are included within and reduce the Limits of Insurance.

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SECTION II    -
                  WHO IS AN INSURED                                    1.   criminal or civil fines or penalties imposed by law;
A. If you are designated in the Declarations as:                       2.   taxes;
    1.   A partnership or joint venture, you are an insured            3.   liquidated or the multiple portion of any multiplied
         Your partners or members are also insureds.                        damages, amounts which may be deemed
                                                                            uninsurable under the law pursuant to which this
    2.   A limited liability company, you are an insured                    policy shall be construed;
         Your members and managers are also insureds.
                                                                       4.   compensation earned by the claimant in the
    3.   An organization other than a partnership, joint                    course of employment but unpaid by the Insured,
         venture or limited liability company, you are an                   including salary, wages, commissions, bonus or
         insured. Your "executive officers" and directors                   incentive compensation;
         are also insureds.
                                                                       5.   any amounts for which an Insured is liable due to
B. Your 'employees" are also insureds, unless otherwise
                                                                            breach of any written contract of employment;
   excluded in this policy.
                                                                            amounts representing medical or            insurance
C. Any organization you newly acquire or form, other than                   premiums or benefit claim payments;
   a partnership, joint venture or limited liability company,
   and over which you maintain ownership or majority                   7.   any amount for which an Insured is absolved from
   interest, will qualify as a Named Insured if no other                    payment by reason of any covenant, agreement or
   similar insurance applies to that organization. You                      court order; or
   must notify us of such acquisition or formation as soon
   as practicable. However, coverage under this                        8.   future salary, wages or commissions of a claimant
   provision:                                                               who is hired, promoted or reinstated to
                                                                            employment pursuant to a settlement of, order in,
    1.   Is afforded only until the 90th day after you                      or other resolution of any "daim"
         acquire or form the organization, or until the end of
                                                                       Notwithstanding anything to the contrary above,
         the policy period, whichever is earlier; and
                                                                       "damages" shall include punitive or exemplary
    2.   Does not apply to an offense committed before                 damages, if insurable, to the fullest extent permitted by
         you acquired or formed the organization.                      any applicable law. Where you reasonably determine
                                                                       that punitive, exemplary or multiple damages are
No person or organization is an insured with respect to the
                                                                       insurable under any applicable law, we shall not
conduct of any current or past partnership, joint venture or           challenge that determination of insurability.
limited liability company that is not shown as a Named
Insured in the Declarations.                                      D. "Defense expenses" means all fees charged by
                                                                     attorneys designated by us, or by you, with our written
SECTION III   -
                  DEFINITIONS
                                                                     consent and all other reasonable and necessary fees,
The following defined words shall have the same meaning              costs and expenses resulting from the investigation,
throughout this Coverage Form, whether expressed in the              adjustment, defense and appeal of a "claim" if incurred
singular or the plural.                                              by us or you with our written consent, including the
                                                                     costs of appeal, attachment or similar bonds. We have
A. "Claim" means a "suit" or written demand for monetary             no obligation to provide such bonds. "Defense
   damages against an insured and made by or on behalf               Expenses" shall not include salaries, wages, fees,
   of a natural person who is an "employee" or applicant             overhead or benefit expenses associated with the
   for employment for a "wrongful employment practice."              directors, officers, and employees of yours.
B. "Coverage territory" means:                                    E. "Domestic Partner" means any person qualifying as
    1.   The United States of America (including its                 such under any federal, state or local laws or under
         territories or possessions) and Puerto Rico; or             your employee benefit plans.
    2.   All parts of the world if the insured's responsibility   F.   "EEOC Proceeding" means an investigative
         to pay "damages" is determined in a "suit" on the             proceeding before the Equal Employment Opportunity
         merits brought in the territory described in                  Commission or an adjudicatory or investigative
         Paragraph 1. above or in a settlement of a "claim"            proceeding before any similar federal, state or local
         that we agree to.                                             government body whose purpose is to address
                                                                       "wrongful employment practices."
C. "Damages" means sums (including back pay and
   front pay), settlements, judgments (including any              G. "Employee" means all of your past, present or future
   award of pre -judgment and post-judgment interest) for            full-time or part-time employees, including seasonal
   which you are legally obligated to pay on account of a            and temporary employees and employees leased or
   covered "claim." "Damages" shall not include:                     loaned to you. "Employee" does not include an
                                                                     independent contractor.

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     H. "ERISA or any Similar Act" means the Employee                      3.   Violation of any federal, state or local laws
        Retirement Income Security Act of 1974, as amended,                     (whether common-law or statutory) concerning
        or any similar common or statutory law of the United                    employment or discrimination in employment,
        States, Canada or their states, territories or provinces                including the Americans with Disabilities Act of
        or any other jurisdiction anywhere in the world.                        1992, the Civil Rights Act of 1991, the Age
                                                                                Discrimination in Employment Act of 1967, Title
           "Executive officer" means your chairperson, chief                    VII of the Civil Rights Act of 1964 and the Civil
           executive officer, president, chief financial officer and            Rights Act of 1866;
           in-house general counsel, and, the director of human
           resources or equivalent position;                               4.   Sexual harassment or other unlawful harassment
                                                                                in the work place;
     J.    "Insured Persons" means all of those natural person
           insureds who are your partners, members, managers,              5.   Wrongful deprivation of career opportunity or
           "executive officers," directors and "employees"                      failure to employ or promote;
     K. "Interrelated Wrongful Employment Practices"                       6.   Wrongful discipline of "employees";
        means any "wrongful employment practices" which are
        logically or causally connected by reason of any                   7.   Retaliation against "employees" for the exercise of
        common fact, circumstance, situation, transaction or                    any legally protected right or for engaging in any
           event.
                                                                                legally protected activity;

     L.    "Policy Period" means the period from the effective             8.   Negligent evaluation of "employees";
           date of this Coverage Form to the expiration date               9.   Failure to adopt adequate workplace                 or
           stated on the Declarations, or its earlier cancellation              employment policies and procedures;
           date.
                                                                           10. Employment-related defamation or invasion of
     M. "Pollutants" means any substance exhibiting                            privacy; or
        hazardous characteristics as, is or may be defined or
        identified on any list of hazardous substances issued              11. Employment-related       wrongful       infliction   of
        by the United States Environmental Protection Agency                   emotional distress.
        or any state or local or foreign counterpart. "Pollutants"     SECTION IV- EXTENDED REPORTING PERIOD
        also means, without limitation, any solid, liquid,
        gaseous or thermal irritant or contaminant, including          A. If the first Named Insured cancels or non-renews this
        smoke, vapor, soot, fumes, acids, alkalis, chemicals or           Coverage Form or if we decide not to offer any
        waste     (including    materials to      be recycled,            renewal terms for this Coverage Form, the first Named
        reconditioned or reclaimed), as well as any air                   Insured shall have the right to purchase, upon
        emission, odor, waste water, oil or oil products,                 payment of an additional premium not to exceed 200%
        infectious or medical waste, asbestos, or asbestos                of the annual premium for this coverage, an extension
        products or any noise.                                            of this Coverage Form for a period of 12 months
                                                                          immediately following the end of the "policy period,"
     N. "Related claims" mean all claims arising out of a                 but only with respect to any "wrongful employment
        single "wrongful employment practice" or arising out of           practice" committed before the earlier of the end of the
01
        "interrelated wrongful employment practices."                     "policy period";
CD

     ['I   "Suit" means a formal civil, administrative, or
04                                                                         This period shall be referred to as the Extended
           regulatory    proceeding    (including    an    "EEOC           Reporting Period.
           Proceeding") or investigation or an arbitration against
           an insured, including any appeal therefrom.                 B. As a condition precedent to the right to purchase the
                                                                          Extended Reporting Period, the total premium for this
     P     "Wrongful Employment Practice" means any actual                Coverage Form must have been paid. The right to
           or alleged error, misstatement, misleading statement,          purchase the Extended Reporting Period shall end
           act, omission, neglect or breach of duty committed or          unless we receive written notice and full payment of
           attempted by the "insured persons" in their capacity as        the premium for such period within 30 days after the
           such or by you constituting or related to                      end of the "policy period."
           1.   Wrongful dismissal or discharge or termination of      C. If the Extended Reporting Period is purchased, the
                employment, whether actual or constructive;                entire premium shall be deemed fully earned at its
           2.   Employment-related misrepresentation;                      commencement without any obligation by us to return
                                                                           any portion thereof.
                                                                       D. There is no separate or additional limit of insurance for
                                                                          the Extended Reporting Period.



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SECTION V LIMIT OF INSURANCE
              -
                                                                              law anywhere in the world governing an
                                                                              employer's obligation to notify or bargain with
   Your rights and ours are stated in the attached Single                     others in advance of any facility closing or
   Limit of Insurance Endorsement For Employment                              mass layoff.
   Practices/Fiduciary Liability Coverage Forms
                                                                       f.     The    National Labor Relations _AL as
SECTION VI EXCLUSIONS
               -
                                                                              amended, or any other federal, state or local
A. Exclusions Applicable to Damages and Defense                               statutory or regulatory law or common law
   Expenses                                                                   anywhere in the world governing employees'
                                                                              rights and the employers duties with respect
   We will not be liable to pay any "damages" or "defense                     to unions, bargaining, strikes, boycotts,
   expenses" under this Coverage Form in connection                           picketing, lockouts or collective activities.
   with any "claim" made against an insured:
                                                                       However, this exclusion shall not apply to any
   1.   Bodily Injury/Property Damage                                  "claim" alleging retaliation or wrongful dismissal or
        For any actual or alleged bodily injury (including             discharge or termination of employment whether
        death), sickness, disease of any person, or                    actual or constructive, because of a claimant's
        damage to or destruction of any tangible property              exercise of a right pursuant to any such laws;
        including loss of use except that this exclusion          3.   Pollution
        shall not apply to allegations of emotional distress,
        humiliation or mental anguish;                                 Based upon, directly or indirectly arising out of or
                                                                       in any way involving: any nuclear reaction,
   2.   Violation of Law                                               radiation or contamination, or any actual, alleged
        Based upon, directly or indirectly arising out of, or          or threatened discharge, release, escape, or
        in any way involving any actual or alleged violation           disposal of, or exposure to, "pollutants"; any
        of:                                                            request, direction or order that any of the insureds
                                                                       test for, monitor, clean up, remove, contain, treat,
        a.    (i) "ERISA or any Similar Act," (ii) the                 detoxify, neutralize or in any way respond to or
              Consolidated Omnibus Budget Reconciliation               assess the effect of "pollutants" or nuclear
              Act of 1985 (COBRA), as amended, or (iii)                reaction, radiation or contamination, or any
              any other federal, state or local statutory law          voluntary decision to do so; or any actual or
              or common law anywhere in the world                      alleged property damage, or bodily injury,
              governing any employee benefit program,                  sickness, disease or death of any person resulting
              policy, plan or arrangement of any type,                 from any of the aforementioned matters. However,
              including but not limited to laws governing              this exclusion shall not apply to any "claim"
              retirement or pension benefit programs,                  alleging retaliation or wrongful dismissal or
              welfare plans, insurance plan, employee stock            discharge or termination of employment whether
              option ownership or employee stock purchase              actual or constructive, because of a claimant's
              plans or deferred compensation programs;                 exercise of a right pursuant to any such laws;
        b.    Any law governing workers' compensation,            4.   Prior Wrongful Acts of Subsidiaries
              unemployment insurance, social security.
              disability benefits or any other similar federal,        For:
              state or local statutory or regulatory law or            (a) Any "wrongful employment practice" by an
              common law anywhere in the world;                            insured of any of your subsidiaries, or by such
        c.    The Occupational Safety and Health Act of                    subsidiary occurring before the date such
              191 (OSHA), as amended, or any other                         entity became a subsidiary, or
              federal, state or local statutory or regulatory          (b) Any other "wrongful employment practice,"
              law or common law anywhere in the world                      whenever occurring, which, together with a
              governing workplace safety and health;                       "wrongful employment practice" described in
        d.    The Fair Labor Standards Act (except the                        (a) above, would constitute "interrelated
              Equal Pay Act), as amended, or any other                        wrongful employment practices."
              federal, state or local statutory law or common     5.   Assumed Liability
              law anywhere in the world governing wage,
              hour and payroll policies;                               Based upon, directly or indirectly arising out of or
                                                                       in any way involving the insured's assumption of
        e.    The Workers' Adjustment         and   Retraining         the liability of others in any oral or written contract
              Notification Act, Public Law     100-379 (1988),         or agreement, unless such liability would have
              as amended, or any other        federal, state or        attached to an Insured in the absence of such
              local statutory or regulatory    law or common           agreement;

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B. Exclusions Applicable to Non -Monetary Relief                  C. Duties in the Event of A "Wrongful Employment
                                                                     Practice" That May Result In A "Claim"
     We will not be liable to pay any "damages" under this
     Coverage Form that represent                                      If, during the "policy period," you first become aware of
                                                                       a specific "wrongful employment practice" which may
     1.   The cost of any non -monetary relief, including              reasonably give rise to a future "claim," and during the
          without limitation any costs associated with                 "policy period" give written notice to us of:
          compliance with any injunctive relief of any kind or
          nature imposed by any judgment or settlement;                1.   The names of any potential claimants and a
                                                                            description of the "wrongful employment practice"
     2.   The costs associated with providing any                           which forms the basis of their potential "claim";
          reasonable accommodations required by, made
          as a result of, or to conform with the requirements          2.   The identity of the specific insureds allegedly
          of the Americans With Disabilities Act and any                    responsible    for    such    specific     "wrongful
          amendments thereto or any similar federal, state                  employment practice";
          or local statute, regulation, or common laws;
                                                                       3.   The consequences which have resulted or may
     3.   Amounts determined to be owing under an                           result from such specific "wrongful employment
          express contract with or express severance                        practice";
          obligation of yours; however, this exclusion shall
                                                                       4.   The nature of the potential monetary damages
          not apply if and to the extent that liability would
                                                                            which may be sought in consequence of such
          have attached to such insured in the absence of
                                                                            specific "wrongful employment practice"; and
          the express contract with or obligation of yours ; or
     4.
                                                                       5.   The circumstances by which you first became
          Medical or insurance benefits to which the
                                                                            aware of such specific "wrongful employment
          claimant allegedly was entitled or would have
                                                                            practice";
          been entitled had you provided the claimant with a
          continuation or conversion of insurance.                     Then any "claim" otherwise covered pursuant to this
                                                                       Coverage Form which is subsequently made and
SECTION VII      -
                     CONDITIONS
                                                                       which arises out of such "wrongful employment
A. Bankruptcy                                                          practice" shall be deemed to have been first made and
                                                                       reported to us by you at the time we received such
     Bankruptcy or insolvency of the insured or of the                 written notice. No coverage is provided for fees and
     "insured's" estate will not relieve us of our obligations         expenses incurred prior to the time such notice results
     under this policy.                                                in a "claim."
B.   Duties In The Event Of A 'Claim"                             D. When a "Claim" is Deemed Made
     1.   If, during the "policy period' or any Extended               A "claim" shall be deemed made:
          Reporting Period, if applicable, any "claim" is first
          made against the "insured," the insured shall, as a          1.   In the case of a civil, administrative or regulatory
          condition precedent to our obligations under this                 proceeding or arbitration, on the earliest of the
          Coverage Form, give us written notice as soon as                  date of service upon or other receipt by the
          practicable but in no event later than ninety (90)                insured of a complaint, or similar document
          days after the end of the "policy period" or the                  against the insured in such proceeding or
          Extended Reporting Period, if applicable.                         arbitration;
     2.   You must:                                                    2.   In the case of an investigation, on the earliest of
                                                                            the date of service upon or other receipt by the
          a.    Immediately send us copies of any demands,                  insured of a written notice or subpoena from the
                notices, summonses or legal papers received                 investigating authority identifying such "insured
                in connection with the "claim";                             person" as an individual against whom a formal
          b. Authorize us to obtain records and other                       proceeding may be commenced;
             information; and                                          3.   In the case of a written demand for monetary
          c.    Cooperate with us in the investigation or                   damages, upon the insured's receipt of such
                settlement of the "claim" or defense of the                 written demand.
                "suit."                                           E.   Other Insurance
     3.   No insured shall voluntarily make a payment,                 The Other Insurance clause, Section H. of the
          assume any obligation, or incur any expense                  Common Policy Conditions is deleted and replaced
          without our written consent.                                 with the following:



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     If any "damages" and "defense expenses" resulting          request, the insured will bring "suit" or transfer those
     from any "claim" are insured under any other policies,     rights to us and help us enforce them.
     this Coverage Form shall apply only to the extent the
     "damages" and "defense expenses" exceed the                In no event shall the insured be entitled to recoup from
     amount paid under such other insurance, whether            recoveries any amount to satisfy any deductible until
     such other insurance is stated to be primary,              after all amounts which we are required to pay or do
     contributory, excess, contingent or otherwise, unless      pay under this Coverage Form are reimbursed to us.
     such other insurance is written only as specific excess    Transfer Of Duties When Limit Of Insurance Is
     insurance over this Coverage Form.                         Exhausted
F.   Section IV. Estates, Legal Representatives and             1.   If we conclude that, based on "claims" which have
     SpouseslDomestic Partners                                       been reported to us and to which this insurance
     Section L. of the Common Policy Conditions, Transfer            may apply, the limit of insurance is likely to be
     Of Your Rights And Duties Under This Policy, is                 exhausted in the payment of "damages" or
     deleted in its entirety and replaced as follows:                "defense expenses," we will notify the first named
                                                                     insured, in writing, to that effect;
     The estates, heirs, legal representatives, assigns,
     spouses and any "domestic partner" of "insured             2.   When the limit of insurance has actually been
     persons" shall be considered insureds under this                exhausted by payments of "damages" or "defense
     Coverage Form; provided, however, coverage is                   expenses," we will:
     afforded to such estates, heirs, legal representatives,         a.   Notify the first named insured in writing, as
     assigns and spouses only for a "claim "arising solely                soon as practicable, that such limit has been
     out of their status as such and, in the case of a spouse             exhausted and that our obligations under this
     or "domestic partner," where such "claim" seeks                      Coverage Form shall be deemed completely
     damages from marital community property, jointly held                fulfilled and extinguished;
     property or property transferred from the "insured
     person" to the spouse or "domestic partner." No                 b.   Initiate, and cooperate in, the transfer of
     coverage is provided for any act, error or omission of               control, to any appropriate insured, of all open
     an estate, heir, legal representative, assign, spouse or             "claims" to you; and
     "domestic partner." All terms and conditions of this            c.   Take such steps, as we deem appropriate, to
     Coverage Form, including without limitation the                      avoid a default in, or continue the defense of,
     deductible applicable to "damages" and "defense                      such "claims" until such transfer is completed,
     expenses" incurred by the "insured person" shall also                provided you are cooperating in completing
     apply to "damages" and "defense expenses" incurred                   such transfer.
     by such estates, heirs, legal representatives, assigns,
     spouses and "domestic partners."                           3.   Upon receipt of such notice, you must:
G. No Action Against Us                                              a.   Cooperate in     the transfer of control     of
                                                                          "claims"; and
     1.   No action shall be taken against us unless, as a
          condition precedent, there shall have been full            b.   Arrange for the defense of such "claim" within
          compliance with all the provisions of this                      such time period as agreed to between you
          Coverage Form nor until the amount of your                      and us. Arrangements for the defense of such
          obligation to pay shall have been finally                       "claim" must be made as soon as practicable.
          determined either by final and nonappealable          4.   We will take no action with respect to defense for
          judgment against you after trial or by written             any "claim" if such "claim" is reported to us after
          agreement by you, the claimant and us.                     the applicable limit of insurance is exhausted. It
     2. No person or organization shall have any right               becomes your responsibility to arrange defense
        under this Coverage Form to join us a party to any           for such "claim."
          "suit" against you to determine your liability, nor   5.   You will reimburse us as soon as practicable for
          shall we be impleaded by you or your legal                 expenses we incur in taking those steps we deem
          representatives in any such "suit."                        appropriate in accordance with Paragraph 2.
H. Transfer Of Rights Of Recovery Against Others To                  above.
   Us                                                           6.   The exhaustion of the applicable limit of insurance
     If the insured has rights to recover all or part of any         and the resulting end of our duty to defend will not
     payment we have made under this Coverage Form                   be affected by our failure to comply with any of the
     those rights are transferred to us. The insured must do         provisions of this Condition.
     nothing after a "claim" is made to impair them. At our


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     J.   Named Insured Authorization                                K. Assignment of Interest
          The insureds agree that the first named insured will act        Assignment of interest under this Coverage Form shall
          on behalf of all insureds with respect to giving of all         not bind us unless its consent is endorsed to this
          notice to us (except notices provided in Section VII.           Coverage Form.
          Paragraph B and C), the receipt of notices from us, the
          payment of the premiums, the receipt of any return         L.   Common Policy Conditions
          premiums that may become due under this Coverage                Unless otherwise stated in this Coverage Form, all of
          Form, and the acceptance of endorsements.                       the terms and conditions of the Business Owners
                                                                          Common Policy Conditions Endorsement shall be
                                                                          included and incorporated into this Coverage Form.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
     CONCURRENT CAUSATION, EARTH MOVEMENT & WATER EXCLUSION
                            CHANGES
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
A. Section B. EXCLUSIONS the first paragraph of B.1. is                                  Action, and such resulting loss or damage is
   deleted in its entirety and replaced by the following:                                not otherwise excluded, we will pay for the
                                                                                         loss or damage caused by that fire, building
    1.   We will not pay for loss or damage directly or                                  glass breakage or Volcanic Action.
         indirectly caused by or resulting from any of the
         following regardless of: (a) the causes of the                                  Volcanic action means direct loss or damage
         excluded event; or (b) other causes of the loss; or                             resulting from the eruption of a volcano when
         (c) any other causes or events, whether or not                                  the loss or damage is caused by:
         insured under this Policy, which may have                                        (a) Airborne volcanic blast or airborne shock
         contributed concurrently or in any sequence with                                     waves;
         the excluded event to produce the loss; or (d)
         whether the event occurred suddenly or gradually,                                (b) Ash, dust or particulate matter; or
         involved isolated or widespread damage, arose                                    (c) Lava flow.
         from natural or external forces or acts or
         omissions of man, or occurred as a result of any                                 All volcanic eruptions that occur within any
         combination of any of the following:                                             168 hour period will constitute a single
                                                                                          occurrence.
B. Section B. EXCLUSIONS exclusion B.1.b. Earth
   Movement deleted in its entirety and replaced by the                                  Volcanic action does not include the cost to
   following:                                                                            remove ash, dust or particulate matter that
                                                                                         does not cause direct physical loss or
    b.   Earth Movement                                                                  damage to the Covered Property.
         (1) Earthquake, including any earth sinking, rising
                                                                         C. Section B. EXCLUSIONS exclusion B.1.g. Water is
             or shifting related to such event;                             deleted in its entirety and replaced by the following:
         (2) Landslide, including any earth sinking, rising                    g.   Water
             or shifting related to such event;
                                                                                    (1) "Flood," surface water, waves, tides, tidal
         (3) Mine subsidence, meaning subsidence of a                                   waves, overflow of any body of water,
             man-made mine, whether or not mining                                       including release of water held by a dam, levy
             activity has ceased;
                                                                                        or dike or by a water or flood control device,
         (4) Earth sinking (other than sinkhole collapse),                              or their spray, all whether driven by wind or
             rising or shifting, including soil conditions                                not;
             which cause settling, cracking or other                                (2) Mudslide or mudflow;
             disarrangement of foundations or other parts
             of realty. Soil conditions include contraction,                        (3) Water or sewage that backs up or overflows
             expansion,     freezing, thawing,     erosion,                             from a sewer, drain or sump; or
             improperly compacted soil and the action of
                                                                                    (4) Water under the ground surface pressing on,
             water under the ground surface.
                                                                                        or flowing or seeping through:
         Also, Earth Movement, as described in (1) through
                                                                                          (a) Foundations,           walls,   floors    or   paved
         (4) applies to acts or omissions of man or any
                                                                                              surfaces;
         other cause or combination of causes listed
         above. But if Earth Movement, as described in (1)                                (b) Basements, whether paved or not; or
         through (4) above, results in fire or explosion, and
         such resulting loss or damage is not otherwise                                   (c) Doors, windows or other openings.
         excluded, we will pay for the loss or damage                          But if water, as described in g.(1) through g.(4) above,
         caused by that fire or explosion.                                     results in fire, explosion, or sprinkler leakage not
         (5) Volcanic eruption, explosion or effusion. But if                  otherwise excluded, we will pay for the loss or damage
             volcanic eruption, explosion or effusion results                  caused by that fire, explosion, or sprinkler leakage.
             in fire, building glass breakage or Volcanic

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    D. Wherever the word "flood appears in the Commercial                       areas, whether caused by natural occurrences, acts or
       Property Coverage Part, it is amended to a defined                       omissions of man or any other cause or combination of
       term, as per the following, and is added to the                          causes.
       Definitions section of each applicable coverage part.
                                                                                All flooding in a continuous or protracted event will
       "FIood means a general and temporary condition of                        constitute a single flood.
       partial or complete inundation of normally dry land




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                    IDENTITY THEFT/RECOVERY SERVICES ENDORSEMENT
            IDENTITY THEFT/RECOVERY CASE MANAGEMENT SERVICE AND EXPENSE
                                                    REIMBURSEMENT
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following changes apply to the Businessowners                        authorized representative of an "identity recovery
Special Property Coverage Form:                                          insured," whether acting alone or in collusion with
                                                                         others. However, this exclusion shall not apply to
A. IDENTITY RECOVERY COVERAGE                                            the interests of an "insured" who has no
    The following is added to Paragraph 5. Additional                    knowledge of or involvement in such fraud,
    Coverages:                                                           dishonesty or criminal act.

    We will provide the Case Management Service and                 3.   Loss other than "identity recovery expenses."
    Expense Reimbursement Coverage indicated below if               4.   An "identity theft" that is first discovered by the
    all of the following requirements are met:                           "identity recovery insured" prior to or after the
    1.   There has been an 'identity theft' involving the                policy period for which this coverage applies. This
         personal identity of an 'identity recovery insured'             exclusion applies whether or not such "identity
         under this policy; and                                          theft" began or continued during the period of
                                                                         coverage.
    2.   Such "identity theft' is first discovered by the
         'identity recovery insured" during the policy period       5.   An "identity theft" that is not reported to us within
         for which this Identity Recovery coverage is                    60 days after it is first discovered by the "identity
         applicable; and                                                 recovery insured."

    3.   Such "identity theft" is reported to us as soon as         6.   An "identity theft" that is not reported in writing to
         practicable but in no event later than 60 days after            the police.
         it is first discovered by the "identity recovery       C. LIMITS OF INSURANCE
         insured."
                                                                    1.   Case Management Service is available as needed
    If all three of the requirements listed above have been              for any one "identity theft" for up to 12 consecutive
    met, then we will provide the following to the "identity             months from the inception of the service.
    recovery insured":                                                   Expenses we incur to provide Case Management
    1.   Case Management Service                                         Service do not reduce the amount of limit available
                                                                         for Expense Reimbursement coverage.
         Services of an "identity recovery case manager"
         as needed to respond to the "identity theft"; and          2.   Expense Reimbursement coverage is subject to a
                                                                         limit of $25,000 annual aggregate per "identity
    2.   Expense Reimbursement                                           recovery insured." Regardless of the number of
                                                                         claims, this limit is the most we will pay for the
         Reimbursement of necessary and reasonable
                                                                         total of all loss or expense arising out of all
         "identity recovery expenses" incurred as a direct
                                                                         "identity thefts" to any one "identity recovery
         result of the "identity theft."
                                                                         insured" which are first discovered by the "identity
   This coverage is additional insurance.                                recovery insured" during a 12 -month period
                                                                         starting with the beginning of the present annual
B. EXCLUSIONS                                                            policy period.      If an "identity theft" is first
   The following additional exclusions are added to                      discovered in one policy period and continues into
   Section B. Exclusions and apply to this coverage:
                -                                                        other policy periods, all loss and expense arising
                                                                         from such "identity theft" will be subject to the
   We do not cover loss or expense arising from any of                   aggregate limit applicable to the policy period
   the following:                                                        when the "identity theft" was first discovered.
    1.   Theft of a professional or business identity.                   a.   Legal costs as provided under paragraph d. of
   2.    Any fraudulent, dishonest or criminal act by an                      the definition of "identity recovery expenses"
         "identity recovery insured," or any person aiding or                 are part of, and not in addition to the Expense
         abetting an "identity recovery insured," or by any                   Reimbursement coverage limit.

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          b.    Lost Wages and Child and Elder Care                           As respects Expense Reimbursement coverage,
                Expenses as provided under paragraphs e.                      the "identity recovery insured" must send to us
                and f. of the definition of "identity recovery                within 60 days after our request, receipts, bills or
                insured" are jointly subject to a sublimit of                 other records that support his or her claim for
                $250. per day, not to exceed $5,000. in total.                "identity recovery expenses."
                This sublimit is part of, and not in addition to
                the Expense Reimbursement coverage limit.                2.   Services
                Coverage is limited to lost wages and                         The following conditions apply as respects any
                expenses incurred within 12 months after the                  services provided by us or our designees to any
                first discovery of the "identity theft" by the                "identity   recovery    insured"   under    this
                "identity recovery insured."                                  endorsement:
          c.    Mental Health Counseling as provided under                    a. Our ability to provide helpful services in the
                paragraph g. of the definition of "identity                      event of an "identity theft" depends on the
                recovery expenses" is subject to a sublimit of                     cooperation, permission and assistance of the
                $1,000. This sublimit is part of, and not in                       "identity recovery insured."
                addition to the Expense Reimbursement
                coverage limit.       Coverage is limited to                  b.   All services may not be available or applicable
                counseling that takes place within 12 months                       to all individuals.   For example, "identity
                after the first discovery of the "identity theft"                  recovery insureds" who are minors or foreign
                by the "identity recovery insured."                                nationals may not have credit records that can
                                                                                   be provided or monitored. Service in Canada
D. DEDUCTIBLE                                                                      will be different from service in the United
     Case Management Service is not subject to a                                   States and Puerto Rico in accordance with
     deductible.                                                                   local conditions.

     Expense Reimbursement coverage is subject to a                           c.   We do not warrant or guarantee that our
     deductible of $250.      Any one "identity recovery                           services will end or eliminate all problems
     insured" shall be responsible for only one deductible                         associated with an "identity theft" or prevent
     under this Identity Recovery Coverage during any one                          future "identity thefts."
     policy period.                                                      3.   Computer Security
F.   CONDITIONS                                                               It is the responsibility of each "identity recovery
     The following additional conditions are added to                         insured" to use and maintain his or her computer
     Section F. Commercial Property Conditions and
                   -
                                                                              system security, including personal firewalls, anti-
     apply to this coverage:                                                  virus software and proper disposal of used hard
                                                                              drives.
     1.   Assistance and Claims
                                                                    F.   DEFINITIONS
          For assistance, the "identity recovery insured"
          should call the Identity Recovery Help Line at 1-              With respect to the provisions of this endorsement
          877-CNA-ASAP (1-877-262-2727) CNA Claims.                      only, the following definitions are added to Section G.
                                                                         -
                                                                           Property Definitions:
          The Identity Recovery Help Line can provide the
          "identity recovery insured" with:                              1.   "Identity Recovery Case Manager" means one or
                                                                              more individuals assigned by us to assist an
          a.    Information and advice for how to respond to                  "identity recovery insured" with communications
                a possible "identity theft"; and                              we deem necessary for re-establishing the
                                                                              integrity of the personal identity of the "identity
          b.    Instructions for how to submit a service                      recovery insured."       This includes, with the
                request for Case Management Service and/or
                                                                              permission and cooperation of the "identity
                a claim form for Expense Reimbursement                        recovery insured," written and telephone
                Coverage.
                                                                              communications with law enforcement authorities,
          In some cases, we may provide Case                                  governmental agencies, credit agencies and
          Management services at our expense to an                            individual creditors and businesses.
          "identity recovery insured" prior to a determination           2.   "Identity Theft" means the fraudulent use of the
          that a covered "identity theft" has occurred. Our                   social security number or other method of
          provision of such services is not an admission of                   identifying an "identity recovery insured." This
          liability under the policy. We reserve the right to
                                                                              includes fraudulently using the personal identity of
          deny further coverage or service if, after
                                                                              an "identity recovery insured" to establish credit
          investigation, we determine that a covered
                                                                              accounts, secure loans, enter into contracts or
          "identity theft" has not occurred.                                  commit crimes.

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                                                                                                                  (Ed. 01/08)


        "Identity theft" does not include the fraudulent                 e.   Lost Wages
        use of a business name, d/b/a/ or any other
                                                                              Actual lost wages of the "identity recovery
        method of identifying a business activity.
                                                                              insured" for time reasonable and necessarily
        "Identity theft" does not include the unauthorized                    taken away from work and away from the
        use of a valid credit card, credit account or bank                    work premises.       Time away from work
        account. However, "identity theft" does include                       includes partial or whole work days. Actual
        the fraudulent alteration of account profile                          lost wages may include payment for vacation
        information, such as the address to which                             days, discretionary days, floating holidays and
        statements are sent.                                                  paid personal days. Actual lost wages does
                                                                              not include sick days or any loss arising from
   3.   Identity Recovery Expenses" means the
                                                                              time taken away from self employment.
        following when they are reasonable and                                Necessary time off does not include time off
        necessary expenses that are incurred in the                           to do tasks that could reasonable have been
        United States or Canada as a direct result of an                      done during non -working hours.
        "identity theft":
                                                                         f.   Child and Elder Care Expenses
        a.    Costs for re -filing applications for loans,
              grants or other credit instruments that are                     Actual costs for supervision of children or
              rejected solely as a result of an "identity theft."             elderly or infirm relatives or dependents of the
                                                                              "identity recovery insured" during time
        b.    Costs for notarizing affidavits or other similar                reasonable and necessarily taken away from
              documents, long distance telephone calls and                                              Such care must be
                                                                              such supervision.
              postage solely as a result of your efforts to
                                                                              provided by a professional care provider who
              report an "identity theft" or amend or rectify
                                                                              is not a relative of the "identity recovery
              records as to your true name or identity as a                   insured."
              result of an "identity theft."
                                                                         g.   Mental Health Counseling
        c.    Costs for up to twelve (12) credit reports from
              established credit bureaus dated within 12                      Actual costs for counseling from a licensed
              months after your knowledge or discovery of                     mental health professional. Such care must
              an "identity theft."                                            be provided by a professional care provider
                                                                              who is not a relative of the "identity recovery
        d.    Legal Costs
                                                                              insured."
              Fees and expenses for an attorney approved            4.   "Identity    Recovery      Insured"     means       the
              by us for:                                                 following:
              (1) Defending any civil suit brought against               a.   The owner of the entity insured under this
                  an "identity recovery insured" by a                         policy who meets any of the following criteria:
                  creditor or collection agency or entity
                  acting on behalf of a creditor for non-                     (1) A sole proprietor of the insured entity;
                  payment of goods or services or default
                  on a loan as a result of an "identity theft";               (2) A partner in the insured entity; or
                  and                                                         (3) An individual having an ownership
              (2) Removing any civil judgment wrongfully                          position of 20% or more of the insured
                  entered against an "identity recovery                           entity.
                  insured" as a result of the "identity theft."




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C'NA                                                                                                                           (Ed. 07/09)



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                       RECORDING AND DISTRIBUTION OF MATERIAL OR
                       INFORMATION IN VIOLATION OF LAW EXCLUSION
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS LIABILITY COVERAGE FORM
A. The following exclusion is added to Section B.                          B. The following exclusion is added to Section B.
   EXCLUSIONS of the Businessowners Liability                                 EXCLUSIONS, Paragraph p. Personal And Advertising
    Coverage Form:                                                              Injury:
    2.   Exclusions                                                             2.    Exclusions
         This insurance does not apply to:                                            This insurance does not apply to:
         q.    Recording And Distribution Of Material Or                              (15) Recording And Distribution Of Material Or
               Information In Violation Of Law                                             Information In Violation Of Law
               "Bodily injury" or "property damage" arising                                "Personal and advertising injury" arising
               directly or indirectly out of any action or                                 directly or indirectly out of any action or
               omission that violates or is alleged to violate:                            omission that violates or is alleged to violate:
               (1) The Telephone Consumer Protection Act                                   (1) The Telephone Consumer Protection Act
                   (TCPA), including any amendment of or                                       (TCPA), including any amendment of or
                   addition to such law;                                                       addition to such law;
               (2) The CAN -SPAM Act of 2003, including                                    (2) The CAN -SPAM Act of 2003, including
                   any amendment of or addition to such                                        any amendment of or addition to such
                   law;                                                                          law;
               (3) The Fair Credit Reporting Act (FCRA),                                   (3) The Fair Credit Reporting Act (FCRA),
                   and any amendment of or addition to                                         and any amendment of or addition to
                   such law, including the Fair and Accurate                                   such law, including the Fair and Accurate
                   Credit Transaction Act (FACTA); or                                          Credit Transaction Act (FACTA); or
               (4) Any federal, state or local statute,                                    (4) Any federal, state or local statute,
                   ordinance or regulation, other than the                                     ordinance or regulation, other than the
                   TCPA, CAN -SPAM Act of 2003 or FCRA                                         TCPA, CAN-SPAM Act of 2003 or FCRA
                   and their amendments and additions, that                                    and their amendments and additions, that
                   addresses, prohibits, or limits the printing,                               addresses, prohibits, or limits the printing,
                   dissemination,     disposal,      collecting,                               dissemination,     disposal,      collecting,
                   recording,    sending,       transmitting,                                    recording,    sending,       transmitting,
                   communicating or distribution of material                                     communicating or distribution of material
                   or information.                                                               or information.




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                                                                                                                 (Ed. 01/08)


           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                           BUSINESS INCOME AND EXTRA EXPENSE                                    -




                                NEWLY ACQUIRED LOCATIONS
This endorsement modifies insurance provided under the following:
    BUSINESS INCOME AND EXTRA EXPENSE COVERAGE FORM
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following coverage is added to your Businessowners              2.   The most we will pay under this coverage for the
Special Property Coverage Form under Paragraph A.6.                      sum of Business Income and Extra Expense
Coverage Extensions.                                                     incurred is $250,000 at each location.
Unless otherwise stated, payments made under the                    3.   Insurance under this extension for each newly
following Coverage Extension is subject to and not in                    acquired location will end when any of the
addition to the applicable Limits of Insurance.                          following first occurs:
Business Income and Extra Expense       -
                                            Newly Acquired               a.   This policy expires;
Premises
                                                                         b.   90 days expire after you acquire or begin to
    1.   When the Declarations show that you have                             construct the property;
         coverage for Business Income and Extra
         Expense, you may extend that insurance to apply
                                                                         c.   You report the location to us;
         to the actual loss of Business Income and                       d. The Business Income or Extra Expense is
         necessary Extra Expense you incur due to the                       more specifically insured.
         "suspension" of your "operations" during the
         "period of restoration." The "suspension" must be               We will charge you additional premium for
         caused by or resulting from a Covered Cause of                  locations reported from the date you acquire the
         Loss at any premises you newly acquire by                       property.
         purchase or lease (other than at fairs, trade shows        4.   Payments made under this Coverage Extension
         or exhibitions).                                                are in addition to the applicable Limits of
                                                                         Insurance.




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     CNA                                                                                      Policy Holder Notice


                                            HOW TO REPORT A CLAIM
     Thank you for choosing CNA!
     With your CNA Connect® Businessowners Insurance Policy, you have insurance coverage tailored to meet the needs
     of your business. The international network of insurance professionals and the financial strength of CNA, rated "A' by
     A.M. Best, provide resources to help you manage the daily risks of your organization so you may focus on what's most
     important to you.

     Claim Services
     Claims are reported through a single point of entry available 24/7, connecting you to individuals and information to help
     you resume your business when you need it most.
      ¯
         To report a loss goto www. FNOLCNA. corn          or send an email to ReportClairn@FNOLCNA. corn
         orcall 833 -FNOL-CNA (833-366-5262)
      ¯
          To request loss runs send an email to   fsrmail@cnacentral.com
      ¯
          For additional questions call CNA Customer Service at (877)-574-0540, or contact your independent CNA
          Insurance Agent.
     Policy Information
     CNA representatives may ask you for some of the following information:
     Insured Name:
     Realogic HR
     4826 LIBERTY AVE

      PITTSBURGH, PA        15227

     Producer Information:
     CHAMBERS INSURANCE AGENCY INC
     33 N. MAIN ST

     WASHINGTON, PA         15301

'N
      Policy Number:                                              Producer Processing Code:
      6025716265                                                   059568
0     Policy Period:
      08/19/2020 to 08/19/2021
     New Business
      CNA Branch:
      PITTSBURGH BRANCH
      ONE PPG PLACE STE 2920

      PITTSBURGH,      PA   15222




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                         151 N. Franklin St.
CNA                      Chicago, IL 60606




36025716265 08/19/20      08/19/21 I Continental Casualty Company          I   059568020

         Named Insured And Address                                   Agent
Realogic HR                                        CHANBERS INSURANCE AGENCY INC
4826 LIBERTY AVE                                   33 N. MAIN ST
PITTSBURGH, PA 15227                               WASHINGTON, PA 15301




                           **     PAYMENT PLAN SCHEDULE   **




                   THE BILLING FOR THIS POLICY WILL BE
                   FORWARDED TO YOU DIRECTLY FROM CNA.



                   THE PREMIUM AMOUNT FOR THIS THANSACTION
                   IS      $2,553.00


                   THIS PREMIUM WILL BE INVOICED BY CNA ON
                   A SEPARATE STATEMENT ACCORDING TO THE
                   PAYMENT OPTION YOU SELECT.




                                                                  ISSUE DATE    08/19/20
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